                                                                                                               EXHIBIT
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                                            DEPARTMENT OF EDUCATION                                  use on a case-by-case basis when a                       • Permit borrowers to receive credit
                                                                                                     borrower has exceptional circumstances                toward forgiveness for payments made
                                            34 CFR Parts 682 and 685                                 or has failed to recertify the information            prior to consolidating their loans; and
                                            RIN 1840–AD81                                            needed to calculate an IDR payment as                    • Reduce complexity by prohibiting
                                                                                                     outlined in § 685.221. We also make                   or restricting new enrollment in certain
                                            Improving Income Driven Repayment                        conforming edits to the FFEL program                  existing IDR plans starting on July 1,
                                            for the William D. Ford Federal Direct                   in § 682.215.                                         2024, to the extent that the law allows.
                                            Loan Program and the Federal Family                                                                               Costs and Benefits: As further detailed
                                                                                                     Purpose of This Regulatory Action                     in the Regulatory Impact Analysis (RIA),
                                            Education Loan (FFEL) Program
                                                                                                       These regulations create a stronger                 these final regulations will significantly
                                            AGENCY: Office of Postsecondary                          safety net for Federal student loan                   impact borrowers, taxpayers, and the
                                            Education, Department of Education.                      borrowers, helping more borrowers                     Department.
                                            ACTION: Final regulations.                               avert delinquency and default and the                    Benefits for borrowers include more
                                                                                                     significant negative consequences                     affordable and streamlined IDR plans, as
                                            SUMMARY: The U.S. Department of                          associated with those events. They will               well as a path to avoid delinquency and
                                            Education issues final regulations                       also help low- and middle-income                      default. The streamlined repayment
                                            governing income-contingent repayment                    borrowers better afford their Federal                 plans also benefit the Department due to
                                            plans by amending the Revised Pay as                     loan payments, while also increasing                  simplified administration of the
                                            You Earn (REPAYE) repayment plan                         homeownership, retirement savings,                    repayment plans and decreases in rates
                                            and restructuring and renaming the                       and small business formulation.                       of delinquency and default.
                                            repayment plan regulations under the                     Additionally, they simplify the process                  This rule will reduce negative
                                            William D. Ford Federal Direct Loan                      of selecting a repayment plan.                        amortization, which will be a benefit to
                                            (Direct Loan) Program, including                                                                               student loan borrowers, making it easier
                                            combining the Income Contingent                          Summary of the Major Provisions of                    for individuals to successfully manage
                                            Repayment (ICR) and the Income-Based                     This Regulatory Action                                their debt. As a result, borrowers will be
                                            Repayment (IBR) plans under the                            The final regulations—                              able to devote more resources to cover
                                            umbrella term of ‘‘Income-Driven                           • Expand access to affordable                       necessary expenses such as food and
                                            Repayment’’ (IDR) plans, and providing                   monthly Direct Loan payments through                  housing, provide for their families,
                                            conforming edits to the FFEL Program.                    changes to the Revised Pay-As-You-Earn                invest in a home, or save for retirement.
                                            DATES: These regulations are effective                   (REPAYE) repayment plan, which may                       Costs associated with the changes to
                                            July 1, 2024. For the implementation                     also be referred to as the Saving on a                the IDR plans include paying contracted
                                            dates of the regulatory provisions, see                  Valuable Education (SAVE) plan;                       student loan servicers to update their
                                            the Implementation Date of These                           • Align the definition of ‘‘family size’’           computer systems and their borrower
                                            Regulations in SUPPLEMENTARY                             in the FFEL Program with the definition               communications. Taxpayers will incur
                                            INFORMATION.                                             of ‘‘family size’’ in the Direct Loan                 additional costs in the form of transfers
                                                                                                     Program;                                              from borrowers who will pay less on
                                            FOR FURTHER INFORMATION CONTACT:                           • Increase the amount of income                     their loans than under currently
                                            Bruce Honer, U.S. Department of                          exempted from the calculation of the                  available repayment plans. As detailed
                                            Education, 400 Maryland Avenue SW,                       borrower’s payment amount from 150                    in the RIA, the changes are estimated to
                                            5th Floor, Washington, DC 20202.                         percent of the Federal poverty guideline              have a net budget impact of $156.0
                                            Telephone: (202) 987–0750. Email:                        or level (FPL) to 225 percent of FPL for              billion over 10 years across all loan
                                            Bruce.Honer@ed.gov.                                      borrowers on the REPAYE plan;                         cohorts through 2033.
                                              If you are deaf, hard of hearing, or                     • Lower the share of discretionary
                                            have a speech disability and wish to                     income used to calculate the borrower’s               Implementation Date of These
                                            access telecommunications relay                          monthly payment for outstanding loans                 Regulations
                                            services, please dial 7–1–1.                             under REPAYE to 5 percent of                             Section 482(c)(1) 1 of the Higher
                                            SUPPLEMENTARY INFORMATION:                               discretionary income for loans for the                Education Act of 1965, as amended
                                            Executive Summary                                        borrower’s undergraduate study and 10                 (HEA), requires that regulations
                                                                                                     percent of discretionary income for                   affecting programs under title IV of the
                                               The Secretary amends the regulations                  other outstanding loans; and an amount                HEA be published in final form by
                                            governing the income contingent                          between 5 and 10 percent of                           November 1 prior to the start of the
                                            repayment (ICR) and income-based                         discretionary income based upon the                   award year (July 1) to which they apply.
                                            repayment (IBR) plans and renames the                    weighted average of the original                      HEA section 482(c)(2) 2 also permits the
                                            categories of repayment plans available                  principal balances for those with                     Secretary to designate any regulation as
                                            in the Department’s Direct Loan                          outstanding loans in both categories;                 one that an entity subject to the
                                            Program. These regulations streamline                      • Provide a shorter maximum                         regulations may choose to implement
                                            and standardize the Direct Loan                          repayment period for borrowers with                   earlier and outline the conditions for
                                            Program repayment regulations by                         low original loan principal balances;                 early implementation.
                                            categorizing existing repayment plans                      • Eliminate burdensome and                             The Secretary is exercising his
                                            into three types: (1) fixed payment                      confusing regulations for borrowers                   authority under HEA section 482(c) to
                                            repayment plans, which establish                         using IDR plans;                                      designate certain regulatory changes to
                                            monthly payment amounts based on the                       • Provide that the borrower will not                part 685 in this document for early
                                            scheduled repayment period, loan debt,                   be charged any remaining accrued                      implementation beginning on July 30,
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                                            and interest rate; (2) income-driven                     interest each month after the borrower’s              2023. The Secretary has designated the
                                            repayment (IDR) plans, which establish                   payment is applied under the REPAYE                   following provisions under REPAYE for
                                            monthly payment amounts based in                         plan;                                                 early implementation:
                                            whole or in part on the borrower’s                         • Credit certain periods of deferment
                                            income and family size; and (3) the                      or forbearance toward time needed to                    1 20 U.S.C. 1089(c)(1).

                                            alternative repayment plan, which we                     receive loan forgiveness;                               2 20 U.S.C. 1089(c)(2).




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                                               • Adjusting the treatment of spousal                  the Secretary must conduct a negotiated                 committee, the Department asked that
                                            income in the REPAYE plan for married                    rulemaking process to develop the                       they reach out to the broader
                                            borrowers who file separately as                         proposed regulations. The Department                    constituencies for feedback during the
                                            described in § 685.209(e)(1)(i)(A) and                   negotiated in good faith with all parties               negotiation process. During each of the
                                            (B);                                                     with the goal of reaching consensus.                    three negotiated rulemaking sessions,
                                               • Increasing the income exemption to                  The Committee did not reach consensus                   we provided opportunities for the
                                            225 percent of the applicable poverty                    on the issue of IDR.                                    public to comment, including after
                                            guideline in the REPAYE plan as                             We group issues according to subject,                seeing draft regulatory text, which was
                                            described in § 685.209(f);                               with appropriate sections of the                        available prior to the second and third
                                               • Not charging accrued interest to the                regulations referenced in parentheses.                  sessions. The Department and the non-
                                            borrower after the borrower’s payment                    We discuss other substantive issues                     Federal negotiators considered those
                                            on REPAYE is applied as described in                     under the sections of the regulations to                comments to inform further discussion
                                            § 685.209(h); and                                        which they pertain. Generally, we do                    at the negotiating sessions, and we used
                                               • Designating in § 685.209(a)(1) that                 not address minor, non-substantive                      the information to create our proposed
                                            REPAYE may also be referred to as the                    changes (such as renumbering                            rule. The Department also first
                                            Saving on a Valuable Education (SAVE)                    paragraphs, adding a word, or                           announced elements of the proposed
                                            plan.                                                    typographical errors). Additionally, we                 plan in August 2022, giving
                                               The Secretary also designates the                     generally do not address changes                        stakeholders additional time to consider
                                            changes to the definition of family size                 recommended by commenters that the                      the merits of major elements of the
                                            for Direct Loan borrowers in IBR, ICR,                   statute does not authorize the Secretary                regulation. Given these efforts, the
                                            PAYE, and REPAYE in § 685.209(a) to                      to make or comments pertaining to                       Department believes that the 30-day
                                            exclude the spouse when a borrower is                    operational processes. We generally do                  public comment period provided
                                            married and files a separate tax return                  not address comments pertaining to                      sufficient time for interested parties to
                                            for early implementation on July 30,                     issues that were not within the scope of                submit comments. The 30-day comment
                                            2023.                                                    the IDR NPRM. In particular, we note                    period on the IDR NPRM is not unique;
                                               The Secretary also designates the                     that we received many comments                          we have used this amount of time for
                                            provision awarding credit toward                         supporting or opposing one-time debt                    numerous other rules. The Department
                                            forgiveness for certain periods of loan                  relief. As this topic is outside the scope              has fully complied with the appropriate
                                            deferment prior to the effective date of                 of this rule, we do not discuss those                   Executive Orders regarding public
                                            July 1, 2024, as described in                            comments further in this document.                      comments. While the Executive Orders
                                            § 685.209(k)(4) for early                                   An analysis of the public comments                   cited by the commenters direct each
                                            implementation. The Department will                      received and the changes to the                         agency to afford the public a meaningful
                                            implement this regulation as soon as                     regulations since publication of the IDR
                                                                                                                                                             opportunity to comment, those
                                            possible after the publication date and                  NPRM follows.
                                                                                                                                                             Executive Orders do not require a 60-
                                            will publish a separate notice                           Public Comment Period                                   day comment period.
                                            announcing the timing of the
                                                                                                        Comment: Several commenters                             Changes: None.
                                            implementation.
                                               With the exception noted below and                    requested that we extend the comment                    General Support for Regulations
                                            except for those regulations designated                  period on the IDR NPRM. Some of these
                                            as available for early implementation,                   commenters asserted that under the                         Comments: Many commenters
                                            the final regulations in this notice are                 principles of Executive Orders 12866                    supported the Department’s proposed
                                            effective July 1, 2024.                                  and 13563, the Department must adhere                   rule to modify the IDR plans. These
                                               Section 685.209(c)(5)(iii), which                     to at least a 60-day comment period.                    commenters supported the proposed
                                            relates to eligibility for IDR plans by                     Discussion: The Department believes                  revisions to § 685.209(f), which would
                                            borrowers with Consolidation loans,                      the comment period provided sufficient                  result in lower monthly payments for
                                            will be effective for Direct Consolidation               time for the public to submit feedback.                 borrowers on the REPAYE plan. One
                                            loans disbursed on or after July 1, 2025.                As noted above, we received over                        commenter noted that lower monthly
                                               Public Comment: In response to our                    13,600 written comments and                             payments are often a primary factor
                                            invitation in the Notice of Proposed                     considered each one that addressed the                  when borrowers select a repayment
                                            Rulemaking on Improving IDR for the                      issues in the IDR NPRM. Moreover, the                   plan. Another commenter mentioned
                                            Direct Loan Program, published on                        negotiated rulemaking process provided                  that while current IDR plans offer lower
                                            January 11, 2023 (IDR NPRM), the                         significantly more opportunity for                      payments than the standard 10-year
                                            Department received 13,621 comments                      public engagement and feedback than                     plan, payments under an IDR plan may
                                            on the proposed regulations. In this                     notice-and-comment rulemaking                           still be unaffordable for some borrowers.
                                            preamble, we respond to those                            without multiple negotiation sessions.                  They expressed strong support for this
                                            comments.                                                The Department began the rulemaking                     updated plan in hopes that it will
                                                                                                     process by inviting public input through                provide much needed relief to many
                                            Analysis of Comments and Changes                         a series of public hearings in June 2021.               borrowers and would allow borrowers
                                              We developed these regulations                         We received more than 5,300 public                      the flexibility to buy homes or start
                                            through negotiated rulemaking. Section                   comments as part of the public hearing                  families. Several commenters pointed
                                            492 of the HEA 3 requires that, before                   process. After the hearings, the                        out that the new IDR plans would allow
                                            publishing any proposed regulations to                   Department sought non-Federal                           borrowers to pay down their student
                                            implement programs under title IV of                     negotiators for the negotiated                          loans without being trapped under
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                                            the HEA, the Secretary must obtain                       rulemaking committee who represented                    exorbitant monthly payments. Several
                                            public involvement in the development                    constituencies that would be affected by                commenters felt it was important that
                                            of the proposed regulations. After                       our rules.4 As part of these non-Federal                the Department commit to fully
                                            obtaining advice and recommendations,                    negotiators’ work on the rulemaking                     implementing this process as soon as
                                                                                                                                                             possible to allow borrowers to benefit
                                              3 20 U.S.C. 1098a.                                          4 See 86 FR 43609.                                 from the proposed regulations.


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                                               One commenter stated that efforts to                  readers and to recognize that all the                 detail at www2.ed.gov/policy/highered/
                                            model the effects of increasing the                      public comments would have been                       reg/hearulemaking/2021/index.html.
                                            discretionary income threshold have                      discussing the REPAYE plan, the                          Regarding the suggestion that the rule
                                            demonstrated that changing the                           Department will refer to the SAVE plan                be cost neutral, we believe the overall
                                            threshold of protected income had the                    as REPAYE throughout this final rule.                 benefits outweigh the costs as discussed
                                            most pronounced effect on the monthly                       These regulations are intended to                  in the Costs and Benefits section within
                                            payment amounts of low- and moderate-                    address the challenges borrowers have                 the RIA section of this document. There
                                            income borrowers over the course of                      in navigating the complexity of the                   is no requirement that regulations such
                                            their repayment term. This commenter                     student loan repayment system by                      as this one be cost neutral.
                                            believed that making all monthly                         ensuring access to a more generous,                      The Department respects its
                                            payments under REPAYE more                               streamlined IDR plan, as well as to                   relationship with Congress and has
                                            affordable will enable more low-income                   revise the terms and conditions of the                worked and will continue to work with
                                            borrowers to qualify for $0 payments,                    REPAYE plan to make it easier to                      the legislative branch on improvements
                                            help prevent defaults, protect                           understand.                                           to the Federal student aid programs,
                                            vulnerable borrowers from the severe                        Changes: We have updated                           including making improvements to
                                            economic consequences of default, and                    § 685.209(a)(1) to note that the REPAYE               repayment plans.
                                            alleviate the stress that student loans                  plan will also now be known as the                       Changes: None.
                                            place on fragile budgets.                                Saving on a Valuable Education (SAVE)                    Comments: Many commenters
                                               Discussion: We agree with the                         plan.                                                 disagreed with the Department’s
                                            commenters’ assertions that this rule                                                                          proposed modifications to the IDR
                                                                                                     General Opposition to Regulations                     plans, particularly the amendments to
                                            will allow borrowers to pay down their
                                            student loans without being trapped                         Comments: Several commenters                       REPAYE. These commenters believed
                                            under exorbitant monthly payments and                    suggested that the Department delay                   that borrowers knowingly entered into
                                            that it will help many borrowers avoid                   implementation of the rule and work                   an agreement to fully repay their loans
                                            delinquency, default, and their                          with Congress to develop a final rule                 and should pay the full amount due.
                                            associated consequences. We                              that would be cost neutral. Relatedly,                One commenter suggested that advising
                                            understand the urgency expressed by                      other commenters requested that we                    borrowers that they need only repay a
                                            commenters related to our                                delay implementation and wait for                     fraction of what they borrowed
                                            implementation plans. The Department                     Congress to review our proposals as part              undercuts the purpose of the signed
                                            has outlined the implementation                          of a broader reform or reauthorization of             promissory note. Many of these
                                            schedule in the Implementation Date of                   the HEA. Several commenters asserted                  commenters expressed concern that the
                                            These Regulations section of this                        that the Administration has not                       REPAYE changes were unfair to those
                                            document.                                                discussed these repayment plan                        who opted not to obtain a postsecondary
                                               Changes: None.                                        proposals with Congress.                              education due to the cost, as well as to
                                               Comments: Many commenters                                Discussion: We disagree with the                   those who obtained a postsecondary
                                            thanked the Department for proposing                     commenters and choose not to delay the                education and repaid their loans in full.
                                            to modify the REPAYE plan rather than                    implementation of this rule. The                         Discussion: The IDR plans assist
                                            creating another IDR plan. Commenters                    Department is promulgating this rule                  borrowers who are in situations in
                                            cited borrower confusion about the                       under the legal authority granted to it by            which their post-school earnings do not
                                            features of the different repayment                      the HEA, and we believe these steps are               put them in a situation to afford their
                                            plans. Commenters urged us to revise                     necessary to achieve the goals of making              monthly student loan payments. In
                                            the terms and conditions of REPAYE to                    the student loan repayment system work                some cases, this might mean helping
                                            make them easier to understand.                          better for borrowers, including by                    borrowers manage their loans while
                                               Discussion: The Department initially                  helping to prevent borrowers from                     entering the workforce at their initial
                                            contemplated creating another                            falling into delinquency or default.                  salary. It could also mean helping
                                            repayment plan. After considering                        Furthermore, the Department took the                  borrowers through periods of
                                            concerns about the complexity of the                     proper steps to develop these rules to                unanticipated financial struggle. And in
                                            student loan repayment system and the                    help make the repayment plans more                    some cases, there are borrowers who
                                            challenges of navigating multiple IDR                    affordable. As prescribed in section 492              experience prolonged periods of low
                                            plans, we instead decided to reform the                  of the HEA, the Department requested                  earnings. We reference the IDR plans on
                                            current REPAYE plan to provide greater                   public involvement in the development                 the master promissory note (MPN) that
                                            benefits to borrowers. However, given                    of the proposed regulations. We                       borrowers sign to obtain a student loan
                                            the extensive improvements being made                    followed the appropriate process and                  and describe them in detail on the
                                            to REPAYE, we have decided to rename                     obtained and considered extensive                     Borrower’s Rights and Responsibilities
                                            REPAYE as the Saving on a Valuable                       input and recommendations from those                  Statement that accompanies the MPN.
                                            Education (SAVE) plan. This new name                     representing affected groups. The                     The changes in this final rule do not
                                            will reduce confusion for borrowers as                   Department also participated in three                 remove the obligation to make required
                                            we transition from the existing terms of                 negotiated rulemaking sessions with                   payments. They simply set those
                                            the REPAYE plan. Borrowers currently                     committee members that consisted of a                 required payments at a level the
                                            enrolled on the REPAYE plan will not                     variety of stakeholders representing                  Department believes is reasonable to
                                            have to do anything to receive the                       public and private institutions, financial            avoid large numbers of delinquencies
                                            benefits of the SAVE plan, and the new                   aid administrators, veterans, borrowers,              and defaults, as well as to help low- and
                                            name will be reflected on written and                    students, and other affected                          middle-income borrowers manage their
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                                            electronic forms and records over time.                  constituencies. Following careful                     payments.
                                               The Department will work to                           consideration of the feedback received                   We disagree with the claim that the
                                            implement this naming update and                         during three week-long negotiation                    IDR plan changes do not benefit
                                            borrowers may see the plan still referred                sessions, we published proposed                       individuals who have not attended a
                                            to as REPAYE until the updates are                       regulations in the Federal Register. We               postsecondary institution. The new
                                            complete. To reduce confusion for                        explain the rulemaking process in more                REPAYE plan will be available to both


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                                            current and future borrowers. That                        receive the earning gains one would                   measure is in effect, these commenters
                                            means an individual who has not                           expect from completing a postsecondary                called on the Department to delay the
                                            attended a postsecondary institution in                   credential.                                           IDR proposals.
                                            the past but now chooses to do so, could                     We believe the changes in this final                  Discussion: We discuss considerations
                                            avail themselves of the benefits of this                  rule will create a strong safety net for              regarding accountability in greater detail
                                            plan. Moreover, allowing borrowers to                     student borrowers and help more                       in the RIA section of this regulation.
                                            choose a repayment plan based on their                    borrowers successfully manage their                   This rule is part of a larger Department
                                            income and family size will result in                     loans. At the same time, the taxpayers                effort that focuses on improving the
                                            more affordable payments and allow                        and Federal Government will also                      student loan system and includes
                                            those individuals to avoid default which                  receive significant benefits. For                     creating a robust accountability
                                            imposes additional costs on taxpayers as                  example, avoiding default could spur                  infrastructure through regulation and
                                            well as borrowers.                                        some borrowers to continue their                      enforcement. Those enforcement efforts
                                               Changes: None.                                         postsecondary journeys and complete                   are ongoing; the regulations on borrower
                                               Comments: A few commenters argued                      their programs, which will help boost                 defense to repayment, closed school
                                            that REPAYE is intended to be a plan for                  wages, tax receipts, and lower                        loan discharges, false certification loan
                                            borrowers who have trouble repaying                       dependency on the broader safety net.                 discharges, and others will go into effect
                                            the full amount of their debt; and that                   Overall, we think these benefits of the               on July 1, 2023; and the Department has
                                            REPAYE should not be what a majority                      final rule far outweigh the costs to                  other regulatory efforts in progress. The
                                            of borrowers choose, but rather, an                       taxpayers.                                            new IDR regulations benefit borrowers
                                            alternate plan that borrowers may                            We also do not share the commenters’               and do not interfere with those
                                            choose. These commenters further                          concerns about borrowers who could                    accountability measures. Therefore, a
                                            argued that Congress designed the IDR                     otherwise repay their loans on an                     delay in the implementation date is
                                            plans to be for exceptional                               existing plan, such as the standard 10-               unnecessary.
                                            circumstances where borrowers have a                      year plan, choosing to use this plan                     Changes: None.
                                            partial financial hardship 5 and that it is               instead. If a borrower’s income is                       Comment: One commenter suggested
                                            clear that a very large proportion of                     particularly high compared to their                   that borrowers have difficulty repaying
                                            borrowers who could otherwise afford                      debt, their payments under REPAYE                     their debts because underprepared
                                            their full payments would instead                         will be higher than their payments on                 students enter schools with poor
                                            choose REPAYE to reduce their                             the standard 10-year plan, which would                graduation rates.
                                            payments.                                                 result in them paying their loan off                     Discussion: The Department works
                                               Discussion: We believe that the new                    faster. This has an effect similar to what            together with States and accrediting
                                            REPAYE plan will provide an affordable                    occurs when borrowers voluntarily                     agencies as part of the regulatory triad
                                            path to repayment for most borrowers.                     choose to prepay their loans—the                      to provide for student success upon
                                            There is nothing in the HEA that                          government receives payments sooner                   entry into postsecondary education. The
                                            specifies or limits how many borrowers                    than expected. Prepayments without                    issue raised by the commenter is best
                                            should be using a given type of student                   penalty have been a longstanding                      addressed through the combined efforts
                                            loan repayment plan. And in fact, as                      feature of the Federal student loan                   of the triad to improve educational
                                            discussed in the RIA, a majority of                       programs. On the other hand, many                     results for students, as well as overall
                                            recent graduate borrowers are already                     high-income, high-balance borrowers                   improvements to the K–12 education
                                            using IDR plans. The Department is                        may not want to choose an IDR plan                    system before entry into a
                                            concerned that far too many student                       because it could result in a longer                   postsecondary institution.
                                            loan borrowers are at risk of                             period of repayment. While the monthly                   Changes: None.
                                            delinquency and default because they                      payment amount may be lower than the                     Comment: One commenter argued
                                            cannot afford their payments on non-                      standard repayment plan for some high-                that the Department created an overly
                                            IDR plans. We are concerned that                          income, high-balance borrowers, the                   complex ICR plan that is not contingent
                                            returning to a situation in which more                    term for an IDR plan spans 20 to 25                   on income; but instead focuses on
                                            than 1 million borrowers default on                       years as opposed to the standard 10-year              factors such as educational attainment,
                                            loans each year is not in the best                        term that is the default option for                   marital status, and tax filing method, as
                                            interests of borrowers or taxpayers.                      borrowers. Using this plan could result               well as past delinquency or default.
                                               Defaults have negative consequences                    in high-income, high-balance borrowers                   Discussion: We disagree with the
                                            for borrowers, including reductions in                    paying back for a longer period and                   commenter’s claim that the REPAYE
                                            their credit scores and resulting negative                paying back a larger total amount, given              plan is overly complex and not
                                            effects on access to housing and                          that the borrower may be making                       contingent on income. As with the ICR
                                            employment.6 They may also lose                           interest-only payments for some time.                 or PAYE repayment plans, repayment is
                                            significant portions of key anti-poverty                     Changes: None.                                     based on income and family size, which
                                            benefits, such as the Earned Income Tax                      Comments: A few commenters raised                  affects how much discretionary income
                                            Credit (EITC), to annual offsets.                         concerns that the proposed rules would                a person has available. Other changes
                                            Additionally, many of these borrowers                     recklessly expand the qualifications for              will streamline processes for easier
                                            never finished postsecondary education                    IDR plans without providing sufficient                access, recertification, and a path to
                                            and are unlikely to re-enroll while in                    accountability measures. These                        forgiveness. Because of these benefits,
                                            default. As a result, they likely will not                commenters argued that the regulations                REPAYE will be the best plan for most
                                                                                                      would undermine accountability in                     borrowers. Having one plan that is
                                              5 See 88 FR 1896 and 20 U.S.C. 1098e.                   higher education. More specifically,                  clearly the best option for most
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                                              6 Kiviat, B. (2019). The art of deciding with data:     these commenters believed that the IDR                borrowers will address the most
                                            evidence from how employers translate credit              proposals must be coupled with an                     concerning sources of complexity
                                            reports into hiring decisions. Socio-Economic             aggressive accountability measure that                during repayment, which is that
                                            Review, 17(2), 283–309. So, W. (2022). Which
                                            Information Matters? Measuring Landlord
                                                                                                      roots out programs where borrowers do                 borrowers are unsure whether to use an
                                            Assessment of Tenant Screening Reports. Housing           not earn an adequate return on                        IDR plan or which one to choose. The
                                            Policy Debate, 1–27.                                      investment. Until such accountability                 most complicated elements of the


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                                            REPAYE plan will be carried out by the                   to support public higher education to                 maximum repayment period and earlier
                                            Department, including provisions to                      meet unmet need.                                      forgiveness for some borrowers, and
                                            calculate the share of discretionary                        The rule also does not amend the                   eliminating the imposition of unpaid
                                            income a borrower must pay on their                      underlying structure of loans for                     monthly interest, allowing borrowers to
                                            loans based upon the relative balances                   graduate students. As set by Congress in              pay less over their repayment terms.
                                            of loans they took out for their                         the HEA, graduate borrowers have                         We also disagree with the commenters
                                            undergraduate education versus other                     higher loan limits than undergraduate                 that the rule increases the Federal role
                                            loans. We believe this plan adequately                   borrowers, including the ability to take              in the governance of higher education.
                                            and appropriately addresses borrowers’                   on Grad PLUS loans up to the cost of                  We believe that we found the right
                                            individual and unique circumstances.                     attendance. As discussed in the RIA of                balance of improving affordability and
                                               Changes: None.                                        this final rule, about half of recent                 holding institutions accountable as part
                                               Comments: Several commenters                          graduate borrowers are already using                  of our role in the triad.
                                            argued that the proposed regulations                     IDR plans. The increased amount of                       Changes: None.
                                                                                                     income protected from payments will                      Comments: Several commenters
                                            could challenge the primacy of the
                                                                                                     provide a benefit to someone who                      suggested that the overall generosity of
                                            Federal Pell Grant as the Federal
                                                                                                     borrowed only for graduate school,                    the program is likely to drive many non-
                                            government’s primary strategy for
                                                                                                     however borrowers with only graduate                  borrowers to take out student debt, as
                                            college affordability and lead to the
                                                                                                     debt will not see a reduction in their                well as encourage current borrowers to
                                            increased federalization of our higher                                                                         increase their marginal borrowing and
                                            education system. They further                           payment rate as a percentage of
                                                                                                     discretionary income relative to existing             elicit unscrupulous institutions to raise
                                            suggested that a heavily subsidized loan                                                                       their tuition.
                                            repayment plan could incentivize                         plans. Someone with undergraduate and
                                                                                                     graduate debt will receive a lower                       One commenter believed that our
                                            increased borrowing, which would                                                                               proposal to forgive loan debt creates a
                                            increase the Federal role in the                         payment rate only in proportion to the
                                                                                                     share of their loans that were borrowed               moral hazard for borrowers, institutions
                                            governance of higher education,                                                                                of higher learning, and taxpayers.
                                                                                                     to attend an undergraduate program. We
                                            particularly on issues of institutional                                                                        Another commenter suggested that since
                                                                                                     note the existing structure of the IDR
                                            accountability, which are historically                                                                         IDR is paid on a debt-to-income ratio,
                                                                                                     plans and the terms of the graduate loan
                                            and currently a matter of State policy.                                                                        schools that generate the worst
                                                                                                     programs set by Congress already
                                            Commenters asserted that the proposed                                                                          outcomes are the most rewarded in this
                                                                                                     provide incentives for graduate
                                            rule could correspondingly discourage                                                                          system. The commenter believed this
                                                                                                     borrowers to repay using an IDR plan,
                                            State spending on higher education.                                                                            was problematic even for the borrowers
                                                                                                     as evidenced by existing data on IDR
                                               Discussion: The Department does not                   plan usage. We think the added                        who ultimately receive generous
                                            agree that the new IDR rules will                        incentive effects provided by this rule               forgiveness, since it will lead many to
                                            challenge the Federal Pell Grant as the                  for graduate borrowers are incremental                use their limited Federal Pell Grant and
                                            primary Federal student aid program for                  and smaller than the current policies                 Direct Loan dollars to attend a school
                                            college affordability. The Pell Grant                    established by statute.                               that does little to improve their earning
                                            continues to serve its critical purpose of                  Finally, we note that the Department               potential.
                                            reducing the cost of, and expanding                      is engaged in separate efforts aimed at                  Discussion: The Department believes
                                            access to, higher education for students                 addressing debt at programs that do not               that borrowers are seeking relief from
                                            from low- and moderate-income                            provide sufficient financial value. In                unaffordable payments, not to increase
                                            backgrounds. The Department’s long-                      particular, an NPRM issued in May 2023                their debt-load. As with any new
                                            standing guidance has been that Pell                     (88 FR 32300) proposes to terminate aid               regulations, we employed a cost-benefit
                                            Grants are the first source of aid to                    eligibility for career training programs              analysis and determined that the
                                            students and packaging Title IV funds                    whose debt outcomes show they do not                  benefits greatly outweigh the costs.
                                            begins with Pell Grant eligibility.7                     prepare students for gainful                          Borrowers will benefit from a more
                                            However, many students still rely upon                   employment in a recognized                            affordable REPAYE plan, and the
                                            student loans and so we seek to make                     occupation. That same regulation also                 changes we are making will help
                                            them more affordable for borrowers to                    proposes to enhance the transparency of               borrowers avoid delinquency and
                                            repay.                                                   debt outcomes across all programs and                 default.
                                              We also disagree that these                            to require students to acknowledge key                   The Department disagrees that this
                                            regulations will incentivize increased                   program-level information, including                  plan is likely to result in significant
                                            borrowing or discourage State spending                   debt outcomes, before receiving Federal               increases in borrowing among non-
                                            on higher education. One central goal of                 student aid for programs with high                    borrowers or additional borrowing by
                                            the final rule is to make student loans                  ratios of annual debt payments to                     those already taking on debt. For one,
                                            more affordable for undergraduates.                      earnings. Separately, the Department is               this plan emphasizes the benefits for
                                            However, as discussed in the RIA, the                    also working to produce a list of the                 undergraduate borrowers and those
                                            rule does not change the total amount of                 least financially valuable programs                   individuals will still be subject to the
                                            Federal aid available to undergraduate                   nationwide and to ask the institutions                strict loan limits that are established in
                                            students. Undergraduate borrowers,                       that operate those programs to generate               Sec. 455 of the HEA 8 and have not been
                                            who receive the greatest benefit from the                a proposal for improving their debt                   changed since 2008. For instance, a
                                            rule, have strict loan limits as laid out                outcomes.                                             first-year dependent student cannot
                                            in Section 455 of the HEA. This rule                        Overall, we believe these regulations              borrow more than $5,500, while a first-
                                            does not and cannot amend those limits.                  will improve the affordability of                     year independent student’s loan is
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                                            Currently, undergraduate programs are                    monthly payments by increasing the                    capped at $9,500. Especially for
                                            subsidized most heavily by States, and                   amount of income exempt from                          dependent students, these amounts are
                                            States will continue to be incentivized                  payments, lowering the share of                       far below the listed tuition price for
                                                                                                     discretionary income factored into the                most institutions of higher education
                                              7 See Federal Student Aid Handbook, Volume 3,          monthly payment amount for most
                                            Chapter 7: Packaging Aid.                                borrowers, providing for a shorter                      8 20 U.S.C. 1087e.




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                                            outside of community colleges. Data                      example, an analysis of the 2015–16                      Discussion: Varied amounts of
                                            from the 2017–18 National                                NPSAS data showed that only 32                        payments due and time to satisfy the
                                            Postsecondary Student Aid Study                          percent of students reported having                   loan obligation have been part of the
                                            (NPSAS) show that a majority of                          heard on any income-driven repayment                  Direct Loan program since its inception.
                                            dependent undergraduate borrowers                        plans.12 Additionally, many students                  The possibility of a higher total amount
                                            already borrow at the maximum.9 So,                      are debt averse and may still not wish                repaid over the life of the loan may be
                                            too, do most student loan borrowers at                   to borrow even under more generous                    a reasonable trade-off for borrowers who
                                            public and private nonprofit four-year                   IDR terms established by this rule.13                 struggle to repay their loans. In
                                            institutions. Community college                             Though we believe it is unlikely, in               developing this rule, we conducted
                                            borrowers are the least likely to take out               the RIA of this final rule we discuss                 analyses both in terms of monthly and
                                            the maximum amount of loan debt,                         alternative budget scenarios as well as               total payments. Discussions of monthly
                                            which likely reflects the lower prices                   the costs and benefits associated with                payments help the public understand
                                            charged. Community colleges generally                    additional borrowing were it to occur.                the most immediate effects on what a
                                            offer tuition and fee prices that can be                 This analysis shows that increases in                 borrower will owe in a given period.
                                            covered entirely by the maximum Pell                     borrowing will increase costs but                     The total payments were thoroughly
                                            Grant and enroll many students that                      additional borrowing and those                        assessed in the RIA of the IDR NPRM
                                            exhibit signs of being averse to debt.10                 associated costs are not always                       and that discussion considered broad
                                              We note that the shortened repayment                   inherently problematic. While                         questions about which types of
                                            period before forgiveness for borrowers                  scholarships would be even more                       borrowers were most likely to receive
                                            with lower balances will also provide                    helpful to students, some evidence                    the greatest benefits. The Department
                                            incentives for borrowers to keep their                   suggests that loans can help more                     modeled the change in lifetime
                                            debt levels lower to qualify for earlier                 borrowers pay for their tuition and                   payments under the new plan relative to
                                            forgiveness. This may be particularly                    living expenses, reduce their hours at                the current REPAYE plan for future
                                            important at community colleges, where                   work, and complete their college                      cohorts of borrowers, assuming full
                                            lower prices make it more feasible to                    programs. Additional borrowing is                     participation and considering projected
                                            complete a credential with lesser                        problematic when it does not provide a                earnings, nonemployment, marriage,
                                            amounts of debt. We also disagree with                   return on investment, for example,                    and childbearing. These analyses
                                            the commenters’ suggestion that this                     when it does not help borrowers                       suggest that on average, borrowers’
                                            rule rewards institutions with the worst                 complete a high-quality program, but                  lifetime total payments would fall under
                                            outcomes and encourages institutions to                  our goal with this regulation is to make              the new REPAYE plan. The RIA
                                            raise their prices. There is no indication               certain that borrowers have affordable                presents this analysis. It shows
                                            that institutions increased tuition prices               debts that they are able to successfully              projected total payments for future
                                            as a direct result of the creation of the                repay, not to minimize borrowing at all               repayment cohorts, discounted back to
                                            original REPAYE plan, and we do not                      costs.                                                their present value if future borrowers
                                            have evidence that institutions will                        We also note that the Department is
                                                                                                                                                           were to choose the new REPAYE plan.
                                            increase prices as a result of the changes               engaged in separate efforts related to
                                                                                                                                                           These are broken down by quintile of
                                            in this rule. However, the revised                       accountability, which are already
                                                                                                                                                           lifetime income and include separate
                                            REPAYE plan will allow students who                      described above. This includes the
                                                                                                                                                           breakdowns of estimates for whether a
                                            need to borrow to enroll in                              gainful employment rule NPRM
                                                                                                                                                           borrower has graduate loans. Reductions
                                            postsecondary education, earn a degree                   released on May 19, 2023.14
                                                                                                        Changes: None.                                     in lifetime payments are largest for low-
                                            or credential, and increase their lifetime                                                                     and middle-lifetime income borrowers
                                            earnings while repaying their loan                          Comment: One commenter observed
                                                                                                     that our proposals lacked a discussion                but, on average, all quintiles see
                                            without being burdened by unaffordable                                                                         reductions in lifetime payments.
                                            payments.                                                of monthly payments versus total
                                              Another reason to doubt these                          payments. The commenter believed                         We continue to enhance the tools on
                                            commenters’ assertions that this rule                    that, while there is the potential for                the StudentAid.gov website that allow
                                            will result in additional borrowing is                   borrowers to make lower monthly                       borrowers to compare the different
                                            that evidence shows that borrowers                       payments, the extended period of                      repayment plans available to them.
                                            generally have low knowledge or                          payments could result in higher total                 These tools show the monthly and total
                                            awareness of the IDR plans, suggesting                   payments. In contrast, the commenter                  payment amounts over the life of the
                                            that borrowers are not considering these                 noted that a higher monthly payment in                loan as this commenter requested, as
                                            options when making decisions about                      a shorter time frame could result in                  well as the date on which the borrower
                                            whether to borrow and how much.11 For                    lower total payments. This commenter                  would satisfy their loan obligation
                                                                                                     believed that we must consider the                    under each different plan and any
                                              9 Analysis from NPSAS 2017–18 via PowerStats,          impact on both monthly and total                      amount of the borrower’s loan balance
                                            table reference wrfzjv.                                  payments—and that any meaningful                      that may be forgiven at the end of the
                                              10 Boatman, A., Evans, B.J., & Soliz, A. (2017).
                                                                                                     discussion must include this analysis.                repayment period. As an example,
                                            Understanding Loan Aversion in Education:                                                                      borrowers can use the ‘‘Loan Simulator’’
                                            Evidence from High School Seniors, Community
                                            College Students, and Adults. AERA Open, 3(1).           Nguyen (2023). Best Laid (Repayment) Plans.           on the site to assist them in selecting a
                                            https://doi.org/10.1177/2332858416683649.                Washington, DC: New America).                         repayment plan tailored to their needs.
                                                                                                       12 Anderson, Drew M., Johnathan G. Conzelmann,
                                              11 For example, some estimates suggest that more                                                             To use the simulator, borrowers enter
                                            than 40 percent of low-income borrowers did not          and T. Austin Lacy, The state of financial
                                                                                                     knowledge in college: New evidence from a
                                                                                                                                                           their anticipated or actual salary, the
                                            know about IDR, and other research demonstrates
                                                                                                     national survey. Santa Monica, CA: RAND               amount of their estimated or actual loan
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                                            confusion or lack of awareness about borrowing
                                            more generally (e.g., Akers & Chingos (2014). Are        Corporation, 2018. https://www.rand.org/pubs/         debt, and other data to perform the
                                            College Students Borrowing Blindly? Washington,          working_papers/WR1256.html.                           calculation needed to achieve goals
                                                                                                       13 Boatman, A., Evans, B.J., & Soliz, A. (2017).
                                            DC: Brookings Institution; Darolia & Harper (2018).                                                            listed. These goals include paying off
                                            Information Use and Attention Deferment in               Understanding Loan Aversion in Education:
                                            College Student Loan Decisions: Evidence From a          Evidence from High School Seniors, Community          their loans as quickly as possible,
                                            Debt Letter Experiment. Educational Evaluation           College Students, and Adults.                         having a low monthly payment, paying
                                            and Policy Analysis, 40(1); Sattelmeyer, Caldwell &        14 88 FR 32300.                                     the lowest amount over time, and


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                                            paying off their loans by a certain date.                   Comment: One commenter believed                    Similarly, there are many borrowers
                                            We believe that the tools on the                         that our proposed changes to the IDR                  who re-enroll in postsecondary
                                            StudentAid.gov website are user-                         plan give undergraduate borrowers a                   education after having already repaid
                                            friendly and readily available to                        grant instead of a loan. This commenter               their past loans. In both cases these
                                            borrowers for customized calculations                    asserted that it would be better to                   borrowers may take on this debt because
                                            that we could not provide in this rule.                  provide the funds upfront as grants,                  they are looking to make a career
                                               Changes: None.                                        which may positively impact access,                   switch, gain new skills to compete in
                                               Comments: Several commenters                          affordability, and success. This                      the labor force, or for other reasons. This
                                            raised concerns about the interaction                    commenter further believed that                       plan would be available for both these
                                            between REPAYE payments and the                          providing grants upfront could reduce                 current and future borrowers.
                                            SECURE 2.0 Act of 2022.15 According to                   the amount of overall loan debt. The                     We also note that investments in
                                            one commenter, the SECURE 2.0 Act                        commenter further cites researchers                   postsecondary education provide
                                            incentivizes retirement contributions                    who had similar conclusions.                          broader societal benefits. Increases in
                                            related to student loan payments. This                      Discussion: For almost 30 years, the               postsecondary attainment have spillover
                                            provision allows companies to provide                    Department has allowed borrowers to                   benefits to a broader population,
                                            employees with a match on their                          repay their loans as a share of their                 including individuals who have not
                                            retirement contributions for making                      earnings under IDR plans, but it has                  attended college. For instance, there is
                                            student loan payments. This commenter                    never considered these programs to be                 evidence that increases in college
                                            was concerned that borrowers may                         grant or scholarship programs. These                  attainment increases productivity for
                                            make costly mistakes by not taking                       student loan repayment plans are                      both college-educated and non-college
                                            advantage of matching funds.                             different in important respects from                  educated workers.17 Increases in
                                               Discussion: Under section 110 of the                  grants or scholarships. Many borrowers                education levels have also been shown
                                            SECURE 2.0 Act, Congress permits—but                     will repay their debt in full under the               to increase civic participation and
                                            does not require—employers to treat a                    new plan. Only borrowers who                          improve health and well-being for the
                                            borrower’s student loan payments as                      experience persistently low incomes,                  next generation.18
                                            elective deferrals for purposes of                       relative to their debt burdens, over years              Changes: None.
                                            matching contributions toward that                       will not repay their debt. Moreover,
                                            borrower’s retirement plan. Although                     because borrowers cannot predict their                Legal Authority
                                            commenters hypothesize that borrowers                    future earnings, they will face                       General
                                            could potentially miss out on retirement                 significant uncertainty over what their
                                            matching if a borrower is on a $0 IDR                                                                            Comment: A group of commenters
                                                                                                     payments will be over the full length of
                                            monthly payment, this specific                                                                                 argued that the proposed rule would
                                                                                                     the repayment period. While some
                                            provision of the SECURE 2.0 Act will                                                                           violate statute and exceed the
                                                                                                     borrowers will receive forgiveness,
                                            take effect for contributions for plan                                                                         Department’s authority which could
                                                                                                     many borrowers will repay their
                                            years beginning on or after December                                                                           result in additional confusion to
                                                                                                     balances with interest. The IDR plans
                                            31, 2023.16 We see no basis for holding                  are repayment plans for Federal student               borrowers, increase delinquencies, or
                                            our regulations for a provision that                     loans that will provide student loan                  increase defaults.
                                            employers have not yet—and may not—                                                                              Discussion: Congress has granted the
                                                                                                     borrowers greater access to affordable
                                            use. Even if an employer were to adopt                                                                         Department clear authority to create
                                                                                                     repayment terms based upon their
                                            the Sec. 110(h) provision of the SECURE                                                                        income-contingent repayment plans
                                                                                                     income, reduce negative amortization,
                                            2.0 Act to treat a borrower’s student                                                                          under the HEA. Specifically, Sec.
                                                                                                     and result in lower monthly payments,
                                            loan payments as elective deferrals for                                                                        455(e)(4) 19 of the HEA provides that the
                                                                                                     as well as help borrowers to avoid
                                            purposes of retirement matching                                                                                Secretary shall issue regulations to
                                                                                                     delinquency and defaults.
                                            contributions, borrowers always have                        Changes: None.                                     establish income-contingent repayment
                                            the opportunity to prepay or make                           Comments: Many commenters                          schedules that require payments that
                                            additional payments on their loans                       expressed the view that it is                         vary in relation to the borrowers’ annual
                                            without penalty. Such additional                         unacceptable that people who never                    income. The statute further states that
                                            payments could receive the matched                       attended a postsecondary institution or               loans on an ICR plan shall be ‘‘paid over
                                            contribution from their employer.                        who paid their own way to attend                      an extended period of time prescribed
                                            Finally, as we stated in the IDR NPRM,                   should be expected to pay for others                  by the Secretary,’’ and that ‘‘[t]he
                                            student loan debt has become a major                     who took out loans to attend a                        Secretary shall establish procedures for
                                            obstacle to meeting financial goals, and                 postsecondary institution.                            determining the borrower’s repayment
                                            we believe saving for retirement is one                     Discussion: We disagree with the                   obligation on that loan for such year,
                                            of those goals for many. Contrary to the                 commenters’ position that the IDR plan                and such other procedures as are
                                            commenters’ belief that these                            changes do not benefit individuals who                necessary to effectively implement
                                            regulations could result in borrowers                    have not attended a postsecondary                     income contingent repayment.’’ These
                                            potentially missing out on matching                      institution. This plan will be available              provisions intentionally grant discretion
                                            funds, or make other costly mistakes, we                 to current and future borrowers,                      to the Secretary around how to
                                            believe that these repayment plans will                  including individuals who have not yet                construct the specific parameters of ICR
                                            facilitate and result in more borrowers                  attended a postsecondary institution but              plans. This includes discretion as to
                                            achieving broad financial goals such as                  may in the future.                                    how long a borrower must pay (except
                                            saving for a home or, in this case,                         As outlined in the RIA, just because               that it cannot exceed 25 years). In other
                                            retirement.                                              someone has not yet pursued                           words, the statute sets an explicit upper
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                                               Changes: None.                                        postsecondary education also does not
                                                                                                                                                             17 Public Law 117–328, Division T of the
                                                                                                     mean they never will. There are many
                                              15 Public Law 117–328, Division T of the                                                                     Consolidated Appropriations Act of 2023.
                                                                                                     students who first borrow for                           18 See section 110(h) of Public Law 117–328,
                                            Consolidated Appropriations Act of 2023.
                                              16 See section 110(h) of Public Law 117–328,
                                                                                                     postsecondary education as older adults               Division T of the Consolidation Appropriations Act
                                            Division T of the Consolidated Appropriations Act        well past the age of those who go to                  of 2023.
                                            of 2023.                                                 college straight from high school.                      19 20 U.S.C. 1087e(e)(4).




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                                            limit, but no lower limit for the                        automatic sharing of Federal tax                      of all remaining interest that is not
                                            ‘‘extended period’’ time that a borrower                 information for the purposes of                       covered by the borrower’s monthly
                                            must spend in repayment. The statute                     calculating payments on IDR in 2019.                  payment for all other periods in
                                            also gives the Secretary discretion as to                   Sec. 455(d)(1) through (4) of the HEA              REPAYE. For unsubsidized loans, the
                                            how much a borrower must pay,                            also provide authority for other                      Department does not charge half of all
                                            specifying only that payments must be                    elements of this rule. These provisions               remaining interest that is not covered by
                                            set based upon the borrower’s annual                     grant the Secretary the authority to                  the borrower’s monthly payment as long
                                            adjusted gross income and that the                       choose which plans are offered to                     as the loan is in REPAYE. That benefit
                                            payment calculation must account for                     borrowers, which we are leveraging to                 has been part of the program for more
                                            the spouse’s income if the borrower is                   sunset future enrollments in the PAYE                 than 7 years and the Department’s
                                            married and files a joint tax return.                    and ICR plan for student borrowers.                   authority for providing that protection
                                               This statutory language clearly grants                Similarly, Sec. 455(d)(4) of the HEA                  has not been challenged, nor has
                                            the Secretary authority to make the                      provides the Secretary with discretion                Congress passed any legislation to
                                            changes in this rule related to the                      to craft ‘‘an alternative repayment plan,’’           change or eliminate that benefit. Though
                                            amount of income protected from                          under certain circumstances. Through                  the size of the benefit in this final rule
                                            payments, the amount of income above                     this rule, the Secretary is using that                is different, the underlying rationale and
                                            the income protection threshold that                     discretion to establish a structure for a             authority are the same. The REPAYE
                                            goes toward loan payments, and the                       repayment option for borrowers who fail               plan was originally created in response
                                            amount of time borrowers must pay                        to recertify their income information on              to a June 2014 Presidential
                                            before repayment ends. Each of those                     REPAYE. For most borrowers, the                       Memorandum directing the Department
                                            parameters has been determined                           alternative plan payments will be based               to take steps to give more borrowers
                                            independently through the rulemaking                     upon how much that borrower would                     access to affordable loan payments, with
                                            process and related analyses and will be                 have to pay each month to pay off the                 a focus on borrowers who would
                                            established in regulation through this                   debt with 10 years of equally sized                   otherwise struggle to repay their loans.
                                            final rule, as authorized by the HEA.                    monthly payments. This amount will be                 At that time, the Department thought
                                               The same authority governs many of                    specific to each borrower, as balances                the changes in REPAYE would be
                                            the more technical elements of this rule                 and interest rates vary for each                      sufficient to accomplish this goal.
                                            as well. For instance, the treatment of                  individual. This approach is necessary                However, the concerns described in that
                                            awarding a weighted average of pre-                      to design a functioning alternative                   memorandum persist today, as the
                                            consolidation payments and the catch-                    repayment plan for borrowers.                         number of borrowers who default on
                                            up period are the Department’s                              The treatment of interest in this plan             their Federal loans has not appreciably
                                            implementation of requirements in Sec.                   is authorized by a combination of                     declined since the REPAYE plan was
                                            455(e)(7) of the HEA, which lays out the                 authorities. Congress has granted the                 created in 2015. In fact, the number of
                                            periods that may count toward the                        Secretary broad authority to promulgate               defaults in the 2019 Federal fiscal year
                                            maximum repayment period established                     regulations to administer the Direct                  were higher than in 2015, even as the
                                            by the Secretary. We have crafted the                    Loan Program and to carry out his                     number of annual borrowers declined
                                            regulatory language to comply with the                   duties under Title IV. See, e.g.,                     over that period.21
                                            statutory requirements while                             including 20 U.S.C. 1221e–3, 1082,                       Part of the Department’s
                                            recognizing the myriad ways a borrower                   3441, 3474, 3471. See, e.g., 20 U.S.C.                responsibilities in operating the Federal
                                            progresses through the range of                          1221e–3 (‘‘The Secretary . . . is                     financial aid programs is to make
                                            repayment options available to them.                     authorized to make, promulgate, issue,                certain that borrowers have available
                                               ED has used its authority under Sec.                  rescind, and amend rules and                          clear information on how to navigate
                                            455 of the HEA three times in the past:                  regulations governing the manner of                   repayment. In some cases, that means
                                            to create the first ICR plan in 1995 (59                 operation of, and governing the                       addressing tensions and ambiguity that
                                            FR 61664) (FR Doc No: 94–29260), to                      applicable programs administered by,                  exist in the law. For instance, under
                                            create PAYE in 2012 (77 FR 66087), and                   the Department’’). The Secretary has                  Sec. 428(c)(3) of the HEA (20 U.S.C.
                                            to create REPAYE in 2015 (80 FR                          determined that the regulations                       1078(c)(3)) we exercised our authority to
                                            67203).20 In each instance, the                          addressing interest will improve the                  promulgate regulations to allow
                                            Department provided a reasoned basis                     Direct Loan Program and make it more                  borrowers participating in AmeriCorps
                                            for the parameters it chose, just as we                  equitable for borrowers. More                         to receive a forbearance on repayment of
                                            have in this final rule. Congress has                    specifically, Sec. 455(e)(5) of the HEA               their loans during the period they are
                                            made minimal changes to the                              specifies how to calculate the amounts                serving in those positions.22 At the same
                                            Department’s authority relating to ICR                   due on monthly payments; but allows                   time, Congress has established that
                                            in the intervening years, even as it has                 the Secretary discretion in calculating               borrowers may pursue Public Service
                                            acted to create and then amend the IBR                   the borrower’s balance, which is                      Loan Forgiveness if they meet certain
                                            plan, first in 2007 in the College Cost                  exercised here to manage the accrual of               requirements related to employment
                                            Reduction and Access Act (CCRAA)                         interest above and beyond the interest                and their loan repayment plan. That
                                            (Pub. L. 110–84) and then in 2010 in the                 that the borrower pays each month.                    confuses borrowers who must choose
                                            Health Care and Education                                   The interest benefit in this final rule            between pausing their payments
                                            Reconciliation Act of 2010 (Pub. L. 111–                 is a modification of the existing interest            entirely versus making progress toward
                                            152). The 2007 CCRAA that created IBR                    benefit provided on the REPAYE plan.                  forgiveness with a monthly payment
                                            also expanded the types of time periods                  That provision has been in place since                that could be far less than what they
                                            that can count toward the maximum                        the plan’s creation in 2015. It includes              owe on the standard 10-year plan,
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                                            repayment period on ICR. Congress also                   the statutory requirement that the                    potentially as low as $0. Similarly, a
                                            left the underlying terms of ICR plans in                Department does not charge any interest               borrower who is unemployed may have
                                            place when it improved access to                         that is not covered by a borrower’s
                                                                                                     monthly payment during the first three                 21 https://studentaid.gov/sites/default/files/
                                              20 https://www.govinfo.gov/content/pkg/FR-1994-        years of repayment on a subsidized loan               DLEnteringDefaults.xls
                                            12-01/html/94-29260.htm                                  and the Department does not charge half                22 See 34 CFR 685.205(a)(4).




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                                            a $0 payment on their IDR plan but may                       As explained, the Department has the               by a borrower’s monthly payment
                                            also be able to obtain an unemployment                    authority to promulgate this final rule.              addresses concerns commonly raised by
                                            deferment. The Department is using its                    The changes made in this rule will                    borrowers that quickly accruing interest
                                            broad authority under section 410 of the                  ultimately reduce confusion and make it               can leave borrowers feeling like IDR is
                                            General Education Provisions Act                          easier for borrowers to navigate                      not working for them as their loan
                                            (GEPA), (20 U.S.C 1221e–3), HEA                           repayment, choose whether to use an                   balances grow and they become
                                            section 432,23 and sections 301, 411,                     IDR plan, and avoid delinquency and                   discouraged about the possibility of
                                            and 414 of the Department of Education                    default.                                              repaying their loan. Providing borrowers
                                            Authorization Act 24 to promulgate                           Changes: None.                                     with lower loan balances a path to
                                            regulations to govern the student loan                       Comments: Commenters raised a                      forgiveness after as few as 120 monthly
                                            programs and address such areas of                        series of individual concerns about the               payments will help make IDR a more
                                            inconsistency and to award credit in                      legality of every significant proposed                attractive option for borrowers who
                                            situations where a borrower uses certain                  change in the IDR NPRM, especially                    traditionally are at a high risk of
                                            types of deferments and forbearances                      increasing the income protection                      delinquency and default. It will also
                                            that indicate a high risk of confusion or                 threshold to 225 percent of FPL,                      provide incentives to keep borrowing
                                            tension when choosing from among the                      reducing payments to 5 percent of                     low.
                                            potential for a $0 payment on an IDR                      discretionary income on undergraduate                    Each of these new provisions standing
                                            plan, repayment statuses that provide                     loans, the treatment of unpaid monthly                independently is clearly superior to the
                                            credit for PSLF, and the ability to pause                 interest, counting periods of deferment               current terms of REPAYE or any other
                                            payments.                                                 and forbearance toward forgiveness, and               IDR plan. That is critical because one of
                                                                                                      providing a faster path to forgiveness for            the Department’s goals in issuing this
                                               Some provisions in this rule derive
                                                                                                      borrowers with lower original principal               final rule is to create a plan that is
                                            from changes made by the 2019
                                                                                                      balances.                                             clearly the best option for the vast
                                            Fostering Undergraduate Talent by                            Discussion: The response to the prior              majority of borrowers, which will help
                                            Unlocking Resources for Education                         comment summary discusses the                         simplify and streamline the process for
                                            (FUTURE) Act (Pub. L. 116–91). That                       overarching legal authority for the final             borrowers to choose whether to go onto
                                            legislation amended Sec. 6103 of the                      rule. We also discuss the legality of                 an IDR plan as well as which plan to
                                            Internal Revenue Code (IRC) 25 to allow                   specific provisions for individual                    pick. That simplicity will help all
                                            the Department to obtain Federal tax                      components throughout this section.                   borrowers but can particularly matter
                                            information from the Internal Revenue                     However, the Department highlights the                for at-risk borrowers trying to navigate
                                            Service (IRS) if the borrower provided                    independent nature of each of these                   the system. Each of these provisions,
                                            approval for the disclosure of such                       components. This regulation is                        standing on its own, contributes
                                            information. That authority is being                      composed of a series of distinct and                  significantly to that goal.
                                            used to automatically calculate a                         significant improvements to the                          The result is that each of the
                                            borrower’s IDR payment if they have                       REPAYE plan that individually provide                 components of this final rule can
                                            gone 75 days without making a payment                     borrowers with critical benefits. Here                operate in a manner that is independent
                                            or are in default and they have provided                  we identify the ones that received the                and severable of each other. The
                                            the necessary approvals to us.                            greatest public attention through                     analyses used to justify their inclusion
                                               Within all these authorities are                       comments; but the same would be true                  are all different. And while they help
                                            implicit and explicit limiting principles.                for items that did not generate the                   accomplish similar goals, they can
                                            The Secretary must issue regulations                      highest amount of public interest, such               contribute to those goals on their own.
                                            that follow the requirements in the                       as the treatment of pre-consolidation                    Examples highlight how this is the
                                            HEA. When the language grants specific                    payments, access to IBR in default,                   case. Were the Department to only
                                            discretion to the Secretary or is                         automatic enrollment, and other                       maintain the interest benefit in the
                                            otherwise allows for more than one                        parameters. Increasing the amount of                  existing REPAYE plan while still
                                            interpretation, the Department must                       income protected from 150 percent to                  increasing the income protection,
                                            provide a reasoned basis for the choices                  225 percent of the FPL will help more                 borrowers would still see significant
                                            it makes, as we have done in this rule.                   low-income borrowers receive a $0                     benefits by more borrowers having a $0
                                            For instance, the amount of income                        payment and reduced payment amounts                   payment and those above that 225
                                            protected from payments is the greatest                   for borrowers above that income level                 percent of FPL threshold seeing
                                            amount that we believe can be justified                   that will also help middle-income                     payment reductions. Their total
                                            on a reasoned basis at this time.                         borrowers. Those steps will help reduce               payments over the life of the loan would
                                            Similarly, the amount of discretionary                    rates of default and delinquency and                  change, but the most immediate concern
                                            income paid on loans for a borrower’s                     help make loans more manageable for                   about borrowers being unable to afford
                                            undergraduate study reflects our                          borrowers. Reducing to 5 percent the                  monthly obligations and slipping into
                                            analysis of the comparative benefits                      share of discretionary income put                     default and delinquency would be
                                            accrued by undergraduate and graduate                     toward payments on undergraduate                      preserved. Or consider the reduction in
                                            borrowers under different payment                         loans will also target reductions for                 payments without the increased income
                                            calculations. We have developed this                      borrowers with a non-zero-dollar                      protection. That would still assist
                                            rule with the goal of getting more                        payment. As noted in the IDR NPRM                     borrowers with undergraduate loans and
                                            undergraduate borrowers, particularly                     and again in this final rule,                         incomes between 150 and 225 percent
                                            those at risk of delinquency and default,                 undergraduate borrowers represent the                 of FPL to drive their payments down,
                                            to enroll in IDR plans at rates closer to                 overwhelming majority of borrowers in                 which could help them avoid default.
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                                            the higher levels of existing graduate                    default. These changes target the                     Similarly, the increased income
                                            borrower enrollment.                                      reduction in payments to undergraduate                protection by itself would help keep
                                                                                                      borrowers to make their payments more                 many borrowers out of default by giving
                                              23 20 U.S.C. 1082.                                      affordable and help them avoid                        more low-income borrowers a $0
                                              24 20 U.S.C. 3441, 3471, and 3474.                      delinquency and default. Ceasing the                  payment, even if there was not
                                              25 26 U.S.C. 6103, et. seq.                             charging of interest that is not covered              additional help for borrowers above that


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                                            225 percent FPL threshold through a                       borrowers fail to repay their student                  included the authority for ICR plans
                                            reduction in the share of discretionary                   loans jeopardizes the entire Federal loan              when it enacted the Direct Loan
                                            income that goes toward payments.                         program.                                               Program and left it to the Department to
                                               Providing forgiveness after as few as                     Discussion: The Department has not                  establish the specific provisions of the
                                            120 payments for the lowest balance                       and will not advise borrowers that they                plans through regulations. Forgiveness
                                            borrowers can also operate                                can expect to repay a fraction of what                 of the remaining loan balance after an
                                            independently of other provisions. As                     they owe. The purpose of these                         established time has been a part of the
                                            discussed, both in the IDR NPRM and                       regulations, which implement a                         IDR plans since the creation of the
                                            this final rule, although borrowers with                  statutory directive to provide for                     Direct Loan Program in 1993–1994.28
                                            lower balances have among the highest                     repayment based on income, is to make                  Over the past 30 years, Congress has not
                                            default rates, they are generally not                     it easier for borrowers to repay their                 reduced opportunities for loan
                                            enrolling in IDR in large numbers. A                      loans while ensuring that borrowers                    forgiveness, but instead has expanded
                                            shortened period until forgiveness, even                  who do not have the financial resources                them, including through IBR and Public
                                            without other reductions in payments,                     to repay do not suffer the lasting and                 Service Loan Forgiveness. We also note
                                            would still make this plan more                           harmful consequences of delinquency                    that in 1993, Congress appropriated
                                            attractive for these borrowers, as a                      and default. We also note that                         funds to cover all cost elements of the
                                            repayment term of up to 20 years                          forgiveness of remaining loan balances                 Direct Loan Program, including the ICR
                                            provides a disincentive to enrolling in                   has long been a possibility for borrowers              authority. Therefore, there was no need
                                            REPAYE even if that plan otherwise                        under different circumstances (such as                 to have a separate appropriation.29
                                            provides significant benefits to the                      Public Service Loan Forgiveness and                    However, the Department has always
                                            borrower.                                                 disability discharges) 26 and under other              thoughtfully considered the costs and
                                               The same type of separate analysis                     IDR repayment plans.27                                 benefits of our rules as reflected in the
                                            applies to the awarding of credit toward                     Changes: None.                                      RIA.
                                            forgiveness for periods spent in different                                                                         Changes: None.
                                            types of deferments and forbearances.                     Historical Authority
                                            The Department considered each of the                                                                            History of Subsequent Congressional
                                                                                                         Comments: Several commenters                        Action
                                            deferments and forbearances separately.                   argued that the underlying statutory
                                            For each one, we considered whether a                     authority in sections 455(d) and (e) of                   Comments: Several commenters
                                            borrower was likely to have a $0                          the HEA cited by the Department did                    argued that the history of Congressional
                                            payment, whether the borrower would                       not establish the authority for the                    action with respect to IDR plans in the
                                            be put in a situation where there would                   Department to make the proposed                        years since the ICR authority was
                                            be a conflict that would be hard to                       changes to the REPAYE plan.                            created show that the proposed changes
                                            understand for the borrower (such as                         Commenters argued this position in                  are contrary to Congressional intent.
                                            engaging in military service and                          several ways. Commenters cited                         Commenters noted that since the 1993
                                            choosing between time in IDR and                          comments by a former Deputy Secretary                  HEA reauthorization, Congress has only
                                            pausing payments), and whether that                       of Education during debates over the                   made three amendments to the ICR
                                            pause on payments was under the                           passage of the 1993 HEA amendments                     language: (1) to allow Graduate PLUS
                                            borrower’s control or not (such as when                   that there would not be a long-term cost               borrowers to participate and prevent
                                            they are placed in certain mandatory                      of these plans because of the interest                 parent PLUS borrowers from doing so;
                                            administrative forbearances). Moreover,                   borrowers would pay. Commenters cited                  (2) to allow more loan statuses to count
                                            a loan cannot be in two different                         that same former official as noting that               toward the maximum repayment period;
                                            statuses in any given month. That                         any forgiveness at the end would be for                and (3) to give the Department the
                                            means it is impossible for a borrower to                  some limited amounts remaining after a                 ability to obtain approval from a
                                            have two different deferments or                          long period. As further support for this               borrower to assist in the sharing of
                                            forbearances on the same loan.                            argument, the commenters argued that                   Federal tax information from the IRS.
                                            Therefore, the awarding of credit toward                  Congress did not explicitly authorize                  These commenters argued that if
                                            forgiveness for any given deferment or                    the forgiveness of loans in the statute,               Congress had wanted the Department to
                                            forbearance is separate and independent                   nor did it appropriate any funds for loan              make changes of the sort proposed in
                                            of the awarding for any other. These                      forgiveness when it created this                       the IDR NPRM it would have done so
                                            deferments and forbearances also                          authority.                                             during those reauthorizations.
                                            operate separately from the other                            Using this historical analysis,                        Other commenters argued along
                                            payment benefits. A month in a                            commenters argued that Congress never                  similar lines by pointing to other
                                            deferment or forbearance is not affected                  intended for the Department to create                  statutory changes to student loan
                                            by a month at any of the other                            changes to REPAYE that would result in                 repayment options since 1993. They
                                            provisions that affect payment amounts,                   at least partial forgiveness for most                  cited the creation of the IBR plan and
                                            including the higher FPL, reduction in                                                                           Public Service Loan Forgiveness in the
                                                                                                      student loan borrowers. Many
                                            discretionary income, or treatment of                                                                            2007 CCRAA, as well as subsequent
                                                                                                      commenters referred to this situation as
                                            interest.                                                                                                        amendments to the IBR plan in 2010, as
                                                                                                      turning the loan into a grant. Several
                                               Changes: None.                                                                                                proof that Congress had considered the
                                                                                                      commenters argued that Congress
                                               Comments: Several commenters                                                                                  parameters of Federal student loan
                                                                                                      established the ICR program as revenue-
                                            asserted that through this regulation the                                                                        repayment and forgiveness programs
                                                                                                      neutral without authorizing cancellation
                                            Department is advising student loan                                                                              and created a strong presumption that
                                                                                                      of borrowers’ debt.
                                            borrowers that they can expect to repay                                                                          Congress did not delegate that authority
                                                                                                         Discussion: Nothing in the HEA
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                                            only a fraction of what they owe, which,                                                                         to the Department. In recounting this
                                                                                                      requires ICR plans or Department
                                            they argue, undercuts the legislative                     regulations to be cost neutral. Congress                 28 See HEA section 455(e).
                                            intent of the Direct Loan program as
                                                                                                                                                               29 Hearing of the Committee on Labor and Human
                                            well as the basic social contract of                           26 See www.studentaid.gov/manage-loans/
                                                                                                                                                             Resources to Amend the Higher Education Act of
                                            borrowing. Additionally, these                            forgiveness-cancellation.                              1965, 103rd Cong. (1993), 48, available at:
                                            commenters alleged that having current                      27 Secs. 455(d)(1)(D) and (E) and 493C of the HEA.   www.files.eric.ed.gov/fulltext/ED363187.pdf.



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                                            history, commenters also argued that                      Expanded Public Service Loan                          455(d)–(e).31 This is discussed in greater
                                            changes made in 2012 to create PAYE                       Forgiveness Program.                                  detail in response to the first comment
                                            and in 2014 to create REPAYE were                           Changes: None.                                      summary in this subsection of the
                                            unlawful.                                                 Major Questions and Separation of                     preamble.
                                               Other commenters cited unsuccessful                    Powers                                                  The Department disagrees that the
                                            attempts by Congress to pass legislation                                                                        Supreme Court’s West Virginia decision
                                            to change the repayment plans as                             Comments: Several commenters                       undermines the Department’s authority
                                            further proof that the Department does                    argued that the changes to REPAYE                     to promulgate the improvements to IDR.
                                            not have the legal authority to take these                violate the major questions doctrine and              That decision described ‘‘extraordinary
                                            actions. They mentioned attempts to                       would violate the constitutional                      cases’’ in which an agency asserts
                                            pass legislation that would adjust the                    principal of separation of powers. They               authority of an ‘‘unprecedented nature’’
                                            terms of IDR plans, forgive a set amount                  pointed to the ruling in West Virginia v.             to take ‘‘remarkable measures’’ for
                                            of outstanding debt right away, and                       EPA to argue that courts need not defer               which it ‘‘had never relied on its
                                            other similar legislative efforts that did                to agency interpretations of vague                    authority to take,’’ with only a ‘‘vague’’
                                            not become law as proof that had                          statutory language and there must be                  statutory basis that goes ‘‘beyond what
                                            Congress wanted to act in this space it                   ‘‘clear Congressional authorization’’ for             Congress could reasonably be
                                            would have done so.                                       the contemplated action. They argued                  understood to have granted.’’ 32 The rule
                                                                                                      that the cost of the proposed rule                    here does not resemble the rare
                                               Discussion: The commenters have
                                                                                                      showed that the regulation was a matter               circumstances described in West
                                            mischaracterized the legislative and
                                                                                                      of economic significance without                      Virginia. There is nothing
                                            regulatory history of the Direct Loan
                                                                                                      Congressional authorization. They also                unprecedented or novel about the
                                            Program. As previously discussed, the
                                                                                                      noted that the higher education                       Department relying on section 455 of
                                            Secretary has broad authority to develop
                                                                                                      economy affects a significant share of                the HEA as statutory authority for
                                            and promulgate regulations for
                                                                                                      the U.S. economy.                                     designing and administering repayment
                                            programs he administers, including the                       Commenters also argued that the
                                            Direct Loan Program under section 410                                                                           plans based on income. In addition,
                                                                                                      changes had political significance since
                                            of GEPA.30 Section 455(d)(1)(D) of the                                                                          under Section 493C(b) of the HEA,33 the
                                                                                                      they were mentioned during the
                                            HEA gives the Secretary the authority to                                                                        Secretary is authorized to carry out the
                                                                                                      Presidential campaign and as part of a
                                            determine the repayment period under                                                                            income-based repayment program plan.
                                                                                                      larger plan laid out in August 2022 that
                                            an ICR plan with a maximum of 25                                                                                Indeed, as previously discussed, the
                                                                                                      included the announcement of one-time
                                            years. Congress did not specify a                                                                               Code of Federal Regulations has
                                                                                                      student debt relief. To further that
                                            minimum repayment period and did not                                                                            included multiple versions of
                                                                                                      argument, they pointed to additional
                                            limit the Secretary’s authority to do so.                                                                       regulations governing income-driven
                                                                                                      legislative efforts by Congress to make a
                                            We also note that, over the past decades                                                                        repayment for decades.34 Yet Congress
                                                                                                      range of changes to the loan programs
                                            in which these plans have been                                                                                  has taken no action to limit the
                                                                                                      over the last several years. These
                                            available, Congress has not taken any                                                                           Secretary’s discretion to develop ICR
                                                                                                      include changes to make IDR more
                                            action to eliminate the PAYE and                                                                                plans that protect taxpayers and best
                                                                                                      generous, cancel loan debt, create new
                                            REPAYE plans or to change their terms.                                                                          serve borrowers and their families.
                                                                                                      accountability systems, make programs                   As such, the rule is consistent with
                                            ED has used this authority three times                    more targeted, make programs more
                                            in the past: to create the first ICR plan                                                                       the Secretary’s clear statutory authority
                                                                                                      flexible for workforce education, and                 to design and administer repayment
                                            in 1995, to create PAYE in 2012, and to                   others. Some commenters took
                                            create REPAYE in 2015. The only time                                                                            plans based on income.
                                                                                                      arguments related to one-time debt relief               Changes: None.
                                            Congress acted to constrain or adjust the                 even further, saying that because some
                                            Department’s authority relating to ICR                    parameters of the proposed changes to                 Administrative Procedure Act
                                            was in 2007 legislation when it                           REPAYE and one-time debt relief were
                                            provided more specificity over the                                                                                Comments: Commenters argued that
                                                                                                      announced at the same time that they                  the extent of the changes proposed in
                                            periods that can be counted toward the                    are inextricably linked.
                                            maximum repayment period. Even then,                                                                            the IDR NPRM exceed the Department’s
                                                                                                         The commenters then argued that                    statutory authority and violate the
                                            it did not adjust language related to how                 neither of the two cited sources of
                                            much borrowers would pay each month.                                                                            Administrative Procedure Act (APA).
                                                                                                      general statutory authority—Sections                  They argued that converting loans into
                                            Congress also did not address these                       410 and 414 of GEPA—provides
                                            provisions when it improved access to                                                                           grants was not statutorily authorized
                                                                                                      sufficient statutory basis for the                    and this proposal is instead providing
                                            automatic sharing of Federal tax                          proposed changes.
                                            information for the purposes of                                                                                 what they considered to be ‘‘free
                                                                                                         A different set of commenters said the             college.’’
                                            calculating payments on ICR in 2019.                      ‘‘colorable textual basis’’ in the vague
                                               Congress has also not included any                                                                             Discussion: The Department does not
                                                                                                      statutory language was not enough to                  agree with the claim that the REPAYE
                                            language related to these plans in                        authorize changes of the magnitude
                                            annual appropriations bills even as it                                                                          plan turns a loan into a grant. Borrowers
                                                                                                      proposed in the IDR NPRM.                             who have incomes that are above 225
                                            has opined extensively on a number of                        Given these considerations,
                                            other issues related to student loan                                                                            percent of FPL and are high relative to
                                                                                                      commenters said that the Department
                                            servicing. For instance, appropriations                                                                         their debt will repay their debt in full
                                                                                                      must explain how the underlying statute
                                            bills for multiple years in a row have                                                                          under the new plan. Borrowers with
                                                                                                      could possibly allow changes of the
                                            consistently laid out expectations for                                                                          incomes consistently below 225 percent
                                                                                                      magnitude contemplated in the
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                                            the construction of new contracts for the                                                                       of FPL or with incomes that are low
                                                                                                      proposed rule.
                                            companies hired by the Department to                         Discussion: The rule falls comfortably               31 20 U.S.C. 1087e(d)–(e).
                                            service student loans. Appropriations                     within Congress’s clear and explicit                    32 142 S. Ct. at 2609.
                                            language also created the Temporary                       statutory grant of authority to the                     33 20 U.S.C. 1098e(b).
                                                                                                      Department to design a repayment plan                   34 See, e.g., 60 FR 61820 (Dec. 1, 1995); 73 FR
                                              30 20 U.S.C. 1221e–3.                                   based on income. See HEA section                      63258 (Oct. 23, 2008).



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                                            relative to their debt will receive some                  to the claims made by these                           low-income school or educational
                                            loan cancellation. In many cases, loan                    commenters, these rules do not turn                   service agency, and meet other
                                            cancellation will come after borrowers                    loans into grants and have no                         qualifications. See, HEA section 460 (20
                                            have made interest and principal                          connection to legislative proposals                   U.S.C. 1087j).
                                            payments on the loan and, as a result,                    made for free community college.                         Other limitations arise from the
                                            the amount cancelled will be smaller                        Changes: None.                                      interaction between the HEA and the
                                            than the original loan. Many borrowers                                                                          Administrative Procedure Act. When
                                                                                                      Vesting Clause
                                            default under the current system                                                                                crafting a regulation, the Department
                                            because they cannot afford to repay                          Comments: Commenters argued that                   must have a reasoned basis for the
                                            their loans, and even the more                            the changes to REPAYE would violate                   changes it pursues and they must be
                                            aggressive collection efforts available to                the vesting clause by creating an                     allowable under the statute. For
                                            the Department once a borrower                            unconstitutional delegation of                        instance, we do not believe there is a
                                            defaults frequently do not result in full                 legislative power to the Department.                  reasonable basis at this time for a
                                            repayment. The IDR plans are                              They claimed that the Department’s                    regulation that protects 400 percent of
                                            repayment plans for Federal student                       reading of the authority granted by the               FPL. We have reviewed available
                                            loans that will provide student loan                      1993 HEA provision is overly broad and                research, looked into signs of material
                                            borrowers greater access to affordable                    lacks any sort of limiting principle to               distress from borrowers, and see nothing
                                            repayment terms based upon their                          what the commenters described as                      that gives us a reasoned basis to protect
                                            income, reduce negative amortization,                     unfettered and unilateral discretion of               that level of income.
                                            and result in lower monthly payments,                     the Secretary. They argued that such an                  The final rule is therefore operating
                                            as well help borrowers to avoid                           expansive view of this authority was                  within the Secretary’s statutory
                                            delinquency and default.                                  untenable.                                            authority. We developed these
                                               Changes: None.                                            Discussion: In this rule, the                      regulations based upon a reasoned basis
                                               Comments: Commenters argued that                       Department is exercising the authority                for action.
                                            the rule violates the APA, because it                     given to it by Congress in Section 455(d)                Changes: None.
                                            was promulgated on a contrived reason.                    and (e) of the HEA (20 U.S.C. 1087e(d)
                                                                                                      and (e)) to establish regulations for                 Appropriations Clause
                                            In making this argument, they cited
                                            Department of Commerce v. New York,                       income contingent repayment plans, as                    Comments: Commenters argued that
                                            in which the Supreme Court overruled                      it has done several times previously.                 because Congress did not specifically
                                            attempts to add a question related to                     The Department is further exercising its              authorize the spending of funds for the
                                            citizenship on the 2020 census because                    rulemaking authority under Sec. 414 of                proposed changes to REPAYE, the
                                            the actual reason for the change did not                  the Department of Education                           proposed rules would violate the
                                            match the goals stated in the                             Organization Act (20 U.S.C. 3474) to                  appropriations clause. They argued, in
                                            administrative record. The commenters                     prescribe rules and regulations as the                particular, that cancellation of debt
                                            argued that if the Department’s goals for                 Secretary determines necessary or                     requires specific Congressional
                                            this rule were truly to address                           appropriate to administer and manage                  appropriation, and that the Department
                                            delinquency and default, or to make                       the functions of the Department.                      has not identified such a Congressional
                                            effective and affordable loan plans, we                   Finally, under Sec. 410 of GEPA (20                   authorization. They argued that the
                                            would have tailored the parameters                        U.S.C. 1221e–3), the Secretary is                     treatment of unpaid monthly interest,
                                            more clearly. The commenters pointed                      authorized to make, promulgate, issue,                the protection of more income, the
                                            to the fact that borrowers with incomes                   rescind, and amend rules and                          reductions of the share of discretionary
                                            at what they calculated to be the 98th                    regulations governing the manner of                   income put toward payments, and
                                            percentile would be the point at which                    operation of, and governing the                       forgiveness sooner on small balances are
                                            it does not make sense to choose this                     applicable programs administered by,                  all forms of cancellation that are not
                                            plan, as well as protecting an amount of                  the Department. These rules further                   paid for. Along similar lines, other
                                            income at the 78th percentile for a                       improve the IDR plans and are                         commenters argued that the proposed
                                            single person between the ages of 22 to                   consistent with the Secretary’s authority             changes would turn the loan program
                                            25 as proof that it is not targeted.                      to administer the Direct Loan program.                into a grant and such a grant is not paid
                                               The commenters argued that this lack                      Contrary to the claims by the                      for under the HEA. These commenters
                                            of targeting shows that the actual goal of                commenters, these regulations reflect                 pointed to language used by the
                                            the plan is unstated. The commenters                      and are consistent with statutory limits              Department about creating a safety net
                                            theorized that an unstated goal must be                   on the Secretary’s authority to establish             for borrowers as proof that these
                                            to create a ‘‘free college’’ plan by                      rules for ICR plans under Sec. 455 of the             changes would make loans into grants.
                                            another name. They argued that the                        HEA. For instance, the HEA provides                   They argued that such grants would
                                            Department must more explicitly state                     that a borrower’s payments must be                    result in spending that is neither
                                            that its goal is to replace some loans                    based upon their adjusted gross income,               reasonable nor accountable since there
                                            with grants or explain why it is                          that it must include the spouse’s income              is no clear expectation that amounts
                                            providing such extensive untargeted                       if the borrower is married and files a                would be repaid.
                                            subsidies.                                                joint tax return, and that repayment                     Discussion: These commenters
                                               Discussion: In the IDR NPRM and in                     cannot last beyond 25 years. Similarly,               mischaracterize the Department’s rules.
                                            this preamble, the Department provides                    the statutory language does not provide               These rules modify the REPAYE
                                            a full explanation of the rationale for                   for partial forgiveness over a period of              payment plan to better serve borrowers
                                            and purpose of these final rules. These                   years as it does in other parts of the                and make it easier for them to satisfy
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                                            final rules are consistent with, and, in                  HEA. For example, under the Teacher                   their repayment obligation. They do not
                                            fact, effectuate, Congress’ intent to                     Loan Forgiveness Program, borrowers                   change the loan to a grant. In section
                                            provide income-driven repayment plans                     may be eligible for forgiveness of up to              455 of the HEA, Congress provided that
                                            that provide borrowers with terms that                    $17,500 on their Federal student loans                borrowers who could not repay their
                                            put them in a position to repay their                     if they teach full time for 5 complete                loans over a period of time established
                                            loans without undue burden. Contrary                      and consecutive academic years in a                   by the Secretary would have the


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                                            remaining balance on the loans forgiven.                  income protection threshold at 150                    not allow for the Department’s proposal
                                            That has been a part of the Direct Loan                   percent of the FPL for purposes of IBR.               to not charge unpaid monthly interest to
                                            Program since its original                                However, Congress did not apply the                   borrowers. They argued that the ICR
                                            implementation in 1994. The new rules                     same threshold to ICR. The HEA                        statutory language requires the Secretary
                                            are a modification of the prior rules to                  prescribes no income protection                       to charge the borrower the balance due,
                                            reflect changing economic conditions                      threshold for ICR. Instead, Congress                  which includes accrued interest.
                                            regarding the cost of higher education                    retained the language in Sec. 455(e)(4)               Similarly, they argue that the statute
                                            and the burden of student loan                            of the HEA (20 U.S.C. 1087e(e)(4)) that               requires the Secretary to establish plans
                                            repayment on lower income borrowers.                      gives the Secretary the discretion to                 for repaying principal and interest of
                                            Over the years, Congress has provided                     establish the rules for ICR repayment                 Federal loans. They also noted that the
                                            for loan forgiveness or discharge in                      schedules. The Secretary is exercising                statutory text discusses how the
                                            several different circumstances and, in                   that discretion here. In 2012, when we                Department may choose when to not
                                            the great majority of situations,                         created PAYE, we raised the income                    capitalize interest, which shows that
                                            including loan forgiveness resulting                      protection threshold, among other                     Congress considered what flexibilities to
                                            from an IDR repayment plan, the costs                     provisions, to 150 percent to align with              provide to the Secretary and that does
                                            are paid through mandatory                                IBR.                                                  not include the treatment of interest
                                            expenditures. The new rules simply                          For this rule, the Department has                   accrual. They also pointed to changes
                                            modify the terms of an existing loan                      recognized that the economy, as well as               made to the HEA in the CCRAA that
                                            repayment plan, established under                         student borrowers’ debt loads and the                 changed the treatment of interest
                                            Congressional authority, and will be                      extent to which they are able to repay                accrual on subsidized loans as proof
                                            paid for through the same process.                        have changed substantially and the                    that Congress considered whether to
                                               The commenters similarly                               Department has conducted a new                        give the Secretary more flexibility on
                                            misunderstand the goal in highlighting                    analysis to establish the appropriate                 the treatment of interest and chose not
                                            this plan as a safety net for borrowers.                  amount of protected income. This                      to do so. Some commenters also pointed
                                            The idea of a safety net is not to provide                analysis is based upon more recent data               to the fact that the previous most
                                            an upfront grant, it is to provide a                      and reflects the current situation of the             generous interpretation of this authority
                                            protection for borrowers who are unable                   student loan portfolio and the                        for interest benefits—the current
                                            to repay their debt because they do not                   circumstances for individual student                  REPAYE plan—did not go as far on not
                                            make enough money.                                        borrowers, which is unquestionably                    charging unpaid monthly interest as the
                                               Changes: None.                                         different than it was three decades ago               proposed rule.
                                                                                                      and has even shifted in the 11 years                     Discussion: Sec. 455(e)(5) of the HEA
                                            225 Percent Income Protection
                                                                                                      since the Department increased the                    (20 U.S.C. 1087e(e)(5)) defines how to
                                            Threshold
                                                                                                      income protection threshold for an ICR                calculate the balance due on a loan
                                              Comments: Commenters argued that                                                                              repaid under an ICR plan. However, it
                                                                                                      plan when we created PAYE. Since
                                            nothing in the 1993 HEA amendments                                                                              does not restrict the Secretary’s
                                                                                                      2012, the total amount of outstanding
                                            authorized the Department to protect as                                                                         discretion to define or limit the amounts
                                                                                                      Federal student loan debt and the
                                            much as 225 percent of FPL. Along                                                                               used in calculating that balance. Beyond
                                                                                                      number of borrowers has grown by over
                                            those lines, other commenters argued                                                                            that, section 410 of GEPA,36 provides
                                                                                                      70 percent and 14 percent,
                                            that Congress took action to set the                                                                            that ‘‘The Secretary . . . is authorized to
                                                                                                      respectively.35 This increase in
                                            income protection threshold at 100                                                                              make, promulgate, issue, rescind, and
                                                                                                      outstanding loan debt has left borrowers
                                            percent of FPL in 1993, then raised it to                                                                       amend rules and regulations governing
                                                                                                      with fewer resources for their other
                                            150 percent in 2007, and Congress did                                                                           the manner of operation of, and
                                                                                                      expenses and impacts their ability to
                                            not intend to raise it higher.                                                                                  governing the applicable programs
                                              Discussion: Section 455(e)(4) of the                    buy a house, save for retirement, and
                                                                                                      more. We reconsidered the threshold to                administered by, the Department,’’
                                            HEA authorizes the Secretary to                                                                                 which includes the Direct Loan
                                            establish ICR plan procedures and                         provide more affordable loan payments
                                                                                                      to student borrowers. The Department                  program. Similarly, section 414 of the
                                            repayment schedules through                                                                                     Department of Education Organization
                                            regulations based on the appropriate                      chose the 225 percent threshold based
                                                                                                                                                            Act 37 authorizes the Secretary to
                                            portion of annual income of the                           on an analysis of data from the U.S.
                                                                                                                                                            ‘‘prescribe such rules and regulations as
                                            borrower and the borrower’s spouse, if                    Census Bureau’s Survey of Income and
                                                                                                                                                            the Secretary determines are necessary
                                            applicable. Contrary to the assertion of                  Program Participation (SIPP) for
                                                                                                                                                            or appropriate to administer and
                                            the commenter, the HEA did not                            individuals aged 18–65 who attended
                                                                                                                                                            manage the functions of the Secretary or
                                            establish the threshold of 100 percent of                 postsecondary institutions and who
                                                                                                                                                            the Department.’’ We also note that
                                            FPL for ICR.                                              have outstanding student loan debt. The
                                                                                                                                                            while section 455(e)(5) of the HEA
                                              The Student Loan Reform Act of 1993                     Department looked for the point at
                                                                                                                                                            defines how to calculate the balance due
                                            provided that loans paid under an                         which the share of those who report
                                                                                                                                                            on a loan repaid under an ICR plan, it
                                            income contingent repayment plan                          material hardship—either being food
                                                                                                                                                            does not restrict the Secretary’s
                                            would have required payments                              insecure or behind on their utility
                                                                                                                                                            discretion to define or limit the amounts
                                            measured as a percentage of the                           bills—is statistically different from
                                                                                                                                                            used in calculating that balance. These
                                            appropriate portion of the annual                         those whose family incomes are at or
                                                                                                                                                            regulations reflect the Secretary’s
                                            income of the borrower as determined                      below the FPL.
                                                                                                        Changes: None.                                      judgment as to how that balance should
                                            by the Secretary. The decision to set that                                                                      be calculated.
                                            portion of income at a borrower’s                         Interest Benefits                                        The interest benefit provided in these
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                                            income minus the FPL was a choice                           Comments: Commenters argued that                    regulations is one aspect of the many
                                            made by the Department when it                            the underlying statutory authority does               distinct, independent, and severable
                                            promulgated regulations for the Direct                                                                          changes to the REPAYE plan included
                                            Loan Program in 1994.                                       35 Federal Student Aid Portfolio Summary,
                                              In 2007, Congress passed the CCRAA,                     available at: studentaid.gov/data-center/student/       36 20 U.S.C. 1221e–3.

                                            which created the IBR plan and set the                    portfolio.                                              37 20 U.S.C. 3474.




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                                            in these rules that will allow borrowers                  established in the Master Promissory                       had a $0 payment on IDR and would be
                                            to be in a better position to repay more                  Note.                                                      gaining credit toward ultimate loan
                                            of their loan debt, which is in the best                    Discussion: The determination of the                     forgiveness. This concern has become
                                            interests of the taxpayers. Defaults do                   accounting treatment of interest that is                   more pronounced over time as the
                                            not benefit taxpayers or borrowers.                       not charged as cancelled debt or                           Department has taken a closer look at
                                               Changes: None.                                         foregone interest is not determinative of                  how payment counts toward IDR are
                                               Comment: Commenters argued that                        the Secretary’s authority to set the terms                 being tracked and how successful
                                            since Congress has passed laws setting                    of IDR plans.                                              borrowers are at navigating forgiveness
                                            the interest rate on student loans that                     Changes: None.                                           programs as the first cohorts of
                                            the Department lacks the authority to                     Deferment and Forbearance                                  borrowers are reaching the point when
                                            not charge unpaid monthly interest                                                                                   they would be eligible for relief. These
                                            because doing so is akin to setting a zero                   Comments: Commenters argued that                        problems would not have been as
                                            percent interest rate for some borrowers.                 the Department lacked the statutory                        immediately pressing in past instances
                                               Discussion: The HEA has numerous                       authority to award credit toward                           of rulemaking since borrowers would
                                                                                                      forgiveness for a month spent in a                         not yet have been eligible for
                                            provisions establishing different interest
                                                                                                      deferment or forbearance beyond the                        forgiveness so the effect on borrowers
                                            rates and different interest rate formulas
                                                                                                      economic hardship deferment already                        getting relief would not have been
                                            on Federal student loans during
                                                                                                      identified in section 455(e)(7) of the                     readily observable. This change reflects
                                            different periods as well as limiting the
                                                                                                      HEA. They argued that the 2007 changes                     updated information available to the
                                            amount of unpaid monthly interest that
                                                                                                      to include economic hardship                               Department about how to make
                                            may be capitalized. See, for example,
                                                                                                      deferments in ICR showed that Congress                     repayment work better. Finally, we note
                                            HEA sections 427A 38 and 455(e)(5).39
                                                                                                      did not intend to include other statuses.                  that these changes would not be applied
                                            Those provisions do not require that the
                                                                                                      They also pointed to the underlying                        to FFEL loans held by lenders.
                                            maximum interest rate be charged to
                                                                                                      statutory language that provides that the                    Changes: None.
                                            borrowers at all times during the life of                 only periods that can count toward
                                            the loan. The HEA and the Department’s                    forgiveness are times when a borrower                      10-Year Cancellation
                                            regulations 40 have long included                         is not in default, is in an economic                          Comments: Commenters argued that
                                            different provisions providing that                       hardship deferment period, or made                         the creation of PSLF in 2007 showed
                                            interest will not be charged in a variety                 payments under certain repayment                           that Congress did not intend for the
                                            of circumstances, including under                         plans. They asserted that the                              Department to authorize forgiveness as
                                            income-driven repayment plans. See, for                   Department cannot otherwise count a                        soon as 10 years for borrowers not
                                            example, Sec. 428(b)(1)(M) of the                         month toward forgiveness when a                            eligible for that benefit.
                                            HEA 41 and 34 CFR 685.204(a) (interest                    monetary payment is not made.                                 Other commenters argued that HEA
                                            not charged during periods of deferment                   Commenters also noted that this                            section 455(e)(5), which states that
                                            on subsidized loans); 34 CFR                              approach toward deferments and                             payments must be made for ‘‘an
                                            685.209(a)(2)(iii) (unpaid interest not                   forbearances is inconsistent with how                      extended period of time’’ implies that
                                            charged for first three years under                       the Department has viewed similar                          the time to forgiveness must be longer
                                            PAYE); Sec. 455(a)(8) of the HEA 42 and                   language under sections 428(b)(1)(M) 43                    than 10 years’ worth of monthly
                                            34 CFR 685.211(b) (interest rate can be                   and 493C(b)(7) 44 of the HEA.                              payments but less than 25 years.
                                            reduced as repayment incentive); and 34                      Discussion: The provisions in Sec.                         Discussion: HEA section 455(d)(1)(D)
                                            CFR 685.213(b)(7)(ii)(C) (if borrower’s                   455(e)(7) of the HEA are not exclusive                     requires the Secretary to offer borrowers
                                            loan is reinstated after initial disability               and do not restrict the Secretary’s                        an ICR plan that varies annual
                                            discharge, interest not charged during                    authority to establish the terms of ICR                    repayment amounts based upon the
                                            period in which payments not required).                   plans. That section of the HEA                             borrower’s income and that is paid over
                                            Congress has never taken action to                        prescribes the rules for calculating the                   an extended period of time, not to
                                            reverse those provisions. Therefore,                      maximum repayment period for which                         exceed 25 years.
                                            there is no support for the commenters’                   an ICR plan may be in effect for the                          For the lowest balance borrowers, we
                                            suggestion that the statutory provisions                  borrower and the time periods and                          believe that 10 years of monthly
                                            regarding the maximum interest rate are                   circumstances that are used to calculate                   payments represents an extended period
                                            determinative of when that rate must be                   that maximum repayment period. It is                       of time. Borrowers with low balances
                                            charged.                                                  not intended to define the periods under                   are most commonly those who enrolled
                                               Changes: None.                                         which a borrower may receive credit                        in postsecondary education for one
                                               Comments: Commenters argued that                       toward forgiveness. The commenters                         academic year or less. This provision,
                                            the Department did not specify whether                    did not specify what they meant in                         therefore, requires that a borrower repay
                                            interest that is not charged will be                      terms of inconsistent treatment, but the                   their loan for a period that can be 10
                                            treated as a canceled debt or as revenue                  Department is not proposing to make                        times longer than the duration of their
                                            that the Secretary decided to forego. In                  underlying changes to the terms and                        enrollment in postsecondary education.
                                            the latter situation, the commenters                      conditions related to borrower eligibility                 The Department agrees that as balances
                                            argued that the Department has not                        for a given deferment or forbearance or                    increase, the amount of time to repay
                                            established how unilaterally forgoing                     how the borrower’s loans are treated                       should be extended. We, therefore, used
                                            interest is not an abrogation of amounts                  during those periods in terms of the                       a slope that increases the amount of
                                            owed to the U.S. Treasury, as                             amount of interest that accumulates.                       time to repay as balances grow, up to
                                                                                                      Rather, we are concerned that, despite                     the maximum of 25 years’ worth of
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                                              38 20 U.S.C. 1077a.
                                              39 20 U.S.C. 1087(e)(5).
                                                                                                      the existence of the IDR plans,                            monthly payments as provided in the
                                              40 See, for example, §§ 685.202(a),
                                                                                                      borrowers are ending up in deferments                      HEA.
                                            685.209(a)(2)(iii), 685.209(c)(2)(iii)(A) and             or forbearances when they would have                          In response to the commenters who
                                            685.221(b)(3).                                                                                                       asserted that the proposed rule violated
                                              41 20 U.S.C. 1078(b)(1)(M).                                  43 20 U.S.C. 1078(b)(1)(M).                           Congressional intent because of the
                                              42 20 U.S.C. 1087e(a)(8).                                    44 20 U.S.C. 1098e(b)(7).                             varying payment caps for PSLF and


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                                            non-PSLF borrowers, we disagree. PSLF                     borrowers in default had original loan                regardless of whether the borrower was
                                            is a separate program created by                          balances of $12,000 or below. While it                married filing jointly or separately.) The
                                            Congress. For most borrowers, PSLF                        is true that lower balances equate to                 Department believes that if the spouse’s
                                            will offer them forgiveness over a much                   lower loan payments, the commenter                    income is not being counted for the
                                            shorter period than what they would                       fails to consider that many borrowers                 purpose of establishing payment
                                            otherwise have, even under the more                       with lower balances either did not                    amounts then the spouse should not be
                                            generous terms created by this rule.                      complete a postsecondary program or                   included in the household size, which
                                               Changes: None.                                         obtained only a certificate. They likely              has the effect of protecting more income
                                            Federal Claims Collections Standards                      received lower financial returns and                  from payments.
                                                                                                      demonstrably are more likely to struggle                 As noted in the Implementation Date
                                               Comments: A few commenters argued                      with repaying their loans. For borrowers              of These Regulations section, the
                                            that the proposed rule violated the                       with persistently low income, requiring               Department will be early implementing
                                            Federal Claims Collection Standards                       payments for 20 years would not result                this change on July 30, 2023. Between
                                            (FCCS). They pointed to 31 U.S.C.                         in substantial increases in payments. In              that date and July 1, 2024, borrowers
                                            3711(a), which requires the heads of                      other words, reducing the time to                     completing the electronic application
                                            Federal agencies to try to collect debts                  forgiveness for such borrowers would                  will have their spouse automatically
                                            owed to the United States and cited                       not lead to large amounts of forgone                  excluded from their household size if
                                            regulations stemming from that                            payments.                                             they are married and file a separate tax
                                            provision that also require agencies to                      Changes: None.                                     return. Those who file separately and
                                            ‘‘aggressively’’ collect debts owed to                                                                          wish to include their spouse in their
                                            agencies. They argued that since the                      Definitions (§ 685.209(b))
                                                                                                                                                            household size will have to complete
                                            statute does not grant the Department                        Comments: Several commenters                       the separate alternative documentation
                                            the authority to waive, modify, or cancel                 suggested modifying the definition of                 of income process to include the
                                            these debts, that it must abide by these                  ‘‘family size’’ to simplify and clarify               spouse’s income. This change will affect
                                            financial management duties. In                           language in the proposed regulations.                 any IDR plan chosen by Direct Loan
                                            particular, they argued that choosing not                 One commenter suggested that we                       borrowers. It will not be early
                                            to charge unpaid monthly interest                         revise the definition of ‘‘family size’’ to           implemented for FFEL borrowers.
                                            would violate those obligations.                          better align it with the definition of a                 Beyond that change that was also in
                                               Several commenters also argued that                    dependent or exemption on Federal                     the IDR NPRM, the Department chose
                                            granting forgiveness after as few as 10                   income tax returns, similar to changes                not to adjust the definition of ‘‘family
                                            years’ worth of payments violated the                     made to simplify the Free Application                 size’’ to match the IRS definition
                                            FCCS because those borrowers would be                     for Federal Student Aid (FAFSA) that                  because we are concerned about making
                                            the ones most likely able to repay their                  begin in the 2024–2025 cycle. Another                 the process of determining one’s
                                            debts due to their small loan balances.                   commenter stated that changing the                    household size through a manual
                                            Shortened time to forgiveness would                       definition of ‘‘family size’’ in this                 process too onerous or confusing. The
                                            mean the Department is failing to                         manner will streamline the IDR process                family size definition we proposed in
                                            aggressively collect debt due.                            and make it easier to automatically                   the IDR NPRM captures many of the
                                               Discussion: The Department disagrees                   recertify a borrower’s participation                  same concepts the IRS uses in its
                                            with these commenters. The FCCS                           without needing supplemental                          definition of dependents. This includes
                                            requires agencies to try to collect money                 information from the borrower.                        considering that the individual receives
                                            owed to them and provides guidance to                        Discussion: We appreciate the                      more than half their support from the
                                            agencies that functions alongside the                     commenters’ suggestions to change the                 borrower, as well as that dependents
                                            agencies’ own regulations addressing                      definition of ‘‘family size’’ to simplify             other than children must live with the
                                            when an agency should compromise                          the recertification process and make the              borrower. The full IRS definition
                                            claims. The Department has broad                          definition for FAFSA and IDR                          includes other considerations
                                            authority to settle and compromise                        consistent. We agree that it is important             appropriate for tax filing but that could
                                            claims under the FCCS and as reflected                    that borrowers be able to use data from               confuse borrowers when they determine
                                            in 34 CFR 30.70. The HEA also grants                      their Federal tax returns to establish                who to include in their household size
                                            the Secretary authority to settle and                     their household size for IDR. Doing so                for IDR. These considerations include a
                                            compromise claims in Section                              will make it easier for borrowers to                  cap on the amount of income an
                                            432(a)(6) 45 of the HEA. This IDR plan,                   enroll and stay enrolled in IDR. For that             individual could have to be considered
                                            however, is not the implementation of                     reason, we have added additional                      a dependent and provisions for how to
                                            the Department’s authority to                             clarifying language noting that                       address which household a child of a
                                            compromise claims, it is an                               information from Federal tax returns                  divorced couple should be included
                                            implementation of the Department’s                        can be used to establish household size.              within. By using a simplified, easy to
                                            authority to prescribe income-                               The Department notes that in the IDR               understand definition of family size,
                                            contingent repayment plans under Sec.                     NPRM we did adopt one key change in                   borrowers will have the ability to
                                            455 of the HEA.                                           the definition of ‘‘family size’’ that is             accurately modify the family size data
                                               The Department also disagrees that                     closer to IRS treatment and is being kept             retrieved from the IRS. Additionally, the
                                            low-balance borrowers are most likely to                  in this final rule. That change is to                 definition explains when the borrower
                                            be able to repay their debts. In fact,                    exclude the spouse from the household                 is permitted to include the spouse in the
                                            multiple studies as well as Department                    size if the borrower is married filing                family size for all IDR plans.
                                            administrative data establish that lower                  separately. Prior to this change it was                  Changes: We added subparagraph (ii)
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                                            balance borrowers are at a far greater                    possible for a borrower on the IBR, ICR,              to the definition of ‘‘family size’’ in
                                            likelihood of defaulting on their loan                    or PAYE plans to file separately and still            § 685.209(b).
                                            than those with larger balances. As                       include the spouse in their household.                   Comments: One commenter urged the
                                            noted in the IDR NPRM, 63 percent of                      (This was not possible in the REPAYE                  Department to create consistent
                                                                                                      plan because it always required the                   treatment for all student loan borrowers
                                              45 20 U.S.C. 1082(a)(6).                                inclusion of the spouse’s income                      (including borrowers with Direct Loans,


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                                            FFELs and graduate and Parent PLUS                        one place will make it easier to                         One commenter said that excluding
                                            borrowers in both programs) under our                     understand the terms of the various                   parent PLUS borrowers from most IDR
                                            regulations. This commenter argued that                   plans.                                                plans, especially parents of students
                                            the divisions between FFEL and Direct                       Changes: None.                                      who also qualify for Pell Grants,
                                            Loans frustrate borrowers and generate                    Borrower Eligibility for IDR Plans                    suggested that the Department is not
                                            resentment. The commenter also                            (§ 685.209(c))                                        concerned that parents are extremely
                                            believes these changes would reduce                                                                             burdened by parent PLUS loan
                                            complexity in the student loan system                        Comments: Many commenters                          payments. Several commenters stated
                                            and particularly help Black and                           supported our proposed changes to the                 that if parents are still unable to access
                                            Hispanic borrowers who need to borrow                     borrower eligibility requirements for the             the REPAYE plan benefits, some or all
                                            loans to pay for their education.                         IDR plans. However, many commenters                   of those repayment improvements
                                               Discussion: The Department supports                    expressed concern that we continued                   should be implemented into the ICR
                                            aligning program regulations for Direct                   the existing exclusion of parent PLUS                 plan available to parent PLUS
                                            Loan and FFEL borrowers where                             borrowers from the REPAYE plan. These                 borrowers.
                                            appropriate and permitted by statute                      commenters argued that parent PLUS                       One commenter asserted that students
                                            and has determined it is appropriate to                   borrowers struggle with repayment just                attending Historically Black Colleges
                                            align the definition of ‘‘family size’’ in                as student borrowers do, and that                     and Universities (HBCUs) are more
                                            § 682.215(a)(3) of the FFEL program                       including parents in these regulations                likely to rely on parent PLUS loans than
                                            regulations with the definition in                        would be a welcome relief.                            students attending other institutions.
                                            § 685.209(b), with the exception of                          Commenters also expressed concern                  The commenter further stated that given
                                            § 685.209(b)(ii), which must be                           that our proposed regulations excluded                racial disparities in college affordability,
                                            excluded because the FUTURE Act only                      Direct Consolidation Loans that repaid a              the proposed REPAYE plan should be
                                            permits the sharing of tax information                    parent PLUS loan from the benefits that               amended to include Direct
                                            from the IRS to the Department and not                    student borrowers would receive. These                Consolidation loans that repaid Direct
                                            to private parties who hold FFEL loans.                   commenters noted that parents may                     or FFEL parent PLUS Loans.
                                            The alignment of the definition in                        have borrowed student loans to finance                   Discussion: While we understand that
                                            § 682.215(a)(3) provides for the                          their own education in addition to                    some parent PLUS borrowers may
                                            exclusion of the borrower’s spouse from                   taking out a parent PLUS loan to pay for              struggle to repay their debts, parent
                                            the family size calculation except for                    their child’s education.                              PLUS loans and Direct Consolidation
                                            borrowers who file their Federal tax                         One commenter alleged that the                     loans that repaid a parent PLUS loan
                                            return as married filing jointly.                         Direct Consolidation Loan repayment                   will not be eligible for REPAYE under
                                               The Department will work with FFEL                     plan for parent PLUS borrowers is not                 these final regulations. The HEA has
                                            partners, including lenders and                           as helpful compared to the other                      long distinguished between parent
                                            guaranty agencies, to make sure that                      repayment plans. This commenter noted                 PLUS loans and loans made to students.
                                            borrowers repaying their FFEL loans                       that the only IDR plan available to                   In fact, section 455(d)(1)(D) and (E) of
                                            under the IBR plan are treated                            parent PLUS borrowers when they                       the HEA prohibit the repayment of
                                            consistently with Direct Loan borrowers                   consolidate is the ICR plan, which uses               parent PLUS loans through either ICR or
                                            with respect to borrowers’ family size.                   an income protection calculation based                IBR plans.
                                            Unlike the comparable changes to the                      on 100 percent of the applicable poverty                 Following changes made to the HEA
                                            Direct Loan program, this change will                     guideline compared to 150 percent of                  by the Higher Education Reconciliation
                                            not be early implemented and will                         the applicable poverty guideline for the              Act of 2005, the Department determined
                                            instead go into effect on July 1, 2024.                   other existing IDR plans. The                         that a Direct Consolidation Loan that
                                            We are treating FFEL loans differently                    commenter also noted that the only IDR                repaid a parent PLUS loan first
                                            in this case to make certain there is                     plan available to borrowers with a                    disbursed on or after July 1, 2006, could
                                            sufficient time to adjust systems and                     Direct Consolidation Loan that repaid a               be eligible for ICR.46 The determination
                                            avoid a situation where some lenders                      parent PLUS loan requires parents to                  was partly due to data limitations that
                                            voluntarily choose to implement this                      pay 20 percent of their discretionary                 made it difficult to track the loans
                                            change and others do not.                                 income compared to 10 percent for the                 underlying a consolidation loan, as well
                                               Changes: We have revised the                           other existing IDR plans available to                 as recognition of the fact that a Direct
                                            definition of ‘‘family size’’ in                          students. Together, these conditions                  Consolidation Loan is a new loan. In
                                            § 682.215(a)(3) to align with the                         make monthly payments unmanageable                    granting access to ICR, the Department
                                            definition of ‘‘family size’’ in                          for parent PLUS borrowers according to                balanced our goal of allowing the
                                            § 685.209(b).                                             this commenter.                                       lowest-income borrowers who took out
                                               Comment: One commenter suggested                          One commenter noted that while                     loans for their dependents to have a
                                            that we include definitions and                           society encourages students to obtain a               path to low or $0 payments without
                                            payment terms related to all of the IDR                   college degree due to the long-term                   making benefits so generous that the
                                            plans, not just REPAYE, because                           benefits of higher education, tuition is              program would fail to acknowledge the
                                            borrowers may be confused about which                     so expensive that oftentimes students                 foundational differences established by
                                            terms apply to which plans. This                          are unable to attend a university or                  Congress between a parent who borrows
                                            commenter recommended adding                              college without assistance from parents.              for a student’s education and a student
                                            additional subsections in the regulations                 In this commenter’s view, the                         who borrows for their own education.
                                            to eliminate confusion.                                   Department has structured an IDR plan                 The income-driven repayment plans
                                               Discussion: Effective July 1, 2024, we                 for parent PLUS borrowers that is unfair              provide a safety net for student
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                                            will limit student borrowers to new                       and punitive to parents. The commenter                borrowers by allowing them to repay
                                            enrollment in REPAYE and IBR. We do                       also noted that parent PLUS borrowers                 their loans as a share of their earnings
                                            not believe that any additional changes                   who work an additional job to help with               over a number of years. Many Parent
                                            to the other plans are necessary. Overall,                expenses will have an increase in AGI,
                                            we think the reorganization of the                        which leads to higher monthly loan                      46 fsapartners.ed.gov/sites/default/files/

                                            regulatory text to put all IDR plans in                   payments the following year.                          attachments/dpcletters/GEN0602.pdf.



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                                            PLUS borrowers are more likely to have                    legislative recommendations, regulatory               Direct Consolidation loan made on or
                                            a clear picture of whether their loan is                  amendments, and other means to                        after July 1, 2025, that repaid a parent
                                            affordable when they borrow because                       identify ways to make certain that                    PLUS loan or repaid a consolidation
                                            they are older than student borrowers,                    parent PLUS borrowers are able to                     loan that at any point paid off a parent
                                            on average, and their long-term earnings                  successfully manage and repay their                   PLUS loan is not eligible for any IDR
                                            trajectory is both more known due to                      loans.                                                plan except ICR.
                                            increased time in the labor force and                        Changes: None.
                                                                                                         Comment: One commenter                             Limitation on New Enrollments in
                                            more likely to be stable compared to a                                                                          Certain IDR Plans (§ 685.209(c)(2), (3),
                                            recent graduate starting their career.                    emphatically stated that the Department
                                                                                                      should not under any circumstances                    and (4))
                                            Further, because parent PLUS borrowers
                                            do not directly benefit from the                          expand this proposed rule to make                        Comments: Several commenters
                                            educational attainment of the degree or                   parent PLUS loans eligible for REPAYE.                raised concerns about the Department’s
                                            credential achieved, the parent PLUS                      The commenter further stated that while               proposal in the IDR NPRM to prevent
                                            loan will not facilitate investments that                 earnings are uncertain but likely to grow             new enrollments in PAYE and ICR for
                                            increase the parent’s own earnings. The                   for most borrowers, parent PLUS                       student borrowers after the effective
                                            parent’s payment amounts are not likely                   borrowers’ earnings are more                          date of the regulations. They noted that
                                            to change significantly over the                          established and consistent. Allowing                  these plans are included in the MPN
                                            repayment period for the IDR plan.                        these loans to be eligible for REPAYE                 that borrowers signed. Several
                                            Moreover, parents can take out loans at                   would make the proposed rule far more                 commenters pointed out that the
                                            any age, and some parent PLUS                             expensive and regressive.                             Department has not previously
                                            borrowers may be more likely to retire                       Discussion: We agree with the                      eliminated access to a repayment plan
                                            during the repayment period. Based on                     commenter that parents borrowing for                  for borrowers even if they are not
                                            Department administrative data, the                       their children are different than student             currently enrolled on such plan. These
                                            estimated median age of a parent PLUS                     borrowers and have more established                   commenters also argued that some of
                                                                                                      and consistent earnings. As discussed                 the plans being limited might provide
                                            borrower is 56, and the estimated 75th
                                                                                                      previously, we know that many parent                  lower total payments for borrowers than
                                            percentile age is 62. As such, the link to
                                                                                                      PLUS borrowers do struggle to repay                   REPAYE, especially for graduate
                                            a 12-year amortization calculation in
                                                                                                      their loans, but we do not believe that               borrowers who could receive
                                            ICR reflects a time period during which
                                                                                                      including consolidation loans that                    forgiveness after 20 years on PAYE.
                                            these borrowers are more likely to still
                                                                                                      repaid a parent PLUS loan in REPAYE                      One commenter suggested that we
                                            be working.
                                                                                                      is the appropriate way to address that                consider ceasing enrollment in IBR for
                                               We appreciate and agree with the                       problem given the difference between                  new borrowers—other than borrowers in
                                            commenter’s concern about racial                          students and parents borrowing for their              default—to simplify repayment options
                                            disparities in college affordability, and                 child’s education.                                    and possibly reduce the cost of the plan
                                            we recognize that students attending                         The Department is taking some                      if high-income graduate borrowers use
                                            HBCUs often rely on parent PLUS loans.                    additional steps in this final rule to                REPAYE before switching back into IBR
                                            However, we do not agree that making                      affirm our position about the treatment               to receive forgiveness.
                                            Direct Consolidation Loans that repaid a                  of parent PLUS loans or Direct                           Discussion: The MPN specifically
                                            parent PLUS loan eligible for REPAYE                      consolidation loans that repaid a parent              provides that the terms and conditions
                                            is the appropriate way to address that                    PLUS loan being only eligible for the                 of the loan are subject to change based
                                            issue. The Department supports                            ICR plan In the past, limitations in                  on any changes in the Act or
                                            numerous ways to improve affordability                    Department data may have enabled a                    regulations. This provides us with the
                                            for all borrowers, including parent                       parent PLUS loan that was consolidated                legal authority to prohibit new
                                            PLUS borrowers, and address resource                      and then re-consolidated to enroll in                 enrollment in PAYE and ICR. However,
                                            inequities faced by HBCUs and the                         any IDR plan, despite the Department’s                we do not believe it is appropriate to
                                            students they serve. Parent PLUS loans                    position that such loans are only eligible            end a repayment plan option for
                                            have benefited from the pause on                          for the ICR plan. The Department will                 borrowers currently using that plan who
                                            payments and interest, and they are                       not adopt this clarification for borrowers            wish to continue to use it. Therefore, no
                                            eligible for President Biden’s plan to                    in this situation currently on an IDR                 borrower will be forced to switch from
                                            cancel to up to $20,000 in student debt.                  plan because we do not think it would                 a plan they are currently using. For
                                            The Department delivered                                  be appropriate to take such a benefit                 example, a borrower already enrolled in
                                            approximately $3 billion of additional                    away. At the same time, the Department                PAYE will be able to continue repaying
                                            American Rescue Plan funding to                           is aware that a number of borrowers                   under that plan after July 1, 2024.
                                            HBCUs, Tribally Controlled Colleges                       have consolidated or are in the process                  The Department also does not think
                                            and Universities (TCCUs), Minority                        of consolidating in response to recent                limiting new enrollment in PAYE or ICR
                                            Serving Institutions (MSIs), and                          administrative actions, including the                 creates an unfair limitation for student
                                            Strengthening Institutions Program (SIP)                  limited PSLF waiver and the one-time                  borrowers not currently enrolled in
                                            institutions. Additionally, the                           payment count adjustment. Because                     those plans. Borrowers in repayment
                                            Department’s proposed budget for Fiscal                   some of these borrowers may be                        will have a year to decide whether to
                                            Year 2024 would increase investments                      including parent PLUS loans in those                  enroll in PAYE. This provides them
                                            in capacity building and student success                  consolidations without understanding                  with time to decide how they want to
                                            efforts at these institutions and provide                 that they would need to exclude that                  navigate repayment. The overwhelming
                                            up to $4,500 in tuition assistance to                     loan type to avoid complicating their                 majority of borrowers not currently in
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                                            students at HBCUs, TCCUs, and MSIs.                       future IDR eligibility, we will be                    repayment have loans that should be
                                            The Department will continue to                           applying this clarification for any Direct            eligible for the version of IBR that is
                                            explore ways to make college affordable                   Consolidation loan made on or after July              available to new borrowers on or after
                                            for all students and address racial                       1, 2025.                                              July 1, 2014. That plan has terms that
                                            disparities. We will also continue to                        Changes: We added                                  are essentially identical to PAYE. Given
                                            explore all available options, including                  § 685.209(c)(5)(iii) to provide that a                that borrowers will have time to choose


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                                            their plan, have access to REPAYE, and                    plans to half of the time we proposed in              that early childhood educators,
                                            most likely have access to IBR if they                    the IDR NPRM.                                         paraprofessionals, and other low- to
                                            are not currently in repayment, the                          Changes: We have clarified that only               moderate-wage workers often find the
                                            simplification benefits far exceed the                    borrowers who are repaying a loan on                  current income-driven repayment
                                            size of this population.                                  the PAYE or ICR plan as of July 1, 2024,              system unaffordable, causing these
                                               Accordingly, the Department has                        may continue to use those plans and                   individuals to often go in and out of
                                            retained the structure in the IDR NPRM.                   that if such a borrower switches from                 deferment or forbearance.
                                            Student borrowers will not be eligible to                 those plans they would not be able to                   Discussion: We thank the many
                                            access PAYE or ICR after July 1, 2024,                    return to them. We maintain the                       commenters who supported our
                                            although consolidation loans that repaid                  exception for borrowers with a Direct                 proposed changes. We understand that
                                            a parent PLUS loan will maintain access                   Consolidation Loan that repaid a Parent               many borrowers have been struggling to
                                            to ICR. Any borrower on PAYE or ICR                       PLUS loan. These borrowers will still be              make ends meet and have less money to
                                            as of July 1, 2024 will maintain access                   able to access ICR after July 1, 2024. We             put toward student loans. We believe
                                            to those plans so long as they do not                     have amended § 685.209(c)(3)(ii) to                   these final regulations will result in
                                            switch off those plans, and the                           stipulate that a borrower who makes 60                more affordable monthly payments for
                                            limitation only applies to those not                      monthly payments on REPAYE after                      many borrowers, particularly the
                                            enrolled in those plans on that date.                     July 1, 2024, may no longer switch from               borrowers who struggle the most.
                                               In response to the commenter’s                         REPAYE to IBR.                                        Providing more affordable monthly
                                            suggestion to consider sunsetting new                                                                           payments will in turn help reduce rates
                                                                                                      Income Protection Threshold
                                            enrollment in IBR, we do not believe                                                                            of delinquency and default among
                                                                                                      (§ 685.209(f))
                                            that sunsetting the IBR plan is permitted                                                                       borrowers.
                                            by section 493C(b) of the HEA which                       General Support for Income Protection                   Changes: None.
                                            authorized the IBR plan. For the PAYE                     Threshold                                             General Opposition to Income
                                            and ICR plans, both of which are                             Comments: Many commenters                          Protection Threshold
                                            authorized by the same statutory                          supported the Department’s proposal to                   Comments: According to one
                                            provisions that are distinct from those                   set the income protection threshold at                commenter, an increase in the threshold
                                            that establish IBR, we believe it is                      225 percent of the FPL. As one
                                                                                                                                                            provides extensive benefits even to
                                            appropriate to limit new enrollment and                   commenter noted, the economic
                                                                                                                                                            high-income borrowers. Notably,
                                            to prevent re-enrollment in those plans                   hardship caused by a global pandemic
                                                                                                                                                            however, the commenter remarked that
                                            for borrowers who choose to leave                         and the steady rise in the cost of living
                                                                                                                                                            it also makes payments substantially
                                            REPAYE.                                                   over the last 40 years have left many
                                                                                                                                                            more affordable for low-income
                                               In the IDR NPRM, we proposed                           borrowers struggling to make ends meet
                                                                                                                                                            borrowers.
                                            limitations on switching plans out of                     resulting in less money to put toward                    Another commenter noted that
                                            concern that a borrower with graduate                     student loans. The commenter noted                    changing the income protection
                                            loans may pay for 20 years on REPAYE                      that the proposed change would allow
                                                                                                                                                            threshold from 150 percent to 225
                                            to receive lower payments, then switch                    borrowers to protect a larger share of
                                                                                                                                                            percent of the FPL was the single
                                            to IBR and receive forgiveness                            their income so that they do not have to
                                                                                                                                                            costliest provision of the proposed
                                            immediately. We proposed limiting                         choose between feeding their families
                                                                                                                                                            regulations and noted that the reason for
                                            such a switch after the equivalent of 10                  and making student loan payments.
                                                                                                         A few commenters agreed that                       the high cost was because both
                                            years of monthly payments (120                                                                                  undergraduate and graduate loans
                                            payments) so that borrowers would have                    providing more pathways to affordable
                                                                                                      monthly payments would reduce the                     would be eligible for the higher income
                                            adequate time to choose and not feel                                                                            protection threshold. This commenter
                                            suddenly stuck in one plan.                               overall negative impact of student debt
                                                                                                      on economic mobility. They further                    recommended that we maintain the
                                               However, we are changing the way                                                                             income protection threshold at 150
                                                                                                      suggested that it would increase a
                                            the limitation on switching from                                                                                percent for graduate loans to strike a
                                                                                                      borrower’s ability to achieve other
                                            REPAYE to IBR will work in this final                                                                           balance of targeting benefits to the
                                                                                                      financial goals, such as purchasing a
                                            rule. Instead of applying a cumulative                                                                          neediest borrowers while also protecting
                                                                                                      home or saving for emergencies.
                                            payment limit, which could include                                                                              taxpayers’ investment.
                                                                                                      Another commenter noted that the
                                            time prior to July 1, 2024, we are                                                                                 Several commenters opposed the
                                                                                                      proposed change will provide greater
                                            prohibiting borrowers from switching to                                                                         proposed revisions to the income
                                                                                                      economic security for many borrowers
                                            IBR after making the equivalent of 5                                                                            protection threshold, saying that it
                                                                                                      and families, particularly those whose
                                            years of payments (60 months) on                                                                                would be wrong to force taxpayers to
                                                                                                      rent represents too large a share of their
                                            REPAYE starting after July 1, 2024.                       income,47 and will help borrowers                     effectively cover the full cost of a
                                            Applying this requirement                                 impacted by rising housing costs,                     postsecondary education. One
                                            prospectively makes certain that no                       inflation, and other living expenses.                 commenter felt that the proposed
                                            borrower is inadvertently excluded from                      One commenter noted that requiring                 changes were morally corrupt, noting
                                            the plan and that we can properly                         payments only for those who earn more                 that many borrowers would pay nothing
                                            enforce this requirement. This is                         than 225 percent of FPL, as opposed to                under this plan, forcing taxpayers to
                                            especially important as the Department                    150 percent of the FPL, will positively               cover the full amount. Others argued
                                            works to award IDR credit through the                     impact people of color attempting to                  that it was unfair to set the amount of
                                            one-time payment count adjustment.                        thrive in the work world after                        income protected at 225 percent of FPL
                                            However, because we are restricting this                  completing their degree.                              because that amount would be
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                                            prospectively, we agree with the                             Another commenter considered the                   substantially above the national median
                                            commenter that a shorter amount of                        increased income protection a major                   income for younger adults, including
                                            allowable time on REPAYE is                               step forward. This commenter noted                    those who did not attend college.
                                            appropriate. Accordingly, we reduced                                                                               Discussion: While it is true that the
                                            the amount of time a borrower can                           47 https://www.huduser.gov/portal/pdredge/pdr_      increase in the income protection
                                            spend on REPAYE and still change                          edge_featd_article_092214.html.                       threshold protects more income from


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                                            being included in payment calculations,                   even if they did not receive a financial                consensus was not reached during the
                                            the Department believes this change is                    benefit from their additional education.                negotiations.
                                            necessary to provide that borrowers                       In 2020, median full-time full-year                        Changes: None.
                                            have sufficient income protected to                       income for high school graduates aged                      Comments: Many commenters argued
                                            afford basic necessities. Moreover, as                    25 to 34 was $36,600 while the                          for protecting a larger amount of the FPL
                                            noted in the IDR NPRM, this threshold                     discretionary income threshold at 225                   than the Department proposed. One
                                            captures the point at which reports of                    FPL would have been $28,710 for a                       commenter suggested that the income
                                            financial struggles are otherwise                         single individual.48 Therefore, even a                  protection threshold be increased to 300
                                            statistically indistinguishable from                      borrower who worked full time but did                   to 350 percent of FPL to meet basic
                                            borrowers with incomes at or below the                    not receive any financial benefit from                  needs, specifically for families with
                                            FPL. Additionally, this protection                        the education for which they borrowed                   young children, and increased to 400
                                            amount provides a fixed level of savings                  would still make loan payments under                    percent for those with high medical
                                            for borrowers that does not increase                      the new REPAYE plan.                                    expenses. Other commenters
                                            once a borrower earns more than 225                                                                               recommended using a threshold above
                                            percent of FPL. For the highest income                      In response to the commenters who
                                                                                                      opposed our income protection                           400 percent. They said this amount
                                            borrowers, the payment reductions from                                                                            would better reflect borrowers’ true
                                            this increase could eventually be erased                  threshold provisions on the grounds
                                                                                                      that it would be wrong to force                         discretionary income after they pay for
                                            due to the lack of a payment cap equal                                                                            housing, food, child care, elder care,
                                            to the amount the borrower would pay                      taxpayers to pay for the borrower’s
                                                                                                      education and be morally corrupt, we                    health insurance premiums, utilities,
                                            under the standard 10-year plan. This                                                                             and transportation bills.
                                            achieves the Department’s goal of                         note that the costs associated with
                                                                                                      delinquency and default would be                           Other commenters argued for
                                            targeting this repayment plan to                                                                                  increasing the amount of income
                                            borrowers needing the most assistance.                    detrimental to both the taxpayers and
                                                                                                      the individual borrower. Moreover, we                   protected on the grounds that the
                                            As the commenter remarked, and with                                                                               borrowers most likely to benefit from
                                            which we concur, our increase of the                      provided further discussion elsewhere
                                                                                                      in this section, Income Protection                      the increase disproportionately include
                                            income protection threshold to 225                                                                                first-generation college students, as well
                                            percent of FPL would result in                            Threshold, as to why we remain
                                                                                                      convinced that it is appropriate set the                as those who are immigrants, Black, and
                                            substantially more affordable payments                                                                            Latino.
                                            for low-income borrowers.                                 threshold at 225 percent of the FPL.
                                                                                                                                                                 Discussion: The Department disagrees
                                               In response to the commenter who                         Changes: None.                                        with the suggestions to increase the
                                            opined that the shift from 150 percent
                                                                                                      Higher Income Protection Amounts                        amount of income protected. We base
                                            of the FPL to 225 percent was the single
                                                                                                                                                              payments on the marginal amount of
                                            costliest provision in these regulations,
                                                                                                         Comment: Commenters argued that                      income above that threshold. As a
                                            we discuss in greater detail the cost of
                                                                                                      the proposed protection threshold of                    result, we determine the payment on the
                                            this regulation in the RIA section of this
                                                                                                      225 percent was too low and was                         amount of a borrower’s income above
                                            document. We decline to adopt the
                                                                                                      beneath what most non-Federal                           the 225 percent FPL threshold, rather
                                            commenter’s recommendation of using a
                                                                                                      negotiators had suggested during the                    than on all of their income. For someone
                                            threshold of 150 percent of FPL for
                                                                                                      negotiated rulemaking sessions.                         who earns just above 225 percent of
                                            graduate borrowers because we believe
                                            this income protection threshold                             Discussion: As discussed during the                  FPL, their payments will still be
                                            provides an important safety net for                      negotiated rulemaking sessions, the                     minimal.
                                            borrowers to make certain that they                       Department agreed with the non-Federal                     Here, we illustrate the payment
                                            have a baseline level of resources. In                    negotiators that the amount of income                   amount for a single borrower earning
                                            choosing this threshold, we conducted                     protected under the current regulations                 income that is $1,500 above the 225
                                            an analysis of student loan borrowers                     is too low. Accordingly, in                             percent FPL threshold and who holds
                                            and looked at the point at which the                      § 685.209(f)(1), the Department                         only undergraduate loans. The
                                            share of borrowers reporting a material                   increased the amount of discretionary                   borrower’s payment will be
                                            hardship, either being food insecure or                   income exempted from the calculation                    approximately $10 per month (due to
                                            behind on their utility bills, was                        of payments in the REPAYE plan to 225                   the rounding of minimum payment
                                            statistically different from those whose                  percent of the FPL. We chose this                       amounts), which is only 0.2 percent of
                                            family incomes are at or below the FPL                    threshold based on an analysis of data                  their annual income. We believe that
                                            and found that those at 225 percent of                    from the 2020 SIPP 49 for individuals                   increasing the income protection
                                            the FPL were statistically                                aged 18 to 65, who attended                             threshold and reducing the payment
                                            indistinguishable from those with                         postsecondary institutions, and had                     amount for undergraduate loans,
                                            incomes below 100 percent of the FPL.                     outstanding student loan debt. The                      coupled with our other regulatory
                                            Moreover, we are concerned about the                      Department looked for the point at                      efforts such as auto-enrollment into IDR
                                            complexity of varying both the amount                     which the share of those who report                     for delinquent borrowers will protect
                                            of income protected and the amount of                     material hardship—either being food                     low-income borrowers and reduce
                                            unprotected income used to calculate                      insecure or behind on their utility                     defaults.
                                            payments based upon loan types.                           bills—was statistically different from                     Changes: None.
                                               We disagree with the commenter’s                       those whose family incomes are at or                       Comments: Some commenters
                                            concerns that the income protection                       below their respective FPL. The                         suggested that we apply various
                                            threshold is too high because it is higher                Department never proposed protecting                    incremental increases—from 250
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                                            than the median income for young                          an amount of income above 225 percent                   percent to over 400 percent—so that
                                            adults. Borrowers who fail to complete                    of the FPL during the negotiations, and                 struggling borrowers can afford the most
                                            a degree or certificate will likely have                                                                          basic and fundamental living expenses
                                            similar earnings compared to borrowers                         48 nces.ed.gov/fastfacts/display.asp?id=77.        like food, housing, child care, and
                                            who do not go to college but will have                      49 www.census.gov/programs-surveys/sipp/data/         health care, in line with the threshold
                                            student loan debt they need to repay,                     datasets/2020-data/2020.html.                           used for Affordable Care Act subsidies.


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                                               Discussion: The Department sought to                   to struggle with loan repayment. For                     undergraduate borrowers, would avoid
                                            define the level of necessary income                      example, data from the 2012/17                           other potential problems, and would
                                            protection by assessing where rates of                    Beginning Postsecondary Students                         make programs without any labor
                                            financial hardship are significantly                      Longitudinal Study show that around                      market value free or nearly free for
                                            lower than the rate for those in poverty.                 1.4 percent of individuals who had                       many students, but the Federal
                                            Based upon an analysis discussed in the                   incomes below the equivalent of                          Government and taxpayers would foot
                                            Income Protection Threshold section of                    $58,320 in 2017 dollars (about $47,700)                  the bill.
                                            the IDR NPRM, the Department found                        defaulted in the previous year, and 5.7                     Another commenter advised that the
                                            that point to be 225 percent of FPL.                      percent ever defaulted by that point,                    income limit for student loan
                                               We believe the new REPAYE plan                         compared to less than 1 percent (both in                 forgiveness should be set to benefit only
                                            provides an important safety net for                      the previous year and ever defaulted) for                those who are either below the poverty
                                            borrowers whose income falls at a point                   those above $58,320.50                                   level or who are making less than the
                                            at which repaying their student loans                       Changes: None.                                         poverty level for a set number of
                                            would become difficult. Our analysis                        Comments: One commenter noted                          working years and only if there is
                                            found that borrowers between 225                          that while material hardship is a valid                  evidence that they are putting in effort
                                            percent and 250 percent of the FPL have                   determination for an income threshold,                   to improve their situations.
                                            statistically different rates of material                 there are significantly more families                       Discussion: According to the
                                            hardship compared to those below the                      experiencing financial hardship beyond                   Department’s analysis, keeping the
                                            poverty line. As such 250 percent of                      the definition in the IDR NPRM. The                      monthly income exemption at 150
                                            FPL would not be an appropriate                           commenter said that our estimation of a                  percent of the FPL or lowering it would
                                            threshold.                                                material hardship was inequitable by                     exclude a substantial share of borrowers
                                               The comparison to the parameters of                    only looking at food insecurity and                      who are experiencing economic
                                            the Affordable Care Act’s Premium Tax                     being behind on utility bills and                        hardship from the benefits of a $0 or
                                            Credits is not appropriate. Under that                    suggested that we raise the threshold to                 reduced payment. The Department
                                            structure, 400 percent of FPL is the level                incorporate other areas such as housing                  analyzed the share of borrowers
                                            at which eligibility for any subsidy                      and health care.                                         reporting a material hardship (i.e.,
                                            ceases. An individual up to that point                      Discussion: Our examination of the                     experiencing food insecurity or behind
                                            can receive a tax credit such that they                   incidence of material hardship used two                  on utility bills) and found that those at
                                            will not pay more than 8.5 percent of                     measures that are commonly considered                    225 percent of the FPL were statistically
                                            their total income. Individuals above                     in the literature on material hardship                   indistinguishable from those with
                                            that point receive no additional                          and poverty as proxies for family well-                  incomes below 100 percent of the FPL.
                                            assistance. In contrast, all borrowers—                   being.51 We agree that there are other                   Requiring any monthly payment from
                                            including those who have incomes                          expenses that can create a financial                     those experiencing these hardships,
                                            above 225 percent or even 400 percent                     hardship. We believe that the 225                        even if payments are small, could put
                                            of FPL—will have income equal to 225                      percent threshold provides that those                    these borrowers at higher risk of
                                            percent FPL protected when calculating                    experiencing the greatest rates of                       delinquency or default.
                                            their payment. The eligibility threshold                  hardship will have a $0 payment, while                      The Department also disagrees with
                                            for receiving the minimum ACA                             borrowers above that threshold will                      suggestions from commenters to require
                                            premium tax credit is, therefore, not a                   have more affordable payments.                           evidence that of borrowers are trying to
                                            suitable gauge of the point below which                     Changes: None.                                         financially better themselves. Such an
                                            it is unreasonable to expect a borrower                                                                            approach would be administratively
                                            to make payments on their student                         Lower Income Protection Amounts                          burdensome with no clear benefit.
                                            loans.                                                       Comments: The Department received                        Changes: None.
                                               Changes: None.                                         a range of comments arguing for not                         Comments: A few commenters argued
                                               Comment: A commenter discussed                         increasing the amount of income                          for phasing out the income protection
                                            the relationship of borrowers’ debt-to-                   protected to 225 percent of FPL. Some                    threshold altogether at a level at which
                                            income ratios to the percentage of                        of these commenters argued that the                      a household’s experience of hardship
                                            defaulted borrowers. This commenter                       threshold should remain at 150 percent                   diverges markedly from households
                                            cited their own research, which found                     of FPL. Others argued that the amount                    living in poverty. Other commenters
                                            that default rates generally level off at a               should be set at 175 to 200 percent of                   argued for phasing down the amount of
                                            discretionary income of $35,000 and                       FPL because of concerns that 225                         income protected as a borrower’s
                                            above and could reasonably justify                        percent was higher than necessary and                    earnings increased. For instance, one
                                            income protection of 400 percent FPL if                   untargeted.                                              commenter suggested phasing down the
                                            the goal is to reduce default rates.                         One commenter stated that leaving                     protection first to 150 percent and then
                                               Discussion: Reducing default rates is                  the income exemption at 150 percent of                   phasing it out entirely for borrowers
                                            a concern for the Department. We                          the FPL would still cut monthly                          who earn more than $100,000.
                                            believe that the changes made to the                      payments in half for low-income                             Discussion: One of the Department’s
                                            REPAYE plan will reduce default rates.                                                                             goals in constructing this plan is to
                                            However, we do not believe that raising                     50 Analysis using Beginning Postsecondary              create a repayment system that is easier
                                            the income protection from 225 percent                    Students (BPS) 2012/2017, PowerStats reference           for borrowers to navigate, both in terms
                                            to 400 percent would sufficiently reduce                  zqelzd.                                                  of choosing whether to enroll in IDR or
                                                                                                        51 See, for instance: Mayer, S.E., & Jencks, C.
                                            defaults in a way that would justify the                                                                           not, as well as which IDR plan to
                                                                                                      (1989). Poverty and the distribution of material
                                            added costs. Changing the income                                                                                   choose. This simplified decision-making
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                                                                                                      hardship. The Journal of Human Resources, 24, 88–
                                            protection to 400 percent would protect                   114 Ouellette, T., Burstein, N., Long, D., & Beecroft,   process is especially important to help
                                            up to $58,320 for a single individual                     E. (2004). Measures of material hardship final           the borrowers at the greatest risk of
                                            and $120,000 for a four-person                            report. Prepared for U.S. Department of Health and       delinquency or default make choices
                                                                                                      Human Services, ASPE. Short, K.S. (2005). Material
                                            household. Existing evidence on default                   and financial hardship and income-based poverty
                                                                                                                                                               that will help them avoid those
                                            indicates that borrowers with much                        measures in the USA. Journal of Social Policy, 34,       outcomes. No other IDR plan has such
                                            lower incomes are the ones most likely                    21–38.                                                   a phase out and to adopt one here


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                                            would risk undermining the                                eligibility criteria that allows certain                Department maintain the income
                                            simplification goals and the benefits                     deductions from inclusion in income                     protection threshold for graduate loans
                                            that come from it. While we understand                    including: a 20 percent deduction from                  at 150 percent of FPL.
                                            the goals of the commenters, the                          earned income, a standard deduction                        Discussion: We decline to limit the
                                            importance of the income protection                       based on household size, dependent                      income protection to only
                                            also diminishes as borrowers’ income                      care deductions, and in some States,                    undergraduate borrowers or to adopt a
                                            grows. All borrowers above the income                     certain other deductions,52 among                       150 percent income protection
                                            protection threshold save the same                        others. Even though the Department of                   threshold for graduate borrowers. The
                                            amount of money as any other borrower                     Agriculture’s use of the maximum                        across-the-board 225 percent of the FPL
                                            with the same household size. But as                      threshold is 200 percent of the FPL, the                income protection threshold provides
                                            income grows, the percentage of their                     deductions from inclusion in income                     an important safety net for borrowers to
                                            total payment reduced by this change                      could result in a higher protection of                  make certain they have a baseline of
                                            diminishes. Because there is no                           income and assets than our use of an                    resources. We provide our justification
                                            payment cap under this plan, high-                        across-the-board 225 percent of the FPL.                in detail in the IDR NPRM.54 In
                                            income borrowers can have larger                          The Department does not allow other                     addition, a differential income
                                            payments that exceed the standard 10-                     deductions from income or sheltering                    protection threshold in REPAYE
                                            year repayment plan. This could                           certain assets.                                         between undergraduate and graduate
                                            include situations where the payment                         Second, it is inappropriate to compare               borrowers would be operationally
                                            amount above the standard 10-year                         the poverty thresholds used for means-                  complicated and would add confusion
                                            repayment plan is greater than the                        tested benefits to the thresholds used for              given the other parameters of this plan.
                                            savings the borrower would receive                        income protection under the REPAYE                      For one, it is unclear how this
                                            from the higher income protection                         plan. Other agencies use the FPL as a                   suggestion would work for a borrower
                                            amount.                                                   baseline to determine eligibility for their             who is making a payment on both
                                               A phased reduction would also make                     benefits whereas we are using the 225                   undergraduate and graduate loans at the
                                            the plan harder to explain to borrowers.                  percent to calculate a monthly payment.                 same time. The Department does not
                                            This approach, alongside the use of a                     A key consideration in our analysis and                 think a weighted average approach
                                            weighted average to calculate loan                        justification for using 225 percent of the              would work either because it would be
                                            payments, would make it significantly                     FPL for the income protection threshold                 confusing to be protecting different
                                            harder to explain likely payment                          was identifying the point at which the                  amounts of income and then charging
                                            amounts to borrowers and increase                         share of those who reported material                    varying shares of that discretionary
                                            confusion.                                                hardship was statistically different from               income for payments. And we are
                                               Changes: None.                                         those at or below the FPL.                              concerned that applying the lower
                                               Comments: One commenter asserted                          Finally, with respect to the                         threshold if the borrower has any
                                            that the 225 percent poverty line                         commenter who noted that the taxation                   graduate debt could put the lowest-
                                            threshold is not well justified and                       threshold for Social Security benefits is               income graduate borrowers at risk of
                                            questioned why other means-tested                         $25,000, this provision is from the                     default. Moreover, it would create
                                            Federal benefit thresholds are not                        Social Security Amendments of 1983                      challenges in simplifying repayment
                                            sufficient. The commenter further                         under which 50 percent of an                            options because other plans also protect
                                            pointed out that the Supplemental                         individual’s Social Security benefits                   150 percent of FPL and might offer other
                                            Nutrition Assistance Program (SNAP)                       would be subject to the Federal income                  benefits that would cause graduate
                                            has a maximum threshold of 200                            tax if that individual’s income is above                borrowers to choose them, such as
                                            percent of the FPL, and the Free and                      a specified threshold—$25,000 for                       forgiveness after 20 years instead of 25
                                            Reduced-Price School Lunch program,                       individual filers and $32,000 for                       years.
                                            also targeted at food insecurity, has a                   married couples filing jointly.53 FPL                      Changes: None.
                                            maximum threshold of 185 percent of                       thresholds simply do not apply to Social
                                            the poverty line.                                                                                                 Cost-of-Living Adjustments
                                                                                                      Security benefits and the comparison to
                                               Along similar lines, a commenter                       REPAYE is therefore inappropriate.                         Comments: Many commenters argued
                                            noted that the taxation threshold for                        Changes: None.                                       for adopting regional cost-of-living
                                            Social Security benefits is $25,000 and                      Comments: Another commenter                          adjustments to the determination of the
                                            did not see the sense in protecting a                     encouraged the Department to limit the                  amount of income protected.
                                            higher amount of income for purposes                      income protection threshold and all                     Commenters said this was necessary to
                                            of REPAYE payments.                                       other elements of the rule, to                          address disparities in cost of living
                                               Discussion: We disagree with the                       undergraduate loans. They further                       across the country. Several commenters
                                            commenter’s assertion that the income                     asserted that, by allowing the higher                   pointed to high-cost urban areas,
                                            protection threshold is not well justified                disposable income exemption to apply                    particularly in New York City and
                                            and reiterate that the data and analysis                  to graduate debt, the rule is likely to                 elsewhere, as evidence that even 225
                                            we provided in the IDR NPRM is                            eliminate or substantially reduce                       percent of FPL was insufficient for
                                            grounded with sufficient data and                         payments for many doctors, lawyers,                     individuals to still afford basic
                                            sound reasoning. With respect to means-                   individuals with MBAs, and other                        necessities, such as rent and groceries.
                                            tested benefits that use a lower poverty                  recent graduate students with very high                 Commenters also pointed to differences
                                            threshold, we note fundamental                            earning potential who are in the first                  in local tax burdens, which also affect
                                            differences between Federal student                       few years of working. Other commenters                  the availability of income for loan
                                            loan repayment plans and other Federal                    similarly recommended that the                          payments and necessities. Commenters
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                                            assistance in the form of SNAP or free-                                                                           noted that this adjustment is
                                            reduced lunch. First, some of these                            52 www.fns.usda.gov/snap/recipient/eligibility.
                                                                                                                                                              particularly important because so many
                                                                                                        53 The 2022 Annual Report of the Board of
                                            means-tested benefits have an indirect                                                                            individuals who attend college tend to
                                                                                                      Trustees of the Federal Old-Age and Survivors
                                            way to shelter income. SNAP, for                          Insurance and Federal Disability Insurance Trust        live in higher-cost areas.
                                            example, uses a maximum 200 percent                       Funds, June 2, 2022, at www.ssa.gov/OACT/TR/
                                            threshold for broad-based categorical                     2022/tr2022.pdf.                                          54 See 88 FR 1901–1902.




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                                               Another commenter who argued in                        suggest. It is unclear how we would                   societal changes that suggest the overall
                                            favor of regional cost-of-living                          determine the appropriate cost of living              level of income protected based on the
                                            adjustments suggested using Regional                      factor to use for income protection—                  percentage of the FPL is too low, it
                                            Price Parities available at both the State                whether we would use the address on                   would be appropriate to conduct further
                                            and metropolitan area levels. This                        file on the IDR application, where the                rulemaking to consider input from
                                            commenter stated that failure to                          borrower files taxes, or the State of                 stakeholders and the public before
                                            consider this alternative would be                        domicile. Furthermore, use of BEA data                making any changes.
                                            arbitrary and capricious.                                 could obligate the Department to collect                Changes: None.
                                               Discussion: The Department declines                    data elements that would be onerous to                Income Protection Threshold
                                            to adjust the income protection amount                    compile and could result in borrowers                 Methodological Justification
                                            based upon relative differences in the                    failing to enroll or recertify in an IDR
                                            cost of living in different areas outside                 plan. Instead, as we have done since the                 Comments: One commenter stated
                                            of the existing higher thresholds used                    inception of the ICR plans, we will use               that the Department acknowledged that
                                            for Alaska and Hawaii.                                    a percentage of the FPL as the baseline               225 percent is insufficient because we
                                               The FPL is a widely accepted way of                    for income protection.                                said that the payment amount for low-
                                            assessing a family’s income. Many State                      Changes: None.                                     income borrowers on an IDR plan using
                                            programs use it without regional cost of                     Comments: Commenters suggested                     that percentage may still not be
                                            living adjustments, making it difficult to                alternative measures that are more                    affordable. The commenter also believed
                                            choose a regional adjustment factor that                  localized than FPL, such as State                     that our rationale for arriving at this
                                            would not be arbitrary. First, we have                    median income (SMI). They maintained                  percentage was flawed, as it used a
                                            not identified a well-established and                     that SMI better accounts for differences              regression analysis with a 1 percent
                                            reliable method to adjust for regional                    in cost of living and provides a more                 level of significance to show that
                                            differences. Examples of State agencies                   accurate reflection of an individual or               borrowers with discretionary incomes at
                                            that use the FPL for their benefits or                    family’s economic condition.                          the 225 percent threshold exhibit an
                                            programs include New York’s Office of                     Commenters noted that some Federal                    amount of material hardship that is
                                            Temporary and Disability Assistance,                      social service programs, including the                statistically distinguishable from
                                            Wisconsin’s health care plans, as well                    Low-Income Home Energy Assistance                     borrowers at or below the poverty line.
                                            many other State health agencies across                   Program (LIHEAP) and housing                          These commenters stated that we did
                                            the country. At the Federal level, the                    programs such as Section 8 Housing                    not comment on the magnitude of this
                                            U.S. Citizenship and Immigration                          Choice Vouchers, use the SMI rather                   difference and any difference is merely
                                            Services (USCIS) allows non-citizens to                   than the FPL for this reason.                         fractional.
                                            request a fee reduction 55 when filing                       Discussion: It is important to calculate              Another commenter opined that the
                                            Form N–400, an Application for                            payments consistently and in a way that               derivation from the 225 percent FPL
                                            Naturalization if that individual’s                       is easy to explain and understand. Using              threshold is not well justified. This
                                            household income is greater than 150                      SMI to determine income protection                    commenter questioned the confidence
                                            percent but not more than 200 percent                     would introduce confusion and                         level and sample size used in our
                                            of the FPL. This fee reduction does not                   variability that would be hard to explain             calculations. The commenter believed
                                            account for regional cost differentials                   to borrowers. Additionally, it would                  that the choice of a confidence interval
                                            where the individual resides; rather,                     create operational challenges when                    is more definitional than supported by
                                            USCIS uses an across-the-board factor to                  borrowers move and lessen our ability                 a firm analytical basis.
                                            better target that benefit to those                       to simplify payment calculations when                    Discussion: We disagree with the
                                            needing the most assistance to become                     we obtain approval to use a borrower’s                commenters’ methodological critiques.
                                            naturalized U.S. citizens. Moreover,                      Federal tax information.                              Our rationale for arriving at the
                                            Federal courts in Chapter 7 bankruptcy                       Changes: None.                                     discretionary income percentages was
                                            proceedings may waive certain                                                                                   based on our statistical analysis of the
                                                                                                      Periodic Reassessment                                 differences in rates of material hardship
                                            administrative fees if a debtor’s income
                                            is less than 150 percent of the FPL.56                      Comments: Many commenters                           by distance to the Federal poverty
                                            Across the various cases of these State                   suggested that the Department reassess                threshold using data from the SIPP. We
                                            and Federal benefits, the use of the FPL                  the income protection threshold                       note that our figures were published in
                                            is consistent after accounting that there                 annually or at other regular intervals.               the IDR NPRM as well as our policy
                                            is no reliable method to adjust for                       One of these commenters commended                     rationale for arriving at 225 percent of
                                            regional differences.                                     the Department for proposing these                    the FPL.
                                               Second, we think it is valuable to                     regulatory changes and asked that we                     As we stated in the analysis, an
                                            provide a straightforward way for                         periodically reassess whether the 225                 indicator for whether an individual
                                            borrowers to understand how much                          percent threshold protects enough                     experienced material hardship was
                                            income will be protected from                             income for basic living expenses and                  regressed on a constant term and a
                                            payments. We would lose the simplicity                    other inflation-related expenses such as              series of indicators corresponding to
                                            of such an approach if we adjusted                        elder care.                                           mutually exclusive categories of family
                                            based upon the cost of living. Relatedly,                   Discussion: The Department declines                 income relative to the poverty level. The
                                            it would be operationally difficult to                    to make any changes. The Department                   analysis sample includes individuals
                                            apply a borrower’s regional cost of                       believes concerns about periodic                      aged 18 to 65 who had outstanding
                                            living adjustment such as if we used the                  reassessment are best addressed through               education debt, had previously enrolled
                                            Bureau of Economic Analysis’ (BEA)                        subsequent negotiated rulemaking                      in a postsecondary institution, and who
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                                            Regional Price Parities by State and                      processes. Calculating the amount of                  were not currently enrolled. The SIPP is
                                            Metropolitan area, as the commenters                      income protected off the FPL means that               a nationally representative sample and
                                                                                                      the exact dollar amount protected from                we reported standard errors using
                                             55 See Form I–942, OMB Form No. 1615–0133,               payment calculations will dynamically                 replicate weights from the Census
                                            www.uscis.gov/i-942.                                      adjust each year to reflect inflation                 Bureau that takes into account sample
                                             56 28 U.S.C. 1930(f).                                    changes. However, if there are broader                size. The Department used these data


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                                            because they are commonly used and                        needed to estimate that number are                      on the Census website.60 We believe
                                            well-established as the best source to                    readily available from other Federal                    that the SIPP data is sound and the most
                                            understand the economic well-being of                     agencies, including the Census Bureau,                  appropriate dataset to use for our
                                            individuals and households. The table                     the Bureau of Labor Statistics (BLS), and               purposes because it contains
                                            notes show that two stars indicate                        the Federal Reserve.                                    information on student loan debt,
                                            estimated coefficients which are                             Discussion: We disagree with the                     income, and measures of material
                                            statistically distinguishable from zero at                commenter and affirm that our use of                    hardship. Because IRS data does not
                                            the 1 percent level. Using a 1 percent                    data from the SIPP for individuals aged                 have information on material hardships,
                                            significance level is appropriate based                   18–65 who attended college and who                      it would not be possible to conduct the
                                            on current Office of Management and                       have outstanding student loan debt was                  analysis of the point at which the
                                            Budget (OMB) guidance under the Data                      appropriate. The commenter’s analysis                   likelihood of a borrower reporting
                                            Quality Act (also known as the                            is incorrect in several ways: first, it                 material hardship is statistically
                                            Information Quality Act).57 The point of                  presumes that the analysis should be                    different from the likelihood for
                                            this analysis was to start at the premise                 relegated only to borrowers aged 22–31.                 someone at or below the FPL reporting
                                            that the commenter did not challenge,                     The Department’s own data 58 indicate                   material hardship.
                                            which is that someone who is at or                        that student loan borrowers’ range in                      In response to the commenter’s
                                            below 100 percent of FPL should not be                    age, and we believe our use of SIPP is                  question why we chose the reference
                                            required to make a payment. We then                       an appropriate data set for our analysis.               point to be 100 percent of the FPL rather
                                            looked for the point above which those                    Second, the reference point that the                    than 150 percent, our intention was to
                                            rates of the individuals who reported                     commenter proposes uses data from a                     find the point under which individuals
                                            financial hardship is statistically                       non-Federal source and we cannot                        with family incomes up to a certain
                                            different from those individuals in                       ascertain the validity of the survey                    percentage of the FPL would have rates
                                            poverty. As shown in our analysis,                        design. In accordance with the Data                     of material hardship statistically
                                            families with incomes above 225                           Quality Act, we believe using our 225                   indistinguishable from rates for
                                            percent FPL have rates of material                        percent income protection threshold to                  borrowers with income at or below the
                                            hardship that are clearly both                            the data set that we used in the IDR                    FPL. Using 100 percent of the FPL is
                                            statistically and meaningfully different                  NPRM was appropriate for the questions                  demonstrably appropriate as the Census
                                            than families with incomes less than                      specific to this rule: ‘‘at which point                 considers someone at or below the FPL
                                            100 percent FPL. Above the 225 percent                    would the share of those who reported                   to be living in poverty.
                                            FPL, coefficients are all statistically                   material hardship be statistically                         We disagree with the commenter’s
                                            significantly different at the 1 percent                  different from those whose family                       suggestion that our statistical analysis
                                            level and range from 8.8 to 24.7                          incomes are at or below the FPL?’’ As                   was done in an arbitrary manner. As we
                                            percentage points depending on the                        a reminder, SIPP is a nationally                        stated in the IDR NPRM, we focused on
                                            group, with the size of the coefficient                   representative longitudinal survey                      two measures as proxies for material
                                            generally getting larger as income                        administered by the Census Bureau that                  hardship: food insecurity and being
                                            increases.                                                provides comprehensive information on                   behind on utility bills.61 These two
                                               We also note that the IDR NPRM                         the dynamics of income, employment,                     measures are commonly used in social
                                            included a discussion of why the 225                      household composition, and                              science to represent material hardship.
                                            percent threshold is meaningful in its                    government program participation 59                     As we stated in the IDR NPRM, we
                                            alignment to the minimum wage in                          and we do not believe we undercounted                   regressed these measures of material
                                            many states. This consideration is                        borrowers who would choose REPAYE.                      hardship on a constant term and a series
                                            discussed further in response to another                                                                          of indicators corresponding to categories
                                                                                                         Changes: None.
                                            comment in this Income Protection                                                                                 of family income relative to the FPL.
                                                                                                         Comments: One commenter argued
                                            Threshold section.                                                                                                   Changes: None.
                                               Changes: None.                                         we should have used more objective
                                               Comments: One commenter noted                          data from the IRS instead of the SIPP.                     Comments: One commenter noted
                                            that our income protection threshold                      The commenter questioned why the                        that the annual update of the HHS
                                            proposal of 225 percent of the FPL—                       Department chose to base its                            Poverty Guidelines was released after
                                            $30,600 using the 2022 FPL—when                           comparison on those with an income                      the IDR NPRM was published and
                                            compared to non-Federal data would                        below 100 percent FPL, when it could                    suggested that the Department rely on
                                            encompass about the 65th percentile of                    have chosen to use 150 percent of the                   the most recent data available because
                                            earnings for individuals aged 22–31.                      FPL established by Congress.                            the change in the HHS Poverty
                                            Other commenters made similar claims                         This same commenter believed the                     Guidelines is significant enough to
                                            but concluded this represented different                  Department arrived at a statistical                     potentially alter some of the conclusions
                                            percentiles in the income distribution.                   justification for a predetermined                       in the IDR NPRM.
                                            The commenter believes the Department                     threshold by arbitrarily choosing the                      Discussion: We do not believe the
                                            undercounted the number of borrowers                      comparison group and arbitrarily                        inflation-based updates to the FPL since
                                            who would choose REPAYE as a result                       choosing what to look at (e.g., rates of                the IDR NPRM was published materially
                                            of this FPL threshold. The commenter                      food insecurity rather than something                   change our analyses. For one, some of
                                            claimed that the Department                               related to student loans like repayment                 the analyses conducted were already
                                            underestimated the proportion of                          rates).                                                 using earlier years of data to reflect the
                                            borrowers up to age 31 who would have                        Discussion: We reviewed various                      best available sample data present. For
                                            $0 or very low payments within this                       sources of data. SIPP is a longitudinal                 instance, the analyses for the 225
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                                            time frame, which the commenter                           dataset administered by the Census                      percent threshold used data from the
                                            claimed was a significant number of                       Bureau. Information about the
                                                                                                                                                                60 www.census.gov/programs-surveys/sipp/
                                            borrowers. The commenter said the data                    methodology and design are available
                                                                                                                                                              methodology.html.
                                                                                                                                                                61 This is not intended to suggest that individuals
                                             57 See Section 515 of the Consolidated                        58 studentaid.gov/data-center/student/portfolio.
                                                                                                                                                              who do not report these two measures are not
                                            Appropriations Act, 2001 (Pub. L. 106–554).                    59 www.census.gov/programs-surveys/sipp.html.      experiencing material hardship.



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                                            2020 SIPP. The analysis used to                                 additional 12 months for every $1,000                            4 in the IDR NPRM that showed the
                                            determinate the reduction of payment                            in principal balance above $12,000                               effect of the FPL increase. That table is
                                            amounts on undergraduate loans to 5                             because such a structure means the                               recreated here using updated numbers.
                                            percent of discretionary income was                             income above which a borrower would                              For a single-person household, the
                                            based upon figures from the 2015–16                             cease benefiting from the shortened                              change in FPL from 2022 to 2023 results
                                            National Postsecondary Student Aid                              forgiveness option is roughly consistent                         in additional savings of $9 a month if
                                            Study. The analysis of the threshold for                        across all shortened repayment lengths.                          payments are assessed at 5 percent of
                                            when low-balance borrowers should                               This goal of a consistent maximum                                discretionary income and $19 if
                                            receive earlier forgiveness was based                           earnings threshold for shortened                                 payments are assessed at 10 percent of
                                            upon 5-year estimates from the 2019                             forgiveness would not be affected by                             discretionary income. For a four-person
                                            American Community Survey. As                                   changes in the FPL.                                              household, those numbers are $21 and
                                            discussed in the NPRM, we proposed                                The biggest effect of the change in the
                                                                                                                                                                             $42 a month, respectively.
                                            that borrowers should repay for an                              FPL would be to alter what was Table

                                                  TABLE 1—MAXIMUM MONTHLY PAYMENT SAVINGS AT DIFFERENT LEVELS OF INCOME PROTECTION, 2023 FEDERAL
                                                                                   POVERTY GUIDELINES (FPL)

                                                                                                Household Size                                                                      One                   Four

                                            Payment as Percent of Discretionary Income .................................................................................            5         10          5          10
                                            150% FPL (Current REPAYE regulations) ......................................................................................          $91       $182       $188        $375
                                            225% FPL (Final REPAYE regulations) ..........................................................................................       $137       $273       $281        $563
                                            Final REPAYE minus Current REPAYE ..........................................................................................          $46        $91        $94        $188
                                               Note: The 2023 Federal Poverty Guideline is $14,580 for a single household and $30,000 for a house of four.


                                              The IDR NPRM also included some                                  While the FPL has increased, so have                          borrower’s gross pay. This approach
                                            discussion of the implied hourly wage                           several State minimum wages in the                               would base the payment percentage on
                                            for someone who earns 150 percent or                            interim, though not always at the same                           the borrower’s net take-home pay
                                            225 percent of FPL on an annual basis.                          magnitude as the FPL increase. Using                             available for their expenses.
                                            Under the 2023 FPL baseline for the 48                          2023 FPL and minimum wage laws, 20                                  Discussion: We disagree with the
                                            contiguous states and the District of                           States, plus the District of Columbia,                           commenters’ suggestion to calculate the
                                            Columbia, that amount is $10.94 an                              still have minimum wages that are                                discretionary income based on the
                                            hour instead of $10.19 an hour using the                        above the implied hourly wage at 150                             borrower’s net income. Net income
                                            2022 guidelines for someone whose                               percent of FPL.65 The change in the data                         varies based on a variety of
                                            earnings are equivalent to 150 percent of                       is the inclusion of Florida as a state                           withholdings and deductions, some of
                                            FPL for a single household and $16.40                           whose 2023 minimum wage exceeds the                              which are elective. The definition of
                                            an hour instead of $15.29 an hour at 225                        implied hourly rate at 150 percent of                            ‘‘income’’ in § 685.209(e)(1) provides a
                                            percent of FPL.62 These figures assume                          FPL, whereas Hawaii, Minnesota, and                              standardized definition that we use for
                                            working 2,000 hours a year.                                     Nevada no longer have minimum wages                              IDR plans. The borrower’s income less
                                                                                                            that exceed the implied hourly rate at                           any income protection threshold
                                              The change in FPL also does not                               150 percent of FPL. Because of                                   amount is the most uniform and
                                            materially affect the Department’s                              differences in the number of individuals                         operationally viable method the
                                            analysis of how 150 percent of FPL                              with at least some college across States,                        Department could craft to consider a
                                            compares to State minimum wages. In                             the net result is that using the 2023 FPL                        borrower’s discretionary income for
                                            the IDR NPRM we noted that a                                    and minimum wages shows that about                               calculating a payment amount. The FPL
                                            threshold of 150 percent of FPL for a                           53 percent of adults with some colleges                          is a widely accepted method to assess a
                                            single individual is an implied annual                          are in States where the minimum wage                             family’s income, and we believe that
                                            wage that is below the minimum wage                             is at or just above the implied hourly                           using 225 percent of the FPL to allocate
                                            in 22 States plus the District of                               wage at 150 percent of FPL. As noted                             for basic needs when determining an
                                            Columbia.63 Those 22 States plus DC                             above, the equivalent figure for 2022 is                         affordable payment amount for
                                            represent 50 percent of individuals                             50 percent. The update therefore does                            borrowers in an IDR plan is a reasonable
                                            nationally with at least some college.64                        not materially change any of the                                 approach. Our regulations still provide
                                                                                                            analyses provided in the IDR NPRM.                               that a borrower may submit alternative
                                               62 For Alaska, the implied hourly wage for
                                                                                                               Changes: None.                                                documentation of income or family size
                                            someone who earns 150 percent of FPL in 2022 and                                                                                 if they otherwise meet the requirements
                                            2023 is $12.74 and $13.66, respectively. For Hawaii,            Other Issues Pertaining to Income                                in § 685.209(l).
                                            the implied hourly wage for someone who earns                   Protection Threshold
                                            150 percent of FPL in 2022 and 2023 is $11.73 and                                                                                   Changes: None.
                                            $12.58, respectively.                                              Comments: Some commenters                                        Comments: Several commenters
                                               63 The analysis uses the federal minimum wage in
                                                                                                            suggested calculating discretionary                              recommended that we extend the
                                            states where minimum wages are lower than the                                                                                    increase in the percentage of
                                            federal minimum wage or with no minimum wage
                                                                                                            income based on the borrower’s net
                                            law. For Nevada, the analysis uses the minimum                  income rather than pre-tax gross                                 discretionary income protected to all
                                            wage if qualifying health insurance is not offered              income. The commenter further stated                             IDR plans, not just REPAYE.
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                                            by the employer. Based on minimum wages as of                   that payment amounts should be capped                               Discussion: Under this final rule,
                                            January 1, 2023 https://www.dol.gov/agencies/whd/
                                                                                                            at no more than 10 percent of net                                student borrowers not already on an IDR
                                            state/minimum-wage/history.                                                                                                      plan will have two IDR plans from
                                               64 Based on the American Community Survey                    discretionary income instead of a
                                            2021 5-year estimates https://data.census.gov/
                                                                                                                                                                             which to choose in the future—REPAYE
                                            table?q=education&g=010XX00US$0400000&                            65 www.dol.gov/agencies/whd/minimum-wage/                      and IBR. The HEA outlines the terms for
                                            tid=ACSST5Y2021.S1501&tp=true.                                  state.                                                           the IBR plan that the commenters are


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                                            asking to alter. Specifically, section                    it with the definition of ‘‘income’’ for              out for undergraduate study. Several
                                            493C(a)(3)(B) of the HEA sets the                         the PAYE, IBR, and ICR plans. This                    commenters supported our proposal to
                                            amount of income protected under IBR                      change required us to redefine ‘‘family               limit the discretionary income
                                            at 150 percent of the poverty line                        size’’ for all plans in a way that would              percentage of 5 percent to only
                                            applicable to the borrower’s family size.                 no longer include the spouse unless the               undergraduate loans to avoid expensive
                                            We cannot make the suggested changes                      borrower filed their Federal tax returns              windfalls to those with high-income
                                            to IBR via regulatory action.                             under the married filing jointly                      potential, namely graduate borrowers.
                                            Accordingly, we do not think it would                     category. We no longer allow a borrower                 Discussion: We thank the commenters
                                            be appropriate to modify the percentage                   to include the spouse in the family size              for their support.
                                            on PAYE. As explained in the section                      when the borrower knowingly excludes                    Changes: None.
                                            on borrower eligibility for IDR plans, we                 the spouse’s income. Otherwise, we do                 General Opposition
                                            do not think it would be appropriate to                   not agree that further changes are
                                            change the threshold for ICR.                             needed to equalize the treatment of                      Comment: Several commenters stated
                                               Changes: None.                                         single and married borrowers.                         that setting payments at 5 percent of
                                               Comment: One commenter argued                             Changes: None.                                     discretionary income is far lower than
                                            that the proposal to use FPL violated the                    Comments: Some commenters argued                   rates in the United Kingdom and New
                                            requirements outlined in Section 654 of                   that the FPL that is used to set the                  Zealand, which are 9 and 12 percent,
                                            the Treasury and Government                               income protection threshold is flawed                 respectively.
                                            Appropriations Act of 1999 that requires                  because the FPL is based exclusively on                  Discussion: The Department thinks
                                            Federal agencies to conduct a family                      food costs and therefore excludes                     that considering the share of income
                                            policymaking assessment before                            important costs that families face, such              that goes toward student loan payments
                                            implementing policies that may affect                     as childcare and medical expenses. As                 is an insufficient way to consider cross-
                                            family well-being and to assess such                      a result, the resulting FPLs are far too              country comparisons. Different
                                            actions related to specified criteria.                    low and the threshold we use in our                   countries provide differing levels of
                                               With respect to our IDR proposals, a                   regulation would need to increase to                  support for meeting basic expenses
                                            few commenters said that using FPL                        meet basic needs.                                     related to food and housing. They also
                                            disadvantages married couples relative                       Discussion: We discuss our                         have different cost bases. Housing in
                                            to single individuals because the                         justification for setting the income                  one country might be more or less
                                            amount of income protected for a two-                     protection threshold at 225 percent of                affordable than another. Relative
                                            person household is not double what it                    the FPL elsewhere in this rule. We                    incomes and national wealth might vary
                                            is for a single person household. They                    disagree that our use of the FPL is a                 as well. As such, comparing the relative
                                            suggested instead setting the threshold                   flawed approach. The FPL is a widely                  merits of the different student loan
                                            at 152 percent of FPL for a single                        accepted method used to assess a                      repayment structures is not as
                                            individual.                                               family’s income. Moreover, setting FPL                straightforward as simply comparing the
                                               Discussion: The Department disagrees                   at a threshold higher than 100 percent                share of income devoted to payments.
                                            with the commenter’s assessment of the                    allows us to capture other costs. We                     International comparisons would also
                                            applicability of section 654 of the                       believe that using 225 percent of the                 require reckoning with differences in
                                            Treasury and Government                                   FPL to allocate for basic needs when                  the prices charged for postsecondary
                                            Appropriations Act of 1999 to this                        determining an affordable payment                     education, which types of educations or
                                            regulation. This regulation does not                      amount for borrowers in an IDR plan is                institutions a borrower is able to obtain
                                            impose requirements on States or                          a reasonable approach. While borrowers                a loan for, and other similar
                                            families, nor will it adversely affect                    may have various financial obligations,               considerations that are more
                                            family well-being as defined in the cited                 such as childcare and medical expenses,               complicated than solely looking at the
                                            statutory provision. A Federal student                    the FPL is a consistent measure to                    back-end repayment terms. The
                                            loan borrower signed an MPN indicating                    protect income and treat similarly                    commenters, however, did not provide
                                            their promise to repay. The Department                    situated borrowers fairly in repayment.               any such analysis with their statements.
                                            does not require student loan borrowers                   Excluding income from the IDR                            In the IDR NPRM and in this final rule
                                            to use the REPAYE plan. Instead,                          payment calculation in a standard way                 we looked to data and information about
                                            borrowers choose the plan under which                     will equalize treatment of borrowers.                 the situation for student loan borrowers
                                            they will repay their student loan.                       Furthermore, the Department has                       in the United States and we believe that
                                               Using FPL to establish eligibility or                  consistently used the FPL as a                        is the proper source for making the most
                                            out-of-pocket payment amounts for                         component in determining a borrower’s                 relevant and best-informed
                                            Federal benefit programs is a commonly                    income under an IDR plan since the                    determinations about how to structure
                                            used practice. Moreover, the                              introduction of the first IDR plan.66                 the changes to REPAYE in this rule.
                                            Department’s use of the FPL focuses on                       Changes: None.                                        Changes: None.
                                            the number of individuals in the                                                                                   Comments: One commenter noted
                                            household, not the composition of it.                     Payment Amounts (§ 685.209(f)(1)(ii)                  that they believe statutory provisions set
                                               In response to the comment regarding                   and (iii))                                            the share of income owed on loans
                                            the alleged disadvantage for married                      General Support                                       under the IDR plans as follows: 20
                                            borrowers, the Department notes that                                                                            percent for ICR, 15 percent for IBR, and
                                                                                                         Comments: Many commenters
                                            the one possible element that might                                                                             10 percent for New IBR. The commenter
                                                                                                      strongly supported the proposed
                                            have discouraged married borrowers                                                                              points out that when the Department
                                                                                                      REPAYE provision that would decrease
                                            from participating in the REPAYE plan                                                                           regulated on PAYE and REPAYE, we
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                                                                                                      the amount of discretionary income
                                            was the requirement that married                                                                                used the Congressionally-approved 10
                                                                                                      paid toward student loans to 5 percent
                                            borrowers filing their tax returns                                                                              percent threshold. The commenter
                                                                                                      for a borrower’s outstanding loans taken
                                            separately include their spousal income.                                                                        argues that Congress has clearly
                                            We have removed that provision by                           66 See 59 FR 61664. In the initial ICR plan (see    established various thresholds and our
                                            amending the REPAYE plan definition                       59 FR 34279), the family size adjustment was a        previous regulatory provisions have
                                            of ‘‘adjusted gross income’’ and aligning                 mere $7 per dependent for up to five dependents.      respected that. The commenter states


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                                            that there should be a good reason for                    have similar monthly payment                            delinquency and default. We believe
                                            choosing the 5 percent threshold.                         savings.69                                              that the solution included in the IDR
                                              Discussion: Contrary to what the                          Changes: None.                                        NPRM and adopted in this final rule for
                                            commenter asserted, Section                               Treatment of Loans for Graduate                         graduate loans is a more effective
                                            455(d)(1)(D) of the HEA does not                          Education                                               manner of achieving the Department’s
                                            prescribe a minimum threshold of what                                                                             goal of providing borrowers access to
                                                                                                         Comments: Many commenters                            affordable loan payments. A borrower
                                            share of a borrower’s income must be
                                                                                                      suggested that borrowers should also                    who has both undergraduate and
                                            devoted toward payments under an ICR
                                                                                                      pay 5 percent, rather than 10 percent, of               graduate loans will still see a reduction
                                            plan. Congress left that choice to the
                                                                                                      their discretionary income on loans                     in the share of their discretionary
                                            Secretary. And, in the past the
                                                                                                      obtained for graduate study. They said                  income that goes toward loan payments
                                            Department has chosen to set that
                                                                                                      requiring borrowers to pay 10 percent of                and the treatment of loans for
                                            threshold at 20 percent of discretionary                  their discretionary income on those
                                            income and then 10 percent of                                                                                     undergraduate study will be consistent
                                                                                                      loans runs contrary to the goals of the                 across borrowers. Moreover, all student
                                            discretionary income. We note that the                    REPAYE plan and may place a
                                            Department promulgated the original                                                                               borrowers will also receive other
                                                                                                      substantial financial burden on these                   benefits from the changes to REPAYE,
                                            REPAYE regulations in response to a                       borrowers. Many commenters further
                                            June 9, 2014, Presidential                                                                                        including the protection of more income
                                                                                                      suggested that we consider that many                    and the interest benefit. We do not
                                            Memorandum 67 to the Secretaries of                       graduate borrowers are often older than
                                            Education and the Treasury that                                                                                   believe the difference in the treatment of
                                                                                                      their undergraduate counterparts, are                   loans obtained for undergraduate and
                                            specifically noted that Direct Loan                       heads-of-households with dependent
                                            borrowers’ Federal student loan                                                                                   graduate study will make graduate
                                                                                                      children, have caregiving                               borrowers more likely to take out
                                            payment should be set at 10 percent of                    responsibilities, and are closer to
                                            income and to target struggling                                                                                   private loans because the benefits
                                                                                                      retirement. Moreover, many                              offered by our new plan are more
                                            borrowers.68 As we explained in the IDR                   commenters expressed their concern
                                            NPRM, and further explain below, we                                                                               generous than the current IDR options,
                                                                                                      that this disparate treatment of graduate               and likely more generous than the terms
                                            decided to set payments at 5 percent of                   borrowers from undergraduate                            of private student loans.
                                            discretionary income for loans obtained                   borrowers could have financial                             Changes: None.
                                            by the borrower for their undergraduate                   consequences on borrowers’ ability to                      Comments: Several commenters
                                            study as a way to better equalize the                     purchase homes, start businesses, care                  claimed that not providing graduate
                                            benefits of IDR plans between                             for their families, and save for                        borrowers the same discretionary
                                            undergraduate and graduate borrowers.                     retirement. One commenter stated that                   income benefit as undergraduate
                                            In general, the Department is concerned                   treating graduate borrowers differently                 borrowers disproportionately places an
                                            that there are large numbers of                           could make them more likely to take out                 undue burden on Black students and
                                            undergraduate borrowers who would                         private loans.                                          other students of color. Another
                                            benefit from IDR plans but are not using                     Discussion: We acknowledge the                       commenter argued that having different
                                            these plans. Instead, they are facing                     demographics among graduate student                     payment percentages for undergraduate
                                            unacceptably high rates of delinquency                    borrowers. However, we do not agree                     and graduate students is unjustifiable
                                            and default. By contrast, data show that                  that a payment of 5 percent of                          and is likely to disproportionately harm
                                            graduate borrowers are currently using                    discretionary income should apply to all                Black and Latino borrowers, as well as
                                            IDR plans at significantly higher rates.                  borrowers.                                              women of color. Several commenters
                                            While the Department cannot know the                         As we discussed in the IDR NPRM,                     stated that requiring graduate borrowers
                                            specific reason why graduate borrowers                    we are concerned that the lack of strict                to pay more creates an equity issue.
                                            are selecting IDR plans at greater rates                  loan limits for graduate student loans                  They further cited data showing that of
                                            than undergraduate borrowers, graduate                    and the resulting higher loan balances                  Black students rely on financial aid for
                                            borrowers’ relatively higher loan                         means that there is a significant                       graduate school at a higher rate than
                                            balances mean that these individuals                      imbalance between otherwise similarly                   White students. Moreover, the
                                            derive greater monthly savings from                       situated borrowers who only have debt                   commenters explain that Black students
                                            choosing an existing IDR plan than an                     for undergraduate studies versus only                   must also earn a credential beyond a
                                            otherwise identical undergraduate                         having debt for graduate studies.                       bachelor’s degree to receive pay similar
                                            borrower with the same household size                     Moreover, in this final rule we are                     to their White peers who only hold a
                                            and income. As such, the Department                       working to improve the REPAYE plan to                   bachelor’s degree. Lastly, several
                                            seeks to better equalize the savings                      significantly reduce the number of                      commenters stated that the
                                            between undergraduate and graduate                        borrowers who face delinquency and                      Department’s choice to exclude graduate
                                            loans, with the goal that such increased                  default. As we noted in the IDR NPRM,                   borrowers from the 5 percent
                                            savings for undergraduates will                           90 percent of borrowers in default                      discretionary income threshold is
                                            encourage more borrowers to use these                     exclusively borrowed for undergraduate                  flawed and disregards the issue of
                                            plans and, consequently, avoid                            study compared to just 1 percent who                    repayment through racial and economic
                                            delinquency and default. As discussed                     exclusively borrowed for graduate                       justice lenses.
                                            in the IDR NPRM, setting payments at                      study.                                                     Discussion: Research has consistently
                                            5 percent of discretionary income for a                      The Department believes that                         showed that graduate borrowers with
                                            borrower’s undergraduate loans is the                     allowing loans obtained for graduate                    advanced degrees earn more than
                                            lowest integer percent where a typical                    study to be repaid at 5 percent of                      borrowers with just an undergraduate
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                                            undergraduate-only borrower and a                         discretionary income would come at a                    degree.70 Both graduate and
                                            typical graduate-only borrower with the                   significant additional cost while failing               undergraduate borrowers are subject to
                                            same household size and income would                      to advance our efforts to meet the goals                the same discretionary income
                                                                                                      of this rulemaking, including reducing
                                              67 See 79 FR 33843.                                                                                               70 nces.ed.gov/programs/coe/indicator/cba/
                                              68 See 80 FR 67225.                                          69 88 FR 1902–1905.                                annual-earnings.



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                                            threshold of 225 percent FPL. However,                              also reiterate that while the benefits of               REPAYE and the new REPAYE plan for
                                            borrowers with graduate debt will pay                               this rule are focused on undergraduate                  borrowers in different racial/ethnic
                                            10 percent of their income above this                               borrowers, there will still be some                     groups and according to whether the
                                            threshold if they only hold graduate                                benefits for graduate borrowers as a                    borrower had completed a graduate
                                            debt and a percentage between 5 and 10                              result of the changes.                                  degree or certificate. Table 2 contains
                                            if they have both graduate and                                        The Department projected total                        these estimates, which illustrate how
                                            undergraduate debt (weighted by the                                 payments per dollar of student loan                     Black, Hispanic, and American Indian
                                            relative proportion of their original                               payments for future cohorts of                          and Alaskan Native (AIAN) borrowers
                                                                                                                borrowers using a model that includes
                                            principal balance on outstanding debt                                                                                       with a graduate degree are projected to
                                                                                                                relevant lifecycle factors that determine
                                            from undergraduate and graduate                                                                                             see the largest decreases among
                                                                                                                IDR payments (e.g., household size, the
                                            studies). As a result, graduate borrowers                           borrower’s income, and spousal income                   borrowers with graduate degrees in
                                            will still benefit from the new REPAYE                              when relevant) under the assumption of                  payments per dollar borrowed under the
                                            plan by having a larger share of their                              full participation in current REPAYE                    new plan compared to all other
                                            income protected from payment                                       and the new REPAYE plan. The RIA                        categories of graduate completers. In
                                            calculations than they would under the                              discussion of the costs and benefits of                 conducting this analysis, the
                                            current REPAYE plan. We therefore                                   the rule provides additional details on                 Department did not make any policy
                                            disagree with some of the commenters                                this model. The present discounted                      design choices specifically based upon
                                            that graduate borrowers would face                                  value of total payments per dollar                      an analysis of outcomes for different
                                            undue burdens under this final rule. We                             borrowed was projected under current                    racial or ethnic groups.

                                              TABLE 2—PROJECTED PRESENT DISCOUNTED VALUE OF PAYMENTS PER DOLLAR BORROWED FOR FUTURE REPAYMENT
                                                      COHORTS OF GRADUATE COMPLETERS BY RACE/ETHNICITY, ASSUMING FULL TAKE-UP OF REPAYE
                                                                                                               AIAN                 API                  Black          Hispanic         White          Other/Multi

                                            Current REPAYE .....................................                      1.24                  1.28                 1.24           1.26             1.27           1.25
                                            Final rule REPAYE ..................................                      1.07                  1.15                 1.02           1.13             1.16           1.15
                                            Reduction .................................................               0.17                  0.12                 0.22           0.13             0.11           0.10
                                            Percent reduction .....................................                   14%                   10%                  18%            11%               8%             8%
                                               Notes: AIAN = American Indian or Alaskan Native, API = Asian or Pacific Islander.


                                               The higher payment rate for                                      REPAYE plan benefits as undergraduate                   and social workers are also often eligible
                                            borrowers with graduate debt is also                                borrowers.                                              for other student loan forgiveness
                                            justified based on differences in the                                  One commenter stated that, while                     programs, such as PSLF, which shortens
                                            borrowing limits for undergraduate and                              some borrowers with graduate degrees                    the repayment window to ten years for
                                            graduate borrowers. Graduate borrowers                              will eventually become wealthy, many                    those who work consistently in the
                                            have higher loan limits through the                                 graduate-level borrowers will be in a                   public or non-profit sector. Other
                                            Grad PLUS Loan Program and                                          low- to middle-income bracket, such as                  programs include Teacher Loan
                                            correspondingly, higher levels of                                   those seeking employment or who are                     Forgiveness for those who serve at least
                                            student loan debt. We continue to                                   employed in the field of social work.                   five years as a full-time teacher in an
                                            believe it is important that borrowers                              The commenter went on to explain that,                  eligible low-income school. As the
                                            with higher loan balances pay higher                                even though teachers and social workers                 commenter acknowledges in the first
                                            amounts over a longer period before                                 earn approximately the same salary,                     part of their comment, many borrowers
                                            receiving forgiveness. Finally, we                                  social workers will be penalized                        with graduate degrees will earn high
                                            disagree with the commenters that                                   because they will have to pay a higher                  incomes. For that reason, setting
                                            excluding graduate borrowers from the                               share of their income for a longer period               payments at 5 percent of discretionary
                                            5 percent discretionary income amount                               of time due to their need to borrow more                income for graduate loans would raise
                                            is flawed, as we explained our rationale                            in graduate loans.                                      concerns about targeting these
                                            for the higher discretionary income                                    Discussion: We decline to make the                   repayment benefits to the borrowers
                                            amount for graduate borrowers in the                                changes requested by the commenters. It                 needing the most assistance.
                                            IDR NPRM. We believe that the analysis                              is true that many teachers and social                      Changes: None.
                                            shown above, as well as what was                                    workers attain graduate degrees as part                    Comment: One commenter stated that
                                            included in the IDR NPRM and the RIA                                of their education; according to data                   the Department’s decision to calculate
                                            of this final rule show that the                                    from the National Center for                            payments based on a weighted average
                                            Department carefully considered the                                 Educational Statistics, over 50 percent                 between 5 percent and 10 percent of
                                            economic effects of the rule as                                     of public school teachers from 2017–                    discretionary income for borrowers with
                                            appropriate.                                                        2018 held a graduate degree.71 And as                   graduate and undergraduate loans
                                               Changes: None.                                                   of 2015, 45 percent of social workers                   introduces complexity that will be
                                               Comments: Many commenters                                        held a graduate degree.72 But teachers                  difficult for borrowers to understand
                                            emphasized that most States require a                                  71 nces.ed.gov/surveys/ntps/tables/ntps1718_
                                                                                                                                                                        and make it complicated for servicers to
                                            graduate or professional degree to obtain                                                                                   administer.
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                                                                                                                fltable04_t1s.asp.
                                            certification or licensure as a social                                 72 Salsberg, Edward, Leo Quigley, Nicholas              Discussion: The weighted average for
                                            worker, clinical psychologist, or school                            Mehford, Kimberly Acquaviva, Karen Wyche, and           the share of discretionary income a
                                            counselor. These commenters believed                                Shari Sliwa. 2017. Profile of the Social Work           borrower will pay on their loans will be
                                                                                                                workforce. George Washington University Health
                                            that, given such a requirement,                                     Workforce Institute and School of Nursing.
                                                                                                                                                                        automatically calculated by the
                                            borrowers working in these professions                              www.socialworkers.org/LinkClick.aspx?                   Department and will be a seamless
                                            should be eligible to receive the same                              fileticket=wCttjrHq0gE%3D&portalid=0.                   process for borrowers and servicers. The


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                                            Department will provide a plain                           Department did not offer parent PLUS                  Ombudsman’s office will review the
                                            language explanation of the way of                        loan borrowers a safety net to protect                complaint and work with the borrower
                                            calculating payments on                                   them when they could not afford                       on next steps.
                                            StudentAid.gov. Borrowers may visit                       repayment because these borrowers do                    Changes: We have revised
                                            StudentAid.gov or contact their loan                      not have the opportunity to benefit from              § 685.209(f)(1)(iii) to note that
                                            servicer for additional details of their                  the new REPAYE plan.                                  repayment on all loans not captured in
                                            loan payments. Moreover, we believe                          Several commenters, however,                       § 685.209(f)(1)(ii) is calculated at 10
                                            that this added work to explain the                       expressed strong support for excluding                percent of discretionary income.
                                            provision to borrowers is more cost                       parent PLUS loans for dependent
                                                                                                                                                            Alternative Payment Structures
                                            effective than the alternative proposal to                undergraduates from the 5 percent of
                                            simply provide significant payment                        discretionary income standard.                           Comments: Several commenters
                                            reductions on graduate loans.                                Discussion: The Department disagrees               argued that the Department should
                                               Changes: None.                                         with the suggestion that Parent PLUS                  adopt a progressive formula to
                                               Comments: One commenter asserted                       loans should be eligible for this plan on             determine the percentage of
                                            that if we intended to discourage future                  the basis that the student for whom the               discretionary income required to go
                                            borrowers from taking out graduate                        loan was obtained was an                              toward payments instead of a single flat
                                            loans if they cannot afford them, we                      undergraduate student. As discussed                   one. These proposals included ideas
                                            should simply state that. This                            elsewhere in this preamble, the HEA                   like offering a bracket of 5 percent
                                            commenter urged us to prospectively                       prohibits parent PLUS loans from being                payments for low-income borrowers, a
                                            apply the provision of 10 percent of                      repaid under any IDR plan. We decline                 bracket of 10 percent payments on
                                            discretionary income only to new                          to allow a Direct Consolidation Loan                  moderate incomes, and a bracket at 15
                                            graduate borrowers as of 2023.                            that repaid a parent PLUS loan to access              percent for borrowers with higher
                                               Discussion: The Department does not                    REPAYE for reasons also discussed                     incomes. As income rises, the
                                            agree with the commenter’s                                earlier in this preamble. The                         commenter explained, the borrower
                                            characterization of our discretionary                     Department understands that the                       would pay a higher marginal payment
                                            income provision. Our rule is not                         phrasing of § 685.209(f)(1)(ii) in the IDR            rate.
                                            intended to encourage or discourage                       NPRM may have created confusion that                     These commenters wrote that the
                                            borrowing or to alter the borrower’s                      generated comments like the one                       graduated rates would benefit all
                                            choice to attend graduate school or take                  discussed here because it only                        borrowers, including higher-income
                                            out a loan. We believe the discretionary                  discussed payments on loans obtained                  borrowers, by targeting these repayment
                                            income percentage for IDR plans will                      for undergraduate study. We have                      rate structures to the borrowers needing
                                            target borrowers who need the                             clarified the regulation to make it clear             the most assistance which could be
                                            assistance the most. As we stated in the                  that the 5 percent of discretionary                   counteracted with a higher marginal
                                            IDR NPRM, the Department is not                           income standard will be available only                payment rate for those most able to pay.
                                            concerned that keeping the rate at 10                     on loans obtained for the borrower’s                     Alternatively, one commenter
                                            percent for graduate loans would                          own undergraduate study.                              specifically suggested that we could
                                            incentivize graduate students to                             Changes: We have revised                           apply the payment rate of 5 percent of
                                            overborrow as the current 10 percent                      § 685.209(f)(1)(ii) to clarify that we refer          discretionary income to those with a
                                            repayment rate is already in current IDR                  to loans obtained for the borrower’s                  discretionary income of 150 to 225
                                            plans.                                                    undergraduate study.                                  percent of the FPL and 10 percent for
                                               We also disagree that we should                           Comments: None.                                    those whose discretionary income is
                                            provide existing graduate borrowers                          Discussion: In modeling the treatment              above 225 percent of the FPL. The
                                            with payments at 5 percent of income                      of the reduction in payments on                       commenter compared this marginal rate
                                            and only apply the weighted average                       undergraduate loans, the Department                   structure proposal to the progressive
                                            approach to new graduate borrowers as                     noted that some loans in our data                     income tax.
                                            of 2023. We do not think that the cost                    systems do not have an assigned                          Discussion: The Department declines
                                            of providing the lower payments for                       academic level. These are commonly                    to adopt the more complicated bracket
                                            graduate loans taken out before 2023                      consolidation loans and may include                   structures suggested by the commenters.
                                            would justify the significant added costs                 ones where a borrower has consolidated                We are concerned that doing so would
                                            that would come from such a change                        multiple times. The Department is                     undercut several of the goals of this
                                            and we do not think there is a reasoned                   concerned that the language in the                    final rule. This approach could not be
                                            basis to provide payments of different                    NPRM did not provide sufficient clarity               combined with our intent to maintain
                                            levels solely based upon when a                           about how loans in such a situation                   that undergraduate loans get a greater
                                            borrower obtained a loan.                                 would be treated. Accordingly, we are                 focus than graduate loans so that we can
                                               Changes: None.                                         revising § 685.209(f)(1)(iii) to indicate             address concerns about default and
                                                                                                      that any loan not taken out for a                     delinquency. Varying the share of
                                            Treatment of Parent PLUS Borrowers                        borrower’s undergraduate education                    discretionary income that goes toward
                                              Comments: Many commenters                               will be assigned payments equal to 10                 payments by both income and
                                            expressed concern for parent PLUS                         percent of discretionary income. This                 undergraduate loan status would be
                                            borrowers. Many commenters argued                         broader framing will clarify how either               complicated and challenging to explain.
                                            that if the requirement to make                           a loan for a borrower’s graduate study or             We think the weighted average structure
                                            payments of 5 percent discretionary                       one with an unknown academic level                    better addresses our goals and is simpler
                                            income is designed to apply to                            will be treated. A borrower who believes              to convey to borrowers.
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                                            undergraduate study, then parent PLUS                     their loan was in fact obtained for their                Changes: None.
                                            loans—which are used only for                             undergraduate education and should                       Comments: Some commenters argued
                                            undergraduate studies—should receive                      not be treated as subject to the 10                   that the Department should increase the
                                            the same benefits and treatment as                        percent calculation will be able to file              amount of income protected and then
                                            undergraduate borrowers. A few other                      a complaint with the Department’s                     set payments at 10 percent of
                                            commenters further suggested that the                     Student Loan Ombudsman. The                           discretionary income for all borrowers.


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                                            They said such a rule would be more                       which could result in them paying more                Department’s goal should be to maintain
                                            targeted and simpler.                                     over time.                                            parity in benefits between the two
                                               Discussion: We discuss income                            Changes: None.                                      populations, noting their differences in
                                            protection, including the appropriate                       Comments: One commenter suggested                   income and debt.
                                            threshold using the FPL as a unit, under                  that instead of using a percentage of                   Relatedly, the commenter said the
                                            the ‘‘Income Protection Threshold’’                       discretionary income, we should revise                Department did not explain why the
                                            section in this document. As discussed,                   our IDR formulas to express the                       goal should be for undergraduate
                                            we do not think there is a compelling                     payment as a percentage of total income,              borrowers to have equivalence with
                                            rationale for providing a higher amount                   with no payment due for borrowers who                 graduate borrowers rather than the other
                                            of income protection. As discussed                        earn less than $30,000 a year. In the                 way around. They argued that since
                                            earlier and in the IDR NPRM, we think                     commenter’s example, a borrower who                   there are more undergraduate borrowers
                                            that loans taken out for a borrower’s                     earns $30,000 or more per year would                  than graduate borrowers, the
                                            undergraduate study should be repaid at                   have a monthly payment of 5 percent of                Department should try to seek parity
                                            5 percent of discretionary income. We                     their total income.                                   with undergraduate borrowers if they
                                            believe this change will help prevent                       Discussion: This proposed change                    could provide rational explanations that
                                            default and target the benefit at the                     would introduce significant operational               justify the approach.
                                            group that includes the overwhelming                      complexity and challenges. We expect                    The commenter also said that the
                                            majority of defaulters. Moreover, we                      that our approach for determining the                 Department’s analysis included an
                                            reiterate our rationale for the differential              amount of discretionary income to go to               assumption to choose different payment
                                            payment amount thresholds for                             loan payments based on the type of loan               levels which relied on the same income
                                            undergraduate and graduate loans and                      that the borrower has, will achieve our               levels for undergraduate and graduate
                                            how the 225 percent FPL income                            intended purpose: to allow borrowers to               borrowers. The commenter argued that
                                            protection threshold interacts with a                     make an affordable loan payment based                 a more likely scenario was that an
                                            borrower’s payment in the IDR NPRM.                       on their income that we can easily                    undergraduate borrower would have
                                               Changes: None.                                         administer. A borrower with only                      lower earnings than a graduate
                                               Comments: Some commenters argued                       undergraduate loans would already                     borrower.
                                            that borrowers who have undergraduate                     have a 5 percent loan payment as the                    A different commenter made similar
                                            and graduate loans should pay 7.5                         commenter suggests and we believe that                arguments, asking why the Department
                                            percent of their discretionary income as                  a monthly payment amount of 5 percent                 chose to conduct its analysis by using
                                            that would be simpler to establish and                    of the discretionary income best assures              the debt for a graduate borrower as the
                                            communicate. They also argued that                        that REPAYE assists the neediest                      baseline instead of the debt of an
                                            otherwise, borrowers have an incentive                    borrowers.                                            undergraduate borrower. The
                                                                                                        Changes: None.                                      commenter noted that we could have
                                            to not pay off their undergraduate loans
                                            so they can use them to reduce their                      Methodological Concerns                               changed the parameters of graduate debt
                                            payment amount.                                                                                                 to match that of undergraduates.
                                                                                                        Comments: One commenter argued                        Discussion: The commenters seem to
                                               Discussion: We are concerned that                      that the Department’s reasoning for
                                            setting payments at 7.5 percent of                                                                              have misunderstood the Department’s
                                                                                                      proposing that undergraduate loans be                 analysis and goals. One of the
                                            discretionary income for graduate loans                   repaid at 5 percent of discretionary
                                            would result in additional spending on                                                                          Department’s major concerns in
                                                                                                      income was arbitrary and could be used                developing this rule is that despite the
                                            benefits that are not aligned with our                    to justify any threshold. The commenter
                                            goals of preventing default and                                                                                 presence of IDR plans, more than 1
                                                                                                      said none of the reasons articulated                  million borrowers defaulted on their
                                            delinquency. A 7.5 percent payment                        pointed to 5 percent as an appropriate
                                            amount also implies that borrowers                                                                              loans each year prior to the pause on
                                                                                                      number. The commenter provided no                     loan repayment due to the COVID–19
                                            have equal splits of undergraduate and                    detail as to why they reached those
                                            graduate debt, which is not as likely to                                                                        pandemic. And almost all of these
                                                                                                      conclusions.                                          borrowers are individuals who only
                                            occur and might result in lower                             Discussion: The Department disagrees
                                            payments for graduate borrowers than                                                                            borrowed for their undergraduate
                                                                                                      with the commenter. We have explained
                                            would occur under our final rule. We do                                                                         education. As further noted in the IDR
                                                                                                      our rationale for setting payments at 5
                                            not believe the added cost that would                                                                           NPRM, 90 percent of the borrowers in
                                                                                                      percent of discretionary income on
                                            come from such a change is necessary                                                                            default only borrowed for
                                                                                                      undergraduate loans as providing better
                                            to achieve the Department’s goals of                                                                            undergraduate education.
                                                                                                      parity between undergraduate and
                                            averting default and making it easier to                                                                          Additionally, the Department’s
                                                                                                      graduate borrowers based upon typical
                                            navigate repayment.                                                                                             administrative data shows that only 28
                                                                                                      debt levels between the two, with
                                               We disagree with the concerns raised                                                                         percent of recent cohorts of
                                                                                                      considerations added for rounding
                                            by the commenter about whether                                                                                  undergraduate borrowers were using an
                                                                                                      results to whole integers that are easier
                                            borrowers would have an incentive to                                                                            IDR plan before the payment pause,
                                                                                                      to understand. The commenter offered
                                            not pay off their undergraduate loans.                                                                          despite earlier findings from Treasury
                                                                                                      no substantive critiques of this
                                            Whether a borrower chooses to prepay                                                                            that 70 percent of borrowers in default
                                                                                                      approach.
                                            their loan or not is always up to them.                     Changes: None.                                      would have benefited from a reduced
                                            For scheduled payments, the borrower                        Comments: One commenter raised                      payment in IDR.73 The Department is
                                            must pay the amount that is required by                   concerns that the Department’s                        concerned that the rate at which
                                            their repayment plan. If they pay less                    justification for choosing to set                     undergraduate borrowers use IDR is far
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                                            than that amount in order to avoid                        undergraduate loan payments at 5                      below the optimal levels necessary to
                                            paying off their balance, they would                      percent of discretionary income is based              achieve the goals of reducing
                                            become delinquent and possibly default.                   upon looking at equivalent benefits for                 73 U.S. Government Accountability Office, 2015.
                                            If they pause their payments, they                        undergraduate versus graduate                         Federal Student Loans: Education Could Do More
                                            would see interest accumulate (except                     borrowers. They said the Department                   to Help Ensure Borrowers are Aware of Repayment
                                            for subsidized loans on a deferment),                     never explained or justified why the                  and Forgiveness Options. GAO–15–663.



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                                            delinquency and default. While the                           Discussion: We affirm our decision as                    Regarding default, the Department
                                            Department lacks income and                               outlined in the IDR NPRM 74 to lower                     agrees that eliminating all default is a
                                            household size data on all borrowers to                   payments only on undergraduate loans                     laudable goal and points out that many
                                            know the correct share of undergraduate                   to 5 percent of discretionary income.                    of the provisions in this rule that would
                                            borrowers that would benefit from being                   The Department is committed to taking                    significantly reduce the likelihood of
                                            on IDR, that number is unquestionably                     actions to make student loans more                       undergraduate default and delinquency
                                            higher than the share of borrowers in                     affordable for undergraduate borrowers,                  would benefit graduate borrowers as
                                            IDR today.                                                the individuals who are at the greatest                  well. This includes the higher income
                                               Because delinquent and defaulted                       risk of default and who are not using the                protection, the interest benefit, and
                                            borrowers were not enrolling in the IDR                   existing IDR plans at the same frequency                 automatic enrollment in IDR where
                                            plans at the rate we expected, the                        as their peers who attended graduate                     possible, among other benefits. The fact
                                            Department considered changes to                          school. In accomplishing this goal, the                  remains that default rates are
                                            REPAYE that would make the borrowers                      Department looked for a way to provide                   significantly higher among
                                            at greatest risk of default more likely to                greater parity between the benefits of                   undergraduate borrowers, and they are
                                            enroll in and stay enrolled in these                      IDR for a typical undergraduate                          significantly overrepresented among
                                            plans. Given that we have been                            borrower with a typical graduate                         borrowers in default. We believe the
                                            relatively successful at enrolling                        borrower. Historically, graduate                         final rule strikes the proper balance of
                                            graduate borrowers into these plans, we                   borrowers have been more likely to                       making changes that will reduce rates of
                                            considered how to best achieve                            make use of IDR than undergraduate                       delinquency and default while still
                                            something approaching parity in the                       borrowers, suggesting that the economic                  requiring the borrowers who are most
                                            benefits accrued through IDR between                      benefits provided to them under                          able to make payments to do so.
                                            borrowers with undergraduate debt as                      existing IDR plans help in driving their                    Changes: None.
                                            compared to borrowers with graduate                                                                                   Comments: Commenters argued that
                                                                                                      enrollment in IDR. Accordingly, using
                                            debt at the same salary. This analysis                                                                             the Department does not explain in the
                                                                                                      benefits provided to graduate borrowers
                                            highlights an inequity in the current IDR                                                                          analysis that supported the proposed 5
                                                                                                      as a baseline is a reasonable approach to
                                            plans—if you take two borrowers with                                                                               percent threshold why it would be
                                                                                                      trying to get more undergraduate
                                            identical income and family size, the                                                                              acceptable to produce an outcome in
                                                                                                      borrowers to enroll in IDR as well. As
                                            one who borrowed at the typical                                                                                    which borrowers with the same income
                                                                                                      noted in the NPRM, the Department
                                            undergraduate level will benefit less.                                                                             and family size do not have the same
                                                                                                      found that at 5 percent of discretionary
                                               Changes: None.                                                                                                  payment amount. Similarly, some
                                               Comments: Some commenters took                         income, a typical undergraduate
                                                                                                                                                               commenters argued that treating
                                            exception to the Department’s                             borrower would see similar savings as a                  graduate loans differently meant that the
                                            methodological justification for                          typical graduate borrower. Therefore,                    plan was less based upon income than
                                            lowering payments only on                                 the approach taken in the NPRM and                       upon degree sought.
                                            undergraduate loans to 5 percent of                       this final rule provides greater parity                     Discussion: In the IDR NPRM, we
                                            discretionary income and believed it                      and will assist the Department in its                    explained why we proposed to set the
                                            should have resulted in setting                           goal of getting more undergraduate                       5 percent threshold for undergraduate
                                            payments on graduate loans at 5 percent                   borrowers to use these plans, driving                    borrowers. A key consideration in our
                                            as well. One commenter mentioned that                     down delinquency and default. Our                        proposal was to provide greater parity
                                            the President campaigned on the basis                     experience with current IDR programs                     between an undergraduate borrower and
                                            that 5 percent of discretionary income                    indicates that graduate borrowers are                    a graduate borrower that are similarly
                                            would be afforded to all borrowers                        already willing to enroll in IDR at high                 financially situated. We do not want
                                            under IDR plans thereby dismissing our                    rates even with payments set at 10                       graduate borrowers to benefit more than
                                            rationale for the discretionary income in                 percent payment of discretionary                         borrowers with only undergraduate
                                            the IDR NPRM as pretextual. They said                     income. As already discussed, we                         debt. We believe that creating this parity
                                            that the Department should not have                       already see significant usage of the IDR                 may make undergraduate borrowers
                                            assumed that the undergraduate and                        plans by graduate borrowers. It is not                   more willing to enroll in an IDR plan,
                                            graduate borrowers have equivalent                        evident to us that we need to take                       possibly at rates equal to or greater than
                                            incomes. They argued that failing to                      additional steps to encourage graduate                   graduate borrowers today. This is
                                            grasp this meant that the Department                      borrowers to use IDR to lessen                           important because delinquency and
                                            did not capture that graduate borrowers                   delinquency and default. In response to                  default rates are significantly higher for
                                            with higher earnings will pay more even                   commenters’ concern regarding our                        undergraduate borrowers than they are
                                            if the method of calculating payments is                  methodologies, we emphasize the                          for graduate borrowers.
                                            the same across all types of borrowers.                   inequities that could be created if                         In response to the comment about
                                               A different commenter objected to the                  undergraduate and graduate borrowers                     how the proposed rule would treat
                                            idea that an undergraduate borrower                       were treated similarly. For example, if                  borrowers who have the same income
                                            and a graduate borrower with the same                     graduate and undergraduate borrowers                     and same family size but loans from
                                            incomes should be treated differently.                    making same income were charged the                      different program levels (undergraduate
                                            This commenter argued that if a                           same in monthly payments, the benefits                   versus graduate), the Department is
                                            graduate borrower and an                                  would be substantially greater for                       making distinctions between types of
                                            undergraduate borrower have the same                      graduate borrowers given their larger                    loans the same way the HEA already
                                            incomes it could be a sign of struggle for                loan amounts. We provided an                             does. The HEA already mandates
                                            the former given that graduate degrees                    illustrative example of the potential                    different interest rates and loan limits
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                                            generally result in higher incomes.                       benefits for graduate borrowers in the                   based upon whether a borrower is an
                                               Finally, the commenter objected that                   IDR NPRM, and we maintain that our                       undergraduate or graduate borrower.
                                            the Department has prioritized reducing                   reductions of the payment rate only for                  The approach in this final rule simply
                                            undergraduate defaults rather than                        undergraduates is justified.                             continues to acknowledge those
                                            seeking to bring default for all borrowers                                                                         distinctions for repayment. Moreover, as
                                            to zero.                                                       74 See 88 FR 1902–1905.                             we noted in the preamble and reaffirm


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                                            here, failing to draw such a distinction                  income (one-third times 5 percent plus                   Discussion: We agree we should
                                            could create inequities because a                         two-thirds times 10 percent), while a                 include the provisions treating the
                                            graduate borrower is likely to derive far                 borrower who takes out $10,000 for                    rounding of small monthly payments
                                            greater economic benefits from the IDR                    undergraduate education and $30,000                   that currently exist in our regulations.
                                            plan than a similarly situated                            for graduate school pays 8.75 percent of              We are revising the final rule to include
                                            undergraduate borrower. Overall, we                       their discretionary income (one-quarter               § 685.209(a), (c), and § 685.221(b) from
                                            think this change will make the                           times 5 percent plus three-quarters                   the current regulations for the REPAYE,
                                            repayment options more equitable                          times 10 percent). The commenter                      PAYE, and IBR plans. These provisions
                                            across two otherwise similar classes of                   suggested that it would be more                       stipulate that, for the REPAYE, PAYE,
                                            borrowers.                                                equitable to vary the payments based                  and IBR, plans, if a borrower’s
                                               Changes: None.                                         upon the borrower’s loan balance.                     calculated payment amount is less than
                                               Comments: One commenter raised                            Discussion: The commenter’s                        $5, the monthly payment is $0 and, if
                                            concerns that one of the Department’s                     suggested approach would introduce                    a calculated payment is equal to or
                                            reasons for reducing payments to 5                        greater confusion for borrowers and be                greater than $5 but less than $10, a
                                            percent of discretionary income for                       complex for the Department to                         borrower’s monthly payment is $10. We
                                            borrowers with undergraduate loans                        administer given the differential loan                are also revising the final rule to include
                                            was a survey of just over 2,800 people.                   limits for dependent and independent                  § 685.209(b) from current regulations,
                                            They said that is an insufficient basis for               undergraduate students. Moreover, the                 which stipulates that, for the ICR plan,
                                            making regulatory changes of such a                       result would be that an independent                   if a borrower’s calculated payment
                                            significant cost.                                         student could end up with a higher                    amount is greater than $0 but less than
                                               Discussion: The commenters                             payment than their dependent                          or equal to $5, the monthly payment is
                                            misconstrued our citation of the survey                   undergraduate peer. Varying payments                  $5. We did not receive any comments
                                            from the Pew Charitable Trust-Student                     for undergraduates based upon their                   that suggest we should change these
                                            Borrower’s survey conducted by SSRS,                      dependency status runs counter to the                 provisions and have restored them
                                            a market research firm. In considering                    Department’s goal of targeting the effects            without amending them.
                                            whether to reduce the payment amount,                     of the lowered payments on                               Changes: For the REPAYE, PAYE, and
                                            we considered information from                            undergraduate borrowers so that there is              IBR plans we added § 685.209(g)(1) to
                                            multiple sources, including negotiated                    better parity with graduate peers. The                allow for an adjustment to the
                                            rulemaking participants and public                        Department thinks this is important                   borrower’s calculated payment amount
                                            commenters, focus groups,75 and data                      given the need to better use IDR as a tool            under certain circumstances. For the
                                            from the FSA Ombudsman. In these                          to avert delinquency and default.                     ICR plan, we added paragraph
                                            areas, borrowers consistently expressed                      The commenter is correct that one                  § 685.209(g)(2) to allow for an
                                            concern with the amount of their loan                     effect of this policy is that the more debt           adjustment to the borrower’s calculated
                                            payments. In the survey that we cited in                  for their undergraduate education a                   payment amount that if the borrower’s
                                            the IDR NPRM, we illustrated external                     borrower has relative to the debt for                 calculated payment is greater than $0
                                            research that outlined specific problems                  their graduate education, the lower the               but less than or equal to $5, the monthly
                                            that borrowers experienced while in an                    share of their discretionary income the               payment is $5.
                                            IDR plan. This data point was not meant                   borrower must commit to their loan                       Comment: One commenter stated that
                                            to be read in isolation. The focus groups                 payments. But the commenter fails to                  our proposals for the revised REPAYE
                                            that we cited in the IDR NPRM and the                     address two important considerations of               plan do not contain a standard payment
                                            data from the FSA Ombudsman 76                            this structure. First, this creates an                cap and that, for some borrowers,
                                            further reflected the concerns of                         incentive for borrowers to keep their                 REPAYE would be inferior compared to
                                            borrowers experiencing problems with                      borrowing for their graduate education                the IBR or PAYE plans.
                                            their loan payments.                                      lower, as adding more debt there will                    Discussion: The commenter correctly
                                               Therefore, we believe the need for and                 increase their payments. Second, while                points out—and we acknowledged in
                                            benefits of reducing the payments for                     a borrower’s total balance does not                   the IDR NPRM—that our new REPAYE
                                            undergraduate borrowers are grounded                      affect their monthly payment in this                  plan does not contain a standard
                                            in sufficient data and sound reasoning.                   plan, it does affect how their payment                payment cap like those in the IBR and
                                               Changes: None.                                         is applied. Borrowers with higher loan                PAYE plans. Under both the IBR and
                                               Comments: One commenter argued                         balances will have to pay down more                   PAYE plans, a borrower must have a
                                            that the weighted average approach                        interest before payments are applied                  calculated payment below what they
                                            would result in an outcome where a                        toward principal. This can mean that it               would pay on the standard 10-year
                                            borrower who took on more total debt                      takes them longer to pay off the loan or              repayment plan to be eligible for that
                                            would end up with a lower payment                         will keep them in repayment for the full              plan. Borrowers on this plan also see
                                            than someone who took on less debt.                       25 years until they get forgiveness on a              their payments capped at what they
                                            For example, a borrower who takes out                     graduate loan. As a result, it is not                 would owe on the standard 10-year
                                            $30,000 for undergraduate education                       inherently beneficial for the borrower to             repayment plan. By statute, borrowers
                                            and $60,000 for graduate school pays                      take on more debt to achieve the                      on IBR whose calculated payment hits
                                            8.3 percent of their discretionary                        outcomes described by the commenter.                  the standard 10-year repayment cap will
                                                                                                         Changes: None.                                     see any outstanding interest capitalized.
                                              75 FDR Group. Taking Out and Repaying Student
                                                                                                                                                               The Department adopts the decision
                                            Loans: A Report on Focus Groups with Struggling           Adjustments to Monthly Payment                        reflected in the NPRM to not include a
                                            Student Loan Borrowers. (2015).                           Amounts (§ 685.209(g))
                                            www.static.newamerica.org/attachments/2358-why-                                                                 cap on payments in REPAYE. Such a
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                                            student-loans-are-different/FDR_Group_                      Comments: One commenter noted                       cap can provide a significant benefit for
                                            Updated.dc7218ab247a4650902f7afd52d6cae1.pdf.             that the IDR NPRM omitted provisions                  higher-income borrowers and can result
                                            See also, www.pewtrusts.org/-/.                           that exist in current regulations                     in these individuals receiving
                                              76 See FY2022 FSA Annual Report, Report of the

                                            Federal Student Aid Ombudsman, page 150.
                                                                                                      regarding rounding monthly IDR                        forgiveness instead of paying off their
                                            Studentaid.gov/sites/default/files/fy2022-fsa-            payments up or down when the                          loan through higher monthly payments.
                                            annual-report.pdf.                                        calculated amount is low.                             Therefore, the lack of a cap provides a


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                                            way to better target the REPAYE                           majority of borrowers. Several                          70 percent of borrowers on IDR plans
                                            benefits. Finally, we note that if a                      commenters stated that more borrowers                   have payments that do not cover the full
                                            borrower is concerned about their                         would be inclined to pay their loans if                 amount of their accumulating monthly
                                            payments going above what they would                      the interest capitalization was                         interest. Apart from borrowers who only
                                            pay on the standard 10-year repayment                     eliminated. In addition, commenters                     have subsidized loans and are in the
                                            plan, they are able to switch to another                  stated that many students have been left                first three years of repayment, these
                                            repayment plan options, but they might                    feeling hopeless, defeated, and trapped                 borrowers will see their balances grow.
                                            have to give up progress toward                           due to the compound interest causing                    The Department is concerned that this
                                            forgiveness in making such a choice.                      their loans to grow significantly larger                result can provide a significant reason
                                              Changes: None.                                          than their initial principal. A few                     for borrowers to not pursue an IDR plan,
                                            Interest Benefits (§ 685.209(h))                          commenters mentioned that a waiver of                   can psychologically undercut the
                                                                                                      unpaid monthly interest for borrowers                   benefits of IDR for those who are on one
                                               Comments: The Department received                      with low earnings over the course of                    of the plans, and those factors together
                                            many comments in support of the                           their career would help borrowers to                    may be a further reason why the most
                                            proposed change to the REPAYE plan                        avoid negative amortization.                            at-risk borrowers are not using IDR
                                            under which the Secretary will not                           Discussion: The Department                           plans at rates sufficient to significantly
                                            apply accrued interest to a borrower’s                    eliminated interest capitalization in                   drive down national numbers of
                                            account if is not covered by the                          instances where it is not statutorily                   borrowers who are delinquent or in
                                            borrower’s payments. Many commenters                      required in the Final Rule published on                 default.
                                            suggested that the Department use its                     November 1, 2022.77 We disagree that                       We also note that for borrowers whose
                                            regulatory authority to provide this                      we need to provide a blanket waiver for                 incomes are low relative to their debt for
                                            benefit for borrowers making IBR                          unpaid monthly interest because we                      the duration of the repayment period,
                                            payments while in default, or to all                      have already eliminated instances of                    this change will mean that interest that
                                            borrowers while they are in any of the                    interest capitalization where we have                   would otherwise be forgiven after 20 or
                                            IDR plans.                                                the discretion to do so.                                25 years is forgiven sooner. That can
                                               Another commenter opined that the                        Changes: None.                                        provide significant non-monetary
                                            psychological impact of this treatment                      Comments: Commenters argued there                     benefits, such as not having borrowers
                                            of accruing interest when borrowers                       was no compelling argument for                          feel like their debt situation is getting
                                            repay their student loans would likely                    waiving interest and stated that the IDR                worse due to balance growth, and makes
                                            have a positive effect on default                         plans were designed to make payments                    it easier for them to decide whether to
                                            aversion.                                                 more affordable while still collecting the              enroll in the REPAYE plan.
                                               Discussion: We thank the commenters                    necessary payments over time. These                        We remind the commenters
                                            for their suggestions for applying                        commenters further believed that our                    concerned about the effect of this
                                            accrued interest to a defaulted                           proposals would primarily benefit                       benefit on borrowers whose incomes
                                            borrower’s account while the borrower                     borrowers who have low earnings early                   start low and then increase significantly
                                            is on an IBR plan and for borrowers on                    in their careers but higher earnings later              about the lack of a cap on payments at
                                            any of the IDR plans. We do not believe                   in their career.                                        the standard 10-year plan amount. That
                                            it would be appropriate to change the                       Several commenters urged us to allow                  cap exists on the other IDR plans
                                            treatment of unpaid monthly interest for                  interest to accrue normally during                      available to borrowers, neither of which
                                            all borrowers on any of the other IDR                     repayment, or at the very least, allow                  includes an interest benefit as extensive
                                            plans. The Department cannot alter the                    interest to accrue during temporary                     as the one included for REPAYE. The
                                            terms of the interest accrual for the IBR                 periods when borrowers earn low to no                   effect of such a cap, though, is that
                                            plan, which are spelled out in Sec.                       earnings, such as during certain                        borrowers who have seen a lot of
                                            493C(b) of the HEA. We also decline to                    deferments or forbearances. These                       interest accumulate over time may still
                                            make this change for the PAYE plan                        commenters believed that our interest                   not be paying it off, since the capped
                                            because one of the Department’s goals in                  benefits proposal was costly, regressive,               payment amount may not be sufficient
                                            this final rule is to streamline the                      and illegal.                                            to retire all the added interest, let alone
                                            number of IDR options available to                          Discussion: The Department declines                   pay down the principal. By contrast, the
                                            borrowers in the future. Were we to                       to adopt the suggestions from                           REPAYE plan does not include such a
                                            include this benefit on the PAYE plan                     commenters to change the treatment of                   cap, which can mean that high-income
                                            it might encourage more borrowers to                      unpaid monthly interest included in the                 borrowers would make larger payments
                                            remain on the PAYE plan instead of                        proposed rule. Borrowers will still make                that could increase the likelihood of
                                            shifting to REPAYE. That would work                       payments based upon their income and                    paying off their loans entirely.
                                            against the Department’s simplification                   their payment will still be applied to                     We also partly disagree with the
                                            goals. We also decline to make this                       interest before touching principal. That                suggestion to not implement this
                                            change for the ICR plan. As explained                     preserves the possibility for borrowers                 interest benefit for periods when a
                                            earlier, the Department views that plan                   to pay more in interest than they would                 borrower has no or low earnings or
                                            as being the option for borrowers who                     on other repayment plans, as borrowers                  when they are in certain deferment and
                                            have a consolidation loan that repaid a                   may continue to make interest-only                      forbearance periods. On the latter point,
                                            parent PLUS loan, and we are                              payments, rather than touching their                    the Department is not changing the
                                            concerned about getting the balance of                    principal balance. However, this change                 treatment of interest while a borrower is
                                            benefits for those borrowers right given                  will provide a few key benefits for                     on a deferment or forbearance. This
                                            the fundamentally different nature of                     borrowers. It will mean that borrowers                  aligns with the commenter’s request.
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                                            parent versus student loans.                              will no longer see their outstanding                    That means that borrowers generally
                                               Changes: None.                                         amounts owed increasing even as they                    will not see interest accumulate on their
                                               Comments: Many commenters argued                       make their required monthly payments                    subsidized loans while in deferment,
                                            that the interest capitalization on                       on REPAYE. Department data show that                    while they will see interest charged on
                                            Federal student loans creates the most                                                                            unsubsidized or PLUS loans, including
                                            significant financial hardship for the                         77 87 FR 65904.                                    while in a deferment or forbearance.


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                                            The one exception to this is the cancer                   someone just beginning to repay their                   We disagree with the suggestion that
                                            treatment deferment, which, under the                     loans. Telling these borrowers not to                 interest benefits will provide an
                                            statute, provides interest benefits on                    worry as their balances grow because                  unintended benefit for high-income
                                            more types of loans than other                            they may reach forgiveness sometime in                professionals. Borrowers with higher
                                            deferments. However, we disagree with                     the future is unlikely to assuage their               incomes will make larger monthly
                                            the suggestion to not provide this                        concerns as forgiveness after 20 or 25                payments than an otherwise similar
                                            interest assistance to borrowers with                     years can feel very abstract. Borrowers               individual with a lower income. If that
                                            periods of low or no earnings who are                     may also be skeptical that the                        higher income borrower also has a larger
                                            on the REPAYE plan. We are concerned                      forgiveness will actually occur,                      loan balance, they will also have large
                                            that these are the borrowers who most                     concerns that are furthered because few               amounts of interest they must first pay
                                            need assistance to help avert                             borrowers have earned forgiveness on                  each month before the principal balance
                                            delinquency or default and we think                       IDR to date and the Department has                    declines. That means they will still be
                                            this change will help encourage those                     acknowledged a long history of                        paying significant amounts of interest
                                            borrowers to select the REPAYE option                     inaccurate payment counting (which we                 on a monthly, annual, and lifetime
                                            and set themselves up for longer                          are separately taking steps to address).              basis. These borrowers are also not
                                            repayment success.                                        We believe that addressing the accrual                subject to an overall cap on payments
                                               We discuss comments related to the                     of unpaid interest on a monthly basis                 the way they are on IBR or PAYE. That
                                            legality of the interest benefit in the                   will provide significant benefits to                  means the highest-income borrowers
                                            Legal Authority section of this                           borrowers by ensuring they don’t see                  may end up making larger total
                                            document.                                                 their balances grow while they make                   payments on REPAYE, even if they
                                               Changes: None.                                         required payments. It will lessen the                 receive some interest benefits at the start
                                               Comments: One commenter noted                          sense that a borrower is trapped on an                of their time in repayment.
                                            that there is no compelling reason to                     IDR plan by the need to repay extensive                 Lastly, the Department is concerned
                                            forgive interest because the remaining                    amounts of accumulated interest. And                  that the initial period of repayment is
                                            balance is already forgiven at the end of                 we believe it is one component that will              when a borrower might be most likely
                                            the loan term.                                                                                                  to exhibit signs of struggle and when
                                                                                                      assist our larger goals of making these
                                               Another commenter argued that the                                                                            lower incomes might place them at the
                                                                                                      plans more attractive for borrowers who
                                            Department was incorrect on its                                                                                 greatest risk of not being able to afford
                                            position that interest accumulation will                  are otherwise highly likely to
                                                                                                      experience delinquency or default.                    payments. For borrowers such as the
                                            solve issues of borrowers being                                                                                 doctors described by the commenter,
                                            discouraged to repay their loans. They                       We disagree with the commenter who
                                                                                                                                                            their incomes will rise after a few years
                                            said the change coupled with other                        contended that addressing interest
                                                                                                                                                            and the Department will receive
                                            parameters means that many borrowers                      accumulation will not help to resolve
                                                                                                                                                            significant payments from them in the
                                            will never see their balance go down by                   the issue of borrowers being
                                                                                                                                                            future. Similar reasoning applies to our
                                            even $1, which would increase                             discouraged to repay their loans. As we
                                                                                                                                                            decision not to adopt the proposal to
                                            frustration and make the problems the                     stated in the IDR NPRM, the Department
                                                                                                                                                            only apply the interest treatment after
                                            Department seeks to solve worse.                          is acutely aware of how interest accrual
                                                                                                                                                            the first few years in repayment.
                                               Another commenter suggested that we                    creates psychological and financial                     Changes: None.
                                            only apply the unpaid monthly interest                    barriers to repayment. We believe that
                                            accrual benefit when preventing                           the interest benefits is one of the                   Deferments and Forbearances
                                            negative amortization on undergraduate                    benefits of REPAYE that will                          (§ 685.209(k))
                                            loans. The commenter suggested that                       independently encourage enrollment in                    Comments: A few commenters
                                            this change would preserve the interest                   this plan, and borrowers will make                    requested that the Department include
                                            accrual benefit for those borrowers more                  progress toward repaying their loans.                 in-school deferments in the list of
                                            likely to struggle economically and                       Contrary to that commenter’s assertion,               periods counting toward the maximum
                                            would protect the integrity of the loan                   borrowers will still be required to make              repayment period under § 685.209(k) or
                                            program for all borrowers and taxpayers.                  a payment under REPAYE and many                       allow for a buyback option for these
                                               One commenter who opposed the                          borrowers who make a loan payment                     periods of deferment. Another
                                            interest benefits argued that there will                  will see a reduction in their original                commenter argued that not including in-
                                            be unintended consequences for high-                      outstanding principal balance.                        school deferments toward monthly
                                            income professionals, such as                             Additionally, by removing interest                    forgiveness credit will be especially
                                            physicians and lawyers, who will have                     growth as a barrier to repayment, we                  problematic for many graduate students
                                            their interest cancelled rather than                      expect it will be easier to convince                  who are employed while going to school
                                            deferred because we calculate IDR                         borrowers who would have a $0                         and regularly making payments.
                                            income based on earnings reported on                      payment to sign up for REPAYE and                        Discussion: The Department does not
                                            tax returns from nearly two years prior.                  thereby avoid delinquency or default                  believe it would be appropriate to
                                               Discussion: The Department disagrees                   because we will be removing one of the                provide credit for time spent in an in-
                                            with the commenter who argued that                        most significant downsides to choosing                school deferment toward forgiveness.
                                            there is no compelling reason to provide                  an IDR plan for these borrowers.                      While some borrowers do work while in
                                            the interest benefit that we proposed in                     We do not agree with the suggestion                an in-school deferment, there are many
                                            the NPRM because the remaining                            that we should apply the interest benefit             that do not. The Department does not
                                            balance is already forgiven at the end of                 only when needed to prevent negative                  think it would be appropriate to award
                                            the loan term. This rule would provide                    amortization on undergraduate loans.                  credit toward forgiveness solely because
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                                            borrowers with more affordable monthly                    The change suggested by the commenter                 a borrower is in school. Borrowers have
                                            payments, and borrowers need to fulfill                   would introduce significant operational               the option to decline the in-school
                                            their obligations to receive forgiveness                  complexity and challenges. In addition,               deferment when they re-enroll and
                                            by making their monthly payments.                         the Department is concerned that it                   those who wish to make progress
                                            Twenty or twenty-five years is a very                     would create confusion with other                     toward forgiveness should do so. A
                                            long time in repayment, especially for                    benefits of REPAYE.                                   borrower who believes they were


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                                            incorrectly placed in an in-school                        understanding why some months count                   provision will be implemented for
                                            deferment contrary to their request                       toward one tally of time to forgiveness               borrowers. The Department will only be
                                            should open a case with the Federal                       but not others. Such an approach would                implementing this treatment of crediting
                                            Student Aid Ombudsman by submitting                       also create significant operational                   certain periods of forbearance for
                                            a complaint online at                                     challenges as the Department would                    months occurring on or after July 1,
                                            www.studentaid.gov.                                       have to keep track of two different                   2024. This reflects the data limitations
                                              Changes: None.                                          measures of progress toward                           mentioned by commenters, which
                                              Comment: Several commenters                             forgiveness, which could increase the                 would otherwise result in the
                                            suggested that once the automatic one-                    risk of error. Given that the periods of              overawarding of credit for forbearance
                                            time payment count adjustment is                          deferment and forbearance being                       statuses that go beyond those we
                                            completed, the Department should                          counted toward forgiveness are tied to                include in the rule. The Department also
                                            provide an IDR credit for anyone with                     specific circumstances that will not just             believes the one-time payment count
                                            a $0 payment who is in deferment or                       be available to most borrowers, we now                adjustment will pick up many of these
                                            forbearance, as well as credit for time                   think the overall gains from establishing             same periods and as a result a separate
                                            spent in an in-school deferment.                          one measure of progress toward                        retroactive application is not necessary.
                                              Discussion: The Department outlined                     forgiveness is appropriate.                              The Department will take a different
                                            the terms of the one-time payment count                      Changes: We have revised                           approach to deferments. For those, the
                                            adjustment when it announced the                          § 685.209(k)(4)(i) to remove the phrase               Department has the data needed to
                                            policy in April 2022. We have                             ‘‘including a payment of $0, except that              determine the months a borrower is in
                                            continued to provide updates on that                      those periods of deferment or                         specific deferments and can count past
                                            policy. The one-time payment count                        forbearance treated as a payment under                periods. Here we note that the
                                            adjustment is a tailored response to                      (k)(4)(iv) of this section do not apply for           Department will already be crediting all
                                            specific issues identified in the long-                   forgiveness under paragraph (k)(3) of                 periods of non-in-school deferments
                                            term tracking of progress toward                          this section’’ and in its place add ‘‘or              prior to 2013 as part of the one-time
                                            forgiveness on IDR plans as well as the                   having a monthly payment obligation of                payment count adjustment so this will
                                            usage of deferments and forbearances                      $0.’’                                                 only apply to periods starting in 2013.
                                            that should not have occurred. We                            Comment: Other commenters                          The Department is currently evaluating
                                            believe the one-time payment count                        suggested that the time spent in certain              when we will be able to implement this
                                            adjustment policy that we announced in                    deferment and forbearance periods that                change and as noted earlier in this rule,
                                            2022 and our other hold harmless                          count toward PSLF also be counted                     we may publish a Federal Register
                                            provision that we discuss elsewhere                       toward IDR forgiveness.                               notice indicating if this is going to be
                                            throughout this document will                                Discussion: The Department agrees                  implemented sooner than July 1, 2024.
                                            adequately address these commenters’                      with the commenters that all months                      Changes: We have amended § 685.209
                                            concerns.                                                 that borrowers spent in deferment or                  (k)(4)(iv) to clarify that only periods in
                                              Changes: None.                                          forbearance that get credited as time                 the forbearances noted in that section on
                                              Comments: A few commenters                              toward forgiveness for PSLF should be                 or after July 1, 2024, will be counted
                                            suggested that we treat periods of                        credited as time toward forgiveness for               toward forgiveness.
                                            deferment and forbearance as credit                       IDR. However, the inverse is not always                  Comments: One commenter disagreed
                                            toward the shortened forgiveness                          true. The Department will award credit                with our proposals for considering
                                            periods laid out in § 685.209(k)(3) since                 toward IDR forgiveness for the                        certain deferment and forbearance
                                            the department already proposed to                        unemployment and rehabilitation                       periods as counting toward IDR
                                            count them toward the 20 or 25 years                      training deferments for which a                       forgiveness. This commenter believed
                                            required for forgiveness under                            borrower would not be able to be                      that deferments and forbearances allow
                                            § 685.209(k)(1) and (2). These                            employed full-time and which do not                   borrowers to avoid making payments
                                            commenters stated that we should                          count for PSLF.                                       and that our proposals would allow us
                                            remove the clause in § 685.209(k)(4)(i)                      Changes: We have revised                           to classify those periods of deferments
                                            that prohibited periods in deferment                      § 685.209(k)(4)(v) to include that a                  or forbearance as payments.
                                            and forbearance to count toward the                       payment toward a month of forgiveness                    Discussion: We disagree with the
                                            shortened forgiveness timeline.                           in PSLF will count toward a month of                  commenter’s framing of the
                                              Discussion: The Department agrees                       forgiveness in IDR.                                   Department’s policy. Forbearances and
                                            with these commenters that all months                        Comment: A few commenters                          deferments are statutory benefits given
                                            of deferment and forbearance listed in                    expressed concern that the Department                 to borrowers when they meet certain
                                            § 685.209(k)(4)(iv) should count as                       does not provide different forbearance                criteria, such as deferments for
                                            payments toward the shortened                             status codes to lenders and loan                      borrowers while they are experiencing
                                            forgiveness period. We had originally                     servicers, thereby creating an                        economic hardships or forbearances for
                                            proposed to exclude these periods                         operational challenge. Specifically,                  students who are servicemembers who
                                            because we wanted to make certain that                    commenters pointed out the need to                    have been called up for military duty.
                                            borrowers would not try to use a                          distinguish among and report the types                We have carefully reviewed all of the
                                            deferment or forbearance to minimize                      of forbearance, as currently only one                 different forbearances and deferments
                                            the payments made before receiving                        forbearance status code exists in the                 available to borrowers and intentionally
                                            forgiveness in as few as 120 months.                      National Student Loan Data System                     decided to only award credit toward
                                            However, we think excluding those                         (NSLDS).                                              IDR forgiveness for those instances
                                            periods from the shortened forgiveness                       Discussion: We agree that the                      where the borrower would or would be
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                                            timeline would create confusion for                       Department should provide different                   highly likely to have a $0 payment or
                                            borrowers and operational challenges                      forbearance status codes to lenders and               where there is confusion about whether
                                            that are more problematic than the                        loan servicers. This is an operational                they should choose IDR or the
                                            Department’s initial reasons for not                      issue that does not need to be addressed              opportunity to pause their payments.
                                            counting those periods. We think                          in the rule. However, given the                       The former category includes situations
                                            borrowers would have trouble                              comment we wish to clarify how this                   like an unemployment deferment, while


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                                            the latter includes deferments related to                 made payments under an approved                         forbearance for which they are eligible
                                            service in the military, AmeriCorps, or                   bankruptcy plan.                                        for catch-up payments.
                                            the Peace Corps. All of these deferments                     Comments: As a response to our                          Several commenters suggested that
                                            and forbearances also require borrowers                   request for feedback 78 on whether we                   the Department automate the hold
                                            to complete documentation and be                          should include comparable deferments                    harmless periods and give borrowers
                                            approved. The forbearances that we are                    for Direct Loan borrowers with                          credit toward forgiveness for any period
                                            not proposing to provide credit toward                    outstanding balances on FFEL loans                      of paused payments.
                                            forgiveness are those where the                           made before 1993 toward IDR                                Several commenters requested that
                                            Department is concerned about creating                    forgiveness, a few commenters                           the Department set the catch-up
                                            unintended incentives to not make                         responded with the view that we should                  payments to allow $0 payments if we
                                            payments.                                                 include time spent on these deferments                  could not determine the amount of the
                                              Changes: None.                                          toward forgiveness. Another commenter                   catch-up payments.
                                              Comments: Several commenters                            noted if we included comparable                            One commenter suggested that the
                                            proposed that borrowers who are in a                      deferments, we would face data                          proposed catch-up period would be
                                            forbearance while undergoing a                            limitations and operational constraints.                virtually unworkable for the Department
                                            bankruptcy proceeding should receive                         Discussion: After further evaluation,                and sets both borrowers and FSA up for
                                            credit toward forgiveness. They noted                     we concur with the latter commenter. It                 failure. This commenter recommended
                                            that in many cases borrowers may be                       is not operationally feasible for us to                 eliminating or restricting this provision
                                            making payments during that                                                                                       because the required information is too
                                                                                                      provide credit toward forgiveness for
                                            proceeding. They also noted that while                                                                            difficult for borrowers to obtain.
                                                                                                      comparable deferments to Direct Loan
                                            borrowers currently have a way to get                                                                                Discussion: In continuing to review
                                                                                                      borrowers with outstanding balances on                  the proposal from the NPRM, the
                                            credit toward IDR by including language                   FFEL loans made before 1993. The
                                            in their bankruptcy agreement, that                                                                               Department considered how best to
                                                                                                      Department has limited data pertaining                  operationalize the process of giving
                                            option is infrequently used and                           to deferments and forbearances for
                                            confusing for borrowers.                                                                                          borrowers an option for buying back
                                                                                                      Direct Loan borrowers who still have an                 time spent in deferment or forbearance
                                              Discussion: The Department agrees
                                                                                                      outstanding FFEL loan made before                       that is not otherwise credited toward
                                            with the commenters in part. A
                                                                                                      1993. Therefore, we are unable to                       forgiveness. We also looked at ways to
                                            borrower in a Chapter 13 bankruptcy is
                                                                                                      include comparable deferments to                        create a process that we can administer
                                            on a court-approved plan to pay a
                                            trustee. However, we do not know the                      Direct Loan borrowers with outstanding                  with minimal errors and with minimal
                                            amount that the trustee will distribute to                balances on FFEL loans made before                      burden on borrowers. We believe doing
                                            pay the borrower’s loan, nor do we                        1993 toward IDR forgiveness.                            so will address both the operational
                                            know the payment schedule. The trustee                       Changes: None.                                       issues raised by some commenters, as
                                            may pay on the student loan for a few                     Catch-Up Payments (§ 685.209(k))                        well as the concerns raised by others
                                            months, then switch to paying down                                                                                about borrowers being unable to take
                                            other debt. It may also take time for a                      Comment: Many commenters strongly                    advantage of this provision or being
                                            borrower to have their Chapter 13 plan                    supported the Department’s proposed                     unduly burdened in trying to do so.
                                            approved after filing for bankruptcy and                  catch-up payments provision that would                     In considering these issues of
                                            not all borrowers successfully complete                   allow borrowers to receive loan                         operational feasibility and borrower
                                            the plan. For those reasons, the                          forgiveness credit when they make                       simplicity, we have decided to revise
                                            Department is modifying the regulatory                    qualified payments on certain                           the catch-up option that was proposed
                                            text to allow for the inclusion of periods                deferments and forbearances that are not                in the IDR NPRM. Specifically, we will
                                            while borrowers are making required                       otherwise credited toward forgiveness.                  offer the catch-up option for periods
                                            payments under a Chapter 13                                  Discussion: We thank the commenters                  beginning after July 1, 2024. This
                                            bankruptcy plan. Borrowers will only be                   for their support. We believe this                      reflects the Department’s assessment
                                            credited for the months during which                      process will provide a way to make                      that we lack the operational capability
                                            they are fulfilling their obligations.                    certain borrowers can continue making                   to apply this benefit retroactively.
                                            Given that the Department will not                        progress toward forgiveness even if they                Instead, we believe the one-time
                                            know this information in real time, we                    intentionally or unintentionally select a               payment count adjustment will capture
                                            have revised the regulation to allow us                   deferment or forbearance that is not                    most periods that we would have
                                            to credit these periods toward                            eligible for credit toward forgiveness. By              otherwise captured in this process—and
                                            forgiveness when we are notified that                     requiring borrowers to make qualifying                  it will do so automatically.
                                            the borrower made the required                            payments for these periods we                              In considering the comments about
                                            payments on their approved bankruptcy                     successfully balance that flexibility with              making this process as simple and
                                            plan. We anticipate that we will be                       ensuring borrowers do not have an                       automatic as possible, the Department
                                            informed about months of successful                       incentive to intentionally pause their                  determined that the best way to apply
                                            payments after the trustee distributes                    payments rather than join an IDR plan.                  this benefit going forward is to allow
                                            payments. We believe that this crediting                     Changes: None.                                       borrowers to make catch-up payments at
                                            of months well after the payments to the                     Comments: Several commenters felt                    an amount equal to their current IDR
                                            trustee are made will still provide                       that requiring a borrower to document                   payment when they seek to make up for
                                            benefit for borrowers as a Chapter 13                     their earnings for past periods to receive              prior periods of deferment or
                                            proceeding typically lasts for a few                      catch-up credit would create an                         forbearance that are not otherwise
                                            years, leaving an extended period                         administrative burden for the borrower,                 credited. This amount will easily be
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                                            remaining prior to forgiveness.                           as well as the Department. These                        known to both the borrower and the
                                              Changes: We have revised                                commenters further suggested that we                    Department and minimizes the need for
                                            § 685.209(k)(4)(iv)(K) to provide that the                annually notify borrowers if they have                  any additional work by the borrower.
                                            Department will award credit toward                       eligible periods of deferment and                       However, because we base the catch-up
                                            IDR forgiveness for months where the                                                                              payment upon the current IDR payment,
                                            Secretary determines that the borrower                         78 See 88 FR 1906.                                 the Department is limiting the usage of


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                                            the catch-up period to only the months                    avoids the operational issues identified                request, the Secretary informs the
                                            of deferment or forbearance that ended                    by other commenters about retroactive                   borrower of the months eligible for
                                            no more than three years prior to when                    review of accounts.                                     payments under paragraph (k)(6)(i).
                                            the borrower makes the additional                            Upon further review of the                             Comment: Several commenters
                                            catch-up payment and that took place                      operational and budgetary resources                     suggested that lump sum payments
                                            on or after July 1, 2024.                                 available, the Department does not                      should be counted as catch-up
                                               We believe this 3-year catch-up                        believe it would be able to administer                  payments and treated the same in both
                                            period is reasonable because IDR                          the catch-up process for earlier periods                IDR and PSLF.
                                            payments can reflect a period of up to                    within a reasonable time frame. And we                    Discussion: The Department agrees
                                            3 calendar years prior to when the                        do not believe that other suggestions                   with commenters that lump sum
                                            borrower certifies their income. As an                    from commenters that would be                           payments in both IDR and PSLF should
                                            example, a borrower who signs up for                      simpler, such as giving any borrower in                 count toward forgiveness in the same
                                            IDR in 2026 before they file their tax                    this situation credit for a $0 payment,                 manner. To that end, we believe that our
                                            return will likely have their monthly                     would be an appropriate and fair step.                  current practice and operations are
                                            payments calculated using their 2024                      There likely would be borrowers in that                 sufficient, as we already consider lump
                                            income. The Department is providing                       situation who could have made an IDR                    sum payments in advance of a
                                            borrowers with one additional year, for                   payment and we are concerned that                       scheduled payment to count toward IDR
                                            a total of three years, to make catch-up                  automatically awarding a $0 payment                     forgiveness. The changes made in the
                                            payments to allow for additional                          would create an inappropriate                           PSLF regulation were designed to align
                                            flexibility while ensuring that current                   mechanism for avoiding payments.                        with the existing IDR practice.
                                            IDR payments will not be used to                             The Department recognizes this                         Changes: None.
                                            receive credit for periods much further                   approach is different from what was                       Comments: Several commenters
                                            in the past.                                              included in the final rule for PSLF, and                suggested that we clarify that defaulted
                                               Because we are structuring the catch-                  we note that months awarded for                         loans could receive loan forgiveness
                                            up period to use the current IDR                          purposes of PSLF through that process                   credit if the borrower makes catch-up
                                            payment, we are also excluding periods                    will still count for IDR. In the final                  payments. Furthermore, the commenters
                                            of in-school deferment from this                          rule 79 for PSLF published on November                  asked whether borrowers would qualify
                                            provision. Borrowers may spend                            1, 2022, the Department proposed                        for loan forgiveness credit now if they
                                            multiple years in an in-school                            allowing catch-up payments for any                      had made $0 payments in the past.
                                            deferment, graduate, and then                             period in the past up to the creation of                  Discussion: The Department will
                                            immediately go onto IDR using their                       the PSLF program. However, the                          apply the catch-up option the same
                                            prior (or prior-prior) year tax data,                     Department believes such an approach                    regardless of whether a borrower was in
                                            which would likely make them eligible                     is more feasible in the case of PSLF                    repayment or in default so long as they
                                            for a $0 payment if they were not                         because the PSLF program is 13 years                    are on an IDR plan at the time they
                                            working full-time while in school.                        newer than IDR. The PSLF policy also                    make the catch-up payment. As noted in
                                            Allowing borrowers to make catch-up                       affects a much smaller number of                        response to other comments in this
                                            payments for periods of in-school                         borrowers—about 1.3 million to date—                    section, the catch-up payments
                                            deferment would therefore allow recent                    compared to more than 8 million                         provision will only apply to periods
                                            graduates to get credit toward IDR for                    borrowers on IDR overall. Moreover, the                 starting on or after July 1, 2024.
                                            their entire period of enrollment                         PSLF program only requires 120 months                   Borrowers in default, like borrowers in
                                            without having to make any payments.                      of payments compared to up to 300                       repayment, will not be able to make
                                            While it is true that some borrowers                      payments on IDR. That means the                         catch-up payments to receive credit
                                            may want to make payments while in                        administrative burden of counting                       toward forgiveness for periods prior to
                                            school and may improperly end up in                       payments will be offset by the fact that                that date, though they may receive
                                            an in-school deferment instead, we                        the policy will move PSLF borrowers                     credit for additional periods under the
                                            believe these instances are best                          significantly closer to forgiveness on                  Department’s one-time payment count
                                            addressed through complaints to the                       PSLF than it would on IDR. Similarly,                   adjustment.80
                                            Ombudsman rather than through the                         the Department believes awarding credit                   Changes: None.
                                            catch-up provisions in this rule.                         for catch-up periods of in-school
                                               The approach taken in this final rule                  deferment is reasonable in PSLF                         Treatment of Income and Loan Debt
                                            will address several concerns raised by                   because that program has a requirement                  (§ 685.209(e))
                                            the commenters. First, the catch-up                       that borrowers be working full-time,                      Comments: Several commenters
                                            payments will always be made based                        limiting the prospect of a borrower                     supported the Department’s proposal to
                                            upon the borrower’s current IDR                           using lower earnings while in-school to                 provide that if a married couple files
                                            payment amount. That means borrowers                      get a $0 payment after school and then                  separate Federal tax returns the
                                            will not face the burden of collecting                    receive significant amounts of credit                   borrower would not be required to
                                            documentation of past income. Second,                     toward forgiveness.                                     include the spouse’s income in the
                                            making this policy prospective only and                      Changes: We have amended                             information used to calculate the
                                            assigning it a clearer time limit will                    § 685.209(k)(6)(i) to provide that the                  borrower’s Federal Direct loan payment.
                                            make it easier for the Department to                      catch-up period is limited to periods                   Commenters supported this provision to
                                            make borrowers aware of the benefit.                      excluding in-school deferments ending                   only consider the borrower’s income
                                            We will be able to inform borrowers                       not more than three years prior to the                  when a borrower is married but filing
                                            each year on how many payments may                        payment and that the additional                         separately to be consistent with the
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                                            be eligible for this catch-up process.                    payment amount will be set at the                       PAYE and IBR plans.
                                            That way borrowers will know how                          amount the borrower currently must pay                    One commenter argued that the
                                            many months could be addressed                            on an IDR plan. We have also amended                    married filing separately option is
                                            through the catch-up option and when                      § 685.209(k)(6)(ii) to note that, upon
                                            months would no longer be eligible for                                                                              80 www.studentaid.gov/announcements-events/

                                            this approach. At the same time, it                            79 See 87 FR 65904.                                idr-account-adjustment.



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                                            seriously flawed, because filing taxes in                 the removal of the spouse from the                    streamlined process for borrowers and
                                            this manner is often very costly, given                   family size number when the borrower                  the Department.
                                            the deductions and credits that married                   is filing separately. After these new                    Section 455(e)(2) of the HEA requires
                                            people filing separately lose out on. The                 regulations are effective, the only                   that the repayment schedule for an ICR
                                            commenter further asserted that                           instance in which a married borrower                  plan be based upon the borrower and
                                            borrowers should not have to choose                       will include the spouse in family size is             the spouse’s AGI if they file a joint tax
                                            between paying more on their taxes or                     when the borrower and spouse file a                   return.
                                            their loans. They encouraged the                          joint Federal tax return. This new                       Under these final regulations, married
                                            Department to consider allowing                           definition will provide more consistent               borrowers filing separately will include
                                            borrowers to submit joint tax returns                     treatment since borrowers will not                    only that borrower’s income for
                                            and all of their individual W2s and                       include their spouse in the family size               purposes of determining the payment
                                            1099s when certifying income each                         when excluding the spouse’s income for                amount under REPAYE. Depending on
                                            year.                                                     purposes of calculating the payment                   the couple’s circumstances, filing
                                               Several other commenters argued that                   amount under any of the IDR plans.                    separately may or may not be
                                            loan payment amounts should be tied to                       Changes: None.                                     advantageous for the taxpayers. The
                                            the individual who took out the loans.                                                                          married couple has the option to either
                                                                                                      Borrower’s Income and Family Size
                                            Several other commenters argued that if                                                                         file separately or file jointly as allowed
                                                                                                      §§ 685.209(a)(1)(i), 685.209(c)(1)(i), and
                                            a spouse did not borrow the loans, it is                                                                        by the Federal tax laws.
                                                                                                      685.221(a)(1)
                                            irrelevant how much money they                                                                                     We already responded to comments
                                            earned.                                                      Comments: Many commenters                          about how the use of FPL affects
                                               Discussion: We agree with the                          supported the Department’s proposal to                marriage incentives in the Other Issues
                                            commenters that felt that it was                          change the regulations to provide that                Pertaining to Income Protection
                                            appropriate to exclude the spouse’s                       married borrowers who file separate                   Threshold section of this document. As
                                            income for married borrowers who file                     Federal tax returns would not be                      also noted in that section, allowing
                                            separately when calculating monthly                       required to include their spouse’s                    married borrowers to file separately and
                                            payments and to have more consistent                      income for purposes of calculating the                exclude their spouse’s income from the
                                            regulatory requirements for all IDR                       payment amount under REPAYE. Other                    payment will address the more
                                            plans. In addition, we sought to help                     commenters believed that our proposals                significant potential drawback to
                                            borrowers avoid the complications that                    would disadvantage married borrowers                  marriage that existed in the REPAYE
                                            might be created by requesting spousal                    in relation to single individuals and                 plan. We also note that if both earners
                                            income information when married                           would make couples less likely to get                 in a household have student loan debt,
                                            borrowers have filed their taxes                          married or, for those borrowers already               both of their debts are covered by the
                                            separately, such as in cases of domestic                  married, more likely to divorce. These                same calculated payment amount. That
                                            abuse, separation, or divorce.                            commenters explained that married                     means if 5 percent of a household’s total
                                               The HEA requires that we include the                   couples filing jointly are allowed to                 income is going to student loan
                                            spouse’s income if the borrower is                        exclude less total income than are                    payments, then it is in effect 2.5 percent
                                            married and files jointly. Specifically,                  unmarried couples. These commenters                   of the household income going to one
                                            Sec. 455(e)(2) of the HEA states that the                 suggest that our proposal would                       borrower’s payments and the other 2.5
                                            repayment amount for a loan being                         penalize married couples.                             percent going to the other.
                                            repaid under the ICR plan ‘‘shall be                         Another commenter expressed                           Changes: None.
                                            based on the adjusted gross income (as                    concern over the budgetary cost of the
                                            defined in section 62 of the Internal                     regulation and believed certain married               Forgiveness Timeline (§ 685.209(k))
                                            Revenue Code of 1986) of the borrower                     borrowers would experience a windfall.                  Comments: Many commenters urged
                                            or, if the borrower is married and files                  This commenter believes that married                  the Department to set a maximum
                                            a Federal income tax return jointly with                  borrowers could choose to file separate               forgiveness timeline of 20 years for both
                                            the borrower’s spouse, on the adjusted                    tax returns to reduce their student loan              undergraduate and graduate borrowers
                                            gross income of the borrower and the                      payments and that many borrowers will                 in all IDR plans. A few commenters
                                            borrower’s spouse.’’ The Department                       try to ‘‘game’’ the system by filing                  suggested that the disparity between the
                                            must include a spouse’s income for                        separately, particularly among                        forgiveness timeline for undergraduate
                                            married borrowers who file joint tax                      households with one earning spouse.                   and graduate loans may discourage
                                            returns. The new family size definition                   Similarly, several commenters urged us                undergraduates from pursuing a
                                            means that while we will no longer                        to maintain the current REPAYE                        graduate education.
                                            require a married borrower filing                         regulations regarding AGI calculations                  Discussion: The Department disagrees
                                            separately and repaying the loan under                    for married couples.                                  with the suggestion and will keep the
                                            the REPAYE plan to provide their                             Discussion: We thank the commenters                maximum time to forgiveness at 20
                                            spouse’s income, the borrower cannot                      who support this provision. Establishing              years for borrowers with only
                                            include the spouse in the family size                     the same requirements and procedures                  undergraduate loans and 25 years for
                                            number under this status. This revised                    with respect to spousal income across                 borrowers with any graduate loans.
                                            definition will apply to the PAYE, IBR,                   all of the IDR plans will alleviate                   Under the current REPAYE regulations
                                            and ICR plans. Previously, borrowers                      confusion among borrowers when                        published in 2015,81 borrowers with
                                            repaying under IBR, PAYE, or ICR were                     selecting a plan that meets their needs.              any graduate debt are required to pay for
                                            permitted to include the spouse in                        It will make it easier for future student             300 months (the equivalent of 25 years)
                                            family size when filing separately and                    loan borrowers to choose between IBR                  to receive forgiveness of the remaining
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                                            borrowers repaying under REPAYE                           and REPAYE and may encourage some                     loan balance instead of the 240 months
                                            could include the spouse only if the                      borrowers eligible for PAYE to switch                 required for undergraduate borrowers.
                                            spouse’s income was provided                              into REPAYE, further simplifying the                  As discussed in the IDR NPRM 82 and
                                            separately. However, since borrowers                      system. Excluding spousal income
                                            will no longer be required to provide the                 under all IDR plans for borrowers who                   81 See 80 FR 67204 (October 30, 2015).

                                            spouse’s income, all plans will require                   file separate tax returns creates a more                82 See 88 FR 1901–1905.




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                                            reiterated here, there are significant                    suggested that we set the maximum                     loans do not have the money to pay
                                            differences between borrowing for                         forgiveness thresholds at 10 years for                taxes on such a potentially large sum.
                                            undergraduate versus graduate                             undergraduate borrowers and 15 years                  One commenter noted that borrowers
                                            education. Congress recognized these                      for graduate borrowers.                               may be taxed on the amount of the loan
                                            distinctions, as well, by providing                          Discussion: The Department’s goal in               that is forgiven, which may be reduced
                                            different loan limits 83 and interest                     developing the changes to REPAYE                      due to the interest benefit provided to
                                            subsidies 84 between undergraduate and                    included in these regulations is to                   the borrower. Another commenter
                                            graduate borrowers. Graduate PLUS                         encourage more borrowers who are at a                 explained that the borrower would have
                                            borrowers do not have a strict dollar-                    high risk of delinquency or default to                to enter into a payment plan with the
                                            based limit on their annual or lifetime                   choose the REPAYE plan and to                         IRS—which charges interest—and
                                            borrowing in contrast to the specific                     simplify the process of selecting                     defeats the purpose of loan forgiveness.
                                            loan limits that apply to loans for                       whether to enroll in a particular IDR                   Discussion: The Department does not
                                            undergraduate programs. We believe                        plan. At the same time, the plan should               have the authority to change the income
                                            that our 2015 decision to treat                           not include unnecessary subsidies for                 tax laws relating to the amount of any
                                            undergraduate and graduate borrowing                      borrowers that do not help accomplish                 loan that is forgiven. The IRS and the
                                            differently was appropriate and should                    those goals. We believe that the various              States have their own statutory and
                                            not be changed.85 We appreciate the                       shortened times for forgiveness                       regulatory standards for what is
                                            concerns expressed by the commenters                      proposed by these commenters would                    considered taxable income—and
                                            and the suggested alternative                             give more benefits to higher-income                   whether that income is taxable or not.
                                            approaches. However, we continue to                       borrowers who can afford to repay their               A borrower may need to consider any
                                            believe that it is important to have                      loans.                                                tax implications of their choice of
                                            borrowers with higher loan balances                          We believe the changes to the                      repayment plan and potential loan
                                            make payments over a longer period                        payment amounts under REPAYE,                         forgiveness and any resulting taxes.
                                            before receiving loan forgiveness.                        coupled with the opportunity for lower-                 Changes: None.
                                            Providing loan forgiveness after 20 years                 balance borrowers to receive forgiveness
                                                                                                      after a shortened period, will                        Shortened Forgiveness Timeline
                                            of repayment for all borrowers,
                                                                                                      accomplish our goals better than the                  (§ 685.209(k))
                                            regardless of loan debt, would be
                                            inconsistent with this goal and, equally                  suggestions from the commenters. These                General Support
                                            importantly, would result in significant                  changes will also benefit other
                                                                                                      borrowers who borrowed higher                            Comments: Many commenters
                                            additional costs to taxpayers that would                                                                        supported the Department’s proposal to
                                            not address the Department’s broader                      amounts.
                                                                                                         The Department does not think that                 shorten the time to forgiveness for
                                            goals in this rule.                                                                                             borrowers in the REPAYE plan to as few
                                                                                                      setting a forgiveness threshold at 10
                                               We do not share the concern of some                                                                          as 10 years of monthly qualifying
                                                                                                      years of monthly payments would be
                                            commenters that the longer forgiveness                                                                          payments for borrowers with original
                                                                                                      appropriate for all undergraduate
                                            timeline for graduate borrowers will                                                                            loan balances of $12,000 or less which
                                                                                                      borrowers. As discussed in the IDR
                                            discourage students from pursuing a                                                                             would increase by 1 year for every
                                                                                                      NPRM and in the section in this
                                            graduate education. In fact, in the time                                                                        additional $1,000 of the borrower’s
                                                                                                      preamble on shortened forgiveness, we
                                            since REPAYE was first created,                                                                                 original principal balance.
                                                                                                      think a forgiveness period that starts as
                                            graduate enrollment has increased even                    early as 10 years of monthly payments                    Discussion: We thank the commenters
                                            as undergraduate enrollment has                           is appropriate only for borrowers with                for their support. We believe that
                                            declined. The Department does not view                    the lowest original principal balances.               shortening the time to forgiveness for
                                            having graduate debt negatively.                          Using a 10-year timeline for all                      borrowers with loan balances of $12,000
                                            Pursuing education beyond the                             undergraduate borrowers would allow                   or less will help to address our goal of
                                            bachelor’s degree opens career pathways                   individuals with very high incomes to                 making REPAYE a more attractive
                                            that would otherwise be unavailable to                    receive forgiveness when they would                   option for borrowers who are more
                                            many people. Nonetheless, we remained                     otherwise have repaid the loan. The                   likely to struggle to afford their loan
                                            concerned about the increasing share of                   same is true for setting forgiveness at 15            payments and decrease the frequency of
                                            loans borrowed for graduate education                     years for graduate borrowers. The                     delinquency and default. This will
                                            and how the much higher loan balances                     Department is concerned that such a                   include counting past qualifying
                                            of borrowers with graduate debt can                       short repayment time frame for any                    payments for borrowers with these low
                                            affect the benefits from IDR plans. The                   graduate borrower regardless of balance               loan balances.
                                            longer repayment timeframe is the                         would provide very significant benefits
                                            simplest way that we can equitably                                                                              General Opposition
                                                                                                      to high-income borrowers who might
                                            distribute benefits to borrowers.                         otherwise repay the loan in full between                Comments: Several commenters
                                               Changes: None.                                                                                               opposed our proposals for shortened
                                                                                                      years 15 and 25. Helping borrowers with
                                               Comments: Several commenters                                                                                 forgiveness timelines. They claimed that
                                                                                                      lower incomes is the Department’s
                                            suggested that we reduce the maximum                                                                            our proposal conflicts with the statute.
                                                                                                      priority as we improve the REPAYE
                                            time to forgiveness for borrowers. A few                                                                        According to these commenters, the
                                                                                                      plan.
                                            commenters suggested that we reduce                          Changes: None.                                     standard repayment period under the
                                            the maximum time to forgiveness to 15                        Comments: Many commenters                          HEA is 10 years, and while the statute
                                            years for undergraduate borrowers and                     expressed concerns about possible tax                 permits ICR plans for loans to be repaid
                                            to less than 15 years for borrowers with                  liabilities and pointed out that the loan             for an ‘‘extended period of time,’’ the
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                                            low incomes. Several commenters                           amount forgiven will be considered                    commenters suggest that loan
                                              83 See Sec. 428H(d) of the HEA.
                                                                                                      taxable income for the borrower. Several              forgiveness under an ICR plan may only
                                              84 Congress terminated the authority to make
                                                                                                      commenters argued that it would be                    be permitted after 10 years, and that
                                            subsidized loans to graduate and professional             harsh to tax the amount of the loan that              loan forgiveness may not occur as soon
                                            students in 2012. See Sec. 455(a)(3) of the HEA.          is forgiven, especially because people                as 10 years as we have proposed.
                                              85 See 80 FR 67221.                                     who are struggling to repay their student             Several other commenters believed that


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                                            we would violate Congress’ intent by                         Discussion: The Department disagrees               limits mean earlier forgiveness, the
                                            extending the 10-year forgiveness                         with the commenter. The overall policy                budgetary costs of raising the loan limits
                                            timeline, which applies to the PSLF                       purpose of the shortened timeline to                  will increase. Another commenter
                                            Program, to all borrowers. These                          forgiveness is to increase the likelihood             mentioned that if Congress were to raise
                                            commenters believe that Congress                          that the most at-risk borrowers select an             Federal student loan limits in the future,
                                            generally established maximum                             IDR plan that reduces the time spent in               the effectiveness of this threshold would
                                            repayment periods of 20 to 25 years for                   repayment before their loan debt is                   likely be reduced for low-balance
                                            loans.                                                    forgiven and, by doing so, reducing rates             borrowers. Another point some
                                              Discussion: We discuss the legal                        of default and delinquency.                           commenters made was that tying
                                            arguments about the underlying                               To determine the maximum original                  forgiveness to the loan limit thresholds
                                            statutory criteria in the Legal Authority                 principal balance that a borrower could               would make it harder for Congress to
                                            section of this document. As a policy                     receive to qualify for a shortened period             raise loan limits.
                                            matter, we disagree with the                              of forgiveness, the Department                           Other commenters argued that we
                                            commenters. As noted in the IDR NPRM                      compared the level of annual earnings a               should index the starting point of
                                            and in this preamble, we are concerned                    borrower would need to make to not                    shortened forgiveness to the statutory
                                            about high rates of delinquency and                       qualify for forgiveness to the median                 loan limits for the first two of years of
                                            default in the student loan programs                      individual and household earnings for                 college for dependent students. Another
                                            and those negative problems are                           early career adults at different levels of            commenter who supported indexing the
                                            particularly concentrated among these                     educational attainment. These                         starting point to the statutory loan limits
                                            lower-balance borrowers. We believe                       calculations show that a borrower in a                stated that because these loan limits are
                                            this provision will help make REPAYE                      one-person household would not benefit                not indexed to inflation there is an
                                            a better option for those borrowers,                      from the shortened forgiveness if their               implicit understanding when Congress
                                            which will assist us in achieving our                     starting income exceeded $59,257,                     increases loan limits that they are
                                            goals.                                                    while the median earnings for early                   acknowledging increases in
                                              Changes: None.                                          career workers with at least some                     postsecondary education costs.
                                              Comment: Commenters argued that                         college education is $74,740. As a                       Discussion: The Department’s overall
                                            the Department’s proposal for shortened                   result, the median individual with at                 goal in crafting changes to REPAYE is to
                                                                                                      least some college education would not                make it more attractive for borrowers
                                            periods to forgiveness failed to consider
                                                                                                      benefit from shortened forgiveness and                who might otherwise be at a high risk
                                            that a borrower eligible for this
                                                                                                      we believe it is reasonable that a                    of default or delinquency. In choosing
                                            forgiveness after 10 years of monthly
                                                                                                      borrower with earnings above a typical                the threshold for principal balances
                                            payments might still be able to keep
                                                                                                      college-educated individual should not                eligible for a shortened period until
                                            paying and therefore, not need
                                                                                                      benefit from the shortened period to                  forgiveness, we looked at whether
                                            forgiveness.
                                                                                                      forgiveness. The commenter did not                    borrowers would have earnings that
                                              Discussion: We disagree with the                        provide a suggestion for what a different
                                            commenter. By limiting the shortened                                                                            placed them below the national median
                                                                                                      reasonable threshold might be.                        of similar individuals. We then tried to
                                            forgiveness period to borrowers with                         We also note that the maximum
                                            lower loan balances, borrowers with                                                                             relate that amount to loan limits so that
                                                                                                      earnings to benefit from the shortened
                                            higher incomes will still pay down                                                                              it would be easier to understand for
                                                                                                      forgiveness deadline is likely to be far
                                            substantial amounts of their loan                                                                               future students when making borrowing
                                                                                                      different from the actual earnings of
                                            balance, if not pay it off entirely, before                                                                     decisions. That amount happens to be
                                                                                                      most individuals who ultimately benefit
                                            the end of the 120 monthly payments.                                                                            equal to two years of the loan limit for
                                                                                                      from this policy. Generally, borrowers
                                            This point is strengthened by the fact                                                                          dependent undergraduate students.
                                                                                                      with this level of debt tend to be
                                            that forgiveness is not available until the                                                                        However, the suggestion to tie the
                                                                                                      independent students who only
                                            borrower has made 10 years’ worth of                                                                            shortened forgiveness amount to the
                                                                                                      completed one year of postsecondary
                                            monthly payments, which is a point at                                                                           dependent loan limits generated a
                                                                                                      education and left without receiving a
                                            which borrowers will start to see their                                                                         number of comments suggesting that we
                                                                                                      credential. These individuals tend to
                                            income trajectories established.                                                                                should instead adjust the amounts to
                                                                                                      have earnings far below the national
                                            Moreover, Department data show that in                                                                          two years at the independent loan limit,
                                                                                                      median figures, which is one of the
                                            general the borrowers who take out the                                                                          an amount that is $8,000 higher than the
                                                                                                      reasons why they are so likely to
                                            debt amounts that would lead to                                                                                 amount included in the IDR NPRM. The
                                                                                                      experience delinquency and default.
                                            shortened forgiveness are among those                        Changes: None.                                     Department is concerned that higher
                                            who are most likely to default. We                                                                              level would provide the opportunity for
                                            believe this simplified approach will                     Tying Forgiveness Thresholds to Loan                  borrowers at incomes significantly
                                            best address our goals of reducing                        Limits                                                above the national median to receive
                                            default, while the strict caps on the                       Comments: In the IDR NPRM, we                       forgiveness and the result would be a
                                            amount borrowed for undergraduate                         requested comments on whether we                      benefit that is more expansive than what
                                            programs protect against the type of                      should tie the starting point for the                 is needed to serve our overall goals of
                                            manipulation referenced by the                            shortened forgiveness to the first two                driving down delinquency and default.
                                            commenter.                                                years of loan limits for a dependent                  By contrast, the $12,000 threshold not
                                              Changes: None.                                          undergraduate student to allow for an                 only is better targeted in terms of
                                              Comments: One commenter argued                          automatic adjustment. Several                         incomes, it also aligns with the
                                            that the Department’s analysis                            commenters said shortened periods                     borrowing level at which we witness
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                                            supporting the choice of thresholds for                   until loan forgiveness should not be tied             higher levels of adverse student loan
                                            the shortened period to forgiveness was                   to loan limits. Some of those                         outcomes. As previously mentioned in
                                            arbitrary because it would result in the                  commenters said the starting point for                the IDR NPRM, 63 percent of borrowers
                                            median person benefiting from this                        shortened forgiveness should remain at                in default borrowed $12,000 or less
                                            policy. They argued that forgiveness                      $12,000. These commenters felt that if                originally, while the share of borrowers
                                            should not be for the general person.                     the regulations specify that higher loan              in default with debts originally between


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                                            $12,000 and $19,000 is just 15                            example, Department data show that,                      Changes: None.
                                            percent.86                                                among independent borrowers with
                                              Given that the $12,000 amount is                                                                              Inflation Adjustment
                                                                                                      student loans in 2022, 33 percent of
                                            better targeted in terms of income where                  those who borrowed less than $12,000                     Comments: Several commenters
                                            borrowers would benefit and where the                     in total were in default, compared to 11              suggested that the shortened forgiveness
                                            Department sees loan struggles, we                        percent of independent students who                   threshold should be indexed to
                                            think it is better to continue expressing                 left higher education with higher                     inflation. One commenter requested that
                                            the point at which a borrower could                       amounts of debt.                                      the Department publish annual inflation
                                            receive forgiveness after 120 monthly                        Additionally, establishing different               adjustments. Another commenter
                                            payments in explicit dollar terms rather                  forgiveness thresholds based upon                     indicated that if we index the amount to
                                            than tying it to loan limits.                             dependency status could also lead to                  inflation, we should explain how
                                              Changes: None.                                          substantial administrative burden and                 inflation adjustments would apply to
                                            Starting Point for Shortened Forgiveness                  complexity for borrowers, as students                 borrowers who were in school versus in
                                                                                                      can start their borrowing as dependent                repayment.
                                               Comments: Many commenters                              borrowers and then become                                Another commenter disagreed and felt
                                            suggested that we increase the starting                   independent. For example, of entering                 that the Department should not apply
                                            amount of debt at which shortened                         students classified as dependent                      inflation adjustments to the forgiveness
                                            forgiveness would occur to $20,000,                       undergraduates in the 2011–12                         level since the Department has already
                                            which is equal to the maximum amount                      academic year, 53 percent of those who
                                            that an independent student can borrow                                                                          linked early loan forgiveness to loan
                                                                                                      were enrolled five years later (in the                limits and loan limits do not change that
                                            for the first two years of postsecondary                  2016–17 academic year) were
                                            education. They argued that doing so                                                                            often and the value erodes. Another
                                                                                                      considered independent.87 This is                     commenter opposed adjusting for
                                            would provide a shortened time to                         because an undergraduate student who
                                            forgiveness at the maximum amount of                                                                            inflation and said that, because the
                                                                                                      turns 24, gets married, has a child, or               $12,000 is tied to the loan limits for a
                                            undergraduate borrowing for two years.                    meets certain other criteria while
                                            One commenter said that the starting                                                                            dependent undergraduate borrowing for
                                                                                                      enrolled as an undergraduate student                  the first two years, we should reconsider
                                            point should be there because
                                                                                                      becomes an independent student. Also,                 the terms of our plan in the event that
                                            independent students are more likely to
                                                                                                      all students in graduate school are                   Congress increases loan limits.
                                            default on their loans than dependent
                                                                                                      considered independent. Further, it                      Discussion: The Department has
                                            students. Another commenter said that
                                                                                                      would be administratively difficult to                decided not to apply inflation
                                            if we did not change the shortened
                                                                                                      consolidate debt incurred by a borrower               adjustments to the shortened
                                            forgiveness point to $20,000 for
                                                                                                      both as a dependent and an                            forgiveness amount. This provision will
                                            everyone, we should distinguish
                                                                                                      independent student and maintain                      provide the greatest benefits to
                                            between dependent and independent
                                                                                                      different forgiveness thresholds.                     borrowers with undergraduate loans and
                                            borrowers and set the starting point for
                                                                                                      Accordingly, we think a single structure              those debts are subject to strict loan
                                            shortened forgiveness at $12,000 for
                                            dependent borrowers and $20,000 for                       for shortened forgiveness would be                    limits that have not been increased
                                            independent borrowers.                                    simpler operationally and easier for                  since 2008. It would not be appropriate
                                               Discussion: We understand why the                      borrowers to understand. Therefore, we                to adjust the amount of forgiveness
                                            commenters argued to set the threshold                    affirm our position of adopting a                     based on inflation when the amount of
                                            for shortened time to forgiveness at                      threshold starting at $12,000 in this                 money an undergraduate borrower
                                            $20,000 to maintain parity between                        final rule.                                           could borrow has not changed. Doing so
                                            independent and dependent students if                        Changes: None.                                     could result in providing shortened
                                                                                                         Comments: Several commenters urged                 forgiveness to higher-income borrowers
                                            we were to establish this threshold
                                                                                                      the Department to reduce the original                 which would be inconsistent with one
                                            explicitly based upon loan limits.
                                                                                                      balance threshold of $12,000 to $10,000               of the Department’s primary goals of
                                            However, as noted in the IDR NPRM, we
                                                                                                      to receive loan forgiveness for borrowers             providing relief to borrowers who are
                                            considered adopting thresholds such as
                                                                                                      who have satisfied 120 monthly                        most at risk of delinquency and default.
                                            the ones suggested by the commenters
                                                                                                      payments. These commenters argued                     Moreover, any kind of inflation
                                            but rejected them based on concerns
                                                                                                      that associating $10,000 to 10 years is               adjustment would create different
                                            that the incomes at which borrowers
                                                                                                      simpler. Others argued that this would                shortened forgiveness thresholds for
                                            would benefit from this policy are too
                                                                                                      make more sense since it is close to the              borrowers based upon when they
                                            high and that the rates of default are
                                                                                                      one-year limit for independent                        borrowed, since it would not make
                                            significantly lower for borrowers with
                                                                                                      undergraduate borrowers.                              sense to increase the thresholds for
                                            those higher amounts of debt, including                      Discussion: As noted elsewhere in
                                            independent borrowers. While                                                                                    individuals who are already in
                                                                                                      this final rule, we are not electing to tie
                                            independent students have higher loan                                                                           repayment.
                                                                                                      the threshold for the shortened period
                                            limits than dependent students,                                                                                    Given that the Department is not
                                                                                                      for loan forgiveness to loan limits and
                                            Department data show that the                                                                                   choosing to connect the shortened
                                                                                                      will instead continue it to base it upon
                                            repayment problems we are most                                                                                  forgiveness thresholds to loan limits, we
                                                                                                      the amount originally borrowed. We
                                            concerned about occur at similar debt                                                                           similarly do not think an automatic
                                                                                                      appreciate the suggestions for
                                            levels across independent and                                                                                   adjustment tied to loan limits would be
                                                                                                      simplification from commenters but
                                            dependent students. We recognize that                                                                           appropriate. Since Congress does not
                                                                                                      believe the benefits for borrowers by
                                            independent students often face                                                                                 regularly change the amount that
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                                                                                                      setting the threshold at a higher level of
                                            additional challenges, but we believe                                                                           undergraduate students can borrow,
                                                                                                      original principal balance exceeds the
                                            that the $12,000 threshold still protects                                                                       including no changes since 2008, we
                                                                                                      simplification benefits.
                                            those borrowers most likely to struggle                                                                         agree with the commenter that it would
                                            repaying their student loans. For                           87 Analysis of Beginning Postsecondary Students     be more appropriate to conduct an
                                                                                                      (BPS) 2012/2017, nces.ed.gov/datalab/powerstats/      additional rulemaking process if
                                              86 See 88 FR 1909.                                      table/maaiwf.                                         circumstances change such that a


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                                            different threshold for shortened                            Discussion: As noted in the IDR                    forgiveness at 10 years for balances of
                                            forgiveness may be appropriate.                           NPRM, we do not believe the                           $12,000 or less, 15 years for balances
                                              Changes: None.                                          Department has the legal authority to                 between $31,000 and $12,000, and 20
                                                                                                      make such a change. Section                           years for all amounts over $31,000.
                                            Alternative Formulas                                      455(d)(1)(D) of the HEA contemplates a                These commenters further stated that
                                               Comment: Many commenters urged                         single instance of forgiveness that                   independent students should have
                                            the Department to consider providing a                    occurs when the borrower’s repayment                  timelines starting at 10 years for
                                            shorter time to forgiveness for any                       obligation is satisfied. This means that              balances of $20,000 or less, 15 years for
                                            borrower whose income either results in                   any loan balance that remains                         balances between $20,000 and $57,500,
                                            a payment amount of $0 or whose                           outstanding after the borrower has made               and 20 years for balances over $57,500.
                                            payment is insufficient to reduce the                     qualifying payments according to the                     One commenter was concerned that
                                            principal balance for a period of time                    terms of the IDR plan in which they are               the proposed formula created points at
                                            under 5 years. Some commenters also                       enrolled for a maximum repayment                      which a borrower would see zero added
                                            argued for an approach where borrowers                    period is to be forgiven. An incremental              costs from taking on additional debt. In
                                            would earn different amounts of credit                    forgiveness structure like that the                   other words, they could borrow more
                                            toward forgiveness based upon their                       commenters suggested would require a                  debt without seeing their total lifetime
                                            financial situation. The result is that the               statutory change.                                     payments increase. This commenter
                                            lowest income borrowers would earn                           Changes: None.                                     suggested a few possible formulas,
                                            more than a month’s worth of credit for                      Comments: One commenter proposed                   including ones that would provide
                                            each month they spent in that status.                     that the Department only make                         forgiveness after as few as five or eight
                                               Discussion: The Department does not                    shortened forgiveness available to                    years of payments.
                                            believe that it is appropriate to adopt                   borrowers seeking non-degree or
                                                                                                                                                               Several commenters suggested that
                                            either of the commenters’ suggestions.                    certificate credentials. Relatedly, several
                                                                                                                                                            the Department measure the periods for
                                                                                                      commenters urged us to limit the
                                            We are concerned that it would put                                                                              forgiveness in terms of months rather
                                                                                                      shortened time to forgiveness to only
                                            borrowers in a strange circumstance in                                                                          than years. In other words, a borrower
                                                                                                      those borrowers who pursued sub-
                                            which if they had a $0 payment for a                                                                            could have a repayment timeline of 10
                                                                                                      baccalaureate degrees.
                                            few years in a row they would be better                      Discussion: The Department disagrees               years and 1 month based upon the
                                            off in terms of loan forgiveness staying                  with the commenters’ suggestions.                     amount they borrowed.
                                            at $0 as opposed to seeking an income                     While we understand the concerns                         Discussion: We appreciate the
                                            gain that would result in the need to                     about not extending benefits to                       suggestions from commenters but
                                            make a payment. The Department                            borrowers who are less likely to need                 decline to make changes to the
                                            similarly declines to adopt the                           them, we believe that a limitation like               shortened forgiveness formula.
                                            commenters’ suggestion of varying the                     the one the commenter requested would                 Regarding proposals to start the period
                                            amount of credit toward forgiveness                       exclude many borrowers for whom this                  of forgiveness sooner, the Department
                                            granted each month based upon                             policy would be very important. For                   believes that it would not be appropriate
                                            borrowers’ incomes. Part of the structure                 instance, the 2004 Beginning                          to have the period of forgiveness be
                                            of IDR plans is to create a situation                     Postsecondary Students Study, which                   shorter than the existing standard 10-
                                            where a borrower with a low income at                     tracked students through 2009, found                  year repayment period. The Department
                                            the start of repayment will still end up                  that rates of default are similar between             also believes that some of the other
                                            paying off their loan if their income                     someone who finished a certificate (43.5              proposals would either establish
                                            grows sufficiently over time. The                         percent) and someone who did not                      significant cliff effects or create a
                                            differential credit proposal could work                   finish a degree (39.7 percent). We are                structure for shortened forgiveness that
                                            against this goal, especially for                         concerned that the commenters’                        would be overly complicated. On the
                                            individuals who are on career                             suggestion could also disincentivize                  former, the Department is concerned
                                            trajectories where pay is very low at first               borrowers who might otherwise                         that some suggestions to only provide
                                            and then increases substantially, such as                 consider a baccalaureate degree                       forgiveness after 10, 15, or 20 years
                                            doctors and others employed in the                        program. We think keeping the point at                would add significant jumps in
                                            medical profession. Adopting such an                      which the shortened time to forgiveness               timelines such that a borrower who
                                            approach could mean that those                            applies better accomplishes the overall               takes on debt just above a threshold
                                            individuals pick up significant credit                    concern about targeting the benefit.                  would be paying for as long as an
                                            toward forgiveness, which then reduces                    Generally, these debt levels are owed by              additional 5 years. This result is distinct
                                            the months when they might be paying                      lower-income borrowers. And as shown                  from the different treatment of
                                            off the loan in full or making very                       in the RIA, we anticipate that very few               undergraduate and graduate debt where
                                            significant payments due to their higher                  graduate borrowers will have debt levels              the latter reflects an intentional decision
                                            income.                                                   that allow them to make use of this                   to borrow for an additional type of
                                               Changes: None.                                         benefit.                                              program. At the same time, the
                                               Comments: A few commenters                                Changes: None.                                     Department is concerned that
                                            recommended that we adopt a                                  Comments: Several commenters                       calculating timelines to forgiveness that
                                            forgiveness structure in which we                         suggested multiple options for                        could vary by a single month or two
                                            discharge part of the borrowers’                          forgiveness timelines, such as 10 years               would be too confusing for borrowers to
                                            principal balance each year. These                        for borrowers who had $20,000 in loan                 understand and for the Department to
                                            commenters said that the problem with                     debt, 15 years for borrowers who had                  administer. A slope of an additional
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                                            the current IDR plans is that the lowest                  $57,500 in loan debt, and 20 years for                year for every $1,000 borrowed creates
                                            income borrowers will not see a                           all other amounts. Several other                      a clear connection between the period
                                            decrease in their balances. Other                         commenters suggested different                        in which the student borrowed and the
                                            commenters provided similar                               forgiveness timelines for dependent                   repayment time frame. The equivalent
                                            suggestions with forgiveness occurring                    versus independent students, such as                  of saying every $83.33 in debt adds one
                                            monthly.                                                  that dependent students receive                       month would be less likely to affect how


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                                            borrowers consider how much debt to                       delinquent on their loan(s). Many                     are addressed operationally and not in
                                            take out.                                                 commenters urged the Department to                    regulations.
                                              Changes: None.                                          allow borrowers in default who have                      Changes: We have revised
                                            Other Comments                                            provided approval for the disclosure of               § 685.209(m)(3) to provide that a
                                                                                                      their Federal tax information to also be              borrower who has provided approval for
                                               Comments: Several commenters                           automatically enrolled in an IDR plan.                the disclosure of their Federal tax
                                            recommended that the Department                              One commenter stated that this                     information and has not made a
                                            clarify how we will calculate the                         proposal is a significant step forward                scheduled payment on the loan for at
                                            forgiveness timeline for a borrower who                   because defaulting on student loans has               least 75 days or is in default on the loan
                                            starts repayment, then returns to school                  long-term financial consequences. One                 and is not subject to a Federal offset,
                                            and takes out new loans. One                              commenter urged the Department to add                 administrative wage garnishment under
                                            commenter suggested that the                              regulatory language requiring servicers               section 488A of the Act, or a judgment
                                            Department create a provision similar to                  to notify borrowers with parent PLUS                  secured through litigation may
                                            § 685.209(k)(4)(v)(B) that would address                  loans who are 75 days delinquent about                automatically be enrolled in an IDR
                                            this situation to prorate the amount of                   consolidating their loans and then                    plan.
                                            forgiveness based on the weighted                         enrolling in IDR.                                        Comments: One commenter was
                                            average of the forgiveness acquired for                                                                         concerned that borrowers may be
                                                                                                         Discussion: We agree with the
                                            each of the set of loans by the original                                                                        unaware of IDR plans. This commenter
                                                                                                      commenters that this is a step forward
                                            balance, as well as make the update                                                                             stated that automatically moving
                                                                                                      to give borrowers an important
                                            automatic which would standardize                                                                               borrowers to an IDR plan and presenting
                                                                                                      opportunity to repay their loans instead
                                            repayment. The commenter also                                                                                   them with an anticipated lower
                                                                                                      of defaulting. While our hope is that
                                            expressed concern that                                                                                          payment would more effectively raise
                                                                                                      borrowers will give us approval for
                                            § 685.209(k)(4)(v)(B) only applies to                                                                           awareness than additional marketing or
                                                                                                      disclosing their Federal tax information
                                            consolidated loans.                                                                                             outreach. Moreover, this commenter
                                               Discussion: The timelines for                          prior to going 75 days without a
                                                                                                      payment, we recognize that it is possible             expressed concern that a borrower may
                                            forgiveness will be based upon the
                                                                                                      that a borrower may choose to give us                 become delinquent because their
                                            borrower’s total original principal loan
                                                                                                      their approval only after entering                    current repayment amount may be
                                            balance on outstanding loans. As a
                                                                                                      default. Therefore, if a borrower in                  unaffordable.
                                            result, if a borrower goes back to school
                                                                                                      default provides approval for the                        Discussion: We thank the commenter
                                            and borrows additional loans after some
                                                                                                      disclosure of their Federal tax                       for their concern about borrowers’
                                            period in REPAYE, the new total loan
                                                                                                      information for the first time, we would              awareness of the IDR plans. The
                                            balance would form the basis for
                                                                                                      also calculate their payment and either               Department shares this commenter’s
                                            calculating the forgiveness timeline.
                                                                                                      enroll them in IBR or remove them from                concern and anticipates having multiple
                                            Absent such an approach, the
                                                                                                      default in the limited circumstances laid             communication campaigns and other
                                            Department is concerned that a
                                                                                                      out in § 685.209(n). The same                         methods explaining the REPAYE plan to
                                            borrower would have an incentive to
                                                                                                      considerations would apply to both                    borrowers. We agree with the
                                            borrow for a year, take time off and
                                                                                                      delinquent and defaulted borrowers in                 commenter about the benefits of
                                            enter repayment, then re-enroll so that
                                                                                                      terms of the Department needing                       automatically enrolling borrowers and
                                            they have multiple loans all based upon
                                                                                                      approval and the borrower needing to                  will automatically enroll borrowers who
                                            a shorter forgiveness period, even
                                                                                                      see a reduction in payments from going                are 75 days delinquent into the IDR
                                            though the total balance is higher.
                                               Regarding questions about the time to                  onto an IDR plan. However, we will not                plan. We believe this approach will help
                                            20- or 25-year forgiveness for a borrower                 apply this provision for borrowers                    borrowers avoid default and give them
                                            with multiple unconsolidated loans,                       subject to administrative wage                        an opportunity for repayment success.
                                            those loans may accumulate different                      garnishment, Federal offset, or litigation               Changes: None.
                                            periods toward forgiveness, even though                   by the Department without those                          Comments: Another commenter
                                            the total amount of time until                            borrowers taking affirmative steps to                 supported the automatic enrollment for
                                            forgiveness is consistent. As an                          address their loans. Accordingly, we                  borrowers who are 75 days delinquent
                                            example, if a borrower repays for 10                      have broadened this provision to                      but felt that implementation of the
                                            years on one set of undergraduate loans                   include borrowers whose loans are in                  regulation will be burdensome because
                                            and then borrows more undergraduate                       default, with the limitation that it would            borrowers will have to provide their
                                            loans without consolidating with the                      not include borrowers subject to Federal              consent for the Department to obtain
                                            earlier loans, the earlier loans will have                offset, administrative wage garnishment               income information from the IRS.
                                            10 of the necessary 20 years for                          or litigation by the Department. If a                 Several commenters argued that they are
                                            forgiveness; the newer loans would have                   borrower has loans both in good                       concerned that automatic enrollment
                                            no progress toward forgiveness. If the                    standing in repayment and in default,                 depends on borrowers providing
                                            second set of loans were graduate loans,                  the loans in repayment would be                       previous approval to disclose the
                                            the borrower would have 15 years                          eligible for automatic enrollment in                  borrower’s Federal tax information and
                                            remaining on the 25-year forgiveness for                  REPAYE.                                               family size to the Department.
                                            the earlier loans and 25 years left for the                  We appreciate the suggestion that the                 Another commenter stated that
                                            new loans.                                                regulations be modified to require the                automatic enrollment in an IDR plan is
                                               Changes: None.                                         Department to notify parent PLUS                      unlikely to be effective and cannot be
                                                                                                      borrowers who are delinquent about the                implemented. The commenter believed
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                                            Automatic Enrollment in an IDR Plan                       option to consolidate their loans, which              it is misleading to characterize the
                                            (§ 685.209(m))                                            would allow them access to ICR.                       application or recertification process as
                                               Comments: Many commenters                              Currently, the Department provides                    automatic for delinquent borrowers
                                            strongly supported automatic                              borrowers with this information through               since borrower approval for the IRS to
                                            enrollment into an IDR plan for any                       numerous methods. The requirements                    share income information with the
                                            student borrower who is at least 75 days                  applicable to our servicers in this area              Department is required.


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                                               Discussion: It is true that a borrower                 and if the monthly payment under the                  borrower’s path through IBR is not ideal
                                            must have previously provided approval                    REPAYE plan is equal to or less than                  because IBR is not the most generous
                                            for the disclosure of tax information to                  their payment on IBR.                                 plan for monthly payments, particularly
                                            be automatically enrolled in an IDR plan                     Comments: Several commenters                       when compared with the additional
                                            when becoming 75 days delinquent;                         disagreed with the proposed regulations               income protections offered in the new
                                            however, we believe that calling it                       relating to defaulted borrowers. They                 REPAYE plan.
                                            automatic enrollment is appropriate                       believed that the cohort default rates                  A few commenters argued that the
                                            because the goal is for borrowers to                      (CDR) and repayment rates on Federal                  Department should grant defaulted
                                            provide such approval when they are                       loans were important indicators of                    borrowers’ credit toward cancellation
                                            first in the process of taking out the                    whether a particular institution is                   for payments under REPAYE as long as
                                            loan. The result is that the enrolment in                 adequately preparing its graduates for                the borrower enrolls in IBR at some
                                            IDR can be more automatic at the time                     success in the job market so that they                point during repayment.
                                            of delinquency. As the Department                         are able to earn sufficient income to                   Discussion: We appreciate the
                                            implements this functionality, we are                     remain current on their student loan                  commenters’ support for allowing
                                            working to make the process of                            repayments. Another commenter                         defaulted borrowers to access an IDR
                                            providing such approval as simple as                      believed that while our proposals may                 plan. This change will provide a much-
                                            legally possible for the borrower.                        mitigate the risk of default for                      needed path that can help reduce
                                               Changes: None.                                         individual borrowers, our proposals                   borrowers’ payments and give them the
                                                                                                      would also reduce the utility of CDR                  opportunity for loan forgiveness. While
                                            Defaulted Loans (§ 685.209(d), (k), and                                                                         we understand the requests for adjusting
                                                                                                      rates. This commenter reasoned that if
                                            (n))                                                                                                            the terms of IBR to better match
                                                                                                      CDR were to become a useless
                                              Comments: Many commenters                               accountability tool, we would need new                REPAYE, the Department does not have
                                            expressed strong support for the                          methods of quality assurance for                      the legal authority to do so.
                                            Department’s proposal to allow                            institutions. The commenter concluded                   Changes: None.
                                            defaulted borrowers to enroll in the IBR                  that to avoid risk to the taxpayer                      Comments: Several commenters asked
                                            plan, so that they can receive credit                     investment, we should simultaneously                  that the Department adjust the
                                            toward forgiveness. Other commenters                      draft regulations that provide affordable             restrictions on when a borrower who
                                            agreed that the IBR plan was the                          payments and hold institutions                        has spent significant time on REPAYE
                                            appropriate plan for borrowers in                         accountable.                                          be allowed to switch to IBR. They asked
                                            default, and also encouraged the                             In addition, several other commenters              that if a borrower makes extensive
                                            Department to automatically enroll all                    noted that consumer disclosure                        payments on REPAYE and then defaults
                                            borrowers exiting default into the lowest                 websites, including the Department’s                  that they still be granted access to IBR
                                            cost IDR plan.                                            ‘‘College Scorecard,’’ point to CDRs and              while in default.
                                              Discussion: We agree with the                           metrics describing the proportion of                    Discussion: The Department disagrees
                                            commenters that enrollment in the IBR                     graduates making progress toward                      with commenters. The purpose of the
                                            plan is the proper IDR option for                         repayment as important quality                        restriction on switching to IBR is to
                                            borrowers in default. Allowing them to                    indicators that can help families and                 prevent situations where a borrower
                                            choose this one plan instead of choosing                  matriculating students assess the                     might switch so they could get
                                            between it and REPAYE simplifies the                      likelihood that a particular institution              forgiveness sooner. While it is unlikely
                                            process of selecting plans and provides                   offers a reasonably high return on                    that a borrower would default to shorten
                                            borrowers with a path to accumulate                       investment.                                           their period to forgiveness, that is a
                                            progress toward forgiveness. This is                         Discussion: We believe that the                    possibility that we want to protect
                                            particularly important for borrowers                      expanded qualifications under the new                 against. However, by changing the
                                            who cannot exit default through loan                      REPAYE plan will afford defaulted                     limitation on switching into IBR to only
                                            rehabilitation or consolidation. As we                    borrowers more of an opportunity to                   apply once a borrower has made 60
                                            explain under the ’’Automatic                             repay their obligations because their                 payments on REPAYE after July 1, 2024,
                                            Enrollment in an IDR Plan’’ section of                    monthly payment will be more                          we believe that the number of borrowers
                                            this document, we will automatically                      appropriately calculated based on their               who end up in default and are affected
                                            enroll in IBR a borrower who is in                        current income and family size.                       by this restriction will be low. In
                                            default if they have provided us the                      Through other rulemaking approaches,                  general, default rates for borrowers on
                                            approval for the disclosure of tax data.                  as described in the RIA, the Department               IDR plans are quite low and we
                                              We agree with the suggestion to help                    is working to implement other                         anticipate they will remain low due to
                                            borrowers access other IDR plans upon                     accountability and consumer protection                improvements in the annual
                                            leaving default if possible. To that end,                 measures. In the responses to comments                recertification process.
                                            we have updated the regulatory text                       in the RIA we have included a longer                    Changes: None.
                                            noting that a borrower who leaves                         discussion of these accountability                      Comments: Several commenters asked
                                            default while on IBR may be placed on                     issues.                                               the Department to allow a borrower in
                                            REPAYE if they are eligible for the plan                     Changes: None.                                     default who has a Direct Consolidation
                                            and doing so would generate a payment                        Comments: Several commenters                       Loan that repaid a parent PLUS loan to
                                            lower than or equal to their monthly                      expressed support for granting access to              access the IBR plan. Commenters further
                                            payment.                                                  an IDR plan to borrowers in default but               explained that while this option might
                                              Changes: We added a provision to                        said the Department should amend the                  not always give borrowers a lower
                                            § 685.210(b)(3) that a borrower who                       terms of IBR to better align with the                 payment in default, and it would not
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                                            made payments under the IBR plan and                      terms of the REPAYE plan, such as the                 count toward forgiveness, it would
                                            successfully completed rehabilitation of                  amount of income protected from                       provide more affordable payments for
                                            a defaulted loan may chose the REPAYE                     payments and the share of discretionary               some borrowers.
                                            plan when the loan is returned to                         income that goes toward payments.                       Discussion: Section 493C of the HEA
                                            current repayment if the borrower is                      Along similar lines, some commenters                  precludes a borrower with a Direct
                                            otherwise eligible for the REPAYE plan                    raised concerns that a defaulted                      Consolidation Loan that repaid a parent


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                                            PLUS loan from using the IBR plan. The                    should be paying each month under                     recertification date. Given these existing
                                            Department also declines to grant access                  IBR, we could credit a month of                       downsides compared to borrowers in
                                            to the ICR plan for a borrower in default.                progress toward forgiveness on IBR                    repayment, crediting payments at the
                                            We are concerned that time in default                     when we have collected an amount                      equivalent of IBR monthly payments is
                                            does not count toward forgiveness and                     equal to their monthly IBR payment. In                a modest benefit for borrowers instead
                                            would not help address a borrower’s                       other words, if a borrower’s monthly                  of calculating them at the 10-year
                                            long-term situation. We note that if a                    IBR payment is $50 and we collect $500                standard plan. It will help borrowers
                                            borrower with a Direct Consolidation                      from Treasury offset in one year, we                  earn additional credit toward
                                            Loan that repaid a parent PLUS loan                       would credit the borrower with 10                     forgiveness and a path out of default
                                            rehabilitates their defaulted loan, they                  months of credit toward forgiveness for               compared to only crediting payments at
                                            may access the ICR plan after getting out                 that year. Alternatively, if the                      the standard 10-year amount. And the
                                            of default.                                               borrower’s IBR payment was $50 and                    Department hopes that seeing the lower
                                               Changes: None.                                         we collect $25 a month through                        available payment may encourage some
                                               Comments: Several commenters                           administrative wage garnishment, we                   of these borrowers to take steps to make
                                            argued that we should waive collection                    would credit one month of forgiveness                 voluntary payments instead and cease
                                            fees entirely for those making payments                   for every two months we garnish wages.                being subject to forced collections.
                                            under IDR or create a statute of                          Upon further review of the proposal                     Accordingly, we clarified the
                                            limitations on collection fees. Those                     from the NPRM we think that only                      language to note that amounts collected
                                            commenters also recommended waiving                       crediting the progress toward                         would be credited at the amount of IBR
                                            collection charges during repayment as                    forgiveness based upon amounts                        payments if the borrower is on the IBR
                                            a greater incentive to repay the loan                     equivalent to payments on the 10-year                 plan, except that a borrower cannot
                                            than forgiving a portion of the loan two                  standard plan when we know that a                     receive credit for an amount of
                                            decades in the future.                                    payment based on their income would                   payments beyond their recertification
                                               Discussion: The Department                             be lower is not appropriate.                          date. Borrowers who are not on IBR
                                            understands that increasing collection                       This provision would also have                     would be credited toward IBR
                                            fees can discourage borrowers from                        limitations that are similar to those on              forgiveness at an amount equal to the
                                            repaying their loans. However, the HEA                    lump sum payments. Namely a                           amount calculated under the 10-year
                                            generally requires borrowers to pay the                   borrower would not be able to receive                 standard plan. We need to credit those
                                            costs of collection.88 We will consider                   credit at the IBR payment amount for a                borrowers at that level because we do
                                            the appropriate level of collection fees                  period beyond their next recertification              not know their income and cannot
                                            for borrowers in default who make                         date. This makes certain amounts stay                 calculate an IBR payment.
                                            voluntary payments including payments                     up to date with a borrower’s income.                    Changes: We amended
                                            made while enrolled in an IDR plan.                          We do not believe this treatment of                § 685.209(k)(5)(ii) to clarify that a
                                            These are subregulatory issues that are                   forced collections amounts as akin to                 borrower would receive credit toward
                                            not addressed in this final rule.                         lump sum payments would put                           forgiveness if the amount received
                                               Changes: None.                                         borrowers in default in a better position             through administrative wage
                                               Comments: Many commenters                              than those who are in repayment or                    garnishment or Federal Offset is equal to
                                            supported the provision that allows                       provide better treatment to someone                   the amount they would owe on IBR,
                                            borrowers to receive credit toward                        who voluntarily makes a lump sum                      except that a borrower cannot receive
                                            forgiveness for any amount collected                      payment than someone in this situation                credit for a period beyond their next
                                            through administrative wage                               who has not chosen to. For one, the                   recertification date. We also added
                                            garnishment, the Treasury Offset                          borrowers in default would still be                   subparagraph (iii) that indicates a
                                            Program, or any other means of forced                     facing the negative consequences                      borrower would receive credit toward
                                            collection that is equivalent to what the                 associated with default, including                    forgiveness on an amount equal to the
                                            borrower would have owed on the 10-                       negative credit reporting. These                      amount due under the 10-year standard
                                            year standard plan. But many of these                     amounts would also not be voluntarily                 plan from those same sources of
                                            same commenters expressed confusion                       collected. Someone who makes a lump                   involuntary collections if the IBR
                                            about regulatory language that indicated                  sum payment in repayment is choosing                  payment amount cannot be calculated.
                                            we would award credit for forgiveness                     to do so. In these situations, a borrower               Comments: Many commenters
                                            for involuntary collections based upon                    is not choosing the amount that is                    recommended that the Department
                                            amounts that equaled a payment on the                     collected and it is highly likely that they           clarify that defaulted borrowers who are
                                            10-year standard plan. They asked why                     would choose to not make such large                   enrolled in IBR will not be subject to
                                            a borrower would not receive credit                       payments all at once. Because the                     any involuntary collections so long as
                                            based upon their IBR payment.                             borrowers in default are not controlling              they are satisfying IBR payment
                                               Discussion: The Department expects                     the amounts collected, they cannot                    obligations through voluntary
                                            that borrowers in IBR will make                           guarantee that the amounts collected                  payments—including $0 payments for
                                            payments while they are in default, but                   would not be in excess of the amount                  those eligible. Other commenters
                                            we recognize that they may face some                      at which they would stop receiving                    suggested that the Department should
                                            involuntary collections. We agree with                    credit toward forgiveness. In other                   confirm that borrowers enrolled in IDR
                                            the commenters that if a borrower has                     words, if 12 months of an IBR payment                 are either not subject to involuntary
                                            provided the necessary information to                     is $1,000 and we collect $1,500, the                  collections (such as wage garnishment,
                                            calculate their IBR payment, we would                     additional $500 would not be credited                 seizure of Social Security benefits, or
                                            treat amounts collected through                           as additional months in forgiveness. By               seizure of tax refunds) at all, or at least
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                                            involuntary methods akin to how we                        contrast, a borrower in repayment could               not for any amounts that exceed their
                                            consider lump sum or partial payments                     choose to only make a lump sum                        IDR payment obligation.
                                            for a borrower who is in repayment.                       payment up to the point that they would                 Discussion: We agree with the goals of
                                            That means if we know what they                           not be making payments in excess of                   the many commenters who asked us to
                                                                                                      what is needed to get credit toward                   cease involuntary collections once a
                                              88 See Sec. 455(e)(5) of the HEA.                       forgiveness up to their next                          defaulted borrower is on IBR. However,


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                                            involuntary collections also involve the                  information within a year of defaulting               commenter said that research showed
                                            Departments of Treasury and Justice,                      to benefit from this policy.                          borrowers who have rehabilitated their
                                            and we do not regulate the actions of                        Borrowers who receive this benefit                 loans tend to re-default.89 They
                                            these other agencies. Instead, we will                    will not have the history of default or               suggested that the Department should
                                            work with those agencies to implement                     any collections that occurred before                  remove the stipulation of completing
                                            this operational change outside of the                    providing their income information                    unnecessary and burdensome loan
                                            regulatory process. We also note that we                  reversed because these defaults did not               rehabilitation paperwork.
                                            could access information about                            occur in error. It would also not be
                                            defaulted borrower wages through the                      available for borrowers with a payment                  Discussion: We agree with the
                                            involuntary collections process even for                  higher than $0, as the Department                     commenter that it is critical to make it
                                            borrowers not in IBR. We will explore                     cannot guarantee that someone who                     easier for borrowers to navigate the
                                            using those data to work with the                         would have had a reduced payment                      Federal student financial aid programs
                                            Departments of Treasury and Justice to                    obligation would have met that                        and share their concerns about making
                                            better align involuntary collections with                 requirement the way in which we know                  sure borrowers can succeed after
                                            what a defaulted borrower would owe                       they would have fulfilled the $0                      rehabilitating a defaulted loan. To help
                                            under IBR.                                                payment requirement.                                  achieve these goals, we have added
                                               Changes: None.                                            This benefit will give low-income                  language that allows the Secretary to
                                               Comments: Several commenters asked                     borrowers who act swiftly in default a                place a borrower who successfully
                                            us to create a path out of default based                  fast path back into good standing                     rehabilitates a defaulted loan and has
                                            upon a borrower agreeing to repay on an                   without exhausting either their                       provided approval for the disclosure of
                                            IBR plan. They argued that once a                         rehabilitation or consolidation options.              their Federal tax information on
                                                                                                         Changes: The Department has added
                                            borrower is placed on the IBR plan, they                                                                        REPAYE if the borrower is eligible for
                                                                                                      new paragraph § 685.209(n) to provide
                                            should be able to move back into good                                                                           that plan and doing it would produce a
                                                                                                      that a borrower will move from default
                                            standing.                                                 to current repayment if they provide                  monthly payment amount equal to or
                                               Discussion: The Department does not                    information needed to calculate an IDR                less than what they would pay on IBR.
                                            have the statutory authority to establish                 payment, that payment amount is $0,                   We feel that this streamlined approach
                                            the path out of default as requested by                   and the income information used to                    will remove obstacles when borrowers
                                            the commenters. However, the                              calculate the IDR payment covers the                  enroll in an IDR plan, especially for
                                            Department recognizes that there may                      period when the borrower’s loan                       those borrowers that rehabilitated their
                                            be borrowers who provide the                              defaulted.                                            defaulted loans. In addition, this will
                                            information necessary to calculate an                        Comments: Many commenters called                   remove unnecessary and burdensome
                                            IBR payment shortly after entering                        for the Department to allow previous                  paperwork.
                                            default and that such information may                     periods of time spent in default to be
                                            indicate that they would have had a $0                                                                            The Department is adopting an
                                                                                                      retroactively counted toward                          additional change to also help
                                            payment for the period leading up to                      forgiveness. These commenters asserted
                                            their default had they given the                                                                                borrowers navigate the process of
                                                                                                      that some people in default are
                                            Department such information. Since                                                                              rehabilitating their loans. We are
                                                                                                      disadvantaged borrowers who were
                                            those borrowers would have a $0                                                                                 revising § 685.211(f) to note that a
                                                                                                      poorly served by the system, and that
                                            monthly payment upon defaulting, the                      their situation is similar to past periods            reasonable and affordable payment for
                                            Department believes it would be                           of deferment and forbearance that are                 the purposes of loan rehabilitation can
                                            appropriate to return those borrowers to                  being credited toward loan forgiveness.               be equal to the IBR payment amount
                                            good standing. This policy is limited to                     Discussion: The Department does not                calculated for the borrower. The current
                                            circumstances in which the information                    agree that periods of time in default                 regulations calculate the payment at the
                                            provided by the borrower to establish                     prior to the effective date of this rule              IBR amount for borrowers prior to 2014,
                                            their current IBR payment can also be                     should be credited toward forgiveness.                which is 15 percent of discretionary
                                            used to determine what their IDR                          To credit time toward IBR, we need to                 income. Since then, borrowers have
                                            payment would have been at the point                      know a borrower’s income and                          been able to make payments at 10
                                            of default.                                               household information. We would not                   percent of discretionary income. This
                                               An example highlights how this                         have that information for those past                  change will allow borrowers to make
                                            would work. A borrower enters default                     periods. Therefore, there is no way to                payments at the greater of 10 percent of
                                            in June 2025. In August 2025, they                        know if the amount paid by a borrower                 discretionary income or $5 while
                                            furnish their Federal tax information for                 would have been sufficient. The                       pursuing a loan rehabilitation.
                                            the 2024 calendar year, and it shows                      Department will award credit for certain
                                            they would have had a $0 payment. We                                                                              Changes: We have modified
                                                                                                      periods in deferment retroactively on
                                            would have calculated a $0 payment                                                                              § 685.211(f) to provide that a reasonable
                                                                                                      the grounds that most of those are
                                            had the borrower submitted this                           situations in which the Department                    and affordable payment can be equal to
                                            information in June, thereby preventing                   knows the borrower would have had a                   the borrower’s IBR payment amount. We
                                            the default. That borrower would be                       $0 payment, such as an economic                       have also added a new paragraph (f)(13)
                                            removed from default and returned to                      hardship deferment or the rehabilitation              to § 685.211 that allows the Secretary to
                                            good standing. Had the same borrower                      training deferment. We do not have                    move a borrower into REPAYE after the
                                            who defaulted in June 2025 provided                       similar information for past periods in               satisfaction of a loan rehabilitation
                                            their information in 2028, they would                     default.                                              agreement if the borrower is eligible for
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                                            not receive this benefit. At that point,                     Changes: None.                                     that plan and it would produce a lower
                                            the information provided is likely from                      Comments: One commenter noted                      or equivalent payment to the IBR plan.
                                            the 2027 calendar year, and so it does                    that many borrowers experience
                                            not cover the period of default. The                      obstacles enrolling in an IDR plan after                89 www.pewtrusts.org/en/research-and-analysis/

                                            effect of this is that most borrowers will                exiting default, especially those who                 reports/2023/01/student-loan-default-system-needs-
                                            need to provide their earnings                            choose to rehabilitate their loans. This              significant-reform.



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                                            Application and Annual Recertification                       Comments: One commenter believed                     amount and offer the borrower an
                                            Procedures (§ 685.209(l))                                 we should make recertification simpler                  opportunity to request a different
                                               Comments: Many commenters                              and, to the maximum extent possible,                    payment amount if it is not reflective of
                                            supported the Department’s efforts to                     update the monthly loan payment                         the borrower’s current income or family
                                            simplify the annual income                                amount automatically instead of                         size.
                                            recertification process for borrowers in                  requiring annual certification for                        Changes: None.
                                            IDR plans. These commenters also felt                     continuation in an IDR plan. This
                                                                                                      commenter believes that many                            Consolidation Loans (§ 685.209(k))
                                            that the proposed rules would help
                                            eliminate burdensome and confusing                        borrowers, especially those borrowers                      Comments: Many commenters
                                                                                                      who would otherwise qualify for a $0                    strongly supported the Department’s
                                            recertification requirements and
                                                                                                      monthly payment, do not complete the                    proposal to provide that a borrower’s
                                            administrative hurdles for borrowers. A
                                                                                                      recertification process.                                progress toward forgiveness will not
                                            few commenters were concerned that                           Discussion: We agree, in part, with the
                                            administering these regulations                                                                                   fully reset when they consolidate Direct
                                                                                                      commenter about the difficulties                        or FFEL Program Loans into a Direct
                                            contained inherent challenges for                         borrowers face during recertification. As
                                            recertification if a borrower did not file                                                                        Consolidation Loan. Many commenters
                                                                                                      we acknowledged in the IDR NPRM, the                    supported the proposed regulations,
                                            a tax return. One commenter                               current application and recertification
                                            commended the Department for its plan                                                                             citing that we should count previous
                                                                                                      processes create significant challenges
                                            to streamline IDR enrollment and                                                                                  payments in all IDR plans and not reset
                                                                                                      for the Department and borrowers. As a
                                            recertification through IRS data sharing.                                                                         the time to forgiveness when a person
                                                                                                      solution, we believe that the authorities
                                            Several commenters urged that we                                                                                  consolidates their loans because the
                                                                                                      granted to us under the FUTURE Act as
                                            retain the current data retrieval tool                                                                            debt is not new.
                                                                                                      codified in HEA section 455(e)(8) will
                                            with the IRS for FFEL Program                             allow us to obtain a borrower’s AGI for                    Several commenters expressed
                                            borrowers who complete the electronic                     future years if they provide approval for               disappointment that the proposed
                                            IDR application which is currently                        the disclosure of tax information. This                 regulations did not address how
                                            available on the StudentLoans.gov                         should ameliorate the commenter’s                       qualifying payments would be
                                            website. Another commenter suggested                      concern about borrowers’ failure to                     calculated for joint consolidation loans
                                            that a robust regulatory notification                     recertify. This includes borrowers who                  that may be separated through the Joint
                                            process is vital, even for borrowers                      would otherwise qualify for a $0                        Consolidation Loan Separation Act,91
                                            already in IDR since some borrowers                       monthly payment in subsequent years.                    which was enacted October 11, 2022,
                                            will opt out of data-sharing.                                Changes: None.                                       and hoped that the Department would
                                               Discussion: We thank the commenters                                                                            provide more details about counting the
                                            for their positive comments and                           Consequences of Failing To Recertify                    number of qualifying payments on the
                                            suggestions for improvement regarding                     (§ 685.209(l))                                          loans.
                                            the application and automatic                                Comments: Commenters noted                              Discussion: We thank the commenters
                                            recertification processes. We understand                  concerns that the current process of                    for their support of the provision to
                                            the commenters’ concern about keeping                     annually recertifying participation on                  retain the borrower’s progress toward
                                            the current process for the IDR                           IDR plans is burdensome and results in                  forgiveness when they consolidate
                                            application in place. However, we                         many borrowers being removed from                       Direct or FFEL Program Loans into a
                                            believe that the process we have                          IDR plans. Other commenters argued                      Direct Consolidation Loan.
                                            developed improves and streamlines                        that the Department needs to do more to                    We did not discuss joint
                                            our processes for borrowers. We will                      protect progress toward forgiveness for                 consolidation separation in the IDR
                                            continue to seek additional ways to                       those who fail to recertify, especially                 NPRM. However, we agree with the
                                            improve processes.                                        when the recertification was hampered                   commenters that more clarity would be
                                               In response to the commenters’                         by what they described as inept                         helpful. Accordingly, we have added
                                            concern about inherent challenges non-                    servicers.                                              new language noting that we will award
                                            filing borrowers face with                                   Discussion: We thank the commenters
                                                                                                                                                              the same periods of credit toward
                                            recertification, under § 685.209(l) we                    for their support of automatic
                                                                                                                                                              forgiveness on the separate
                                            provide the procedures under which we                     enrollment for IDR. We believe that the
                                                                                                                                                              consolidation loans that result from the
                                            may obtain the borrower’s AGI under                       recertification process will enable
                                                                                                                                                              split of a joint consolidation loan. The
                                            the authorities granted to us under the                   borrowers to streamline the process
                                                                                                                                                              Department chose this path as the most
                                            FUTURE Act as well as opportunities                       toward forgiveness and reduce the
                                                                                                                                                              operationally feasible option given that
                                            for borrowers to provide alternate                        burden on borrowers. We also believe
                                                                                                                                                              these loans are all from 2006 or earlier
                                            documentation of income (ADOI).                           that more borrowers will recertify so
                                                                                                                                                              and it may otherwise not be possible to
                                            Accordingly, we modified § 685.209(l)                     that they are not removed from IDR
                                                                                                                                                              properly determine the amount of time
                                            to provide examples of how borrowers,                     plans and that borrowers who struggle
                                                                                                                                                              each loan spent in repayment. We are
                                            including those who do not file Federal                   to recertify on time will not lose a few
                                                                                                                                                              also clarifying how consideration of
                                            tax returns, could approve to the                         months of progress to forgiveness every
                                                                                                                                                              whether the separate consolidation
                                            disclosure of their tax information for                   year. As we explain in the IDR NPRM,
                                                                                                                                                              loans that result from the split of a joint
                                            purposes of IDR recertification.                          due to recent statutory changes
                                                                                                                                                              consolidation loan would be eligible for
                                               The treatment of IRS data sharing for                  regarding disclosure of tax information
                                                                                                                                                              the shortened period until forgiveness
                                            FFEL Program loans is not a regulatory                    in the FUTURE Act 90 (alongside
                                                                                                                                                              would work. Eligibility for that
                                            issue and is not addressed in these                       subsequent amendments to this
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                                                                                                                                                              provision would be calculated based
                                            rules.                                                    language), upon the Department                          upon the original principal balance of
                                               Changes: We have modified                              obtaining the borrower’s approval, we
                                            § 685.209(l) to provide examples of how                   will rely on tax data to provide a                        91 Text—S.1098—117th Congress (2021–2022):
                                            a borrower could provide approval for                     borrower with a monthly payment                         Joint Consolidation Loan Separation Act. (2022,
                                            the disclosure of tax information for the                                                                         October 11). www.congress.gov/bill/117th-congress/
                                            purposes of IDR.                                               90 See Public Law 116–91.                          senate-bill/1098/text.



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                                            the loans that have been split from a                     improvements to borrowers’ accounts so                positive step. They believed that
                                            joint consolidation loan.92                               they will have a clearer picture of                   changing the regulations to re-amortize
                                              Changes: We have amended                                progress toward forgiveness. Moreover,                the remaining loan balance over 10
                                            § 685.209(k)(4)(vi)(C) to provide that, for               we do not think we need regulatory                    years would make certain that
                                            borrowers whose Joint Direct                              language to accomplish what the                       borrowers’ monthly payments are lower
                                            Consolidation Loan is separated into                      commenter requests. We can address                    than they would have been under the
                                            individual Direct Consolidation loans,                    these issues while working with our                   Standard 10-year Repayment Plan. A
                                            each borrower receives credit for the                     contractors and a subregulatory                       few commenters stated that the
                                            number of months equal to the number                      approach gives us greater ability to                  Department should count all payments
                                            of months that was credited prior to the                  tailor our activities to what works best              on the alternative plan toward
                                            separation.                                               for borrowers.                                        forgiveness on REPAYE, rather than just
                                                                                                         We similarly disagree that we need to              12 months of payments. Others argued
                                            Choice of Repayment Plan § 685.210
                                                                                                      add regulatory text around notifications              that, instead of being placed on the
                                               Comments: One commenter                                as suggested by the group of                          alternative payment plan, borrowers
                                            recommended that we update our                            commenters. As part of this regulatory                should be placed on the 10-year
                                            regulations to provide that, when a                       effort, the Department streamlined and                standard plan so that all the months of
                                            borrower initially selects a repayment                    standardized the IDR plans. To provide                payments would count toward REPAYE
                                            plan, the Secretary must convey to the                    uniformity across the different IDR                   forgiveness.
                                            borrower specific information about IDR                   plans, § 685.209(l)(5) specifies the                     Discussion: We appreciate the support
                                            plans, including the forgiveness                          repayment disclosure that we send to                  for the creation of a simplified
                                            timelines. This commenter cited a                         borrowers including: the monthly                      alternative repayment plan. However,
                                            report from the GAO that flagged this                     payment amount, how the payment was                   we disagree and decline to accept either
                                            area for improvement. Another group of                    calculated, the terms and conditions of               set of recommended changes. For one,
                                            commenters urged us to include                            the repayment plan, and how to contact                we think the policy to allow a borrower
                                            regulatory language to make sure that                     us if the borrower’s payment does not                 to count up to 12 months of payments
                                            borrowers are aware of the terms and                      accurately reflect the borrower’s income              on the alternative plan strikes the
                                            conditions of their IDR plans. This                       or family size. The Department thinks it              proper balance between giving a
                                            group of commenters were concerned                        is important to preserve flexibility                  borrower who did not recertify their
                                            that we eliminated the detailed notices                   around how we conduct outreach and                    income time to get back onto REPAYE
                                            in existing regulations without                           notification to borrowers, and we are                 while not creating a backdoor path to
                                            proposing adequate replacements and                       concerned that overly prescriptive                    lower loan payments. For some
                                            provided examples of the notice types                     regulations would work against those                  borrowers, it is possible that the
                                            that they believed we should                              goals.                                                alternative repayment plan could
                                            implement.                                                   Changes: None.                                     produce payments lower than what they
                                               Discussion: We believe that our                           Comments: None.                                    would owe on REPAYE. Were we to
                                            regulations at § 685.210(a) provide an                       Discussion: The IDR NPRM did not                   credit all months on the alternative plan
                                            adequate framework describing when                        reflect the statutory requirement under               toward forgiveness then we would risk
                                            the Department notifies borrowers about                   section 493C(b)(8) of the HEA (20 U.S.C.              creating a situation where a borrower is
                                            the repayment plans available to them                     1098e(b)(8)) that provides that                       encouraged to not recertify their income
                                            when they initially select a plan prior to                borrowers who choose to leave the IBR                 so they could receive lower payments
                                            repayment. Moreover, § 685.209(l)(11)                     plan must repay under the standard                    and then get credit toward forgiveness.
                                            already provides that we will track a                     repayment plan. This requirement is                   Doing so works against our goal to target
                                            borrower’s progress toward eligibility                    reflected in current regulations at                   the benefits of, and encourage
                                            for IDR forgiveness. In the GAO report 93                 § 685.221(d)(2)(i) and requires a                     enrollment in, REPAYE. It would also in
                                            cited by the commenter, the GAO                           borrower leaving IBR to make one                      effect work as a cap on payments, which
                                            recommended that we should provide                        payment under the standard repayment                  the Department is intentionally not
                                            additional information about IDR                          plan before requesting a change to a                  including in REPAYE.
                                            forgiveness, including what counts as a                   different repayment plan. A borrower                     Moreover, the Department anticipates
                                            qualifying payment toward forgiveness,                    may make a reduced payment under a                    that the number of borrowers who fail
                                            in communications to borrowers                            forbearance for the purposes of meeting               to recertify each year will decline
                                            enrolled in IDR plans. The                                this statutory provision. This provision              thanks to the improvements made by
                                            recommendation further noted that we                      does not apply to borrowers leaving ICR,              the FUTURE Act. With those changes
                                            could provide this information to                         PAYE, or REPAYE. To clarify that this                 borrowers will be able to authorize the
                                            borrowers or direct our loan servicers to                 statutory provision still applies we are              automatic updating of their payment
                                            provide it. In response to the GAO, we                    reflecting it in this final rule. It mirrors          information, limiting the likelihood that
                                            concurred with the recommendation                         the Department’s longstanding                         a borrower ends up on the alternative
                                            and identified steps we would take to                     interpretation and implementation of                  plan for failure to submit paperwork.
                                            implement that recommendation. As                         this statutory requirement.                              We similarly disagree with the
                                            part of the announcement of the one-                         Changes: We have added                             suggestion to place borrowers on the 10-
                                            time payment count adjustment we have                     § 685.210(b)(4) which requires a                      year standard repayment plan. Doing so
                                            also discussed how we will be making                      borrower leaving the IBR plan to make                 creates a risk that borrowers would face
                                                                                                      one payment under the standard                        extremely high unaffordable payments
                                              92 The Department has published regular updates         repayment plan prior to enrolling into a              right away. That is because the 10-year
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                                            on the Joint Consolidation Separation Act on              different plan.                                       plan calculates the payment needed for
                                            StudentAid.gov: www.studentaid.gov/                                                                             a borrower to pay off the loan within 10-
                                            announcements-events/joint-consolidation-loans.           Alternative Repayment Plan § 685.221                  years of starting repayment. For
                                              93 U.S. Government Accountability Office, 2022.

                                            Federal Student Aid: Education Needs to Take
                                                                                                        Comments: Several commenters noted                  example, a borrower who spent four
                                            Steps to Ensure Eligible Loans Receive Income-            that the Department’s proposal to                     years on REPAYE and then went onto
                                            Driven Repayment Forgiveness. GAO–22–103720.              simplify the Alternative Plan is a                    the 10-year standard repayment plan


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                                            would be on a plan that amortizes their                   Notwithstanding this determination, we                and Tribal governments in the exercise
                                            entire remaining loan balance over six                    have assessed the potential costs and                 of their governmental functions.
                                            years. That amount could easily be                        benefits, both quantitative and                         The Director of OMB has waived the
                                            hundreds of dollars more a month than                     qualitative, of this final regulatory                 requirements of section 263 of the Fiscal
                                            what the borrower was paying on an                        action and have determined that the                   Responsibility Act of 2023 (Pub. L. 118–
                                            IDR plan, increasing the risk of                          benefits will justify the costs.                      5) pursuant to section 265(a)(2) of that
                                            delinquency or default. The alternative                      We have also reviewed these                        act.
                                            plan is a better option that would result                 regulations under Executive Order                       As required by OMB Circular A–4, we
                                            in less payment shock than the 10-year                    13563, which supplements and                          compare the final regulations to the
                                            standard plan would, so we encourage                      explicitly reaffirms the principles,                  current regulations. In this regulatory
                                            borrowers to recertify.                                   structures, and definitions governing                 impact analysis, we discuss the need for
                                              Changes: None.                                          regulatory review established in                      regulatory action, potential costs and
                                                                                                      Executive Order 12866. To the extent                  benefits, net budget impacts, and the
                                            Executive Orders 12866 and 13563                          permitted by law, Executive Order                     regulatory alternatives we considered.
                                            Regulatory Impact Analysis                                13563 requires that an agency—
                                                                                                         (1) Propose or adopt regulations only              1. Congressional Review Act
                                               Under Executive Order 12866, the                                                                             Designation
                                                                                                      on a reasoned determination that their
                                            Office of Management and Budget
                                                                                                      benefits justify their costs (recognizing                Pursuant to the Congressional Review
                                            (OMB) must determine whether this
                                                                                                      that some benefits and costs are difficult            Act (5 U.S.C. 801 et seq.), the Office of
                                            regulatory action is ‘‘significant’’ and,
                                                                                                      to quantify);                                         Information and Regulatory Affairs
                                            therefore, subject to the requirements of                    (2) Tailor its regulations to impose the           designated that this rule is covered
                                            the Executive Order and subject to                        least burden on society, consistent with              under 5 U.S.C. 804(2) and (3).
                                            review by OMB. Section 3(f) of                            obtaining regulatory objectives and
                                            Executive Order 12866, as amended by                      taking into account—among other things                2. Need for Regulatory Action
                                            Executive Order 14094, defines a                          and to the extent practicable—the costs                  Postsecondary education provides
                                            ‘‘significant regulatory action’’ as an                   of cumulative regulations;                            significant individual and societal
                                            action likely to result in a rule that                       (3) In choosing among alternative                  benefits. For individuals, obtaining
                                            may—                                                      regulatory approaches, select those                   postsecondary credentials can lead to
                                               (1) Have an annual effect on the                       approaches that maximize net benefits                 higher lifetime earnings and increased
                                            economy of $200 million or more                           (including potential economic,                        access to other benefits like health
                                            (adjusted every 3 years by the                            environmental, public health and safety,              insurance and employer-sponsored
                                            Administrator of OIRA for changes in                      and other advantages; distributive                    retirement accounts, and is also
                                            gross domestic product), or adversely                     impacts; and equity);                                 positively correlated with job
                                            affect in a material way the economy, a                      (4) To the extent feasible, specify                satisfaction, homeownership, and
                                            sector of the economy, productivity,                      performance objectives, rather than the               health.94 Our society also benefits from
                                            competition, jobs, the environment,                       behavior or manner of compliance a                    increased postsecondary attainment
                                            public health or safety, or State, local,                 regulated entity must adopt; and                      through a better educated and flexible
                                            territorial, or Tribal governments or                        (5) Identify and assess available                  workforce, increased civic participation,
                                            communities;                                              alternatives to direct regulation,                    and improved health and well-being for
                                               (2) Create a serious inconsistency or                  including economic incentives—such as                 the next generation.95
                                            otherwise interfere with an action taken                  user fees or marketable permits—to                       But postsecondary education is
                                            or planned by another agency;                             encourage the desired behavior, or                    expensive. For many attendees, a
                                               (3) Materially alter the budgetary                     provide information that enables the                  postsecondary education will be among
                                            impacts of entitlement grants, user fees,                 public to make choices.                               the most expensive and consequential
                                            or loan programs or the rights and                           Executive Order 13563 also requires                purchases they make in their lifetimes.
                                            obligations of recipients thereof; or                     an agency ‘‘to use the best available                 Most students cannot afford this cost
                                               (4) Raise legal or policy issues for                   techniques to quantify anticipated                    out of pocket. This is particularly the
                                            which centralized review would                            present and future benefits and costs as              case for students from low-income
                                            meaningfully further the President’s                      accurately as possible.’’ The Office of               families, individuals who are the first in
                                            priorities, or the principles stated in the               Information and Regulatory Affairs of                 their families to go to college, adults
                                            Executive Order, as specifically                          OMB has emphasized that these                         who do not attend postsecondary
                                            authorized in a timely manner by the                      techniques may include ‘‘identifying                  education immediately after high
                                            Administrator of OIRA in each case.                       changing future compliance costs that                 school, and other students who face
                                               The Department estimates the net                       might result from technological                       barriers to college enrollment and
                                            budget impact to be $156.0 billion in                     innovation or anticipated behavioral                  success. For these individuals in
                                            increased transfers among borrowers,                      changes.’’                                            particular, Federal student loans are
                                            institutions, and the Federal                                We are issuing these regulations only
                                            Government, with annualized transfers                     on a reasoned determination that their                  94 Oreopoulos, P., & Salvanes, K.G. (2011).
                                            of $16.6 billion at 3 percent discounting                 benefits will justify their costs. In                 Priceless: The Nonpecuniary Benefits of Schooling.
                                            and $17.9 billion at 7 percent                            choosing among alternative regulatory                 Journal of Economic Perspectives, 25(1), 159–184.
                                                                                                                                                              95 Moretti, E. (2004). Workers’ Education,
                                            discounting, and largely one-time                         approaches, we selected those
                                                                                                                                                            Spillovers, and Productivity: Evidence from Plant-
                                            administrative costs of $17.3 million,                    approaches that maximize net benefits.                Level Production Functions. American Economic
                                            which represent annual quantified costs                   Based on the analysis that follows, the               Review, 94(3), 656–690.
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                                            of $2.3 million related to administrative                 Department believes that these                          Dee, T.S. (2004). Are There Civic Returns to
                                            costs at 7 percent discounting.                           regulations are consistent with the                   Education? Journal of Public Economics, 88(9–10),
                                            Therefore, this final action is subject to                                                                      1697–1720.
                                                                                                      principles in Executive Order 13563.
                                                                                                                                                              Currie, J., & Moretti, E. (2003). Mother’s
                                            review by OMB under section 3(f) of                          We have also determined that this                  Education and the Intergenerational Transmission
                                            Executive Order 12866 (as amended by                      regulatory action will not unduly                     of Human Capital: Evidence from College Openings.
                                            Executive Order 14094).                                   interfere with State, local, territorial,             Quarterly Journal of Economics, 118(4), 1495–1532.



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                                            often a necessary component for                           attainment.100 Unanticipated                          protection for the borrower against the
                                            financing college.                                        macroeconomic shocks, such as the                     consequences of having a low income
                                               Student loans provide the necessary                    Great Recession, provide an additional                and adjust repayments to fit the
                                            financial resources to borrowers who                      type of risk—specifically, that                       borrower’s changing ability to pay.101
                                            cannot finance their educations out of                    borrowers’ postsecondary credentials                    Federal student loan borrowers are
                                            pocket, allowing them to reap the                         may pay off less than anticipated in the              increasingly choosing to repay their
                                            benefits from enrolling in and                            short- or even long-run due to prolonged              loans using one of the currently
                                            completing a postsecondary education,                     periods of unemployment or lower                      available IDR plans.102 Enrollment in
                                            and, as a result, to repay their debt                     wages. Finally, there is individual-level             IDR increased by about 50 percent
                                            through the earnings gains resulting                      risk of unanticipated events such as a                between the end of 2016 and the start
                                            from their increased educational                          serious illness that may reduce a                     of 2022, from approximately 6 million
                                            attainment. This is why student loans                     borrower’s ability to keep up with a                  to more than 9 million borrowers, and
                                            are often described as borrowing against                  fixed monthly payment.                                borrowers with collectively more than
                                            one’s future income.                                         Income-driven repayment (IDR) plans
                                               However, in the years since the Great                                                                        $500 billion in debt are currently
                                                                                                      are intended to help borrowers whose
                                            Recession, a greater number of students                                                                         enrolled in an IDR plan.103 Similarly,
                                                                                                      incomes are insufficient to sustain
                                            are borrowing student loans, and                                                                                the share of borrowers with Federally
                                                                                                      reasonable debt payments. The plans are
                                            student loan balances have become                         created through statute and regulation                managed loans enrolled in an IDR plan
                                            larger. Many students are able to repay                   and base a borrower’s monthly payment                 rose from just over one-quarter to one-
                                            their Federal student loans from their                    on their income and family size. Under                third during this time.104
                                            earnings gains from postsecondary                         these plans, loan forgiveness occurs                    While existing IDR plans have helped
                                            education. However, some borrowers                        after a set number of years in                        millions of borrowers afford their
                                            find the amount of debt burdensome,                       repayment, depending on the repayment                 monthly payments, they have not been
                                            and it may impact their decisions to buy                  plan that is selected. Because payments               selected by large numbers of the most
                                            a home, start a family, or start a new                    are based on a borrower’s income, they                vulnerable borrowers. Despite the
                                            business.                                                 may be more affordable than fixed                     availability of these plans, more than 1
                                               Many borrowers end up significantly                    repayment options, such as those in                   million borrowers a year were still
                                            constrained due to loan payments that                     which a borrower makes payments over                  defaulting on student loans prior to the
                                            make up an unaffordable share of their                    a period of between 10 and 30 years.                  national pause on repayment, interest,
                                            income. Among undergraduate students                      There are four repayment plans that are               and collections that began in March
                                            who started higher education in 2012                      collectively referred to as IDR plans: (1)            2020. Many other borrowers were
                                            and were making loan payments in                          the income-based repayment (IBR) plan;                behind on their payments and at risk of
                                            2017, at least 19 percent had monthly                     (2) the income contingent repayment                   defaulting.
                                            payments that were more than 10                           (ICR) plan; (3) the pay as you earn                     Research shows that undergraduate
                                            percent of their total annual salary.96                   (PAYE) plan; and (4) the revised pay as               borrowers, borrowers with low incomes,
                                               Borrowing to pursue a postsecondary                    you earn (REPAYE) plan. Within the                    and borrowers with high debt levels
                                            credential also involves risk. First is the               IBR plan, there are two versions that are             relative to their incomes enroll in IDR
                                            risk of noncompletion. In recent years,                   available to borrowers, depending on                  plans at lower rates than their
                                            about one-third of undergraduate                          when they took out their loans.                       counterparts with higher levels of
                                            borrowers did not earn a postsecondary                    Specifically, for a new borrower with                 education and incomes.105 An analysis
                                            credential.97 These individuals are at a                  loans taken out on or after July 1, 2014,             of IDR usage by the JPMorgan Chase
                                            high risk of default, with an estimated                   the borrower’s payments are capped at                 Institute found that there are two
                                            40 percent defaulting within 12 years of                  10 percent of discretionary income. For               borrowers who could potentially benefit
                                            entering repayment.98 Even among                          those who are not new borrowers on or
                                            graduates, there is substantial variation                 after July 1, 2014, the borrower’s                       101 Krueger, A.B., & Bowen, W.G. (1993). Policy

                                            in earnings across colleges, programs,                    payments are capped at 15 percent of                  Watch: Income-Contingent College Loans. Journal
                                            and individuals. Some borrowers do not                    their discretionary income.                           of Economic Perspectives, 7(3), 193–201. doi.org/
                                            receive the expected economic returns                        Because payments are calculated                    10.1257/jep.7.3.193.
                                            due to programs that fail to make good                    based upon income, the IDR plans can                     102 Gary-Bobo, R.J., & Trannoy, A. (2015). Optimal

                                            on their promises or lead to jobs that                    assist borrowers who may be overly                    student loans and graduate tax under moral hazard
                                                                                                      burdened at the start of their time in the            and adverse selection. The RAND Journal of
                                            provide financial security. Conditional
                                                                                                                                                            Economics, 46(3), 546–576. doi.org/10.1111/1756–
                                            on educational attainment, Black                          workforce, those who experience a
                                                                                                                                                            2171.12097.
                                            students take on larger amounts of                        temporary period of economic hardship,                   103 U.S. Department of Education, Federal
                                            debt.99 Additionally, discrimination in                   and those who perpetually earn a low                  Student Aid Data Center, Repayment Plans,
                                            the labor market may lead borrowers of                    income. For the first and second groups,              available studentaid.gov/manage-loans/repayment/
                                            color to earn less than white borrowers,                  an IDR plan may be the ideal option for               plans. Includes all Federally managed loans across
                                            even with the same level of educational                   a few years, while the last group may                 all IDR plans, measured in Q4 2016 through Q1
                                                                                                      need assistance for multiple decades.                 2022.
                                                                                                                                                               104 Ibid.
                                               96 Calculations using 2012 BPS data; table             IDR plans simultaneously provide
                                            reference tcedtf.                                                                                                  105 Daniel Collier et al., Exploring the

                                               97 Calculations using 2012 BPS data; table               100 See https://nces.ed.gov/programs/               Relationship of Enrollment in IDR to Borrower
                                            reference: icvago.                                        raceindicators/indicator_RFD.asp.https://             Demographics and Financial Outcomes (Dec. 30,
                                               98 Calculations using 2004/2009 BPS data; table                                                              2020); see also Seth Frotman and Christa Gibbs, Too
                                                                                                      nces.ed.gov/programs/raceindicators/indicator_
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                                            reference: lvafhq.                                        RFD.asp. For an overview of research on earnings      many student loan borrowers struggling, not enough
                                               99 E.g., Scott-Clayton, J., & Li, J. (2016). Black-    gaps by race and the role of labor market             benefiting from affordable repayment options,
                                            white disparity in student loan debt more than            discrimination, see Altonji, J.G., & Blank, R.M.      Consumer Fin. Prot. Bureau (Aug. 16, 2017); Sarah
                                            triples after graduation. Economic Studies, Volume        (1999). Race and gender in the labor market.          Gunn, Nicholas Haltom, and Urvi Neelakantan,
                                            2 No. 3.                                                  Handbook of labor economics, 3, 3143–3259.            Should More Student Loan Borrowers Use Income-
                                                                                                                                                            Driven Repayment Plans?, Federal Reserve Bank of
                                                                                                                                                            Richmond (June 2021).



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                                            from an IDR plan for each borrower who                                  GAO report found that 70 percent of                                      repayment only had undergraduate
                                            actually enrolls in an IDR plan.106                                     defaulted borrowers had incomes that                                     loans, but these individuals represent
                                            Moreover, the borrowers not using the                                   met the requirements to qualify for IBR.                                 only 64 percent of recent borrowers on
                                            IDR plans appear to have significantly                                  This means that they would have had                                      IDR plans. By contrast, 21 percent of
                                            lower incomes than those who are                                        payments lower than the 10-year                                          borrowers who recently entered
                                            enrolled. According to a Federal Reserve                                standard plan had they signed up for                                     repayment had graduate loans, but they
                                            Bank of Richmond report, a quarter or                                   IBR.109 In line with evidence that Black                                 represent 36 percent of borrowers on an
                                            less of borrowers in households with                                    borrowers are more likely to experience                                  IDR plan. Usage rates are even lower
                                            incomes less than $20,000 per year were                                 default on their loans, there is evidence                                among the borrowers who are likeliest
                                            in an IDR plan, compared to 46 percent                                  of lower take-up in IDR usage among
                                                                                                                                                                                             to face repayment difficulties. Among
                                            of borrowers in households with income                                  potentially-eligible Black borrowers. In
                                                                                                                                                                                             undergraduate only borrowers who
                                            between $60,000 and $80,000 and 38                                      particular, households headed by Black
                                            percent in households with incomes                                      borrowers in the 2016 Survey of                                          recently entered repayment, 22 percent
                                            between $80,000 and $100,000.107 An                                     Consumer Finances were slightly more                                     of borrowers who did not complete a
                                            Urban Institute analysis using the 2016                                 likely to report not making payments on                                  credential are using an IDR plan, and
                                            Survey of Consumer Finances found                                       their loans than to report using IDR.110                                 IDR usage increases as educational
                                            that households headed by borrowers                                        These trends are further borne out in                                 attainment increases: 24 percent of
                                            who were receiving Federal benefits,                                    the Department’s administrative data on                                  those who completed a sub-
                                            such as support from the Supplemental                                   borrowers with outstanding debt who                                      baccalaureate credential and 25 percent
                                            Nutrition Assistance Program, were                                      recently entered repayment.111                                           of those who completed a bachelor’s
                                            more likely to not make any payments                                    Currently, just under a quarter (23                                      degree but not a graduate degree are on
                                            because of forbearance, some other                                      percent) of borrowers with only                                          IDR plans. About half of borrowers who
                                            forgiveness program, or an inability to                                 undergraduate loans are on an IDR plan,                                  completed a graduate degree and
                                            afford payments, than to be enrolled in                                 as compared to half (50 percent) of those                                recently entered repayment on are on
                                            an IDR plan.108 Similarly, a one-time                                   who borrowed to attend a graduate                                        IDR plan. These results are shown in
                                            analysis of student loan data conducted                                 program. As a result, about 79 percent                                   Table 2.1 below.
                                            by the U.S. Treasury and disclosed in a                                 of borrowers who recently entered

                                               TABLE 2.1—IDR USAGE BY BORROWER CHARACTERISTICS, BORROWERS WHO ENTERED REPAYMENT BETWEEN 2015
                                                                                          AND 2018

                                                                                                                                                                                                                                  Percentage
                                                                                                                                                                                                                   Percentage       of IDR
                                                                                                                                                                                                                   of borrowers   borrowers
                                                                                                                                                                                                                        (%)          (%)

                                            Has undergraduate loans only ................................................................................................................................                    79              64
                                            Has graduate loans .................................................................................................................................................             21              36

                                                                                                                Among those that have undergraduate loans only

                                            Did not complete any credential ..............................................................................................................................                   47              44
                                            Completed a sub-baccalaureate credential .............................................................................................................                           20              20
                                            Completed a bachelor’s degree but no graduate degree .......................................................................................                                     30              32

                                                                                                                                      Among all borrowers

                                            Completed a graduate degree .................................................................................................................................                    17              27
                                              Note: Borrowers who entered repayment with only Parent PLUS loans are excluded from these analyses. IDR usage is measured as of 12/31/
                                            2019.


                                              Even the borrowers who do use an                                      payment was still too high.112                                           struggle in other areas of financial
                                            IDR plan may continue to face                                           Complaints from borrowers enrolled in                                    health. One study showed that
                                            challenges in repayment. Many                                           IDR received by the Student Loan                                         borrowers enrolled in IDR had less
                                            borrowers on IDR still report concerns                                  Ombudsman show that borrowers find                                       money in their checking accounts and a
                                            that their payments are too expensive.                                  that IDR payments are unaffordable                                       lower chance of participating in saving
                                            For example, one survey of student loan                                 because competing expenses, such as                                      for retirement than borrowers in other
                                            borrowers found that, of those currently                                medical bills, housing, and groceries,                                   repayment plans, suggesting that
                                            or previously enrolled in an IDR plan,                                  cut into their discretionary income.                                     struggling borrowers may not obtain
                                            47 percent reported that their monthly                                  Furthermore, borrowers in IDR still                                      sufficient relief from unaffordable
                                               106 This analysis is restricted to borrowers with a                    108 www.urban.org/urban-wire/demographics-                             excluding borrowers who only had Parent PLUS
                                            Chase checking account who meet certain other                           income-driven-student-loan-repayment.                                    loans. IDR use is measured as of 12/31/2019.
                                            criteria in terms of frequency of monthly                                 109 U.S. Government Accountability Office, 2015.                         112 Plunkett, Travis, Fitzgerald, Regan, Denten,
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                                            transactions and amount of money deposited into                         Federal Student Loans: Education Could Do More                           Brain, West, Lexi, Upcoming Rule-Making Process
                                            the account each year. www.jpmorganchase.com/
                                                                                                                    to Help Ensure Borrowers are Aware of Repayment                          Should Redesign Student Loan Repayment
                                            institute/research/household-debt/student-loan-
                                            income-driven-repayment.                                                and Forgiveness Options. GAO–15–663.                                     (September 2021), www.pewtrusts.org/en/research-
                                                                                                                      110 www.urban.org/urban-wire/demographics-
                                               107 Sarah Gunn, Nicholas Haltom, and Urvi                                                                                                     and-analysis/articles/2021/09/24/upcoming-rule-
                                            Neelakantan, Should More Student Loan Borrowers                         income-driven-student-loan-repayment.                                    making-process-should-redesign-student-loan-
                                                                                                                      111 Based on borrowers with who had at least one                       repayment.
                                            Use Income-Driven Repayment Plans?, Federal
                                            Reserve Bank of Richmond (June 2021).                                   loan enter repayment between 2015 and 2018,



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                                            payments under the current IDR options                    Department cannot definitively know                   working to address a variety of financial
                                            to achieve financial stability.113                        why these borrowers defaulted, the fact               obligations may be particularly inclined
                                              Many borrowers on IDR plans face                        that nearly one in five of them defaulted             to enter deferment or forbearance rather
                                            challenges beyond the affordability of                    despite the usage of IDR shows that                   than navigating the IDR enrollment or
                                            their monthly payments. Department                        many borrowers struggle to make their                 recertification process, despite the fact
                                            data show that 70 percent of borrowers                    payments under the current IDR options                that staying on IDR—and updating their
                                            on IDR plans prior to March 2020 had                      and suggests there is still significant               income information to recalculate
                                            payment amounts that did not cover                        work to do to make sure that these plans              monthly payments as needed—may
                                            their full interest payment.114 Borrowers                 can set borrowers up for long-term                    better set them up for long-term
                                            in those situations on existing IDR plans                 repayment success.                                    repayment success. For example, the
                                            will see their balances grow unless they                     The improved terms of the REPAYE                   Consumer Financial Protection Bureau
                                            only have subsidized loans and are in                     plan in this final rule will help address             found that delinquency rates
                                            the first three years of repayment. Focus                 these concerns. To the extent that                    significantly worsened for those who
                                            groups of borrowers show that this                        borrowers are still defaulting because                did not recertify their incomes on time
                                            causes borrowers on IDR stress even                       they cannot afford their payments, this               after their first year in an IDR plan.120
                                            when they are able to afford their                        plan will provide a $0 payment for more               In contrast, delinquency rates for those
                                            payments.115                                              low-income borrowers and will reduce                  who did recertify their incomes slowly
                                              A significant share of borrowers                        payments for all other borrowers                      improved.
                                            report their expected monthly payments                    relative to the current REPAYE plan,                     The Department has several goals in
                                            will still be unaffordable when they                      making payments more manageable and                   pursuing these regulatory changes. First,
                                            return to repayment following the end                     reducing the risk of default. In                      we want to increase enrollment in an
                                            of the payment pause. For example, 26                     particular, income information currently              IDR plan among borrowers who are at
                                            percent of borrowers surveyed in 2021                     on file suggests that more than 1 million             significant risk of default or struggling
                                            disagreed with the statement that they                    borrowers on IDR could see their                      to repay their student loans. Doing so
                                            would be able to afford the same                          payments go to $0 based upon the                      will help reduce the number of defaults
                                            monthly amount they were paying                           parameters of the plan in this final rule,            nationally and protect borrowers from
                                            before the pause.116 A 2022 survey                        including more than 400,000 that are                  the resulting negative consequences.
                                            found that over a fifth of borrowers were                 already on REPAYE whose payment                       Second, we want to make it simpler for
                                            chronically struggling with repayment                     amounts would be updated                              borrowers to choose among IDR plans.
                                            before the pause and expected that they                   automatically to $0.                                  This requires considering the benefits
                                            would continue to struggle when                              The Department is also taking steps to             available to borrowers in other plans
                                            payments resume.117                                       make it easier for borrowers to stay on               and minimizing the number of
                                              The Department is also concerned                        IDR, which will further support their                 situations in which a borrower might
                                            that while borrowers using IDR have                       long-term repayment success. In                       have an incentive to pick a different
                                            lower default rates than borrowers not                    particular, this is done through the                  plan. In other words, if the terms of the
                                            on these plans, the rate of default for                   ability to automatically recalculate                  new REPAYE plan provide fewer
                                            borrowers on IDR still remains high.                      payments when a borrower provides                     benefits to a large group of borrowers
                                            According to research from the                            approval for the sharing of their Federal             compared to existing plans, it will be
                                            Congressional Budget Office (CBO), the                    tax information. Such changes are                     harder for borrowers to identify and
                                            default rate for borrowers in IDR is                      important because historically, many                  select an IDR plan that meets their
                                            about half that of borrowers in payment                   borrowers failed to complete the income               needs. Third, we want to make it easier
                                            plans with a fixed amortization period.                   recertification process that is required to           for borrowers to navigate repayment
                                            However, the cumulative default rates of                  recalculate payments and maintain                     overall. This involves addressing
                                            undergraduate borrowers who began                         enrollment in an IDR plan. Borrowers                  elements of the repayment experience in
                                            repayment in 2012 and participated in                     who fail to complete this process at least            which well-meaning choices by
                                            an IDR plan in their first and/or second                  once a year are moved to other                        borrowers could accidentally result in
                                            year of repayment still approached                        repayment plans and may see a                         being required to repay for a
                                            nearly 20 percent by 2017.118 While the                   significant increase in their required                significantly longer period of time. It
                                                                                                      monthly payment. Further, the fact that               also means simplifying the overall
                                              113 Collier, D.A., Fitzpatrick, D., & Marsicano, C.R.
                                                                                                      it is currently easier to obtain a                    process for the borrower of choosing
                                            (2021). Another Lesson on Caution in IDR Analysis:        forbearance or deferment than to enroll               between IDR and other types of
                                            Using the 2019 Survey of Consumer Finances to
                                            Examine Income-Driven Repayment and Financial             in or recalculate payments under IDR                  repayment plan.
                                            Outcomes. Journal of Student Financial Aid, 50(2).        may lead some borrowers to choose to                     Different parameters of the plan in
                                              114 Department of Education analysis of loan data       enter deferment or forbearance to pause               this final rule accomplish these various
                                            for borrowers enrolled in IDR plans, conducted in         their payments temporarily, rather than               goals. For instance, the provisions to
                                            FSA’s Enterprise Data Warehouse, with data as of          enrolling in or recertifying their income             protect a higher amount of income, set
                                            March 2020.
                                              115 Sattelmeyer, Sarah, Brian Denten, Spencer           on IDR to access more affordable                      payments at 5 percent of discretionary
                                            Orenstein, Jon Remedios, Rich Williams, Borrowers         payments following a change in their                  income for undergraduate loans, not
                                            Discuss the Challenges of Student Loan Repayment          income.119 In particular, borrowers may               charge unpaid monthly interest,
                                            (May 2020), www.pewtrusts.org/-/media/assets/             not have to provide income information                automatically enroll borrowers who are
                                            2020/05/studentloan_focusgroup_report.pdf.
                                              116 Survey on Student Loan Borrowers 2021, The
                                                                                                      or complete as much paperwork to                      delinquent or in default, provide credit
                                            Pew Charitable Trusts—Student Loan Research               obtain a pause on their loans through                 toward forgiveness for time spent in
                                            Project. survey-on-student-loan-borrowers-2021-           deferment or forbearance. Borrowers                   certain deferments and forbearances,
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                                            topline.pdf (pewtrusts.org).                              who are struggling financially and                    and shorten the time to forgiveness for
                                              117 Akana, Tom and Dubravka Ritter. 2022.
                                                                                                                                                            low balance borrowers all provide
                                            Expectations of Student Loan Repayment,                      119 Consumer Financial Protection Bureau.
                                            Forbearance, and Cancellation: Insights from Recent
                                                                                                                                                            disproportionate benefits for
                                                                                                      Borrower Experiences on Income-Driven
                                            Survey Data. Federal Reserve Bank, Philadelphia.          Repayment. November 2019.
                                                                                                                                                            undergraduate borrowers, particularly
                                            Consumer Finance Institute.                               files.consumerfinance.gov/f/documents/cfpb_data-
                                              118 www.cbo.gov/publication/55968.                      point_borrower-experiences-on-IDR.pdf.                  120 Ibid.




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                                            those at greater risk of default. That will               following a consolidation, not charging                   choices within IDR, and making
                                            make the IDR plans more attractive to                     unpaid monthly interest, and providing                    repayment easier to navigate. The result
                                            the very groups of borrowers the                          credit for deferments and forbearances                    is a plan that targets benefits to the
                                            Department is concerned about being at                    make it easier for borrowers to navigate                  borrowers at the greatest risk of
                                            risk of delinquency or default.                           repayment. The Department is                              delinquency or default, while providing
                                               The inclusion of borrowers who have                    concerned that the current process of                     a single option that is clearly the most
                                            graduate loans in some but not all                        navigating repayment and choosing                         advantageous for the vast majority of
                                            elements of the REPAYE plan and the                       between IDR and non-IDR plans is                          borrowers.
                                            treatment of married borrowers who file                   overly complicated. There are too many                       The changes to REPAYE focus on
                                            separately in particular accomplish the                   ways for borrowers to accidentally make                   borrowers who are most at risk of
                                            second goal of making it easier to                        choices that seemed reasonable at the                     default: those who have low earnings,
                                            choose among IDR plans. Currently, the                    time but result in the loss of months, if                 borrowed relatively small amounts, and
                                            process of selecting among IDR plans is                   not years, of progress toward                             only have undergraduate debt. This
                                            unnecessarily complicated. Borrowers                      forgiveness. For example, a borrower                      emphasis is especially salient for those
                                            may be better off choosing different                      may choose certain deferments or                          who are at the start of repayment. For
                                            plans depending on a variety of factors,                  forbearances instead of picking an IDR                    example, among borrowers earning less
                                            including whether they are married,                       plan where they would have a $0                           than 225 percent of the Federal poverty
                                            when they borrowed, and both their                        payment. Or they may consolidate their                    level five years from their first
                                            current and anticipated future income                     loans because they think it would be                      enrollment in postsecondary education,
                                            relative to the annual amount due on                      easier to have one loan to keep track of,                 36 percent had at least one default in
                                            eligible loans. That makes it harder for                                                                            the within 12 years of entering
                                                                                                      not knowing it would erase all prior
                                            student loan servicers to explain the                                                                               postsecondary education, compared to
                                                                                                      progress toward forgiveness. Similarly,
                                            different plans to borrowers when they                                                                              24 percent of those earning more.121
                                                                                                      the fact that IDR plans are the only
                                            are trying to make important financial                                                                              And borrowers with relatively small
                                                                                                      payment options available where a
                                            decisions. Such complexity also                                                                                     debts—$10,000 or less in 2009—
                                                                                                      borrower can make their required
                                            complicates efforts to explain IDR to                                                                               defaulted at a rate of 43 percent 12 years
                                                                                                      payments and still see their balance
                                            more vulnerable borrowers. Allowing                                                                                 after beginning postsecondary
                                                                                                      grow makes it difficult for borrowers to
                                            borrowers with graduate loans to gain                                                                               education, compared to 21 percent for
                                            access to some of the benefits provided                   understand the choices and options that
                                                                                                      are best for them. With these changes,                    those who borrowed more.122 Finally,
                                            by REPAYE will make the REPAYE plan                                                                                 those who borrowed only for their
                                            the best option for almost all borrowers.                 the negative consequences associated
                                                                                                      with various repayment choices,                           undergraduate education were more
                                            Absent such a structure, it would be                                                                                than three times as likely to experience
                                            harder to sunset new enrollment in                        including enrollment in REPAYE, will
                                                                                                      be minimized.                                             a default from 2004 to 2016 (34 percent
                                            other plans and borrowers would                                                                                     vs. 9 percent for those with any graduate
                                            continue to face a confusing set of IDR                     The Department believes the REPAYE
                                                                                                                                                                loans).123
                                            choices.                                                  plan as laid out in these final rules
                                               Provisions around the counting of                      focuses appropriately on supporting the                   3. Summary of Comments and Changes
                                            prior credit toward forgiveness                           most at-risk borrowers, simplifying                       From the IDR NPRM
                                                                                   TABLE 3.1—SUMMARY OF KEY CHANGES IN THE FINAL REGULATIONS
                                                                                                   Regulatory
                                                                Provision                                                                             Description of final provision
                                                                                                    section

                                            Adding SAVE as an alternative name for                § 685.209            Indicating that REPAYE may also be referred to as Saving on a Valuable Education,
                                              REPAYE.                                                                    or SAVE plan.
                                            Family size and Federal tax data ................     § 685.209            Indicating that information from Federal tax information reported to the Internal Rev-
                                                                                                                         enue Service can be used to calculate family size for an IDR plan.
                                            Minimum payment amount ..........................     § 685.209            Rounding calculated payment amounts of less than $5 to $0 and those between $5
                                                                                                                         and $10 to $10.
                                            5% and 10% payments on REPAYE ..........              § 685.209            Clarifying that borrowers pay 5% of discretionary income toward loans obtained for
                                                                                                                         their undergraduate study and 10% for all other loans, including those when the
                                                                                                                         academic level is unknown.
                                            Borrower eligibility for different IDR plans ..       § 685.209            Stating that a Direct Consolidation loan disbursed on or after July 1, 2025, that repaid
                                                                                                                         a Direct parent PLUS loan, a FFEL parent PLUS loan, or a Direct Consolidation
                                                                                                                         Loan that repaid a consolidation loan that included a Direct PLUS or FFEL PLUS
                                                                                                                         loan may only chose the ICR plan. Also states that a borrower maintains access to
                                                                                                                         PAYE if they were enrolled in that plan on July 1, 2024 and does not change re-
                                                                                                                         payment plans. Similar language is adopted for ICR with an exception for Direct
                                                                                                                         Consolidation Loans that repaid a parent PLUS loan.
                                            Payments made in bankruptcy ....................      § 685.209            Granting the Secretary the authority to award credit toward IDR forgiveness for peri-
                                                                                                                         ods when it is determined that the borrower made payments on a confirmed bank-
                                                                                                                         ruptcy plan.
                                            Treatment of joint consolidation loans ........       § 685.209            Clarifying that joint consolidation loans that are separated will receive equal credit to-
                                                                                                                         ward IDR forgiveness.
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                                            Crediting involuntary collections toward for-         § 685.209            Stating that involuntary collections are credited at amounts equal to the IBR payment,
                                              giveness.                                                                  if known, for a period that cannot exceed the borrower’s next recertification date.

                                              121 Analysis of Beginning Postsecondary Students             122 Ibid.

                                            (BPS) 2004/2009. https://nces.ed.gov/datalab/                  123 Ibid.
                                            powerstats/table/lqawqv.



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                                                                             TABLE 3.1—SUMMARY OF KEY CHANGES IN THE FINAL REGULATIONS—Continued
                                                                                                             Regulatory
                                                                    Provision                                                                              Description of final provision
                                                                                                              section

                                            Catch up payments .....................................          § 685.209     Stating that catch up payments are only available for periods beginning after July 1,
                                                                                                                             2024, can only be made using the borrower’s current IDR payment, and are limited
                                                                                                                             to periods that ended no more than 3 years previously.
                                            Providing approval for disclosure of Fed-                        § 685.209     Expanding the situations in which the borrower could provide approval for obtaining
                                              eral tax information.                                                          their Federal tax information.
                                            Removal from default ..................................          § 685.209     Allowing the Secretary to remove a borrower from default if they enroll in an IDR plan
                                                                                                                             with income information that covers the point at which they defaulted and their cur-
                                                                                                                             rent IDR payment is $0.
                                            Shortened time to forgiveness ....................               § 685.209     Stating that periods of deferment or forbearance that are credit toward IDR forgive-
                                                                                                                             ness may also be credited toward the shortened time to forgiveness.
                                            Rehabilitation ...............................................   § 685.209     Clarifying that a reasonable and affordable payment amount for rehabilitations may
                                                                                                                             be based upon the IBR formula and that a borrower on IBR who exits default may
                                                                                                                             be placed on REPAYE if they are eligible for it and it would result in a lower pay-
                                                                                                                             ment.



                                               Comments: Many commenters                                        postsecondary education today who                      students who borrow have also changed
                                            expressed concerns about the estimated                              may ultimately end up doing so.                        as the composition of college students
                                            net budget impact of the REPAYE plan.                               Currently, 52 percent of borrowers are                 has expanded to include more
                                            Several commenters cited Executive                                  aged 35 or older, including 6 percent                  individuals who are low-income, the
                                            Order 13563, which requires agencies to                             who are 62 or older.124 The benefits of                first in their families to attend college,
                                            ‘‘propose or adopt a regulation only                                revisions to REPAYE are also available                 or working adults. The costs observed in
                                            upon a reasoned determination that its                              to borrowers enrolled in all types of                  the net budget impact are at least partly
                                            [the regulation’s] benefits justify its                             programs, including career-oriented                    affected by the overall growth in volume
                                            costs’’ and to ‘‘use the best available                             certificate programs and liberal arts                  and the characteristics of who is
                                            techniques to quantify anticipated                                  degree programs. The additional                        borrowing, not just the extension of
                                            present and future benefits and costs as                            protections provided by this rule may                  certain benefits.
                                            accurately as possible.’’ Other                                     also encourage borrowers who did not                      Changes: None.
                                            commenters argued that the cost alone                               complete a degree or certificate and are                  Comments: The Department received
                                            indicated that Congress should have                                 hesitant to take on more debt to re-                   comments expressing concern that the
                                            taken this action, rather than the                                  enroll, allowing them to complete a                    most expensive elements of the plan are
                                            Department. Commenters also expressed                               credential that will make them better off              also the ones that are the least well-
                                            concerns about the fairness of providing                            financially.                                           targeted. For instance, the commenters
                                            such spending to individuals who had                                   We also note that the sheer scale of                pointed to estimates from the IDR
                                            gone to college compared to the effects                             the student loan programs plays a major                NPRM showing that the most expensive
                                            on someone who never enrolled in                                    role in the overall estimated net budget               components of the proposal were the
                                            postsecondary education.                                            impact. Student loans are the second                   increase in the amount of income
                                               Discussion: As discussed in greater                              largest source of consumer debt after                  protected from payments and having
                                            detail in the Benefits of the Regulation                            mortgages and ahead of credit cards.125                borrowers pay 5 percent of their
                                            section of this RIA, the Department                                 There is currently $1.6 trillion in                    discretionary income on undergraduate
                                            believes that the benefits of this final                            outstanding student loan debt.126 The                  loans. The commenters argued that the
                                            regulation justify its costs. These                                 Department estimates that another $872                 cost of those provisions plus the extent
                                            changes to REPAYE will create a safety                              billion will be lent over the coming                   of the benefits they provided to higher-
                                            net that can help the most vulnerable                               decade. By contrast, there was $23                     income borrowers created an imbalance
                                            borrowers avoid default and                                         billion outstanding in 1993 when                       between the costs and benefits of the
                                            delinquency at much greater rates than                              Congress created the ICR authority and                 rule. They also argued that there is little
                                            they do today. Doing so is important to                             $577 billion in 2008, the last time                    evidence that the most expensive
                                            make certain that a student’s                                       Congress reauthorized the Higher                       provisions will provide sufficient
                                            background does not dictate their ability                           Education Act. This growth is not just                 benefits to justify their costs. Several
                                            to access and afford postsecondary                                  a function of higher prices but also of                commenters argued that our proposals
                                            education. The Department is concerned                              a significant expansion of postsecondary               lack a cost and benefit analysis specific
                                            that the struggles of current borrowers                             enrollment. The number of students                     to graduate borrowers. This group of
                                            may dissuade prospective students from                              enrolled in college has increased from                 commenters claim our proposals
                                            pursuing postsecondary education.                                   12.29 million in fall 1994 to 18.66                    provide uncapped subsidies for the
                                               Importantly, these benefits are                                  million in fall 2021.127 The types of                  most educated Americans.
                                            provided to existing borrowers and                                                                                            Discussion: The commenters
                                            future ones. That means anyone who                                    124 From Q1 2023 data in studentaid.gov/sites/
                                                                                                                                                                       accurately identified the elements of the
                                            has previously not enrolled in college                              default/files/fsawg/datacenter/library/Portfolio-by-   plan that we project have the greatest
                                            because they were worried about the                                 Age.xls.                                               individual costs. However, we disagree
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                                            cost or the risk of borrowing will have                               125 https://www.newyorkfed.org/medialibrary/         with the claim that the benefits of the
                                            access to these benefits as well. In                                interactives/householdcredit/data/pdf/HHDC_            plan are ill-targeted. First, because
                                                                                                                2023Q1.
                                            considering who these individuals                                     126 https://studentaid.gov/sites/default/files/
                                                                                                                                                                       payments under REPAYE are not
                                            might be, it is important to recall there                           fsawg/datacenter/library/PortfolioSummary.xls.         capped, borrowers with the highest
                                            are many people today who may seem                                    127 nces.ed.gov/programs/digest/d22/tables/dt22_     incomes will still have higher scheduled
                                            like they are not going to enroll in                                303.10.asp.                                            payments under the plan than under the


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                                            standard 10-year plan. Second, graduate                   Second, many borrowers in the lowest                  example, a REPAYE plan that fully
                                            borrowers—who tend to have higher                         income categories will have $0 monthly                excluded all graduate borrowers would
                                            incomes—will only receive the 5                           payments as part of these changes. A                  increase confusion because many
                                            percent of discretionary income                           borrower cannot see their payments                    borrowers carry both graduate and
                                            payment rate for the debt they took on                    reduced below $0, so this will cap the                undergraduate loans, and there are
                                            for their undergraduate education. The                    possible reduction in payments for the                currently many graduate borrowers
                                            Department considered the cost of                         lowest-income borrowers. The                          using the REPAYE plan. We are
                                            providing additional relief to graduate                   potentially smaller dollar savings that               concerned that added complexity would
                                            borrowers and we believe that our plan                    occur each month will still be important              make it harder for the most at-risk
                                            balances our goals of protecting the                      for them, as the marginal burden of each              borrowers to pick the best plan for them
                                            borrowers most at risk of delinquency                     additional $1 in student loan payments                as they may be overwhelmed by choices
                                            while ensuring borrowers pay back their                   will be greater for a lower-income                    that vary based upon highly technical
                                            fair share. The Department’s analyses of                  borrower compared to a higher income                  details.
                                            the distributional benefits of the plan                   one. We also note that an undergraduate                  Changes: None.
                                            show that borrowers at the bottom of the                  borrower in the middle of the three                      Comments: Several commenters
                                            lifetime income distribution are                          income ranges still sees larger typical               submitted different types of analyses of
                                            projected to see the largest reduction in                 savings than a graduate borrower in the               how many borrowers would fully repay
                                            payments per dollar borrowed.                             same range does.                                      their loans or what share of their loans
                                               Changes: None.                                           Finally, it is important to recall that             they would repay. One commenter
                                               Comments: One commenter claimed                        some of the savings that are occurring                provided an analysis showing that they
                                            that the proposed plan was regressive                     for these graduate borrowers are due to               estimated that 69 percent of borrowers
                                            and benefitted wealthy borrowers more                     the fact that they also have                          with certificates and associate degrees
                                            than lower-income borrowers, citing                       undergraduate loans. That means had                   will repay less than half their loan
                                            Table 7 of the IDR NPRM (the updated                      they never borrowed for graduate school               before receiving forgiveness. They also
                                            version of this table is now Table 5.5).                  they would still be seeing some of those              estimated that would be the case for 49
                                            This is a table that showed the                           savings.                                              percent of bachelor’s degree recipients.
                                            breakdown of mean debt and estimated                        Changes: None.                                      These are both increases from existing
                                            payment reductions for undergraduate                        Comments: One commenter argued                      plans. Several other commenters cited
                                            and graduate borrowers by income                          that the Department’s explanation for                 this analysis in their comments.
                                            range. A commenter argued that the                        the net budget estimate in the IDR                       A different commenter provided their
                                            expansion of eligibility for forgiveness                  NPRM does not match its stated goal of                own estimate that borrowers from
                                            to borrowers with higher incomes is the                   assisting student loan borrowers                      programs with a negative return on
                                            costliest component of the proposed                       burdened by their debt. This commenter                investment would pay 21 percent of
                                            regulations. This commenter claims that                   further claimed that the Department’s                 what they originally borrowed. That
                                            these regulations significantly increase                  refusal to tailor its IDR plan to the                 same commenter said that borrowers
                                            the range of starting incomes that                        students that it purports to help                     from private for-profit colleges would
                                            borrowers can earn and still expect to                    demonstrates that the IDR NPRM’s                      repay just under 45 percent of what they
                                            receive some type of loan forgiveness                     reasoning is contrived and violated the               borrowed.
                                            from approximately $32,000 under the                      Administrative Procedure Act (APA).                      Another commenter estimated that 85
                                            current IDR plan to $55,000 under the                     This commenter cited an analysis that                 percent of individuals with
                                            new IDR plan.                                             claimed that the Department’s proposed                postsecondary education would benefit
                                               Discussion: Assessing the starting                     new IDR plan constituted a taxpayer gift              from lower payments based upon their
                                            incomes that could lead to forgiveness                    to nearly all former, current, and                    assumptions about typical debt levels.
                                            is not a one-size-fits-all endeavor. That                 prospective students.                                    Discussion: As discussed in the IDR
                                            is because the borrower’s student loan                      The commenter further believed that                 NPRM, the Department developed its
                                            balance also affects whether the                          the level of income protected and share               own model to look at what would occur
                                            borrower is likely to fully repay the loan                of income above the protected amount                  if all borrowers were to choose the
                                            or have some portion of their balance                     that goes toward loan payments exceeds                proposed REPAYE plan versus the
                                            forgiven. For instance, a borrower who                    what would be needed for a targeted                   existing one. We continue to use this
                                            earns $55,000 as a single individual and                  policy measure that solves the specific               model for the final rule. The model
                                            only borrowed $5,000 would pay off the                    problem of young borrowers struggling                 includes projections of all relevant
                                            loan before receiving forgiveness. The                    with debt because borrowers below this                factors that determine payments in an
                                            REPAYE plan will provide many                             level would have a zero-dollar payment                IDR plan, including debt and earnings at
                                            borrowers with lower payments,                            under the IDR Plan.                                   repayment entry, the evolution of
                                            particularly helping low-income                             Discussion: As noted elsewhere in                   earnings in subsequent years, transitions
                                            borrowers avoid delinquency and                           this final rule, the Department has                   into and out of nonemployment,
                                            default while ensuring middle-income                      several goals for this regulatory action.             transitions into and out of marriage,
                                            borrowers are not overburdened by                         Our main goal is to reduce the rates of               spousal earnings and student loan debt,
                                            unaffordable payments.                                    default and delinquency by making                     and childbearing. The model also allows
                                               Regarding the discussion of Table 7 in                 payments more affordable and                          these factors to vary with educational
                                            the IDR NPRM (Table 5.5 in this RIA),                     manageable for borrowers, particularly                attainment and student demographics.
                                            there are a few important clarifications                  those most at risk of delinquency and                 While simpler models that do not
                                            to recall. First, this table reflects existing            default. We are also working to make                  include these factors can provide a
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                                            differences in the usage of IDR between                   the overall repayment experience                      rough indication of payments in the
                                            these groups. The new plan emphasizes                     simpler. This means making it easier                  plan early in the repayment process,
                                            its benefits toward the lower-income                      both to decide whether to sign up for an              total repayments will depend on the
                                            borrowers that do not currently use IDR                   IDR plan and which IDR plan to select.                entire sequence of labor market
                                            at rates as high as some of their                         Achieving that goal requires operating                outcomes and family formation
                                            counterparts with higher incomes.                         within the existing IDR plans. For                    outcomes for the full length of


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                                            repayment. Projections based on                           benefits to stated goals. They also                   previously borrowed as well as students
                                            simplifying assumptions, such as a                        questioned why, if the concern is about               who would not otherwise have obtained
                                            constant rate of income growth, or a                      preventing defaults, the Department did               student loans now choosing to borrow.
                                            median income for a broad set of                          not first conduct an analysis of who                     Commenters provided a range of
                                            borrowers, fail to capture the volatility                 defaults to drive decisions.                          estimates for how to quantify these
                                            of changes in earnings over time, and                       Discussion: With respect to the                     various effects. These included
                                            cannot fully capture the distribution of                  concerns about who defaults, the                      estimates from the Penn Wharton
                                            earnings relative to the amount of                        Department has intentionally taken a                  Budget Model, the Urban Institute, and
                                            student loan debt a borrower acquires.                    number of steps in the regulation that                analyses done by Adam Looney and
                                            As a result, we believe the model we                      directly reflect research and data on                 Preston Cooper, among others. These
                                            designed for the IDR NPRM and used                        default. For instance, as noted in the                various analyses projected that between
                                            again in this final rule provides more                    IDR NPRM, 90 percent of borrowers                     70 and 90 percent of borrowers would
                                            accurate projections of the types of                      who default borrowed exclusively for                  benefit from the proposed changes to
                                            analyses the commenters provided.                         their undergraduate education. This is                REPAYE. Commenters also included
                                               Changes: None.                                         one of the reasons why we are only                    calculations using data from the
                                               Comments: Some commenters                              lowering the share of income that goes                National Postsecondary Student Aid
                                            pointed to a prior report from GAO                        toward payments for undergraduate                     Study looking at borrowers who did not
                                            about the Department’s estimation of the                  loans. Similarly, as noted in the IDR                 take out the maximum amount of
                                            cost of IDR plans to argue that the                       NPRM, 63 percent of defaulters had an                 student loans available to them, data on
                                            Department will not fully capture the                     original principal balance of less than               the number of community colleges that
                                            cost of this rule.128                                     $12,000, the threshold we chose for the               might now choose to participate in the
                                               Discussion: The Department’s student                   early forgiveness provision. The raised               loan programs, data from the American
                                            loan estimates are regularly reviewed by                  income protection will capture more of                Community Survey on earnings by field
                                            several entities, including GAO. The                      the lowest-income borrowers, which                    of study, information from the College
                                            report cited by the commenter                             will also help avert default, as will the             Scorecard about typical debt and
                                            referenced the lack of modeling of                        provision to automatically enroll                     earnings levels, data from the Beginning
                                            repayment plan switching, resulting in                    delinquent borrowers in REPAYE. As                    Postsecondary Students Longitudinal
                                            upward re-estimates of IDR plan costs.                    noted in the NPRM and reiterated in the               Study, and trends in usage of IDR plans.
                                            The Department conducts regular re-                       preamble to this final rule, the                      Commenters also cited research from
                                            estimates of the student loan programs                    Department decided to protect earnings                the Federal Reserve Bank of New York
                                            to capture changes in the repayment                       up to 225 percent of FPL after                        and Howard Bowen on possible effects
                                            plan distribution. This allows us to                      conducting an analysis showing that                   on college prices.
                                            make certain we are updating our cost                     individuals at that point reported                       Another commenter claimed that the
                                            estimates to reflect updates to                           similar rates of material hardship than               Department’s proposed revisions to the
                                            administrative data as well as changes                    those with family incomes at or below                 REPAYE plan would effectively
                                            in underlying economic indicators, such                   the 100 percent of the FPL. Therefore,                discount the cost of college by 44
                                            as government interest rates.                             we believe the borrowers that will now                percent for the average borrower
                                               Changes: None.                                         have a $0 payment from this rule are                  (relative to the current REPAYE plan) at
                                               Comments: Some commenters asked                        those who were going to be at the                     a cost to taxpayers of several hundred
                                            the Department to provide more clarity                    greatest risk of default.                             billion dollars.
                                            with regard to the quantified economic                      Changes: None.                                         Discussion: The Department has
                                            benefits of this rule versus its estimated                  Comments: Many commenters raised                    updated the main budget estimate in
                                            costs.                                                    concerns that the budget estimates in                 this final rule that includes more future
                                               Discussion: The Department believes                    the IDR NPRM understated the costs of                 loan volume being repaid on the IDR
                                            we have appropriately described the                       the proposals. In particular, commenters              plans, with most of this volume going
                                            economic benefits of the rule in the                      pointed to three issues that they said                onto the new REPAYE plan. We have
                                            discussion of costs and benefits section,                 should have been accounted for in the                 also added a number of sensitivities that
                                            including the benefits to borrowers in                    budgetary estimates:                                  consider what would happen if total
                                            the form of reductions in payments,                         (1) Existing student loan borrowers                 annual loan volume increases. These
                                            decreased risk of student loan                            who do not currently choose an IDR                    items are all explained in greater detail
                                            delinquency and default, and reduction                    plan may choose to begin repaying on                  in the Net Budget Impact section of this
                                            in the complexity involved in choosing                    an IDR plan given the more generous                   RIA. This approach captures the fact
                                            between different repayment plans.                        terms. The result would be an overall                 that the degree of increases in take-up
                                            Included in this section is an analysis of                increase in the share of borrowers and                and new loan volume are subject to
                                            the reduction in payments per dollar                      loan volume in the IDR plans.                         uncertainty. Given the timing of benefits
                                            borrowed under the new plan compared                        (2) Existing student loan borrowers                 received through IDR forgiveness and
                                            to current REPAYE and the standard                        may choose to take on higher levels of                the uncertainty around many factors
                                            plan, both overall and by quintile of                     debt. This could be driven by personal                that would determine these benefits
                                            lifetime income and graduate debt.                        choices since the cost of repaying debt               (e.g., individual earnings trajectories
                                            Many of the benefits that are provided                    for the individual has fallen or due to               and macroeconomic conditions), it is
                                            that go beyond the reduction in                           increases in tuition charged by                       not unreasonable to assume that any
                                            payments are important but not                            institutions. Some commenters noted                   price responses by higher education
                                            quantifiable.                                             that this increased borrowing may only                institutions would be muted relative to
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                                               Changes: None.                                         be for living expenses.                               changes in prices that have been found
                                               Comments: Some commenters argued                         (3) More students who would not                     following increases in the generosity of
                                            that the Department did not sufficiently                  otherwise have borrowed may choose to                 Federal student aid that students receive
                                            connect the discussion of costs and                       take on debt as a result of these changes.            while enrolled. While we agree with the
                                                                                                      This could include both more students                 commenters that a significant majority
                                              128 www.gao.gov/products/gao-17-22.                     going to college who might not have                   of borrowers could benefit from the


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                                            changes to the REPAYE plan, it is also                                       the 2017 repayment cohort. This                                              baccalaureate institutions and by 4 for
                                            true that many more borrowers who                                            includes modeling all of the factors that                                    baccalaureate institutions. Table 3.2
                                            could benefit from existing IDR plans do                                     would affect payments (e.g., future                                          shows these estimates which suggests
                                            not select them, so the highest take-up                                      earnings and nonemployment, marriage,                                        that at most, the average reduction in
                                            levels suggested by some analyses are                                        childbearing). Using this model, we                                          payments under the new plan relative to
                                            unlikely to be achieved, at least as an                                      compare the average difference in the                                        existing REPAYE would be 13 percent
                                            immediate consequence of the                                                 PDV of total payments by institutional                                       of the average total cost of attendance.
                                            regulation.                                                                  control and predominant degree                                               Among 4-year institutions, the
                                              We have estimated the present                                              (assuming all borrowers participate in                                       reduction in payments never exceeds 6
                                            discounted value (PDV) of the change in                                      each plan) and can compare this                                              percent of the average total cost of
                                            total payments under the new plan                                            projected reduction in payments with                                         attendance. Both of these figures are
                                            compared to total payments under                                             the average cost of attendance in each                                       well below the 44 percent figure
                                            REPAYE for borrowers representative of                                       sector, multiplied by 2 years for sub-                                       provided by commenters.

                                                     TABLE 3.2—AVERAGE REDUCTION IN THE PRESENT DISCOUNTED VALUE OF TOTAL PAYMENTS BY SECTOR AS A
                                                                  PERCENTAGE OF THE AVERAGE TOTAL COST OF ATTENDANCE IN THE SECTOR
                                                                                                                                                                                                                                            Baccalaureate
                                                                                                                                                                                                                             Associate or    or graduate
                                                                                                                                                                                                                              certificate        only
                                                                                                                                                                                                                              (percent)       (percent)

                                            Public .......................................................................................................................................................................             10               6
                                            Nonprofit ..................................................................................................................................................................               13               4
                                            For-profit ..................................................................................................................................................................              12               5
                                               Notes: Average cost of attendance from Table 330.40, Digest of Education statistics, 2021–22 academic year, using off-campus living ex-
                                            penses. For public institutions, the average cost of attendance includes tuition and fees for in-state students. The annual average cost of attend-
                                            ance from the table is multiplied by 2 to get the average total cost of attendance for sub-baccalaureate institutions and by 4 to get the average
                                            total cost of attendance for baccalaureate institutions.


                                              We also reject some of the                                                    Discussion: The Department is                                             separately so a non-working or
                                            implications by commenters that greater                                      confident in our authority to pursue                                         otherwise lower-income spouse could
                                            usage of IDR is inherently bad. As noted                                     debt relief and is awaiting the Supreme                                      have lower loan payments.
                                            already, the Department is concerned                                         Court’s ruling on the issue. Our cost                                           Discussion: We disagree with the
                                            about the significant number of                                              estimates account for the Department’s                                       commenters about the switching
                                            borrowers who end up in delinquency                                          current and anticipated programs and                                         behavior of borrowers. For one,
                                            and default each year. Past studies have                                     policies. It is difficult to assess whether                                  borrowers who have spent an extended
                                            shown that large numbers of these                                            increased borrowing will occur and for                                       time in an IDR plan would likely face
                                            individuals would likely have a low-to-                                      which students. For example,                                                 large and possibly unaffordable
                                            zero payment on IDR yet do not sign up.                                      undergraduate borrowers receive more                                         payments if they were to switch back to
                                            Moving all or most of this volume in                                         repayment benefits under the new                                             the standard 10-year plan. If a borrower
                                            default into IDR will represent a net                                        REPAYE plan but are also subject to                                          leaves a repayment plan and is placed
                                            benefit for the borrowers and for society                                    annual borrowing limits which are                                            on the standard plan, their balance will
                                            overall as the consequences of                                               likely to restrict any additional                                            be amortized over however many years
                                            defaulting are very damaging and can                                         borrowing. Roughly 48 percent of those                                       are remaining until the loan is repaid in
                                            prevent borrowers from engaging in                                           who borrowed for their undergraduate                                         a time frame equal to 10 years of time
                                            other behaviors like buying a house or                                       education in 2017–18 already borrowed                                        in repayment. In other words, a
                                            starting a business.                                                         at their individual maximum amount for                                       borrower who pays on IDR for 5 years
                                              Changes: The Department has                                                Federal loans.129                                                            and then switches to the 10-year
                                            increased the share of volume in IDR                                            Changes: None.                                                            standard plan would see their remaining
                                            plans for the main budget estimate and                                          Comments: Some commenters argued                                          loan balance amortized over 5 years.
                                            incorporated additional analyses of IDR                                      that borrowers would use certain                                             Realistically, the kinds of borrowers
                                            take-up and additional loan volume in                                        provisions in the rules to reduce their                                      described by the commenters who might
                                            the Net Budget Impact section of this                                        payments in ways that would understate                                       be switching are going to be doing so
                                            RIA.                                                                         potential savings to the Department and                                      later in their repayment period when
                                              Comments: One commenter expressed                                          increase the overall cost of the                                             they have had a significant number of
                                            concern with our cost estimates, which                                       regulation. Commenters argued that                                           years of work experience. Those
                                            account for the Administration’s one-                                        borrowers who would have higher                                              borrowers may no longer have access to
                                            time debt relief plan to forgive $20,000                                     payments on the plan would not stay on                                       a 10-year standard plan. At that point,
                                            for Pell Grant eligible borrowers and                                        it and would instead switch onto a non-                                      if they left IDR, they would have to go
                                            $10,000 for other borrowers. This issue                                      IDR plan. Commenters also argued that                                        onto other payment plans that do not
                                            remains before the Supreme Court. The                                        the proposal to allow a married                                              qualify for IDR forgiveness and which
                                            commenter suggests that we should                                            borrower who files separately to not                                         result in the loan being paid off in full.
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                                            produce a secondary cost estimate in the                                     include their spouse’s income would                                             We also disagree with the assessment
                                            event that the loan cancellation plan                                        also result in more borrowers filing                                         of what married borrowers may or may
                                            does not go into effect. The commenter                                         129 Powerstats analysis of the National
                                                                                                                                                                                                      not do. For one, the ability for married
                                            further stated that our cost estimates                                       Postsecondary Student Aid Student-Administrative
                                                                                                                                                                                                      borrowers to avoid having their spouse’s
                                            and our analyses do not account for                                          Collection 2018 (NPSAS–AC). Reference table                                  income counted for IDR by filing taxes
                                            increased borrowing.                                                         number: dfwcsn.                                                              separately currently exists on every


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                                            other IDR plan, and the different                         greater loan debt. There are also other               aid access through appeals created by
                                            treatment in REPAYE makes the process                     student-related factors, such as price                statute and waivers granted by the
                                            of choosing plans more confusing. On a                    sensitivity and debt aversion, that                   Department, including those effectuated
                                            policy level, filing one’s taxes separately               influence tuition setting behavior. The               in response to language inserted in
                                            as a married couple has significant                       mention in the IDR NPRM simply                        Federal appropriations bills. While
                                            consequences. According to the IRS, a                     indicated that, given the sheer number                paying attention to default rates is
                                            married couple that files separately may                  of institutions operating, there is a                 important, most colleges face no risk of
                                            pay more in combined Federal tax than                     possibility that some number could                    negative consequences from the existing
                                            they would with a joint return. This is                   choose to raise prices. We continue to                CDR measure as it does not have
                                            partly because income levels for the                      think the benefits of creating a safety net           significant effect on eligibility for poorly
                                            child tax credit and retirement savings                   that will help the most at-risk borrowers             performing institutions or programs.
                                            contributions credit are based on                         and deliver affordable payments for                      This rule would also not diminish any
                                            income levels half that of what is used                   middle-income borrowers far outweigh                  potential effect CDRs have on
                                            for a joint return.130 Married couples                    the potential costs associated with this              encouraging institutions to keep their
                                            that file separate returns are also                       risk.                                                 default rates generally low to avoid even
                                            ineligible for the Earned Income Tax                         Changes: None.                                     the possibility of sanctions. That is
                                            Credit. Moreover, married couples that                       Comments: Commenters argued that                   because the CDR only looks at results
                                            file separately must wait several years to                the costs and benefits analysis in the                for borrowers in their first few years in
                                            file jointly again. The effect is that any                IDR NPRM did not sufficiently engage                  repayment and institutions face no
                                            savings on loan payments may be offset                    with the potential effects of the rule on             consequences for borrowers who default
                                            by higher costs in taxes. We also note                    accountability for institutions or                    outside the measurement window or
                                            that this final rule does not allow a                     programs that do not provide strong                   face long-term repayment challenges.
                                            borrower who files taxes separately from                  returns on investment or otherwise                    That is partly why there have been
                                            their spouse to include that spouse in                    serve students well. Some commenters                  concerns raised in the past by entities
                                            their household size, which reduces the                   calculated that the IDR NPRM would                    such as GAO that institutions keep their
                                            amount of income protected when                           result in subsidies of nearly 80 percent              default rates low by working with
                                            calculating IDR payments.                                 for programs with negative returns on                 companies that encourage borrowers to
                                               Changes: None.                                         investment and more than 50 percent at                enter forbearances.131 Such situations
                                               Comments: Related to concerns about                    private for-profit colleges. Some                     create a short-term solution for the
                                            the effect of the plan on tuition,                        commenters argued that these effects                  borrower and the school but do not
                                            commenters argued that the mention in                     could result in a race to the bottom for              produce the type of long-term assistance
                                            the IDR NPRM that institutions could                      institutions under severe financial                   that an IDR plan provides. As such,
                                            have an incentive to raise prices created                 pressure and argued that colleges would               using IDR instead of forbearance for
                                            a conflict with the public statements                     present REPAYE as a de facto wage                     struggling borrowers is a better long-
                                            when some parameters of the plan were                     subsidy to recruit underprepared                      term outcome for borrowers.
                                            announced that this rule was part of a                    students. Similarly, commenters argued                   Moreover, the payment pause will
                                            plan to tackle prices. They argued that                   that the IDR NPRM should have                         continue to reduce the already minimal
                                            the Department failed to reckon with                      reckoned more with the effects of the                 effects of the CDR for the next several
                                            how a plan that was part of a solution                    proposal on accountability measures                   years. Already, the cohorts that partly
                                            to the problem of college prices could                    such as cohort default rates (CDRs) and               included the pause have seen national
                                            exacerbate this issue.                                    the likelihood of institutions marketing              default rates fall from 7.3 percent to 2.3
                                               Discussion: We disagree with the                       low-value programs. Commenters also                   percent between the FY 2018 and FY
                                            commenters. A required component of                       argued that the request for information               2019 cohorts (the most recent rates
                                            the RIA is to explore every major benefit                 about creating a list of the least                    available).132 The effects of the payment
                                            or cost that we can identify when                         financially valuable programs that was                pause on the CDR will likely continue
                                            considering the possible effect of the                    released concurrent with the IDR NPRM                 for the next several years.
                                            rule. Where possible, these elements are                  was insufficient to address these issues.                The Department has separately
                                            quantified, where not, they are at least                     Discussion: We disagree with some                  proposed other actions that would
                                            mentioned. There are thousands of                         concerns raised by the commenters with                address the other accountability
                                            institutions of higher education that                     regard to CDRs and think that other
                                                                                                                                                            concerns raised by commenters if
                                            participate in the financial aid                          issues are best understood by
                                                                                                                                                            finalized in a form similar to the
                                            programs. Most of them already raise                      considering the totality of the
                                                                                                                                                            proposed versions. The first is the issue
                                            their cost of attendance each year,                       Department’s work, not just this
                                                                                                                                                            of marketing programs with lower
                                            which is a major reason why concerns                      regulatory package.
                                                                                                         Cohort default rates already affect a              economic returns to borrowers. The
                                            about student debt have grown so much
                                                                                                      very small number of institutions on an               Department recognizes that there are
                                            in recent years. The Department thinks
                                                                                                      annual basis. For the 2017 CDRs—the                   programs currently receiving Federal
                                            it is highly unlikely that significant
                                                                                                      last set of rates that do not include time            student aid on the condition that they
                                            numbers of institutions would raise
                                                                                                      periods covered by the national pause                 prepare students for gainful
                                            their prices in response to this plan. For
                                                                                                      on repayment, interest, and                           employment in a recognized occupation
                                            one, many public institutions do not
                                                                                                      collections—just 12 institutions                      that nevertheless provide undesirable
                                            have direct tuition setting authority. For
                                                                                                      encompassing 1,358 borrowers in the                   economic returns. This includes
                                            another, there are many institutions
                                                                                                      corresponding repayment cohort had                    programs that result in typical debts that
                                            whose prices are already above the
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                                                                                                      rates that were high enough to put them               far exceed typical earnings and those
                                            combination of annual limits on Pell
                                                                                                      at risk of losing access to title IV aid.             that produce graduates who do see no
                                            Grants and undergraduate loans,
                                            meaning it would not be possible to                       That represents approximately 0.03                      131 https://www.gao.gov/products/gao-18-163.
                                            simply offset any higher price with                       percent of all borrowers tracked for that               132 fsapartners.ed.gov/knowledge-center/topics/
                                                                                                      measure in that fiscal year. Furthermore,             default-management/official-cohort-default-rates-
                                              130 www.irs.gov/publications/p504.                      some of these institutions maintained                 schools.



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                                            benefit from additional wages as a result                 levels of debt, they would face                       loan, including in many cases paying off
                                            of their postsecondary experience. To                     consequences as the debt levels of their              the loan entirely. In addition, some of
                                            address this issue, the Gainful                           students rise. Combined, these actions                the interest that would not be charged
                                            Employment NPRM released on May 19,                       would represent a significant increase in             on this plan is interest that would
                                            2023, (88 FR 32300) proposes new                          accountability compared to the status                 otherwise have been paid by the
                                            definitions for what it means for a                       quo.                                                  borrower today due to the higher
                                            program to provide training that                             Changes: None.                                     payment amounts on REPAYE. That
                                            prepares students for gainful                                Comments: Commenters raised                        interest is therefore not a transfer from
                                            employment in a recognized occupation                     concerns about the effect of the                      the potential State tax revenue to the
                                            based on the debt burden and earnings                     proposed changes to REPAYE on State                   borrower, but rather a transfer from the
                                            relative to those of high school                          actions and said the IDR NPRM did not                 Department to the borrower. Moreover,
                                            graduates. We estimate in that NPRM                       sufficiently account for them. They                   a minority of States tax student loan
                                            that there are more than 700,000                          argued this should have triggered a                   forgiveness, and other IDR plans also
                                            students who enroll in about 1,800 of                     greater Federalism analysis.                          provide interest subsidies of varying
                                            these low-financial-value career                          Commenters asserted that several States               amounts. Therefore, there is only a
                                            programs each year. The proposed rule                     rely on State tax revenue from loans that             small amount of tax on the amount of
                                            would cut off eligibility for federal                     have been forgiven. As a result, they                 increased forgiveness over what the
                                            student aid when career programs                          asserted that this regulation would have              borrower would have received on this
                                            consistently leave graduates with a                       significant State-level budgetary                     plan versus another plan. There are also
                                            monthly debt burden that exceeds 8                        implications because of the loan                      not enough borrowers who have
                                            percent of their annual earnings or 20                    forgiveness provisions, such as the fact              received forgiveness through an IDR
                                            percent of their discretionary earnings,                  that interest that is not charged on a                plan to date to establish that a State is
                                            or with earnings that are no greater than                 monthly basis would not be part of the                relying on revenue from these plans.
                                            students with only a high school                          forgiven amount at the end of the                     Because only the original ICR plan has
                                            diploma.                                                  repayment period that is subject to State             been around long enough for borrowers
                                               The Department is also proposing                       taxation. The commenter cited several                 to reach the required number of
                                            steps to address the borrowers enrolled                   other ways States could be affected by                monthly payments for forgiveness, only
                                            in programs that leave graduates with                     our regulation. These included the                    a few borrowers have earned forgiveness
                                            unaffordable debt burdens that would                      claim that States would choose to spend               through an IDR plan. This number will
                                            not be subject to the eligibility loss                    less on higher education; States would                rise through planned actions like the
                                            under the Gainful Employment NPRM                         divert subsidies away from alternative                one-time payment count adjustment, but
                                            (88 FR 32300). We are proposing that                      pathways to family-sustaining                         that is not a change States could have
                                            students attending programs that have                     employment; that State performance                    planned for.
                                            high ratios of debt-to-earnings would                     funding formulas would be weakened                       We are similarly unconvinced on the
                                            have to complete an acknowledgment                        by new Federal spending; that States                  other arguments about federalism. For
                                            before they borrow or receive other                       would gain less of an advantage from                  instance, the commenters have not
                                            forms of Federal student aid. We think                    making significant public investments                 outlined how performance-based
                                            this approach will have two effects.                      in postsecondary education; that more                 funding systems would be affected.
                                            First, students may consider choosing a                   students would go out of State for                    Only a minority of institutions
                                            program that will produce better                          postsecondary education; States that                  nationally are subject to performance-
                                            outcomes. Second, institutions will not                   fund higher education on a per capita                 funding systems, as not every State has
                                            want to have their programs subject to                    basis would see expenditures rise                     a performance-funding system, most
                                            such acknowledgements and will take                       believing that the Federal subsidy                    such systems only apply to public
                                            steps to improve their outcomes.                          would result in increased enrollment;                 institutions, and they often represent
                                               The Department has also announced                      and institutions would change their                   only a portion of State dollars for
                                            that it intends to publish a list of the                  prices. Commenters did not provide                    postsecondary education. Beyond that,
                                            programs that provide the least financial                 evidence to quantify the extent of any                it is unclear what metrics the
                                            value. The Department published a                         effects mentioned.                                    commenters expect would be affected in
                                            request for information around how to                        Discussion: We did not identify any                these systems, which commonly
                                            best define this list in January 2023 (88                 Federalism implications in the proposed               consider things like enrollment levels
                                            FR 1567). When finalized, such a list                     rule and do not believe that these final              and completion.
                                            would draw national attention to some                     regulations require a Federalism impact                  The Department also disagrees that
                                            of the biggest drivers of unaffordable                    statement.                                            the rule would result in States spending
                                            student debt. The Department has also                        The Department is not persuaded by                 less on postsecondary education. The
                                            announced that it intends to ask                          the concerns about foregone tax revenue               rule does not change the total amount of
                                            institutions with programs on this list to                on interest that no longer accumulates.               Federal aid available for enrollment in
                                            provide plans to improve their                            The Federal government’s reason for                   undergraduate programs, which are the
                                            outcomes.                                                 providing this Federal benefit is that the            ones most heavily subsidized by States.
                                               The combined effect of these policies                  accrual of interest can create situations             That means funding reductions that
                                            would be that programs which burden                       under which a borrower’s loans are                    increase prices could not necessarily be
                                            their students with unaffordable debt                     negatively amortized, which harms                     backfilled by additional loans. Such
                                            levels will be subject to additional                      borrowers. Moreover, there is no way for              concerns also ignore how powerful
                                            Federal accountability, ranging from                      the States to know with any certainty                 sticker prices are in affecting student
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                                            ineligibility to a student warning.                       what amounts they would or would not                  choice. None of those dynamics are
                                            Notably, these gainful employment                         collect in the form of foregone tax                   changed by this rule.
                                            requirements and student warnings                         revenue. REPAYE and other IDR plans                      The same goes for pricing issues
                                            would be applied each year. That means                    base payments on borrowers’ incomes.                  raised by commenters. Most public
                                            if an institution raises prices to the                    The result is that, if a borrower’s income            colleges already charge out-of-state
                                            point that students take on unaffordable                  goes up, they will repay more of their                tuition that is well above what a typical


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                                            undergraduate student can borrow for                                     incomes are projected to see the largest                are projected to pay $10,339 in present
                                            postsecondary education. This rule is                                    reductions in total payments in the new                 discounted value terms in current
                                            not changing those statutory loan limits.                                REPAYE plan relative to the current                     REPAYE, on average, but only $1,209 in
                                              Changes: None.                                                         REPAYE plan. Table 3.3 shows these                      the new plan, an 88 percent reduction.
                                              Comments: Commenters suggested                                         projections for future cohorts of                       In contrast, undergraduate borrowers in
                                            several types of distributional analyses                                 borrowers by quintiles of lifetime                      the top 20 percent of lifetime income are
                                            that they argued the Department should                                   income (measured across all borrowers),                 projected to pay only 1 percent less in
                                            provide in the final rule. These included
                                                                                                                     calculated using a model that includes                  the new plan compared to the current
                                            breaking down who benefits from the
                                                                                                                     relevant lifecycle factors that determine               REPAYE plan. Low- and middle-income
                                            rule in terms of income, family
                                            background, and demographics to show                                     IDR payments (e.g., household size,                     graduate borrowers see the largest
                                            that the benefits do go to low- and                                      income, and spousal income when                         reductions in payments as well.
                                            middle-income borrowers. Commenters                                      relevant). This model assumes full                      Reductions for graduate borrowers are
                                            also argued for separating cost estimates                                participation in current REPAYE and                     larger in absolute terms than reductions
                                            for undergraduate and graduate                                           the new plan. More details on the model                 for undergraduates because graduate
                                            borrowers and asked the Department to                                    can be found in the discussion of the                   borrowers have higher average levels of
                                            provide annual estimates of gross                                        costs and benefits in this RIA. For                     outstanding debt, but the reductions for
                                            cancellations.                                                           example, undergraduate borrowers in                     graduate borrowers are smaller in
                                              Discussion: Undergraduate borrowers                                    the bottom 20 percent of lifetime                       percentage terms than those for
                                            and borrowers with lower lifetime                                        income (measured across all borrowers)                  undergraduate borrowers.

                                                TABLE 3.3—PROJECTED PRESENT DISCOUNTED VALUE OF TOTAL PAYMENTS FOR FUTURE REPAYMENT COHORTS BY
                                                               QUINTILE OF LIFETIME INCOME, ASSUMING FULL TAKE-UP OF SPECIFIED PLAN
                                                                                                                                                                    Quintile of lifetime income

                                                                                                                                           1                   2                 3                4           5

                                                                                                                        Borrowers with only undergraduate debt

                                            Current REPAYE .................................................................               $10,339             $16,388           $17,760          $19,649      $19,738
                                            Final Rule REPAYE .............................................................                 $1,209              $6,692           $12,417          $17,292      $19,597
                                            Difference .............................................................................        $9,130              $9,696            $5,344           $2,357        $141
                                            Percent reduction .................................................................               88%                 59%               30%              12%           1%

                                                                                                                             Borrowers with any graduate debt

                                            Current REPAYE .................................................................               $49,412             $67,072           $75,409          $81,662     $95,581
                                            Final Rule REPAYE .............................................................                $32,936             $48,241           $60,351          $70,180     $89,737
                                            Difference .............................................................................       $16,476             $18,831           $15,058          $11,482      $5,844
                                            Percent reduction .................................................................               33%                 28%               20%              14%          6%



                                               Changes: None.                                                        IDR NPRM itself. These related to                       context of one element of the
                                               Comments: Commenters argued that                                      modeling by the Department about the                    anticipated effects of the IDR NPRM.
                                            the Department should have run a net                                     potential effects of the proposal on                       Changes: None.
                                            budget impact figure that did not                                        different types of borrowers based upon                    Comments: One commenter argued
                                            include the one-time debt relief program                                 their race or ethnicity. The commenter                  that the Department did not account for
                                            providing up to $20,000 in relief to                                     argued that the Department should                       the connection between the net budget
                                            make sure borrowers are not made                                         make clear whether it based the                         impact in the IDR NPRM with the
                                            worse off with respect to their loans as                                 proposed rule on considerations of                      statements made by the Department’s
                                            a result of the pandemic.                                                whether certain racial or ethnic groups                 financial statement auditor around
                                               Discussion: The Department’s cost                                     would be more likely to benefit. A                      certifying the Department’s consolidated
                                            estimates in the NPRM and this final                                     different commenter raised similar                      financial statements for FY 2022. They
                                            rule include final agency actions in the                                 concerns about the use of statistics                    argued that, because components of the
                                            baseline. This includes the one-time                                     related to racial groupings. They argued                IDR NPRM were announced at the same
                                            debt relief program, the final regulations                               that making decisions on the basis of                   time as the President’s announcement of
                                            that were issued on November 1, 2022,                                    which racial groups win and lose is                     the one-time debt relief program, any
                                            and the extension of the payment pause.                                  improper and violates the Constitution                  issues related to scores of that program
                                            The sensitivity runs we have included                                                                                            would also affect budget estimates of the
                                                                                                                     and Federal civil rights laws.
                                            represent different possible scenarios                                                                                           IDR NPRM.
                                            that might occur due to this regulation.                                    Discussion: The Department did not                      Discussion: The audit opinion is a
                                            We do not believe it is necessary in                                     design the proposed or final rule based                 result of the size and newness of the
                                            evaluating the effects of this rule to                                   upon considerations of which types of                   Department’s one-time debt relief
                                            provide sensitivity runs related to other                                racial or ethnic groups would benefit                   program and is related to the
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                                            final policies.                                                          more or less from the changes. The                      Department’s evidence-based estimation
                                               Changes: None.                                                        figures used in rollout materials were                  of the take-up rate among borrowers
                                               Comments: A commenter raised                                          from the same modeling used to                          eligible for that program. The IDR
                                            concerns about statistics used by the                                    produce Table 3 in the IDR NPRM’s RIA                   NPRM was not released until January
                                            Department in rollout materials for the                                  (what is now Table 3.3 in this RIA). The                2023 and was not included in the audit.
                                            IDR NPRM that were not included in the                                   provided figures simply give greater                    Nor did the audit address the cost


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                                            estimate of this rule. In the Net Budget                  institutions instead of lower-cost                    implemented in July 2023, including
                                            Impact section, the Department                            community colleges and technical                      renaming REPAYE to SAVE, and
                                            produces cost estimates related to                        schools.                                              another $12.6 million for the changes
                                            existing loans as well as loans to be                        Discussion: We disagree with the                   that go into effect on July 1, 2024. We
                                            issued in the future. One-time debt                       commenters that this final rule would                 believe these are largely one-time costs.
                                            relief does not affect future loan costs                  result in significant changes in the types            Ongoing costs for these changes would
                                            because those loans are not eligible for                  of institutions chosen by borrowers who               be part of the Department’s ongoing
                                            that relief.                                              are already enrolled in college or                    servicing expenses.
                                               Changes: None.                                         prospective students who are deciding                    With regard to effects on servicers, we
                                               Comments: Some commenters argued                       to enroll in college. Moreover, we note               think this approach will ultimately be a
                                            that the net budget impact did not                        the commenter provided no analysis to                 net positive for them. The Federal Tax
                                            account for other types of costs                          quantify such an effect. For one, the                 Information (FTI) Module will
                                            including increased spending on Pell                      final rule makes no changes to the                    automatically calculate IDR payments
                                            Grants from more students enrolling in                    overall loan limits set in the Higher                 when a borrower provides approval for
                                            college, as well as borrowers choosing to                 Education Act for undergraduate                       the sharing of their tax information, so
                                            spend more time out of the workforce                      borrowers and does not change the                     the scope of servicers’ work will be
                                            due to the treatment of deferments and                    amount of aid available to students.                  reduced to only calculations where
                                            forbearances.                                             Second, the choice of institution,                    automated processing via the FTI
                                               Discussion: The Department disagrees                   particularly for community college                    Module is not possible. Having one IDR
                                            with the assertions related to the effect                 students, often appears to be motivated               plan that is clearly the best option for
                                            of deferments and forbearances on                         by geographic proximity. Among                        most borrowers will make it easier to
                                            employment. The types of deferments                       community college students, 50 percent                counsel borrowers about their
                                            and forbearances for which the                            chose an institution within 11 miles of               repayment options. We anticipate that
                                            Department would award credit toward                      their home.133 Third, recent trends in                the automatic enrollment of delinquent
                                            forgiveness are largely ones where                        enrollment patterns emphasize how                     borrowers in IDR will keep more
                                            borrowers would be highly likely to                       much the choice about community                       borrowers current and reduce the
                                            have a $0 monthly payment if they                         college enrollment is motivated by the                number of defaults, providing more
                                            instead enrolled in IDR. For instance,                    strength of the underlying labor market.              accounts for servicers to manage.
                                            unemployment deferments fall into this                    Community college enrollment, in                      Reductions to borrowers’ payment
                                            category. Furthermore, Sec. 455 of the                    particular, has fallen significantly over             amounts and the interest benefit should
                                            HEA already allows periods spent in                       the past several years as there are more              also reduce the number of borrower
                                            economic hardship deferments to count                     job opportunities for these students.                 complaints and increase customer
                                            toward the maximum repayment period.                      This rule has no effect on employment                 satisfaction.
                                            The other periods that will receive                       options available to these individuals.                  Changes: We have updated the
                                            credit under this rule are limited to                     Finally, this rule does not address the               estimate of administrative costs of this
                                            cases where borrowers are engaged in                      sticker or net prices charged by                      rule to $17.3 million.
                                            other specified activities like military                  institutions and the generally higher                    Comments: The Department received
                                            service, AmeriCorps, or Peace Corps.                      prices of 4-year institutions relative to             comments arguing that the IDR NPRM
                                            None of these are situations that would                   two-year public institutions would                    failed to consider the potential effects of
                                            discourage work.                                          persist.                                              the proposed changes on inflation. This
                                               Concerning the potential costs for Pell                   Changes: None.                                     included citing one analysis produced
                                            Grants, the Department does not                              Comments: The Department received                  after the August 2022 announcement of
                                            generally model changes in college-                       a few comments arguing that the                       one-time debt relief and aspects of the
                                            going based on a policy. This is true for                 estimate in the IDR NPRM that the                     IDR NPRM that said inflation would
                                            both elements that would add costs, as                    proposal carried estimated                            increase over the next year. Relatedly,
                                            well as policies that would produce                       administrative costs of $10 million was               some commenters said budget estimates
                                            savings, such as increased overall tax                    too low and that the Department had not               should reflect estimated changes on net
                                            revenue from a more highly educated                       fully accounted for the costs of                      Federal interest costs.
                                            populace. Inducement effects are highly                   implementing its proposals. Similarly,                   Discussion: The Department disagrees
                                            unknown and there is not strong data                      commenters noted that it was                          with the commenters. We have captured
                                            available to model these potential costs                  challenging to know if the effects of the             the costs and benefits that we think are
                                            and savings. Moreover, national trend                     rule would be a net benefit or cost to                most likely to be affected by this final
                                            data show college enrollment has                          servicers based upon the number of                    rule. There has been no evidence to date
                                            generally been declining, particularly at                 borrowers who continue repaying                       that Federal student loans affected
                                            the undergraduate level. This reflects a                  compared to the number who will                       larger government borrowing costs and
                                            strong economy and fewer students in                      receive forgiveness.                                  we do not think that would change in
                                            the core college-going age ranges. The                       Discussion: The publication of the                 this rule.
                                            Department will continue to                               IDR NPRM gave the Department a                           Changes: None.
                                            acknowledge these costs in the                            greater opportunity to engage in                         Comments: We received comments
                                            discussion of costs, benefits, and                        discussions internally to gauge the                   arguing that the analysis of the effects of
                                            transfers, but not include them in the                    implementation cost of these                          the IDR NPRM on small businesses was
                                            net budget impact beyond the existing                     regulations. Based upon those                         insufficient. The comments argued that
                                            estimates in the baseline.                                discussions, we have adjusted the                     the terms of the repayment plan could
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                                               Changes: None.                                         implementation costs of this rule to                  harm small nonprofit organizations,
                                               Comments: Some commenters argued                       about $4.7 million for the changes in                 because borrowers may now be less
                                            that the Department did not sufficiently                  this rule that are being early                        inclined to pursue Public Service Loan
                                            consider whether the terms of the                                                                               Forgiveness (PSLF) since the greater
                                            proposed REPAYE plan would result in                        133 nces.ed.gov/pubsearch/                          generosity of the proposed plan would
                                            more students choosing 4-year                             pubsinfo.asp?pubid=2019467.                           make that kind of relief less necessary.


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                                               Discussion: We disagree with the                                    percent of the Federal poverty                                      enroll in the standard 10-year
                                            commenters, who did not provide any                                    guidelines to 225 percent of the Federal                            repayment plan or the current REPAYE
                                            analyses of these potential effects. For                               poverty guidelines, lowering the share                              plan. Payments made after repayment
                                            one, the benefits discussed in this                                    of discretionary income put toward                                  entry are discounted using the Office of
                                            regulation would also be available to                                  monthly payments to 5 percent for a                                 Management and Budget’s Present
                                            those seeking PSLF. That means these                                   borrower’s total original loan principal                            Value Factors for Official Yield Curve
                                            borrowers would also see a payment                                     volume attributable to loans received for                           (Budget 2023) so that the resulting
                                            reduction during the 10-year repayment                                 an undergraduate program, not charging                              amounts are all provided in present
                                            period prior to receiving forgiveness.                                 any monthly unpaid interest remaining                               discounted terms.
                                            Moreover, the typical balances forgiven                                after applying a borrower’s payment,                                   These projections are different from
                                            in PSLF are significantly higher than the                              and providing for a shorter repayment                               the estimates of the budgetary costs of
                                            amounts that would be subject to the                                   period and earlier forgiveness for                                  the changes to REPAYE. These estimates
                                            early forgiveness provision in this rule.                              borrowers with smaller original                                     reflect changes in simulated payments
                                            The result is that most borrowers would                                principal balances (starting at 10 years                            that would occur if all borrowers
                                            still receive greater benefits from PSLF                               for borrowers with original principal                               enrolled and paid their full monthly
                                            than the early forgiveness provision                                   balances of $12,000 or less, and                                    obligation in different plans to highlight
                                            here. For those with balances not                                      increasing by 1 year for each additional                            the types of borrowers who could
                                            subject to early forgiveness, the shorter                              $1,000 up to 20 or 25 years).                                       benefit most under different repayment
                                            time to forgiveness for PSLF would                                                                                                         plans. They also do not account for the
                                                                                                                      To better understand the impact of
                                            make that option still more attractive                                                                                                     possibility of borrowers being
                                                                                                                   these rules, the Department simulated
                                            than use of REPAYE for 20 or 25 years.                                                                                                     delinquent or defaulting, which could
                                               Changes: None.                                                      how future cohorts of borrowers would
                                                                                                                   benefit from enrolling in REPAYE under                              affect assumptions of amounts repaid.
                                               Comments: One commenter suggested
                                            that the net budget impact should also                                 the new provisions. To do so, the                                      On average, if all borrowers in future
                                            be measured using ‘‘fair value                                         Department used data from the College                               cohorts were to enroll in the 10-year
                                            accounting.’’ This is an alternative                                   Scorecard and Integrated Postsecondary                              standard repayment plan or the current
                                            approach to cost estimation that uses                                  Education Data System (IPEDS) to create                             REPAYE plan and make all of their
                                            different interest rates and                                           a synthetic cohort of borrowers that is                             required payments on time, we estimate
                                            methodologies from what the                                            representative of borrowers who entered                             that borrowers would repay
                                            Department traditionally employs.                                      repayment in 2017 in terms of                                       approximately $11,800 per $10,000 of
                                               Discussion: The Department                                          institution attended, education                                     debt at repayment entry in both the
                                            disagrees. Our process for cost                                        attainment, race/ethnicity, and gender.                             standard 10-year plan and under the
                                            estimation is spelled out by policies and                              Using Census data, the Department                                   current provisions of REPAYE. The
                                            procedures established by the                                          projected earnings and employment,                                  changes to REPAYE will reduce the
                                            Department’s Budget Service and the                                    marriage, spousal debt, spousal                                     amount repaid per $10,000 of debt at
                                            Office of Management and Budget.                                       earnings, and childbearing for each                                 repayment entry to approximately
                                            Model assumptions are approved by a                                    borrower up to age 60. Using these                                  $7,000. On average, borrowers with only
                                            mix of career and appointed Department                                 projections, payments under a given                                 undergraduate debt are projected to see
                                            leadership. The model is also audited                                  loan repayment plan can be calculated                               expected payments per $10,000
                                            on an annual basis. We do not think it                                 for the full length of time between                                 borrowed drop from $11,844 under the
                                            would be appropriate to deviate from                                   repayment entry and full repayment or                               standard 10-year plan and $10,956
                                            the consistent approach taken in all our                               forgiveness. To provide an estimate of                              under the current REPAYE plan to
                                            regulatory packages.                                                   how much borrowers in a given group                                 $6,121 under the new REPAYE plan.
                                               Changes: None.                                                      (e.g., lifetime income, education level)                            The average borrower with graduate
                                                                                                                   would benefit from enrolling in                                     debt, whose incomes and debt levels
                                            4. Discussion of Costs and Benefits                                    REPAYE under the new provisions, total                              tend to be higher, is projected to have
                                               The final regulations would expand                                  payments per $10,000 of debt at                                     much smaller reductions in payments
                                            access to affordable monthly payments                                  repayment entry were calculated for                                 per $10,000 borrowed, from $11,995
                                            on the REPAYE plan by increasing the                                   each borrower in the group and                                      under the 10-year standard plan and
                                            amount of income exempted from the                                     compared to total payments that the                                 $12,506 under the current REPAYE plan
                                            calculation of payments from 150                                       borrower would make if they were to                                 to $11,645.

                                                TABLE 4.1—PROJECTED PRESENT DISCOUNTED VALUE OF TOTAL PAYMENTS PER $10,000 BORROWED FOR FUTURE
                                                        REPAYMENT COHORTS, ASSUMING ALL BORROWERS ENROLL IN THE SPECIFIED REPAYMENT PLANS
                                                                                                                                                                                                        Borrowers     Borrowers
                                                                                                                                                                                           All          with only      with any
                                                                                                                                                                                       borrowers      undergraduate   graduate
                                                                                                                                                                                                          debt           debt

                                            Standard 10-year plan .................................................................................................................       $11,880           $11,844       $11,995
                                            Current REPAYE .........................................................................................................................       11,844            10,956        12,506
                                            Final Rule REPAYE .....................................................................................................................        $7,069             6,121        11,645
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                                              The Department has also estimated                                    have different levels of lifetime                                   repayment entry until age 60. Borrowers
                                            how payments per $10,000 borrowed                                      individual earnings. For this estimate                              in the first quintile are projected to have
                                            would change for borrowers in future                                   borrowers are divided into quintiles                                lower lifetime earnings than at least 80
                                            repayment cohorts who are projected to                                 based on projected earnings from                                    percent of all borrowers in the cohort,



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                                            while those in the top quintile are                                borrowed are largest for borrowers with                current REPAYE plan, and borrowers in
                                            projected to have higher earnings than                             only undergraduate debt in the bottom                  the second quintile of lifetime income
                                            at least 80 percent of all borrowers.                              two quintiles (i.e., those with projected              with only undergraduate debt are
                                               On average, borrowers in every                                  lifetime earnings less than at least 60                projected to repay $4,129 per $10,000
                                            quintile of the lifetime income                                    percent of all borrowers in the cohort).               compared to $11,813 per $10,000 in the
                                            distribution are projected to repay less                           Borrowers with only undergraduate debt                 current REPAYE plan. Borrowers in the
                                            (in present discounted terms) in the new                           who have lifetime income in the bottom                 top 40 percent of the lifetime income
                                            REPAYE plan than in the existing                                   quintile are projected to repay $873 per               distribution (quintiles 4 and 5) are
                                            REPAYE plan. However, differences in                               $10,000 in the new REPAYE plan                         projected to see only small reductions in
                                            projected payments per $10,000                                     compared to $8,724 per $10,000 in the                  payments per $10,000 borrowed.

                                                TABLE 4.2—PROJECTED PRESENT DISCOUNTED VALUE OF TOTAL PAYMENTS PER $10,000 BORROWED FOR FUTURE
                                                 REPAYMENT COHORTS BY QUINTILE OF LIFETIME INCOME, ASSUMING ALL BORROWERS ENROLL IN SPECIFIED PLAN
                                                                                                                                                             Quintile of lifetime income

                                                                                                                                    1                   2                 3                4           5

                                                                                                                 Borrowers with only undergraduate debt

                                            Current REPAYE .................................................................            $8,724          $11,813           $11,799          $11,654     $11,411
                                            Final Rule REPAYE .............................................................                873            4,129             7,825           10,084      11,151
                                            Average annual earnings in year of repayment entry .........                                18,620           27,119            33,665           39,565      50,112
                                            Average annual family earnings in year of repayment entry                                   40,600           42,469            49,312           53,524      67,748

                                                                                                                      Borrowers with any graduate debt

                                            Current REPAYE .................................................................            $7,002          $10,259           $11,849          $12,592     $12,901
                                            Final Rule REPAYE .............................................................              6,267            8,689            10,476           11,344      12,248
                                            Average annual earnings in year of repayment entry .........                                19,145           28,099            35,316           42,226      54,039
                                            Average annual family earnings in year of repayment entry                                   41,174           43,753            52,144           59,351      79,368



                                               To compare the potential benefits for                             The final regulations streamline and                 automatically enroll borrowers in
                                            future borrowers from the new REPAYE                               standardize the Direct Loan Program                    REPAYE and keep them there instead of
                                            plan, these simulations abstract from                              repayment regulations by housing all                   having borrowers fall out during
                                            repayment plan choice and instead                                  repayment plan provisions within                       recertification.
                                            assume that all future borrowers enroll                            sections that are listed by repayment                    Increasing the amount of income
                                            in a given plan (i.e., the current or new                          plan type: fixed payment, income-                      protected to 225 percent of the Federal
                                            REPAYE plan) and make their                                        driven, and alternative repayment plans.               poverty guidelines is one step to better
                                            scheduled payments. Future borrowers’                              The regulations will also provide clarity              serve borrowers at risk of delinquency
                                            actual realized benefits will depend on                            for borrowers about their repayment                    or default. The larger protection amount
                                            the extent to which enrollment in IDR                              plan options and reduce complexity in                  will result in more borrowers having a
                                            increases, which borrowers choose to                               the student loan repayment system,                     $0 monthly payment instead of owing
                                            enroll in IDR, and whether borrowers                               including by phasing out some of the                   relatively small payments. For instance,
                                            make their required payments. In                                   existing IDR plans to the extent the                   using the 2023 Federal poverty
                                            general, the new REPAYE plan should                                current law allows.                                    guidelines, an individual borrower with
                                            reduce rates of delinquency and default                                                                                   no dependents who makes $32,805 a
                                                                                                               4.1 Benefits of the Regulatory Changes
                                            by providing more borrowers with a $0                                                                                     year will no longer have to make a
                                            payment and automatically enrolling                                   The final regulations would benefit                 payment, with the same true of a family
                                            eligible borrowers into REPAYE once                                multiple groups of stakeholders,                       of four that earns $67,500 or less. By
                                            they are 75 days late on their payments.                           especially Federal student loan                        contrast, under the current REPAYE
                                            That said, borrowers could still end up                            borrowers.                                             threshold of 150 percent of the Federal
                                            delinquent or in default if they either                               One of the key benefits of the changes              poverty guidelines, borrowers have to
                                            owe a non-$0 payment or the                                        made in the final rule to the IDR plans                make a payment once their income
                                            Department cannot access their income                              is to reduce the incidence of student                  exceeds $21,870 for a single individual
                                            information and cannot automatically                               loan default. The final rule does this in              and $45,000 for a family of four. This
                                            enroll them in IDR.                                                three ways. First, it increases the                    change protects relatively low-wage
                                               The final regulations will make                                 benefits of REPAYE in a way that would                 borrowers from having to make a
                                            additional improvements to help                                    make this plan more attractive for the                 monthly loan payment. Income
                                            borrowers navigate their repayment                                 borrowers who are at greatest risk of                  information currently on file suggests
                                            options by allowing more forms of                                  delinquency and default, borrowers who                 that more than 1 million borrowers on
                                            deferments and forbearances to count                               are largely not using IDR plans today.                 IDR could see their payments go to $0
                                            toward IDR forgiveness. This protects                              Second, it simplifies the choice of                    based upon the parameters of the plan
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                                            borrowers from having to choose                                    whether to enroll in an IDR plan as well               in this final rule, including more than
                                            between pausing payments and earning                               as which plan to select among the IDR                  400,000 that are already on REPAYE
                                            progress toward forgiveness by making                              options. That will make it easier to                   whose payment amounts would be
                                            IDR payments and allows borrowers to                               counsel at-risk borrowers and reduce                   updated automatically to $0.
                                            keep progress toward forgiveness when                              confusion. Third, it contains operational                Greater income protection will further
                                            consolidating.                                                     improvements that will make it easier to               help borrowers who may have a non-$0


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                                            monthly payment and are at risk of                        impacts of a sustained delinquency or                 more opportunities to earn credit
                                            default. It also caps the total monthly                   default can improve a borrower’s ability              toward forgiveness and a shorter
                                            savings, as a borrower who makes 226                      to obtain a lease, acquire a job, or                  repayment period for borrowers with
                                            percent of FPL saves the same as                          accomplish other milestones for which                 smaller original loan principal balances.
                                            someone who makes 400 percent of                          a credit background check may be                      By counting certain deferments and
                                            FPL. The result is that the benefits of                   required. Prevention of default also                  forbearances toward forgiveness and
                                            this change are better targeted on                        allows borrowers continued access to                  allowing borrowers to maintain their
                                            borrowers with incomes closer to 225                      Federal financial aid (as borrowers in                progress toward forgiveness after they
                                            percent of FPL, since they would see                      default must remedy the default before                consolidate, borrowers will face fewer
                                            larger savings as a percentage of their                   they are eligible for additional Federal              instances in which they inadvertently
                                            total income. In particular, the higher                   grants or loans), and prevents the                    make choices that either give them no
                                            poverty threshold would provide a                         possibility of other default                          credit toward forgiveness or reset all
                                            maximum additional savings of $91 a                       consequences, such as a loss of a                     progress made to date. Borrowers who
                                            month for a single individual and $188                    professional license.                                 benefit from these changes will receive
                                            a month for a family of four compared                        The second way the final rule targets              forgiveness faster than they would have
                                            to the existing REPAYE plan.                              default is through a set of changes that              without these regulations. These
                                               The targeting of reductions in the                     simplify the process of choosing                      changes will also reduce complexity in
                                            share of discretionary income that goes                   whether to use an IDR plan and which                  seeking IDR forgiveness, which could
                                            toward undergraduate loan payments                        one to choose. This is partly                         help more borrowers successfully
                                            will further assist with the goals of                     accomplished by phasing out some of                   navigate repayment and reduce the
                                            making loans more manageable and                          the existing IDR plans to the extent the              likelihood that a borrower is so
                                            helping borrowers who would otherwise                     current law allows. Student borrowers                 overwhelmed by the process that they
                                            struggle with their payments. As noted                    seeking an IDR plan will only be able to              choose not to pursue IDR. The shorter
                                            in the IDR NPRM, Department data                          choose between the IBR Plan                           time to forgiveness will provide small-
                                            show that 90 percent of borrowers who                     established by section 493C of the HEA                dollar borrowers—often borrowers who
                                            are in default on their Federal student                   and the REPAYE plan. Borrowers                        did not complete college and who
                                            loans had only borrowed for their                         already enrolled on the PAYE or ICR                   struggle most to afford their loans and
                                            undergraduate education. By contrast,                     plan will maintain their access to those              avoid default—with a greater incentive
                                            just 1 percent of borrowers who are in                    plans. It is estimated that, because of the           to enroll in the IDR plan, increasing the
                                                                                                      significantly larger benefits available               likelihood they avoid delinquency and
                                            default had loans only for graduate
                                                                                                      through the REPAYE plan, most student                 default. Reductions in the time for
                                            studies. Similarly, 5 percent of
                                                                                                      borrowers will not be worse off by                    forgiveness for those who borrow
                                            borrowers who only have graduate debt
                                                                                                      losing access to PAYE or ICR, especially              smaller amounts may also generate an
                                            are in default on their loans, compared
                                                                                                      since these would be borrowers not                    incentive for some borrowers to borrow
                                            with 19 percent of those who have debt
                                                                                                      currently enrolled in one of those plans              only what they need, so as to minimize
                                            from undergraduate programs.134 The
                                                                                                      and not all borrowers are eligible for                the amount of time in repayment under
                                            payment relief provided in the final rule
                                                                                                      PAYE. The possible exceptions will                    the new REPAYE plan.
                                            will further help borrowers manage the
                                                                                                      generally be either graduate borrowers
                                            loans that they are more likely to                        who would prefer higher payments in                      The third way the final rule targets
                                            struggle to repay.                                        exchange for forgiveness after 20 years               delinquency and default is through
                                               A recent study found that, among                       or borrowers who anticipate having                    operational improvements that
                                            borrowers who were at least 15 days late                  payments based upon their income that                 automatically allow the Department to
                                            on their payments, switching to an IDR                    would be above what they would pay on                 enroll any borrowers who are at least 75
                                            plan reduced the likelihood of                            the 10-year standard plan. Overall, the               days delinquent on their loan payments
                                            delinquency by 22 percentage points                       Department thinks the benefits from                   and who have previously provided
                                            and decreased borrowers’ outstanding                      simplification exceed the potential                   approval for the IRS to share their
                                            balances over the following 8                             higher costs for these borrowers. For the             income information into the IDR plan
                                            months.135 It is reasonable to expect that                first group, they will still have access to           that is most affordable for them. The
                                            more generous IDR plans will decrease                     lower monthly payments than they                      Department believes that this will
                                            the delinquency rate further.                             would under either the standard 10-year               increase the likelihood that struggling
                                               Reductions in delinquency and                          plan or other IDR plans. For the second               borrowers will be enrolled in an IDR
                                            default may also lead to overall                          group, they will still have lower                     plan and will be able to avoid late-stage
                                            improvements in borrowers’ credit                         monthly payments until they reached an                delinquency or default and the
                                            scores. Higher credit scores can allow                    amount equal to what they would owe                   associated consequences. These changes
                                            borrowers to access other forms of                        on the 10-year standard plan. These                   will also reduce administrative burden
                                            credit, such as for a home mortgage, and                  efforts to simplify the available IDR                 on borrowers, who otherwise must
                                            to obtain lower interest rates on other                   plans would help borrowers easily                     complete new IDR applications at least
                                            loans.136 Further, avoiding the credit                    identify plans that are affordable and                every 12 months. Using statutory
                                                                                                      appropriate for their circumstances.                  authority to automatically recalculate
                                               134 Department of Education analysis of loan data
                                                                                                         Additional improvements that can                   the IDR monthly payment amount for
                                            by academic level for total borrower population and       help borrowers make the choice about                  the borrowers who have provided
                                            defaulted borrower population, conducted in FSA’s
                                            Enterprise Data Warehouse, with data as of                how to navigate repayment relate to                   approval for tax information disclosure
                                            December 31, 2021.                                        benefits to borrowers in the form of                  will also help address the fact that large
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                                               135 Herbst, D. The Impact of Income-Driven                                                                   numbers of borrowers currently fail to
                                            Repayment on Student Borrower Outcomes.                   Monetary Economics, Elsevier, vol. 53(1), pages 59–   recertify on time. This both puts
                                            American Economic Journal: Applied Economics.             84, January.                                          borrowers at risk of seeing their
                                            www.aeaweb.org/articles?id=10.1257/                         Edelberg, Wendy. Risk-based pricing of interest
                                            app.20200362.                                             rates for consumer loans. Journal of Monetary
                                                                                                                                                            payment suddenly jump and means that
                                               136 Musto, David K. & Souleles, Nicholas S., 2006.     Economics, Volume 53, Issue 8, November 2006,         the Department and its contractors must
                                            ‘‘A portfolio view of consumer credit,’’ Journal of       Pages 2283–2298.                                      expend resources to re-enroll borrowers


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                                            who would otherwise not struggle with                     debt-to-income (DTI) ratio calculation                the total volume being repaid on IDR as
                                            their loan payments. That reduces                         for some borrowers. For example,                      well as several alternative budget
                                            resources that can go toward supporting                   borrowers using a Federal Housing                     scenarios that generally involve an
                                            and counseling the most at-risk                           Administration (FHA) loan, commonly                   increase in the amount of loans being
                                            borrowers that are not currently on an                    used by first-time homebuyers, have a                 repaid on IDR, either due to greater
                                            IDR plan.                                                 DTI ratio calculated based on actual                  usage of the plan by existing borrowers,
                                               The final rule will also provide                       monthly payment, rather than on the                   increased amounts of debt taken out by
                                            broader benefits to help borrowers. A                     total loan amount, for borrowers who                  existing borrowers, or additional
                                            study found that borrowers who                            pay at least $1 monthly.142 The REPAYE                borrowing from individuals who would
                                            enrolled in an existing IDR plan saw                      plan could as much as halve this DTI                  not otherwise take out loans. The
                                            their monthly payments decrease by                        calculation for borrowers who only have               benefits discussed in this section would
                                            $355 compared with a standard non-IDR                     student debt. For borrowers with a $0                 generally remain the same under any of
                                            plan.137 That study also found that                       monthly payment, DTI is calculated as                 these scenarios. Borrowers would be
                                            those borrowers saw an increase in                        0.5 percent of the outstanding balance                protected from a greater risk of
                                            consumer spending that was roughly                        on the loan.143 Given that the new                    delinquency or default; they would have
                                            equal to the decrease in monthly                          REPAYE plan limits the accrual of                     an easier time deciding whether to
                                            student loan payments.138 The increase                    interest through negative amortization,               choose an IDR plan and staying enrolled
                                            in consumption suggests these                             even borrowers who make $0 payments                   on such a plan.
                                            borrowers faced liquidity constraints                     will also experience improvements in                     There are, however, some additional
                                            before they enrolled in IDR and that the                  DTI on the new plan.                                  benefits that could possibly accrue
                                            reduction in payments in IDR freed up                        Not charging unpaid monthly interest               under some of the scenarios. For
                                            resources for essential goods and                         after applying a borrower’s payment                   instance, there are benefits to additional
                                            services. Another study estimated that                    will provide both financial and non-                  borrowing in the future by students who
                                            the benefits—the ‘‘welfare gains’’—of                     financial benefits for borrowers. For                 would otherwise avoid loans.147 When
                                            moving from a loan system without IDR                     some borrowers, particularly those who                student loans were packaged as part of
                                            plans to a system with IDR plans, if                      have low incomes for the duration of                  a financial aid letter for borrowers
                                            ideally implemented, are ‘‘significant,’’                 their time in repayment, this interest                attending a community college, students
                                            ranging from about 0.2 percent to 0.6                     benefit results in not charging interest              were more likely to borrow for their
                                            percent of lifetime consumption.139                       that would otherwise be forgiven after                education. This increased borrowing—
                                               The increased liquidity that comes                     20 or 25 years of qualifying monthly                  about $4,000—led to increases in GPA
                                            from reduced loan payments could also                     payments. This policy also provides a                 and completed credits among students
                                            facilitate savings and loan eligibility for               non-financial benefit because borrowers               and increased transfers by 11 percentage
                                            larger purchases, such as an automobile                   will not see their balances otherwise                 points.148 When students use loans,
                                            or a home. Borrowers who use IDR                          grow.144 Qualitative research and                     they may be less likely to rely on higher
                                            plans see reductions in their                             borrower complaints received by the                   interest credit card debt, or substitute in
                                            delinquencies and outstanding balances,                   Department have shown that interest                   longer working hours; both of these
                                            compared to those not on IDR plans,                       growth on IDR plans is a significant                  choices could interfere with a student’s
                                            and may be more likely to see increases                   concern for borrowers.145 Research has                ability to complete a degree.149
                                            in credit scores and mortgage rates.140                   similarly shown that interest                         Reduction in student loan repayment
                                            And evidence from the student loan                        accumulation may discourage                           risk may also induce more institutions
                                            pause suggests that borrowers who                         repayment.146 The Department expects                  that previously did not package loans or
                                            experienced a pause in repayment were                     that this benefit may encourage                       offer them as part of Federal student
                                            more likely to increase borrowing for                     borrowers to keep repaying.                           financial aid to do so. Researchers
                                            mortgages and auto debt.141 Further,                         As discussed in the Net Budget                     estimate that in the 2012–13 school
                                            decreases in the monthly payment                          Impact section, the Department’s main                 year, more than 5 million students
                                            amount under IDR could lead to a lower                    budget estimate includes an increase in               attended community colleges that did
                                                                                                                                                            not offer Federal student loans.150
                                                                                                         142 Blagg, Kristin, Jung Hyun Choi, Sandy Baum,
                                               137 Mueller, H., & Yannelis, C. (2022). Increasing                                                              The final rule will also provide
                                                                                                      Jason Cohn, Liam Reynolds, Fanny Terrones, and
                                            Enrollment in Income-Driven Student Loan                  Caitlin Young. ‘‘Student Loan Debt and Access to
                                                                                                                                                            benefits to the Federal government. The
                                            Repayment Plans: Evidence from the Navient Field          Homeownership for Borrowers of Color.’’ (2022).       Federal government benefits from
                                            Experiment. The Journal of Finance, 77(1), 367–402.
                                            doi.org/10.1111/jofi.13088.
                                                                                                      Urban Institute, Washington, DC. www.urban.org/       increases in borrowers’ improved
                                                                                                      sites/default/files/2023-02/Student%20Loan%20         economic stability and potential for
                                               138 Ibid.
                                                                                                      Debt%20and%20Access%20to%20
                                               139 Findeisen, S., & Sachs, D. (2016). Education       Homeownership%20for%20Borrowers
                                                                                                                                                               147 Boatman, Angela, Brent J. Evans, and Adela
                                            and optimal dynamic taxation: The role of income-         %20of%20Color.pdf.
                                            contingent student loans. Journal of Public                  143 www.hud.gov/sites/dfiles/OCHCO/documents/      Soliz. ‘‘Understanding loan aversion in education:
                                            Economics, 138, 1–21. doi.org/10.1016/                    2021-13hsgml.pdf.                                     Evidence from high school seniors, community
                                            j.jpubeco.2016.03.009.                                       144 The Pew Charitable Trusts. Borrowers Discuss   college students, and adults.’’ Aera Open 3, no. 1
                                               140 Herbst, Daniel. 2023. ‘‘The Impact of Income-      the Challenges of Student Loan Repayment. (2020).     (2017): 2332858416683649.
                                                                                                                                                               148 Marx, Benjamin M., and Lesley J. Turner.
                                            Driven Repayment on Student Borrower                      www.pewtrusts.org/en/research-and-analysis/
                                            Outcomes.’’ American Economic Journal: Applied            reports/2020/05/borrowers-discuss-the-challenges-     2019. ‘‘Student Loan Nudges: Experimental
                                            Economics, 15 (1): 1–25.                                  of-student-loan-repayment.                            Evidence on Borrowing and Educational
                                               141 Dinerstein, Michael and Yannelis, Constantine         145 Ibid.; FDR Group. Taking Out and Repaying      Attainment.’’ American Economic Journal:
                                            and Chen, Ching-Tse, Debt Moratoria: Evidence             Student Loans: A Report on Focus Groups with          Economic Policy, 11 (2): 108–41.
                                                                                                                                                               149 Avery, Christopher, and Sarah Turner.
                                            from Student Loan Forbearance (December 24,               Struggling Student Loan Borrowers. (2015).
                                                                                                                                                            ‘‘Student loans: Do college students borrow too
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                                            2022). Available at SSRN: ssrn.com/                       static.newamerica.org/attachments/2358-why-
                                            abstract=4314984 or dx.doi.org/10.2139/                   student-loans-are-different/FDR_Group_                much—or not enough?.’’ Journal of Economic
                                            ssrn.4314984, Blagg, Kristin, and Jason Cohn.             Updated.dc7218ab247a4650902f7afd52d6cae1.pdf.         Perspectives 26, no. 1 (2012): 165–192.
                                            ‘‘Student Loan Borrowers and Home and Auto                The Department has also received many comments           150 Marx, Benjamin M., and Lesley J. Turner.

                                            Loans during the Pandemic.’’ (2022). Urban                regarding IDR or student loan interest during the     2019. ‘‘Student Loan Nudges: Experimental
                                            Institute, Washington DC, www.urban.org/sites/            rulemaking process and through the FSA                Evidence on Borrowing and Educational
                                            default/files/2022-02/student-loan-borrowers-and-         Ombudsman’s office.                                   Attainment.’’ American Economic Journal:
                                            home-and-auto-loans-during-the-pandemic.pdf.                 146 Ibid.                                          Economic Policy, 11 (2): 108–41.



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                                            economic growth that comes from them                      affect a household’s receipt of the                   the graduate borrowers with the highest
                                            being less likely to default and be                       earned income tax credit, a benefit for               income will make it easier to guide
                                            subject to the conditions that can                        low- and middle-income workers and                    borrowers. Moreover, the expanded
                                            constrain economic success after                          families which has been shown to create               interest benefit will remove a major
                                            default, such as challenges in getting a                  incentives for employment, improve                    potential downside to using IDR, which
                                            job or securing housing.151 These                         children’s math and reading                           can help assuage concerns about the
                                            benefits are returned to taxpayers in the                 achievement, and lift some families out               plan that might otherwise dissuade a
                                            form of increased economic activity and                   of poverty.155                                        borrower who needs help from reduced
                                            growth. The improved repayment terms                         Another form of involuntary payment                payments.
                                            in the new REPAYE plan, including                         for defaulted student debt,                              On net, the final regulations will
                                            limitations on interest accrual, will                     administrative wage garnishment, can                  likely present a benefit to servicers.
                                            make careers in non-profit and public                     result in the garnishment of an average               They would have some upfront costs to
                                            service industries more appealing to                      of 10 percent of a worker’s monthly                   administer the program and retrain their
                                            borrowers who are seeking PSLF. This                      gross pay.156 By the end of 2019, about               call center representatives, but the
                                            will be particularly relevant in instances                0.4 percent of workers were subject to                Department pays servicers through the
                                            where there is a substantial pay                          wage garnishment for at least one                     contract change process when it asks
                                            difference relative to the private sector.                student loan.157 Wage garnishment also                them to implement new benefits. That
                                            This allows State and Federal                             appears to be associated with an                      means the cost of implementing new
                                            governments to better attract and retain                  increased rate of job turnover,158 which              provisions will ultimately be paid for by
                                            talent in their workforces. Although the                  could result in more volatility in                    the Department. After this transitionary
                                            potential effects of these IDR changes                    earnings and in long-run career                       period, servicers will be more likely to
                                            are hard to project, a study of the impact                trajectory, which may cause individuals               benefit. For one, the reduced payments
                                            of waivers for PSLF indicated that the                    to rely more on other Federal social                  will help more borrowers stay current,
                                            broad take up of these waivers                            safety nets, such as the Supplemental                 a benefit for servicers who are paid
                                            particularly benefited those in                           Nutrition Assistance Program and                      more when loans are not delinquent.
                                            occupations like teaching, social work,                   Medicaid.                                             The treatment of interest as well as
                                            law enforcement, and firefighting.152                        The Department will also benefit
                                                                                                                                                            counting progress toward forgiveness
                                               By reducing defaults through the                       operationally from this final rule. While
                                                                                                                                                            from certain deferments and
                                            adoption of the new REPAYE plan, the                      there will be costs to implement these
                                                                                                                                                            forbearances will also reduce frustration
                                            Department will reduce the incidence of                   changes, the changes to REPAYE will
                                                                                                                                                            and concerns from borrowers, which
                                            involuntary collections which inhibit                     make it easier for the Department to
                                                                                                                                                            may mean fewer cases that need to be
                                            the effectiveness of other government                     counsel borrowers about their
                                                                                                      repayment options. This includes both                 escalated to more experienced (and
                                            programs that act to support low-income                                                                         expensive) staff. While the new
                                            families. For example, the Department                     the decision of whether to enroll in IDR
                                                                                                      or not, and then which plan to pick                   REPAYE plan will result in increased
                                            collects more in Federal non-tax                                                                                levels of forgiveness, we do not project
                                            delinquent debt than any other Federal                    among the IDR options. This is a
                                                                                                      significant improvement from current                  that it would result immediately in
                                            agency, collecting $14.5 billion in the                                                                         significant amounts of forgiveness.
                                            2019 fiscal year, 54 percent of the total                 rules, in which there are multiple IDR
                                                                                                      plans with very similar terms and some                That’s because the one-time payment
                                            amount collected by all agencies.153                                                                            count adjustment will be providing
                                            These debts may be collected through                      that have confusing tradeoffs that can be
                                                                                                      hard to explain. For example, borrowers               discharges for borrowers who already
                                            involuntary transfers, such as through                                                                          have enough time in repayment to get
                                            Treasury offsets of tax refunds and                       today must decide whether to take the
                                                                                                      benefit on REPAYE that results in the                 them to the equivalent of 20 or 25 years
                                            benefit payments. Treasury offsets can                                                                          in repayment, while only about 16
                                            directly reduce Federal payments                          Department not charging 50 percent of
                                                                                                      the monthly unpaid interest in exchange               percent of all borrowers have original
                                            intended to help lower-income                                                                                   principal balances that make them
                                            households. For example, some older                       for provisions that require a married
                                                                                                      borrower who files separately to include              eligible for forgiveness after as few as
                                            borrowers may have their Social                                                                                 120 payments, as shown in Table 5.4.
                                            Security benefits offset, sometimes to                    their spouse’s income. Simpler and
                                                                                                      clearer choices that establish REPAYE                 Moreover, it is not a given that all these
                                            the point where their benefits are                                                                              borrowers would sign up for the new
                                            reduced to payments below 100 percent                     as the best option for essentially all
                                                                                                      undergraduate borrowers and the best                  REPAYE plan or that all who do would
                                            of FPL.154 Offsets to tax refunds can                                                                           have their loans forgiven instead of
                                                                                                      payment on a monthly basis for all but
                                               151 Kiviat, B. (2019). The art of deciding with
                                                                                                                                                            being repaid within the 10-year
                                            data: evidence from how employers translate credit        Obtaining Permitted Relief. www.gao.gov/assets/       maximum repayment period.
                                            reports into hiring decisions. Socio-Economic             690/682476.pdf.                                          The Department believes that, despite
                                            Review, 17(2), 283–309.                                     155 Schanzenbach, Diane Whitmore and Michael
                                                                                                                                                            the additional costs to taxpayers of the
                                               So, W. (2022). Which Information Matters?              R. Strain. (October 2020).‘‘Employment Effects of     new REPAYE plan, both borrowers and
                                            Measuring Landlord Assessment of Tenant                   the Earned Income Tax Credit: Taking the Long
                                            Screening Reports. Housing Policy Debate, 1–27.           View.’’ IZA Institute of Labor Economics.             the Department will greatly benefit from
                                               152 Briones, Diego A., Nathaniel Ruby & Sarah          docs.iza.org/dp13818.pdf. Dahl, Gordon B., and        a plan that helps borrowers avoid
                                            Turner. (2022). Waivers for the Public Service Loan       Lance Lochner. 2012. ‘‘The Impact of Family           delinquency and default, which are loan
                                            Forgiveness Program: Who Would Benefit from               Income on Child Achievement: Evidence from the        statuses that create negative, long-
                                            Takeup? Working paper 30208. www.nber.org/                Earned Income Tax Credit.’’ American Economic
                                            papers/w30208.                                            Review, 102 (5): 1927–56. www.aeaweb.org/             lasting challenges, costs, and
                                               153 FY 2019 Report to the Congress: U.S.               articles?id=10.1257/aer.102.5.1927.                   administrative complexities for
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                                            Government Non-Tax Receivables and Debt                     156 DeFusco, Anthony A., Random M. Enriquez,        collection, as well as carry additional
                                            Collection Activities of Federal Agencies.                and Margaret B. Yellen. (December 2022). Wage         consequences for borrowers. This
                                            fiscal.treasury.gov/files/dms/debt19.pdf.                 Garnishment in the United States: New Facts from
                                               154 U.S. Government Accountability Office.             Administrative Payroll Records. NBER working
                                                                                                                                                            includes the possibility of having their
                                            December 2016. Social Security Offsets.                   paper 30714. www.nber.org/papers/w30724.              wages garnished, their tax refunds or
                                            Improvements to Program Design Could Better                 157 Ibid.                                           Social Security seized, and declines in
                                            Assist Older Student Loan Borrowers with                    158 Ibid.                                           their credit scores.


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                                               In sum, borrowers will benefit from a                  significantly reduce the rate at which                likelihood that an aid recipient would
                                            more affordable plan that limits their                    students default. This could in turn lead             have enrolled elsewhere and whether
                                            loan payments, reduces the amount of                      to fewer institutions losing access to                their alternative options would have
                                            time over which they need to repay,                       Federal financial aid due to having high              resulted in higher or lower earnings. It
                                            provides more protected income for                        cohort default rates. However, the                    also depends on institution and program
                                            borrowers to meet their family’s basic                    existing cohort default rate standards                action in response to the
                                            needs, and reduces the chances of                         currently cause very few institutions to              implementation of new accountability
                                            default. The Department and its                           lose access to Federal aid. In the years              rules. An additional concern is the
                                            contracted servicers will benefit from                    before the national pause on repayment,               possibility that additional assistance for
                                            streamlining administration, and                          only about a dozen institutions a year                borrowers through the updated REPAYE
                                            taxpayers will benefit from the lower                     faced sanctions due to high cohort                    plan may result in more aggressive
                                            rates of delinquent and defaulted loans.                  default rates. Most of these institutions             recruiting by institutions that do not
                                                                                                      had small enrollments, and many still                 provide valuable returns on the premise
                                            4.2   Costs of the Regulatory Changes                     maintained access to aid as a result of               that borrowers who do not find a job do
                                               The increased benefits on the new                      successful appeals. The most recent                   not have to repay their loans. This
                                            REPAYE plan, including reduced                            rates released in fall 2022 showed just               concern already exists with IDR plans,
                                            monthly payments, a shorter repayment                     eight institutions potentially subject to             but could increase with the more
                                            period for some borrowers, and not                        the loss of eligibility.160 The effect of the         generous benefits available under the
                                            charging unpaid monthly interest, all                     cohort default rate will also remain                  new REPAYE provisions. Relatedly,
                                            represent costs in the form of transfers                  small for several years into the future               institutions may be more inclined to
                                            to borrowers. This will result in                         because of the pause on payments,                     raise tuition to shift costs to students
                                            transfers to borrowers currently enrolled                 interest, and collections that was put in             when loans are more affordable. This
                                            on an IDR plan, as well as those who                      place in March 2020.                                  effect may be more pronounced at
                                            choose to sign up for one in the future.                     The small reduction in accountability              graduate-level programs than at the
                                               This plan may also result in changes                   from the cohort default metric could be               undergraduate level because of
                                            in students’ decisions to borrow and                      mitigated by other actions by the                     differences in loan limits. At the same
                                            how much to borrow, which could have                      Department to increase accountability                 time, this plan targets its benefits at
                                            additional future effects on the size of                  for programs that are required to                     undergraduate students, so the change
                                            transfers to borrowers. This could result                 provide training that prepares students               in incentives for graduate schools
                                            in increased costs to taxpayers in the                    for gainful employment in a recognized                relative to the existing IDR plans are
                                            form of transfers to borrowers if there is                occupation, but instead leave graduates               smaller. Increases in tuition would not
                                            an increase in borrowing rates or                         with student debt that outweighs their                solely affect borrowers and, indirectly,
                                            amounts and those borrowers then fail                     typical earnings or with earnings that                taxpayers; students who do not borrow
                                            to fully repay that additional debt. Some                 are less than those of high school                    would face higher education costs as
                                            of these transfers to borrowers may be                    graduates. If finalized, these                        well.
                                            offset if the increased borrowing results                 accountability measures would likely                     The alternative budget scenarios
                                            in higher rates of postsecondary                          reduce the transfers to borrowers under               discussed in the Net Budget Impact also
                                            program completion and higher                             the new REPAYE plan, as students                      have potential implications for the costs
                                            subsequent earnings, which would                          would be unable to use title IV aid to                of this final rule. Similar to the
                                            generate additional Federal income tax                    enroll in career programs with low                    discussion of this issue in the Benefits
                                            revenue.159                                               economic returns.                                     of the Regulatory Changes section, the
                                                                                                         Additional efforts by the Department               costs associated with any additional
                                               The changes to the regulations may
                                                                                                      to inform students about debt burden                  borrowing will depend based upon what
                                            also result in costs resulting from
                                                                                                      and typical earnings for graduates from               types of individuals take on additional
                                            reduced accountability for student loan
                                                                                                      programs not subject to the gainful                   debt, what outcomes are achieved with
                                            outcomes at institutions of higher
                                                                                                      employment rule may also reduce                       that debt, and whether it is likely to be
                                            education, which would show up as
                                                                                                      transfers to poor-performing programs.                ultimately repaid. For instance,
                                            increased transfers to some poor-
                                                                                                      As a result of additional information,                additional borrowing that leads more
                                            performing schools. In particular, the
                                                                                                      students may consider choosing a                      students to successfully complete their
                                            provisions that result in more borrowers
                                                                                                      program with better earnings or loan                  education will result in lower net costs
                                            having a $0 monthly payment and
                                                                                                      burden outcomes, and programs may                     since it would produce additional
                                            automatically enrolling borrowers who
                                                                                                      take steps to reduce students’ debt                   benefits, such as increased earnings and
                                            are delinquent onto an IDR plan could
                                                                                                      burdens or improve earnings after                     higher Federal tax revenues. By
                                               159 Some research has found evidence that
                                                                                                      graduation.161 Whether the new                        contrast, additional borrowing that does
                                            reduced borrowing results in worse academic               REPAYE plan, combined with                            not affect completion and is not repaid
                                            outcomes and lower levels of retention and                accountability changes, results in an                 would carry a greater cost because there
                                            completion, and that increased borrowing led to           increased transfer to borrowers, and the              are not additional benefits to offset the
                                            better performance and higher rates of credit
                                            completion. See, for example, Barr, Andrew, Kelli
                                                                                                      size of that transfer, depends on the                 expense.
                                            Bird, and Benjamin L. Castleman, The Effect of                                                                     The final regulations will also result
                                            Reduced Student Loan Borrowing on Academic                  160 www2.ed.gov/offices/OSFAP/                      in short-run administrative costs to the
                                            Performance and Default: Evidence from a Loan             defaultmanagement/cdr.html.                           Department to implement the changes to
                                            Counseling Experiment, EdWorkingPaper No. 19–               161 Joselynn Hawkins Fountain, 2019. ‘‘The Effect
                                                                                                                                                            the plan, which would require
                                            89 (June 2019), www.edworkingpapers.com/sites/            of the Gainful Employment Regulatory Uncertainty
                                                                                                                                                            modifications to contracts with
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                                            default/files/ai19-89.pdf; and Marx, Benjamin M.          on Student Enrollment at For-Profit Institutions of
                                            and Turner, Lesley, Student Loan Nudges:                  Higher Education,’’ Research in Higher Education,     servicers. As discussed in the responses
                                            Experimental Evidence on Borrowing and                    Springer; Association for Institutional Research,     to comments in this RIA, we estimate
                                            Educational Attainment (May 2019). American               vol. 60(8), pages 1065–1089, December.; Hentschke,    that this will be approximately $17.3
                                            Economic Journal: Economic Policy, Volume 11,             G.C., Parry, S.C. Innovation in Times of Regulatory
                                            Issue 2, www.aeaweb.org/articles?id=10.1257/              Uncertainty: Responses to the Threat of ‘‘Gainful
                                                                                                                                                            million. This includes an initial cost of
                                            pol.20180279. Black et al. 2020 www.nber.org/             Employment’’. Innov High Educ 40, 97–109 (2015).      $4.7 million to implement the changes
                                            papers/w27658.                                            doi.org/10.1007/s10755-014-9298-z.                    that will go into effect on July 30, 2023,


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                                            including rebranding the plan from                        65904), and the final regulations for Pell            million borrowers default on their loans
                                            REPAYE to SAVE. The remaining $12.6                       Grants for Prison Education Programs;                 each year.
                                            million is related to standing up other                   Determining the Amount of Federal                        The Department is still concerned that
                                            changes in time for the rest of this                      Education Assistance Funds Received                   properly determining potential take-up
                                            regulation to go into effect on July 1,                   by Institutions of Higher Education (90/              of the IDR plan is challenging,
                                            2024. Ongoing costs beyond this amount                    10); Change in Ownership and Change                   particularly given the difficulty in
                                            would be part of the Department’s                         in Control published on October 28,                   forecasting future income, family size,
                                            annual expenses for student loan                          2022 (87 FR 65426) that made changes                  and marital status for borrowers who
                                            servicing.                                                to several other areas related to Federal             were not estimated to enroll in IDR
                                                                                                      student loans including interest                      under the baseline. The effect of
                                            5. Net Budget Impacts                                     capitalization, loan forgiveness                      provisions like the automatic
                                               These regulations are estimated to                     programs, loan discharges, and the 90/                enrollment of borrowers who are at least
                                            have a net Federal budget impact in                       10 rule.                                              75 days delinquent is also hard to
                                            costs over the affected loan cohorts of                      The most significant reasons for the
                                                                                                                                                            project because it is dependent on how
                                            $156.0 billion, consisting of a                           change in the net budget impact
                                                                                                                                                            many borrowers provide approval for
                                            modification of $70.9 billion for loan                    estimate from the IDR NPRM to the final
                                                                                                                                                            the disclosure of their Federal tax
                                            cohorts through 2023 and estimated                        regulations are changes that increase the
                                                                                                                                                            information and that functionality is not
                                            costs of $85.1 billion for loan cohorts                   share of future loan volume that we
                                                                                                                                                            yet available.
                                            2024 to 2033. The Department’s primary                    project to be repaid through the new
                                            estimate updates the IDR NPRM                             plan. There are also underlying changes                  Given these challenges, the
                                            estimate to include assumptions about                     in the baseline against which the                     Department decided in the final rule to
                                            increased undergraduate loan volume                       changes to IDR are costed against. In                 adopt estimates for increased loan
                                            being repaid on IDR and for the                           addition, the Department updated its                  volume for undergraduate borrowers
                                            President’s Budget for FY 2024 with                       methodology related to plan switching                 based upon the share of undergraduate
                                            small updates. There are also additional                  to reflect that approximately 25 percent              loan volume held by borrowers that are
                                            sensitivities that address points raised                  of the 800,000 borrowers currently on                 projected to be able to benefit from
                                            in comments or the Department’s                           ICR have Direct Consolidation loans that              lower payments under the current
                                            internal review. A cohort reflects all                    repaid a parent PLUS loan and are                     REPAYE plan (the most generous IDR
                                            loans originated in a given fiscal year.                  therefore ineligible to switch to                     option that is currently available to all
                                            Consistent with the requirements of the                   REPAYE. Since the subsidy rate on                     borrowers) who actually enroll in an
                                            Credit Reform Act of 1990, budget cost                    REPAYE is greater than on ICR, this                   IDR plan. Specifically, we used the
                                            estimates for the student loan programs                   reduces costs for taxpayers by a small                model discussed in both the IDR NPRM
                                            reflect the estimated net present value of                amount.                                               and this final rule that projects the
                                            all future non-administrative Federal                        As noted in the IDR NPRM, the                      present discounted value of lifetime
                                            costs associated with a cohort of loans.                  Department has significant data                       payments for all future borrowers if they
                                                                                                      limitations that create challenges in                 were to enroll in REPAYE, the standard
                                            IDR Plan Changes                                          estimating many of the other factors                  10-year plan, and the graduated
                                              The changes to the REPAYE plan offer                    identified by commenters in the primary               repayment plan. If a borrower is
                                            borrowers a more generous IDR plan                        budget estimate. In particular, we lack               projected to pay less in present
                                            that would have a net budget impact of                    information on the incomes, income                    discounted value terms in REPAYE than
                                            approximately $156.0 billion, consisting                  trajectories, and household sizes of                  the PDV of their payments in the other
                                            of a modification of $70.9 billion for                    borrowers who are not enrolled on an                  two plans, then we project that they
                                            cohorts through 2023 and $85.1 for                        IDR plan. For these reasons, the                      would benefit from REPAYE and
                                            cohorts 2024–2033. This estimate is                       Department’s past regulations under the               calculated the share of loan volume
                                            based on the President’s Budget for 2024                  ICR authority have not incorporated                   associated these borrowers. While this
                                            baseline that includes the PSLF waiver,                   estimates in changes in the percent of                analysis is based upon REPAYE, that
                                            the one-time payment count adjustment,                    volume using IDR.                                     plan is the most generous plan available
                                            the payment pause extension to August                        We also noted in the IDR NPRM that                 to student borrowers with Direct Loans
                                            2023, and the August 2022                                 we would continue to assess the issue                 to all but some graduate borrowers with
                                            announcement that the Department will                     of potential increased usage of IDR                   high ratios of their income to their
                                            discharge up to $20,000 in Federal                        plans in response to this rule based                  debt.162 We grouped these borrowers
                                            student loans for borrowers who make                      upon the public comments received. We                 into categories that mirror the risk
                                            under $125,000 as an individual or                        agree with the commenters that it is                  categories used in budget modeling.
                                            $250,000 as a family. It also includes the                reasonable to expect an increase in the               These are 2-year proprietary; 2-year
                                            regulatory changes included in the final                  amount of loan volume being repaid on                 nonprofit; 4-year freshman or
                                            regulations for Institutional Eligibility                 IDR, particularly in the revised REPAYE               sophomore; and 4-year junior or senior.
                                            Under the Higher Education Act of                         plan, which is now also being referred                We then looked at the share of volume
                                            1965, as Amended; Student Assistance                      to as the SAVE plan. Such a situation is              from each of those risk categories that
                                            General Provisions; Federal Perkins                       consistent with the Department’s stated               are currently enrolled in IDR. These
                                            Loan Program; Federal Family                              goals of having IDR plans better serve as             figures can be thought as the ‘‘Current
                                            Education Loan Program; and William                       protection against delinquency and                    REPAYE usage rate.’’ The results of
                                            D. Ford Federal Direct Loan Program                       default and to make certain we do not                 those calculations are displayed below
                                            published on November 1, 2022 (87 FR                      return to a world where more than 1                   in Table 5.1.
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                                              162 REPAYE has the same formula for calculating         interest. REPAYE does not cap payments at the         that a borrower must see a payment reduction
                                            payments as PAYE and IBR for new borrowers, but           standard 10-year plan as PAYE and IBR do, but         relative to the standard 10-year plan.
                                            also does not charge half of unpaid monthly               those plans have an upfront eligibility requirement



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                                                   TABLE 5.1—SHARE OF LOAN VOLUME HELD BY BORROWERS PROJECTED TO BENEFIT FROM REPAYE THAT ARE
                                                                                    ESTIMATED TO ENROLL IN IDR
                                                                                                                                                                                     Share that                         Estimated
                                                                                                                                                                                    would benefit      Share that      current IDR
                                                                                          Risk category and loan type                                                               from current      enroll in IDR    usage rate
                                                                                                                                                                                      REPAYE           (percent)        (percent)
                                                                                                                                                                                      (percent)

                                            2-year proprietary, subsidized .....................................................................................................               56                25              45
                                            2-year proprietary, unsubsidized .................................................................................................                 56                27              49
                                            2-year nonprofit, subsidized ........................................................................................................              72                29              40
                                            2-year nonprofit, unsubsidized ....................................................................................................                72                29              41
                                            4-year fresh/soph, subsidized ......................................................................................................               45                28              62
                                            4-year fresh/soph, unsubsidized ..................................................................................................                 45                28              63
                                            4-year junior/senior, subsidized ...................................................................................................               45                30              67
                                            4-year junior/senior, unsubsidized ...............................................................................................                 45                32              71



                                              We next used the same model to                                      rule version of REPAYE, again                                      of future volume that we estimated
                                            estimate what share of volume would be                                compared to the standard 10-year and                               would enroll in the final rule’s version
                                            associated with borrowers who are                                     graduated plans. We multiplied this                                of REPAYE. Those numbers are shown
                                            projected to have the lowest PDV of                                   percentage by the Current REPAYE                                   below in Table 5.2.
                                            payments in the SAVE plan/the final                                   usage rate to determine the percentage

                                                                                             TABLE 5.2—PROJECTED USAGE OF FINAL RULE REPAYE PLAN
                                                                                                                                                                                                                        Increased
                                                                                                                                                                Share                                                   volume in
                                                                                                                                                                                     Estimated         Estimated
                                                                                                                                                             estimated to                                                  SAVE
                                                                                                                                                                                    current IDR      share enrolling
                                                                              Risk category and loan type                                                    benefit from                                              compared to
                                                                                                                                                                                    usage rate          in SAVE
                                                                                                                                                                SAVE                                                   current IDR
                                                                                                                                                                                     (percent)         (percent)
                                                                                                                                                              (percent)                                                   volume
                                                                                                                                                                                                                        (% points)

                                            2-year proprietary, subsidized .........................................................................                         89                45                40              15
                                            2-year proprietary, unsubsidized .....................................................................                           89                49                43               1
                                            2-year nonprofit, subsidized ............................................................................                        84                40                34               5
                                            2-year nonprofit, unsubsidized ........................................................................                          84                41                34               5
                                            4-year fresh/soph, subsidized ..........................................................................                         72                62                45              17
                                            4-year fresh/soph, unsubsidized ......................................................................                           72                63                46              17
                                            4-year junior/senior, subsidized .......................................................................                         72                67                48              18
                                            4-year junior/senior, unsubsidized ...................................................................                           72                71                51              19



                                              The Department believes this is the                                 volume from unsubsidized loans                                     offices—are likely to have a greater
                                            best approach for estimating the                                      volume will be repaid in an IDR plan.                              awareness of repayment options than
                                            possible increased usage of the plan                                  These figures do not include                                       undergraduate borrowers. This
                                            within the limitations of the                                         consolidation loan volume from                                     increased knowledge of repayment
                                            Department’s data and concerns about                                  borrowers exiting default, which since                             options likely contributes to higher IDR
                                            properly estimating behavioral effects. It                            2015 has been projected to be more than                            take-up under the baseline.
                                            does not presume that borrowers use the                               80 percent of loan volume. We also did                                Second, graduate borrowers may be
                                            plan at a greater rate because of a                                   not use this approach for graduate                                 able to draw greater benefits from
                                            behavioral effect, but rather                                         borrowers because since 2013 the                                   current IDR plans than undergraduate
                                            acknowledges that the share of volume                                 Department has projected around 60                                 borrowers. Graduate borrowers have
                                            associated with borrowers that would                                  percent of graduate PLUS volume and                                higher average loan balances than
                                            benefit from the plan has increased.                                  50 percent of unsubsidized graduate                                undergraduate borrowers—and in many
                                              The Department did not apply this                                   volume will be repaid in an IDR plan.                              cases higher interest rates—meaning
                                            approach to two of its risk groups—                                   These figures are higher than                                      that they may be more likely to benefit
                                            graduate borrowers and consolidation                                  undergraduate borrower IDR                                         from greater reductions in monthly
                                            volume. We did not include the latter                                 enrollment. In fact, we already project a                          payments than undergraduate borrowers
                                            because our modeling of the plan’s                                    higher share of graduate loan volume                               in current IDR plans. The potential for
                                            benefits does not group borrowers in                                  enrolling in IDR than would come from                              greater benefits perhaps increases the
                                            that manner. The Department also                                      this formula.                                                      relative propensity of graduate
                                            already attributes that a higher share of                               We believe that graduate enrollment                              borrowers to enroll in IDR compared to
                                            consolidation loan volume will be                                     in IDR is much higher under than                                   undergraduate borrowers. In other
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                                            repaid in IDR than any other risk group.                              undergraduate IDR enrollment under                                 words, the structure of the existing IDR
                                            For instance, starting with cohort 2014                               the baseline primarily for two reasons.                            plans may provide a stronger incentive
                                            and going forward, the Department has                                   First, graduate borrowers—who are                                for graduate borrowers to enroll.
                                            projected that more than 70 percent of                                more likely to have been through years                                The changes to the REPAYE plan
                                            consolidated volume from subsidized                                   of interaction with Federal student aid                            resulting in the new SAVE plan,
                                            loans and 80 percent of consolidated                                  system and institutional financial aid                             meanwhile, are primarily geared toward


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                                            undergraduate borrowers.                                  Undergraduate borrowers on the other                  payment is applied under the REPAYE
                                            Undergraduate borrowers will owe a                        hand will have the same maximum                       plan. That provision also increases costs
                                            lower percentage of their discretionary                   repayment period on the SAVE plan as                  for taxpayers in the form of transfers, as
                                            income each month, while payments on                      they have under existing IDR plans—the                borrowers may otherwise eventually
                                            graduate debt will remain at 10 percent.                  SAVE plan is almost entirely beneficial               repay some of the accumulating interest
                                            Undergraduate borrowers with low                          to them relative to existing IDR plans.               prior to forgiveness on current IDR
                                            original principal balances will also be                     Overall, we therefore expect that the              plans. Costs to taxpayers would also
                                            eligible for forgiveness much sooner                      final rule will create a greater change in            increase if the availability of improved
                                            than under existing plans. Graduate                       the incentives for undergraduate                      repayment options leads future cohorts
                                            borrowers, by contrast, would be                          borrowers to enroll in IDR relative to                of students to increase the volume and
                                            relatively less likely to have balances                   graduate borrowers. As noted, we                      quantity of loans they obtain. The
                                            small enough to benefit from this                         already have estimates of significant IDR             primary budget estimate assumes that
                                            provision.                                                usage by graduate borrowers and do not                there will be no change in volume or
                                               While the provisions in the SAVE                       think the changes in this rule                        quantity of loans issued due to the
                                            plan related to the higher discretionary                  appreciably change the existing                       improved terms. As noted in the IDR
                                            income protection and no longer                           incentives. There are also still some                 NPRM and by several commenters,
                                            charging unpaid monthly interest apply                    downsides to the plan in this final rule              additional borrowing would increase
                                            to graduate and undergraduate                             that would be most relevant for graduate              costs of the regulations, with the
                                            borrowers, we believe that most                           borrowers. Due to all of these factors we             magnitude of the impact depending on
                                            graduate borrowers in position to                         have not increased the expected                       the characteristics of those borrowing
                                            substantially benefit from these                          graduate volume being repaid in IDR                   more. Data limitations make it
                                            provisions would already derive large                     that already exists in the baseline.                  challenging to anticipate who such
                                            benefits from existing IDR plans and                         This additional IDR usage only                     borrowers would be, so the Department
                                            therefore would already be likely to                      applies to the outyears in our budget                 has developed the Low Additional
                                            enroll in IDR under the baseline. The                     estimates. This approach best captures                Volume and High Additional volume
                                            relative benefits of both these changes                   the effect of the plan resulting in greater           scenarios described in the Sensitivities
                                            are greater for borrowers whose debt                      usage from future borrowers. It also                  discussion of this Net Budget Impact
                                            payments represent a larger share of                      reflects data and modeling limitations                section.
                                            their household income compared to                        that would overstate the effects of the
                                            those for whom their debt payments are                    IDR change if we were to move existing                   To estimate the effect of the rule
                                            a smaller share of their household                        borrowers into an IDR plan. In the                    changes, the Department revised the
                                            income. But the same is true for IDR                      Department’s current model, switching                 payment calculations in the IDR sub-
                                            more generally. REPAYE also already                       a percent of volume from one repayment                model used for cost estimates for the
                                            had a version of the interest benefit in                  plan to another applies from the time                 IDR plans. Changing the percentage of
                                            place. That means the magnitude of the                    that volume entered repayment,                        income applied to a payment is a
                                            effects of the interest benefit are greater               changing the payment stream more than                 straightforward change with a
                                            under the SAVE plan, but the basic                        would be the case for borrowers                       significant effect on the cashflows when
                                            incentives to use this plan to receive                    changing plans several years into                     compared to the baseline. The element
                                            some help with accumulating unpaid                        repayment. Given the higher subsidy                   that is less clear is what decision about
                                            interest are the same as what currently                   costs for IDR plans, this would overstate             plan choice existing borrowers will
                                            exists.                                                   the costs of the modification for past                make when the new REPAYE plan is
                                               Finally, we note that prior to this final              cohorts and cause changes to cashflows                available. As in the case of the current
                                            rule, REPAYE was not the most popular                     to past years, which is not possible. We              REPAYE plan, the new REPAYE plan
                                            IDR option for graduate borrowers.                        have done this in one sensitivity for                 does not include a standard repayment
                                            Those borrowers were more likely to                       illustrative purposes, but do not believe             cap that limits borrowers’ maximum
                                            choose IBR or PAYE because those                          it is appropriate for the primary                     monthly payment. In this case, the
                                            plans provide forgiveness after 20 years                  estimate.                                             Department has run the payment
                                            of payments instead of the 25 years on                       We have modeled other proposals                    calculations twice for each borrower—
                                            REPAYE. They also cap payments at the                     from commenters related to increases in               once under the new REPAYE option and
                                            10-year standard plan, while REPAYE                       overall loan volume or changes in                     again under the borrower’s baseline
                                            has no cap. While the SAVE plan will                      borrower behavior as alternative budget               plan—and assumed each borrower
                                            produce lower monthly payments than                       scenarios.                                            chooses the option with the lowest net
                                            those other plans for most borrowers,                        The final regulations would result in              present value (NPV) of costs. For this
                                            the longer time to forgiveness and lack                   costs for taxpayers in the form of                    final rule, the Department keeps 25
                                            of a payment cap are still present in the                 transfers to borrowers, as borrowers                  percent of ICR borrowers in that plan to
                                            SAVE plan. That means graduate                            enrolled in the REPAYE plan would                     represent parent borrowers who will not
                                            borrowers will face a trade-off between                   generally make lower payments on the                  have access to the new REPAYE plan.
                                            the benefits of SAVE (e.g. a higher                       new plan as compared to current IDR                   Table 5.3 shows the result of this plan
                                            discretionary income threshold) and the                   plans. The revision to the REPAYE plan                assignment, which is that more than 93
                                            less beneficial aspects of SAVE relative                  will also provide that the borrower will              percent of future volume that enrolls in
                                            to IBR—particularly the longer                            not be charged any remaining accrued                  IDR is projected to enroll in the new
                                            maximum repayment period.                                 interest each month after the borrower’s              REPAYE plan.
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                                                                              TABLE 5.3—PLAN ASSIGNMENT FOR BORROWERS ENTERING REPAYMENT IN FY 2024
                                                                                            [Percent distribution of borrowers in baseline plan when new REPAYE is available]

                                                                                                                                                                                                                                                       Final rule
                                                                                            Baseline plan                                                                     ICR                        IBR                       PAYE                REPAYE

                                            ICR ...................................................................................................................                  27.27       ........................   ........................          72.73
                                            IBR ...................................................................................................................   ........................                  20.33       ........................          79.67
                                            PAYE ...............................................................................................................      ........................   ........................                      6.5             93.5
                                            REPAYE ..........................................................................................................         ........................   ........................   ........................           100

                                                  Total ..........................................................................................................                     0.01                       1.09                         5.4             93.5



                                               In categorizing plans, we combine the                                     assuming IDR borrowers select the plan                                      plan, the potential shift of these
                                            10-percent IBR plans with PAYE                                               with the lowest long-run cost, this                                         borrowers is very uncertain. That is why
                                            borrowers, as the key characteristics of                                     generates a higher-end estimate of the                                      we have presented additional possible
                                            those plans are very similar. The IBR                                        net budget impact of the changes for                                        increases in the usage of IDR or
                                            row and columns refers to those                                              borrowers currently enrolled in IDR                                         increased borrowing in the alternative
                                            remaining in 15 percent IBR, which                                           plans, though there are alternative                                         budget scenarios. We reviewed this
                                            represents approximately 5 percent of                                        budget scenarios explored that could                                        issue in response to public comments
                                            borrowers who first borrowed prior to                                        present a higher possible cost. While it                                    on the NRPM and the data points and
                                            2008 and entered repayment for the last                                      is possible that more people may be                                         analysis received was helpful in
                                            time in 2024.                                                                willing to take on student loan debt                                        developing the revisions to the main
                                               This approach assumes borrowers                                           with the safety net of the more generous                                    budget estimate and the sensitivity
                                            know their income and family profile                                         IDR plan, we have not estimated the                                         scenarios. Regardless, to the extent such
                                            trajectories over the life of their loans                                    extent to which there could be increases                                    increases in volume and increases in
                                            and choose the plan that offers the                                          in loan volumes or Pell Grants from                                         IDR participation are observed, they will
                                            lowest lifetime, present-discounted                                          potential new students in the primary                                       be reflected in future loan program
                                            payments. The payment comparison for                                         estimate. Absent evidence of the                                            initial subsidy estimates and re-
                                            plan assignment assumes borrowers do                                         magnitude of increase, loan type                                            estimates.
                                            not experience any events that disrupt                                       distribution, risk group profiles, and
                                            their time to forgiveness or payoff, such                                    future income profiles of these potential                                      With the significant budget impact
                                            as prepayment, discharge, or default,                                        borrowers, whose postsecondary                                              from these final regulations, the
                                            under either the baseline or plan                                            educational decisions likely involve                                        Department seeks to show the effects of
                                            revisions. It does, however, consider the                                    more than just concern about repayment                                      the various changes individually. Table
                                            effect of the one-time debt relief                                           of debt, the net budget impact of this                                      5.4 details the scores for the
                                            program announced in August 2022.                                            potential volume increase is unknown.                                       modification cohorts through 2023 and
                                            Possible alternatives include choosing                                       The main budget estimate does include                                       the outyears through 2033 when the
                                            the plan that has the most favorable                                         a projection that additional                                                changes are run with one or more
                                            monthly payments in 2023 or another                                          undergraduate borrowing will switch                                         elements kept as in the baseline. This
                                            near-term year, assuming a graduate                                          into IDR plans from non-IDR plans as                                        provides an indication of the impact of
                                            borrower whose estimated income in a                                         explained above. We also further model                                      the specific changes. The scores for each
                                            given year or averaged across their                                          other versions of plan switching in the                                     component will not sum to the total
                                            repayment period would result in                                             sensitivity runs. This change in the                                        because of the significant interaction
                                            payment at the standard repayment cap                                        main estimate results in projecting 45                                      between elements of the changes. For
                                            would remain in their existing plan and                                      percent of volume from four-year                                            example, when the change to 5 percent
                                            setting a minimum amount of payment                                          freshmen and sophomores being repaid                                        of income and to 225 percent of the
                                            reduction that would trigger borrowers                                       on IDR, around 50 percent for four-year                                     Federal poverty level are combined, the
                                            to change plans. The Department                                              juniors and seniors, and just over 40                                       estimated impact is $126.3 billion
                                            recognizes that borrowers may use                                            percent of future volume for two-year                                       compared to $130.6 billion when adding
                                            different logic when choosing a                                              proprietary students. Administrative                                        the individual savings together. These
                                            repayment plan, such as comparing                                            issues, lack of information, or simply                                      estimates are removing the change from
                                            near-term monthly payments, and will                                         sticking with the default option may be                                     the estimate of the total package, so a
                                            not have information about their future                                      the reason many of these borrowers are                                      negative value represents a savings from
                                            incomes and family patterns to match                                         not in an IDR plan already, but others                                      the total policy estimate. This negative
                                            this type of analysis, but we believe any                                    may have made the choice that a non-                                        value indicates that the element has a
                                            decision logic would result in a high                                        IDR plan is preferable for them.                                            cost when included, by reducing
                                            percentage of borrowers electing to                                          Depending on their anticipated income                                       transfers from borrowers to the
                                            participate in the new REPAYE plan. By                                       profiles or comfort with their existing                                     government and taxpayers.

                                                                                                                      TABLE 5.4—IDR COMPONENT ESTIMATES
                                                                                                                                                   [$ in billions]
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                                                                                                                                               Income                                                                         No balance-
                                                                                                                                                                          No 5% of                  No unpaid
                                                                                                                                           protection kept                                                                       based                   Other
                                                                                                                                                                           income                    interest
                                                                                                                                                  at                                                                           shortened               provisions
                                                                                                                                                                          payment                     benefit
                                                                                                                                            150% of FPL                                                                       forgiveness

                                            Modification through cohort 2023 ........................................                                 ($36.55)                  ($28.08)                     ($6.60)                    ($0.96)             ($3.77)



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                                                                                                         TABLE 5.4—IDR COMPONENT ESTIMATES—Continued
                                                                                                                                                 [$ in billions]

                                                                                                                                             Income                                                         No balance-
                                                                                                                                                                        No 5% of              No unpaid
                                                                                                                                         protection kept                                                       based          Other
                                                                                                                                                                         income                interest
                                                                                                                                                at                                                           shortened      provisions
                                                                                                                                                                        payment                 benefit
                                                                                                                                          150% of FPL                                                       forgiveness

                                            Outlays for cohorts 2024–2033 ...........................................                              ($35.04)                   ($30.98)           ($10.59)         ($2.71)        ($4.52)

                                                  Total ..............................................................................             ($71.59)                   ($59.06)           ($17.19)         ($3.67)        ($8.29)
                                              Note: Savings are relative to the scenario in which the final rule is implemented in full, so a negative number reflects a smaller increase in
                                            costs.


                                              As can be seen in Table 5.4, the                                         different shifts in incomes. When                                      regulations is reduced delinquency and
                                            increase in the income protection to 225                                   compared to the same baseline, we                                      default, which should particularly
                                            percent of the Federal poverty                                             estimate that regulations with a 5                                     benefit lower-income borrowers, but
                                            guidelines and the percentage of income                                    percent increase in incomes would cost                                 these potential benefits are not included
                                            on which payments are based are the                                        a total of $129.0 billion and the 10                                   in the primary estimate. The sample of
                                            most significant factors in the estimated                                  percent decrease would cost $203.1                                     borrowers used to estimate costs in IDR
                                            impact of the changes. Borrowers’                                          billion. Recall that our central estimate                              plans have projected income profiles of
                                            projected incomes are another important                                    of the rule’s net budget impact is $156.0                              31 years of AGIs for the borrower or
                                            element for cost estimates for IDR plans,                                  billion above baseline. Incomes are                                    household, depending on tax filing
                                            so we have run two sensitivity analyses                                    likely the factor in the IDR model with
                                                                                                                                                                                              status. Table 5.5 summarizes the change
                                            that shift borrower incomes, one that                                      the greatest effect, but other aspects,
                                                                                                                                                                                              in payments between the President’s
                                            increases incomes by 5 percent and the                                     such as projected family size, and
                                            other that decreases them by 10 percent.                                                                                                          budget baseline for FY 2024 including
                                                                                                                       events such as defaults or discharges,
                                            From past sensitivity runs, we know                                        also affect the estimates.                                             waivers, one-time debt relief, and recent
                                            that increasing and decreasing the                                            We also wanted to consider the                                      regulatory packages and the final
                                            incomes by the same factor results in                                      distributional effects of the changes to                               regulations for a representative cohort of
                                            similar changes in costs, so the different                                 the extent we have information. One                                    borrowers (i.e., those entering
                                            variations here provide a sense of two                                     benefit we hope to see from the                                        repayment in FY 2024).

                                                    TABLE 5.5—ESTIMATED EFFECTS OF IDR PROPOSALS BY INCOME RANGE AND GRADUATE STUDENT STATUS FOR
                                                                              BORROWERS ENTERING REPAYMENT IN FY 2024
                                                                                                                                                                                                             $65,000 to       Above
                                                                                                                                                                                              <$65,000        $100,000       $100,000

                                                                                                                      Borrowed only as an undergraduate student

                                            % of Pop. .....................................................................................................................................       16.40%         22.46%         24.25%
                                            % of Debt .....................................................................................................................................        5.74%         10.30%         13.59%
                                            Mean Debt ...................................................................................................................................         $26,492        $34,681        $42,372
                                            Mean Reduction in Payments .....................................................................................................                      $10,270        $18,246        $20,065

                                                                                                           Borrowed as both an undergraduate and graduate student

                                            % of Pop. .....................................................................................................................................       1.76%           5.21%         20.56%
                                            % of Debt .....................................................................................................................................       3.02%           9.09%         38.54%
                                            Mean Debt ...................................................................................................................................       $129,814        $131,995       $141,752
                                            Mean Reduction in Payments .....................................................................................................                     $19,693         $25,412         $3,675

                                                                                                                            Borrowed only as a graduate student

                                            % of Pop. .....................................................................................................................................       0.46%           1.55%           7.36%
                                            % of Debt .....................................................................................................................................       0.94%           3.05%          15.73%
                                            Mean Debt ...................................................................................................................................       $155,844        $148,791       $161,673
                                            Mean Reduction in Payments .....................................................................................................                     $12,874         $11,293       ($12,253)
                                              Note: Debt is measured as the outstanding balance when the borrower enters repayment, reductions in payments are measured over the life
                                            of the loan, and income is the average income over the potential repayment period for borrowers entering repayment in FY 2024.


                                              All groups would see significant                                         borrowers already have a $0 payment                                      Since graduate student borrowers
                                            reductions in average payments, except                                     under the current REPAYE plan. Once                                    have higher debt, on average, they are
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                                            those who borrowed as graduate                                             their payment drops to $0, they cannot                                 less likely to benefit from the reduced
                                            students and have over $100,000 in                                         receive any greater savings under the                                  time to forgiveness based on a low
                                            average annual income. There are some                                      new plan. Moreover, borrowers in this                                  balance, as shown in Table 5.6. The
                                            limitations to the savings for the                                         category generally have lower loan                                     high-income, high-debt graduate
                                            borrowers with earnings at or below                                        balances; therefore, the amount of                                     students may not benefit from the rate
                                            $65,000, because a portion of these                                        potential savings is also smaller.                                     reduction and the continued absence of


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                                            the standard payment cap on REPAYE                                            in a systemic manner. Payments on                                            forgiveness and the reduction to 5
                                            will likely affect them more. Some may                                        loans attributed to graduate programs                                        percent for payments attributed to
                                            still choose the new REPAYE plan if                                           would remain at a 10 percent                                                 undergraduate loans—are less likely to
                                            their payments are lower in the                                               discretionary income level and these                                         apply to that population. The number of
                                            beginning and then get higher at the end                                      borrowers have high balances so would                                        expected years to forgiveness in Table
                                            of the repayment period. Table 5.6 does                                       not benefit from reduced time to                                             5.6 is based on the borrower’s balance
                                            not account for any timing effects, as                                        forgiveness. That means two of the                                           and does not take into account any
                                            such effects are likely to be                                                 drivers of reductions in borrower                                            deferments, forbearances, or early
                                            idiosyncratic and challenging to model                                        payments from the regulations—early                                          payoffs.

                                              TABLE 5.6—YEARS TO FORGIVENESS AND DISTRIBUTION OF BALANCES FOR BORROWERS ENTERING REPAYMENT IN FY
                                                                                     2024 UNDER FINAL RULE
                                                                                                                                                                                                   Undergraduate              Any graduate
                                                                                             Expected years to forgiveness                                                                                                                   Overall
                                                                                                                                                                                                     borrowers                 borrowing

                                            10 .................................................................................................................................................                  23.53               0.99        15.78
                                            11 .................................................................................................................................................                    1.83              0.11         1.24
                                            12 .................................................................................................................................................                    2.04              0.12         1.38
                                            13 .................................................................................................................................................                    2.07              0.12          1.4
                                            14 .................................................................................................................................................                    2.24              0.19         1.54
                                            15 .................................................................................................................................................                    2.12              0.21         1.46
                                            16 .................................................................................................................................................                    2.31               0.2         1.58
                                            17 .................................................................................................................................................                    2.13              0.15         1.45
                                            18 .................................................................................................................................................                    2.25              0.16         1.53
                                            19 .................................................................................................................................................                    2.27              0.18         1.55
                                            20 .................................................................................................................................................                    57.2              0.24         37.6
                                            21 .................................................................................................................................................   ........................           0.31         0.11
                                            22 .................................................................................................................................................   ........................           0.16         0.06
                                            23 .................................................................................................................................................   ........................           0.27         0.09
                                            24 .................................................................................................................................................   ........................           0.34         0.12
                                            25 .................................................................................................................................................   ........................          96.25        33.12



                                               As noted, the Department received a                                        4-year institutions who would benefit                                        ramp-up and the second being an
                                            significant number of comments about                                          from the current REPAYE plan, but                                            increase that ramps up across seven
                                            the budget impact estimates in the IDR                                        actual take up of any IDR plan is only                                       outyear cohorts to maximum levels
                                            NPRM, several of which included                                               around 30 percent. The results are                                           between 67 percent and 77 percent
                                            analysis of the proposed rule. With                                           similar for loan volume from 2-year                                          depending on loan type and risk group.
                                            respect to the budget impact estimate,                                        institutions, where the Department’s                                            The treatment of past cohorts varies
                                            many comments indicated the                                                   model estimates that approximately 56                                        between the two IDR take-up sensitivity
                                            Department underestimated the effect of                                       percent of volume at 2-year proprietary                                      runs. The Department recognizes that
                                            the rule by not accounting for increased                                      institutions and 72 percent at 2-year                                        borrowers from past cohorts may switch
                                            take-up of IDR and failing to account for                                     private nonprofit institutions is owed by                                    to the new REPAYE plan. However, the
                                            new borrowing.                                                                borrowers who would benefit from                                             Department’s scoring model handles
                                               Increased take-up would be from                                            REPAYE, yet the President’s FY24                                             plan switching between non-IDR and
                                            borrowers choosing the new plan for its                                       baseline, which is based upon actual                                         IDR plans for past cohorts from the time
                                            lower payments, increased income                                              historical data, projects that only about                                    when the loan enters repayment.
                                            protection, reduced time to forgiveness,                                      26 percent and 29 percent of volume                                          Therefore, when we increase take-up of
                                            or other benefits. The policy to switch                                       from those types of schools,                                                 IDR plans for past cohort borrowers, the
                                            delinquent borrowers into IDR will also                                       respectively, is enrolled in an IDR plan.                                    change is applied from the time they
                                            contribute to increased use of the plan.                                      Therefore, as described above, the                                           enter repayment and will overstate the
                                            Several commenters referenced the                                             Department adjusted the main budget                                          cost of the modification. Only the first
                                            Penn-Wharton Budget model analysis                                            estimate to include increased usage of                                       budget sensitivity shows the potential
                                            that analyzed a range of IDR take-up                                          IDR by undergraduate borrowers based                                         effect on past cohorts.
                                            from 70–90 percent of loan volume                                             upon assuming the share of volume                                               Analysis provided by the commenters
                                            while another analysis found that 85                                          associated with borrowers that would                                         and Department analysis indicates if
                                            percent of borrowers could benefit from                                       benefit from IDR enroll in those plans as                                    every or nearly every borrower that
                                            the new plan. The Department’s                                                is observed under current plans. This                                        would benefit from the new REPAYE
                                            projections of payments made by future                                        results in an increase of volume on IDR                                      plan joins it then IDR take-up would
                                            cohorts of borrowers by institutional                                         since the total amount of volume that                                        increase significantly to around 70–85
                                            level and control found that 72 percent                                       would benefit from an IDR plan is                                            percent of volume. Therefore, the
                                            of loan volume at 4-year institutions                                         higher under this final rule.                                                maximum take-up adjustment factor
                                            was associated with borrowers who                                                To further explore a range of possible                                    was calculated as the percentage point
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                                            could benefit from the new REPAYE                                             outcomes in terms of take up we                                              increase that would bring the baseline
                                            plan in terms of reductions in the                                            developed Sensitivities 1 and 2 with                                         IDR percentage into that range. The
                                            present discounted value of total                                             two take-up increases, the first                                             percentage point increase applied to
                                            payments made. However, the same                                              increasing take-up even further for                                          various cohorts for Sensitivity 1, the
                                            analysis suggested that 45 percent of                                         existing undergraduate and graduate                                          maximum take-up adjustment factor, is
                                            loan volume is owed by borrowers from                                         cohorts and future cohorts with no                                           presented in Table 5.7. Baseline rates for


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                                            selected cohorts and the resulting IDR                                     percentages are presented in Tables 5.10
                                                                                                                       and 5.11.

                                                                                            TABLE 5.7—TAKE-UP PERCENTAGE POINT INCREASE FOR SENSITIVITY 1
                                                                                                                                                          Past cohort take-up sensitivity                                                Outyear
                                                                                                                                                                                                                                         take-up
                                                       Proposal: cohort range
                                                                                                                              Pre-2008                                   2008–2012        2013–2017               2018–2023            2024 and out

                                            2yr prop .............................................     No change ........................................                       0.15                     0.3                0.3                  0.4
                                            2yr NFP .............................................      No change ........................................                       0.15                     0.3                0.3                  0.4
                                            4yr Fr/SO ..........................................       No change ........................................                        0.2                    0.35               0.35                 0.45
                                            4yr JR/SR ..........................................       No change ........................................                        0.2                    0.35               0.35                 0.45
                                            GRAD ................................................      No change ........................................                        0.2                     0.2                0.2                 0.25



                                              For Sensitivity 2, the additional                                        beyond in Table 5.7 to generate the                                 * .4409). Added to the baseline IDR
                                            element determining the IDR take-up                                        percentage point change added to the                                percentage of 25.37 percent, this
                                            increase is the ramp-up factor shown in                                    baseline IDR percentage to get the new                              generates the new IDR percentage of
                                            Table 5.8. The ramp-up factor is                                           IDR percentage. For example, the 2-year                             43.01 percent for subsidized loans for
                                            multiplied by the maximum take-up                                          proprietary risk group IDR percentage                               cohort 2024.
                                            adjustment factor for cohorts 2024 and                                     would be increased by 17.64 points (.4
                                                                                                  TABLE 5.8—SENSITIVITY 2 IDR TAKE-UP RAMP-UP FACTOR
                                                              2024                            2025                 2026                  2027                2028            2029          2030                2031          2032           2033

                                            44.09% ......................................    63.85%              74.98%                84.14%               91.43%          96.52%        99.99%           100.0%          100.0%          100.0%



                                               The ramp-up factor is based on pre-                                     choosing IDR. To evaluate if a cohort-                              which the percentage stays around 27
                                            covid information about the timing of                                      based ramp-up was reasonable, we also                               percent for several cohorts as seen in
                                            when borrowers first change into an IDR                                    looked at the baseline IDR percentages                              Table 5.9. This indicates that even years
                                            plan with over 43 percent in year one                                      for cohorts surrounding previous IDR                                after the introduction of PAYE, a
                                            and above 98 percent by year 7. This                                       plan changes, especially the                                        difference in the percent of volume in
                                            ramp-up is based on the timing of                                          introduction of PAYE and REPAYE. The                                IDR persists across cohorts (18.85
                                            borrowers’ first change to an IDR plan,                                    percent volume assumption used in the                               percent for 2008 and 27.40 percent for
                                            it is not tied to introduction of new                                      President’s Budget for FY 2024 has a                                2014).
                                            repayment plans and the effect of new                                      difference of a few percentage points in
                                            plans on the percent of the portfolio                                      each cohort from 2008 to 2013, after
                                               TABLE 5.9—FY2024 COHORT NON-CONSOLIDATED LOAN REPAYMENT PLAN DISTRIBUTION FOR SENSITIVITIES 1 AND 2
                                                                                                                                                                 Sensitivity 1: FY2024 cohort                    Sensitivity 2: FY2024 cohort
                                                              Risk group                                      Repayment plan                                  Sub            Uns           PLUS              Sub             Uns             PLUS
                                                                                                                                                            (percent)      (percent)     (percent)         (percent)       (percent)       (percent)

                                            2 Yr Proprietary
                                                                                               Standard ............................................             28.51          26.57           86.12            46.93          44.71           86.12
                                                                                               Extended ...........................................               0.21           0.22            1.47             0.35           0.36            1.47
                                                                                               Graduated .........................................                5.90           5.98           12.41             9.71          10.06           12.41
                                                                                               IDR ....................................................          65.37          67.23            0.00            43.01          44.87            0.00
                                            2 Yr Not for Profit
                                                                                               Standard ............................................             25.57          24.74           86.47            43.97          42.82           86.47
                                                                                               Extended ...........................................               0.59           0.76            2.53             1.02           1.32            2.53
                                                                                               Graduated .........................................                4.91           5.09           11.00             8.45           8.81           11.00
                                                                                               IDR ....................................................          68.92          69.41            0.00            46.55          47.05            0.00
                                            4-Year FR/SO
                                                                                               Standard ............................................             22.10          21.25           90.78            42.57          41.39           90.78
                                                                                               Extended ...........................................               0.71           0.86            2.29             1.37           1.67            2.29
                                                                                               Graduated .........................................                4.34           4.44            6.93             8.37           8.65            6.93
                                                                                               IDR ....................................................          72.85          73.45            0.00            47.69          48.29            0.00
                                            4 Yr Jr/Sr
                                                                                               Standard ............................................             18.77          16.78           78.31            37.77          35.11           78.31
                                                                                               Extended ...........................................               0.99           1.20            5.75             1.99           2.51            5.75
                                                                                               Graduated .........................................                5.09           5.05           15.94            10.25          10.56           15.94
                                                                                               IDR ....................................................          75.15          76.98            0.00            49.99          51.82            0.00
                                            Graduate
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                                                                                               Standard ............................................           100.00           17.33           11.41           100.00          27.16           21.89
                                                                                               Extended ...........................................              0.00            2.01            1.28             0.00           3.14            2.45
                                                                                               Graduated .........................................               0.00            5.31            2.54             0.00           8.32            4.86
                                                                                               IDR ....................................................          0.00           75.36           84.77             0.00          61.38           70.79




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                                              Tables 5.10 and 5.11 provide                                   take-up rates by loan type and risk                                  IDR take-up rates applied to outyear
                                            additional information on the baseline                           group for selected cohorts as well as the                            cohorts in various scenarios.
                                                    TABLE 5.10—BASELINE NON-CONSOLIDATED LOAN REPAYMENT PLAN DISTRIBUTION FOR SELECTED COHORTS
                                                                                                                                                                      2007         2010            2015         2020         2030
                                                              Loan type                                                 Risk group                                  (percent)    (percent)       (percent)    (percent)    (percent)

                                            Subsidized
                                                                                                2 Yr Proprietary ............................................            15.44        23.16           27.48        25.37        25.37
                                                                                                2 Yr Not for Profit .........................................            20.09        26.25           30.77        28.92        28.92
                                                                                                4 Yr Freshman Sophomore ..........................                       21.89        28.51           29.04        27.85        27.85
                                                                                                4 Yr Jr/Sr ......................................................        21.23        29.95           32.06        30.15        30.15
                                            Unsubsidized
                                                                                                2 Yr Proprietary ............................................            16.74        24.34           29.07        27.23        27.23
                                                                                                2 Yr Not for Profit .........................................            19.88        27.78           31.68        29.41        29.41
                                                                                                4 Yr Freshman Sophomore ..........................                       21.47        28.82           29.66        28.45        28.45
                                                                                                4 Yr Jr/Sr ......................................................        20.94        31.07           34.09        31.98        31.98
                                                                                                Graduate .......................................................         21.97        38.21           50.24        50.36        50.36
                                            Plus
                                                                                                2 Yr Proprietary ............................................             0.00         0.00            0.00         0.00         0.00
                                                                                                2 Yr Not for Profit .........................................             0.00         0.00            0.00         0.00         0.00
                                                                                                4 Yr Freshman Sophomore ..........................                        0.00         0.00            0.00         0.00         0.00
                                                                                                4 Yr Jr/Sr ......................................................         0.00         0.00            0.00         0.00         0.00
                                                                                                Graduate .......................................................         23.68        47.43           60.72        59.77        59.77
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                                              Sensitivities 3 and 4 estimate the                      new borrowers who substitute loans for                increase future loan volumes. To
                                            costs of additional borrowing related to                  other sources of funding because of the               develop the low and high additional
                                            the regulation. Additional borrowing                      reduced cost of borrowing. Institutions               volume options in Sensitivities 3 and 4,
                                            could come from future borrowers in the                   could also raise tuition because of the               the Department analyzed National
                                            baseline who take out more loans or                       lower borrowing costs, which could also               Student Loan Data System information
                                                                                                                                                                                                       ER10JY23.000</GPH>




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                                            about borrowing in FY 2021 to estimate                                      that loan type at that academic level. It                                   borrow up to the cost of attendance and
                                            additional capacity for subsidized and                                      accounted for additional capacity for                                       that information was not available in
                                            unsubsidized loans. The analysis                                            independents and dependent borrowers                                        our data. Table 5.12 summarizes this
                                            aggregated borrowers’ loans by                                              whose parents were unable to obtain                                         additional capacity, which was the basis
                                            academic level and compared the total                                       PLUS loans. Grad PLUS loans were not                                        for the low end of our additional
                                            to the applicable borrowing limit for                                       included because those students can                                         volume range.

                                                                              TABLE 5.12—ANNUAL ADDITIONAL BORROWING CAPACITY OF EXISTING BORROWERS
                                                                                                                                                  [$ in billions]

                                                                                                                                                                                                                                             Additional
                                                                                                                                                                                                                               Total       subsidized and
                                                                                                                                                                                                                          subsidized and    unsubsidized
                                                                                                                                                                                                                           unsubsidized      borrowing
                                                                                                                                                                                                                            borrowing         capacity

                                            2-Year Proprietary ...................................................................................................................................................                  $2.5               $8.1
                                            2-Year Priv/Pub .......................................................................................................................................................                  2.9                1.5
                                            4-Year FR/SO ..........................................................................................................................................................                 13.8                4.1
                                            4-Year JR/SR ...........................................................................................................................................................                15.7                8.2
                                            Graduate ..................................................................................................................................................................             26.7                6.1



                                              As this additional capacity does not                                      with higher additional volume, as seen                                      beyond to allow some time for
                                            account for new borrowers or tuition                                        in Table 5.13. The additional volume                                        borrowers to react to the changes in the
                                            increases, we developed Sensitivity 4                                       does increase in cohorts 2027 and                                           borrowing costs.

                                                                                             TABLE 5.13—ADDITIONAL ANNUAL VOLUME SENSITIVITY SCENARIOS
                                                                                                                                                  [$ in billions]

                                                                                                                                                                         Sensitivity 3: low additional                     Sensitivity 4: high additional
                                                                                                                                                                              volume scenario                                   volume scenario

                                                                                                                                                                         2024–26                    2027 Out                2024–26           2027 Out

                                            Undergraduate .................................................................................................                           $10                        $14                 $20               $26
                                            Graduate ..........................................................................................................                         7                         10                  16                20



                                              The amount of additional volume                                           percentage of borrowers projected to                                        roughly comparable to the main budget
                                            generated by the individual factors                                         default in our baseline IDR model that                                      estimate in IDR NPRM, with the
                                            leading to the increase, such as tuition                                    have incomes between 150 and 225                                            additional adjustments related to the
                                            increases or new borrowers taking on                                        percent of the federal poverty level in                                     President’s budget, extension of the
                                            loans, is not specified. The additional                                     the year of their default. This was                                         payment pause, and revised treatment of
                                            volume was attributed to risk groups                                        approximately 8 percent of defaulters                                       some ICR borrowers included.
                                            based on the percentage of additional                                       and we increased that to 10 percent for
                                                                                                                                                                                                       All the cost estimates presented in
                                            capacity in Table 5.13 represented by                                       our default reduction sensitivity for IDR
                                            the risk group. The split between loan                                      borrowers.                                                                  this document are focused on impact of
                                            types was based on the percentage of                                                                                                                    the new repayment rules, without also
                                                                                                                          Switching delinquent borrowers to
                                            total subsidized and unsubsidized loans                                     IDR should also reduce the default risk                                     considering other policy changes. For
                                            borrowed in 2021–22 represented by                                          of those remaining in non-IDR plans.                                        example, the Department recently
                                            each loan type, with 47 percent going to                                    Some reduction in defaults will occur in                                    proposed regulations to establish a new
                                            subsidized loan volume. The graduate                                        the model estimates just from switching                                     minimum earnings threshold and a
                                            loans were split to PLUS and                                                volume to IDR plans, which have lower                                       maximum debt-to-earnings ratio for
                                            unsubsidized loan volume on the same                                        default rates than the non-IDR plans. To                                    career programs (88 FR 32300), which
                                            basis, with 32 percent going to                                             estimate the effect of the reduced risk of                                  could constrain some of the additional
                                            additional PLUS volume.                                                     remaining non-IDR borrowers, the                                            borrowing envisioned in Sensitivities 3,
                                              Sensitivity 5 estimates the effects of                                    Department reduced non-IDR defaults                                         4, and 6. The Department is expanding
                                            reduced defaults from the provision that                                    25 percent as seen in Sensitivities 5.                                      consumer information on student debt
                                            moves delinquent borrowers into IDR,                                          There is a significant interaction                                        and earnings to better inform student
                                            where a significant percentage are                                          between volume, take-up, and the                                            choices. And the President’s Budget
                                            expected to have low or zero payments                                       default reduction, so Sensitivity 6                                         seeks hundreds of billions of dollars in
                                            and potentially avoid default.                                              combines the low additional volume,                                         new investments in Pell Grants; free
                                            Additionally, within IDR, the increased                                     ramped take-up increase, and 25 percent                                     community college; and tuition
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                                            income protection to 225 percent of the                                     default reduction for an overall alternate                                  assistance for students at Historically
                                            Federal poverty line and the lower                                          scenario.                                                                   Black Colleges and Universities,
                                            payment of 5 percent for undergraduate                                        Finally, Sensitivity 7 removes the                                        Tribally Controlled Colleges and
                                            loans provides relief that could allow                                      increases in estimated additional                                           Universities, and Minority-Serving
                                            borrowers to avoid default. To estimate                                     undergraduate volume that would be                                          Institutions. The potential effects of
                                            the effect in IDR, we looked at the                                         repaid on IDR. This sensitivity is                                          these proposed policy changes are not


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                                            reflected in the estimates contained in                                                Table 5.14 displays the taxpayer costs
                                            this RIA.                                                                            associated with the various sensitivity
                                                                                                                                 runs.
                                                                                                                       TABLE 5.11—SENSITIVITY RUN COST ESTIMATES
                                                                                                                                                                                                                                       Sens 6:
                                                                                                                                                                                                                                      Ramped       Sens 7: No
                                                                                                                                                                 Sens 2:                         Sens 4:           Sens 5: 25       take-up, low   increase in
                                                                                                                                             Sens 1: Full                      Sens 3: Low
                                                                                                                                                                Ramped                            High               percent          additional    projected
                                                                                                                                             IDR take-up                        additional
                                                                                                                                                              IDR take-up                       additional           default           volume,       volume
                                                                                                                                               increase                          volume
                                                                                                                                                                increase                         volume             reduction       25% default     repaid on
                                                                                                                                                                                                                                      reduction        IDR
                                                                                                                                                                                                                                    combination

                                            Modification through cohort 2023 .............................................                        $75.89            $70.91          $70.91            $70.91             $70.91          $70.91         $70.91
                                            Outlays for cohorts 2024–2033 .................................................                       194.00            173.20          171.90            312.68              78.25          256.66          56.50

                                                 Total ...................................................................................        269.89            244.11          242.81            383.59             149.16          327.57         127.40



                                            6. Accounting Statement                                                              ten loan cohorts following                                        Statement. This table provides our best
                                               As required by OMB Circular A–4, we                                               implementation of this rule. The                                  estimate of the changes in annualized
                                            have prepared an accounting statement                                                cashflows are discounted to the year of                           monetized transfers as a result of these
                                            showing the classification of the                                                    the origination cohort in the modeling                            final regulations. Expenditures are
                                            expenditures associated with the                                                     process and then those amounts are                                classified as transfers from the Federal
                                            provisions of these regulations. These                                               discounted at 3 and 7 percent to the                              government to affected student loan
                                            effects occur over the lifetime of the first                                         present year in this Accounting                                   borrowers.

                                                                  TABLE 6.1—ACCOUNTING STATEMENT: CLASSIFICATION OF ESTIMATED ANNUALIZED EXPENDITURES
                                                                                                                                                            [in millions]

                                                                                                                                             Category                                                                                        Benefits

                                            Improved options for affordable loan repayment ....................................................................................................................                      Not quantified.
                                            Increased college enrollment, attainment, and degree completion ........................................................................................                                 Not quantified.
                                            Reduced risk of delinquency and default for borrowers .........................................................................................................                          Not quantified.
                                            Reduced administrative burden for Department due to reduced default and collection actions ............................................                                                  Not quantified.


                                                                                                                                                                                                                                        Costs
                                                                                                                                   Category
                                                                                                                                                                                                                                7%                  3%

                                            Costs of compliance with paperwork requirements ................................................................................................                                          TBD                TBD
                                            Increased administrative costs to Federal government to updates systems and contracts to implement the final
                                              regulations ............................................................................................................................................................                $2.3               $2.0


                                                                                                                                                                                                                                      Transfers
                                                                                                                                   Category
                                                                                                                                                                                                                                7%                  3%

                                            Reduced transfers from IDR borrowers due to increased income protection, lower income percentage for pay-
                                              ment, potential early forgiveness based on balance, and other IDR program changes .....................................                                                             17,871.0         16,551.60



                                            7. Alternatives Considered                                                           higher likelihood of being successfully                              As noted in the IDR NPRM, we
                                                                                                                                 repaid.                                                           considered suggestions made during
                                              The Department considered the                                                                                                                        negotiated rulemaking to provide partial
                                            following items, many of which are also                                                The Department also considered
                                                                                                                                 whether to permit borrowers with a                                principal forgiveness to borrowers as
                                            discussed in the preamble to this final                                                                                                                they repaid. We lack the legal authority
                                                                                                                                 consolidation loan that repaid a Parent
                                            rule.                                                                                                                                                  to enact such a policy change.
                                                                                                                                 PLUS loan to access REPAYE. However,
                                              The Department considered                                                          we do not believe that extending                                     Relatedly, we considered alternative
                                            suggestions by commenters to provide                                                 benefits to these borrowers would                                 proposals for calculating time to
                                            payments equal to 5 percent of                                                       accomplish our goal of focusing on the                            forgiveness, including different
                                            discretionary income on all loan types.                                              loans at the greatest risk of delinquency                         formulas for early forgiveness that
                                            However, we believe that doing so                                                    and default. Moreover, we are                                     started sooner than 10 years, forgiveness
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                                            would not address the Department’s                                                   concerned that extending such benefits                            after a shorter period for borrowers with
                                            goals of targeting benefits on the types                                             could create a high risk of moral hazard                          very low incomes or those who receive
                                            of loans that are most likely to                                                     for borrowers who are close to                                    public assistance, or a proposal in
                                            experience delinquency and default.                                                  retirement age. Instead, we think                                 which borrowers would receive
                                            The result would be expending                                                        broader reforms of the Parent PLUS loan                           differing periods of credit toward
                                            additional transfers to loans that have a                                            program would be a better solution.                               forgiveness if they had lower incomes.


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                                            For the periods shorter than 10 years,                    periods in deferment or forbearance.                       The Small Business Administration
                                            we do not think it would be appropriate                   However, we are concerned that doing                    (SBA) defines ‘‘small institution’’ using
                                            to provide forgiveness sooner than the                    so would create disincentives for                       data on revenue, market dominance, tax
                                            10 years offered by the standard 10-year                  borrowers to choose IDR over other                      filing status, governing body, and
                                            repayment plan. For the other                             types of deferments or forbearances                     population. The majority of entities to
                                            proposals, we are concerned about                         when they would have a non-$0                           which the Office of Postsecondary
                                            complexity, particularly any structure                    payment on IDR. For instance, a                         Education’s (OPE) regulations apply are
                                            that would only provide benefits after a                  borrower might be incentivized to pick                  postsecondary institutions, however,
                                            consecutive period in a status, since that                a discretionary forbearance, which can                  which do not report such data to the
                                            could create situations where a                           be obtained without the need to provide                 Department. As a result, for purposes of
                                            borrower on the cusp of forgiveness                       any documentation of hardship.
                                                                                                                                                              this IDR NPRM, the Department
                                            would paradoxically be worse off for                      Therefore, we believe the deferments
                                                                                                                                                              proposes to continue defining ‘‘small
                                            earning more money.                                       and forbearances we are proposing to
                                              We also considered suggestions by                                                                               entities’’ by reference to enrollment, to
                                                                                                      credit are the correct ones.
                                            commenters to both increase or decrease                                                                           allow meaningful comparison of
                                            the amount of income protected from                       8. Regulatory Flexibility Act                           regulatory impact across all types of
                                            loan payments. We discuss our reasons                        The Secretary certifies, under the                   higher education institutions. The
                                            for not changing this level upward or                     Regulatory Flexibility Act (5 U.S.C. 601                enrollment standard for a small two-
                                            downward in the preamble to this final                    et seq.), that this final regulatory action             year institution is less than 500 full-
                                            rule.                                                     would not have a significant economic                   time-equivalent (FTE) students and for a
                                              Finally, we considered suggestions by                   impact on a substantial number of                       small 4-year institution, less than 1,000
                                            commenters to provide credit for all                      ‘‘small entities.’’                                     FTE students.163




                                              Table 8.1 summarizes the number of                      economic impact on small entities                       average total revenue at small
                                            institutions affected by these final                      affected by the regulations because IDR                 institutions ranges from $2.3 million for
                                            regulations. The Department has                           plans are between borrowers and the                     proprietary institutions to $21.3 million
                                            determined that there would be no                         Department. As seen in Table 8.2, the                   at private institutions.
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                                              163 In previous regulations, the Department             50,000. Those definitions resulted in the               proprietary institutions, 50 percent of 4-year and 90
                                            categorized small businesses based on tax status.         categorization of all private nonprofit organizations   percent of 2-year or less proprietary institutions
                                            Those regulations defined ‘‘non-profit                    as small and no public institutions as small. Under     would be considered small. By contrast, an
                                            organizations’’ as ‘‘small organizations’’ if they were   the previous definition, proprietary institutions       enrollment-based definition applies the same metric
                                            independently owned and operated and not                  were considered small if they are independently         to all types of institutions, allowing consistent
                                            dominant in their field of operation, or as ‘‘small       owned and operated and not dominant in their field      comparison across all types.
                                                                                                                                                                                                                      ER10JY23.001</GPH>




                                            entities’’ if they were institutions controlled by        of operation with total annual revenue below
                                            governmental entities with populations below              $7,000,000. Using FY 2017 IPEDs finance data for


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                                              The IDR regulations will not have a                     the Federal Register and seek public                  toward forgiveness; reduce the time to
                                            significant impact on a substantial                       comment on those documents. A                         forgiveness under the REPAYE plan for
                                            number of small entities because IDR                      Federal agency may not conduct or                     borrowers with low original loan
                                            plans are arrangements between the                        sponsor a collection of information                   balances; modify the IBR plan
                                            borrower and the Department. As noted                     unless OMB approves the collection                    regulations to clarify that borrowers in
                                            in the Paperwork Reduction Act section,                   under the PRA and the corresponding                   default are eligible to make payments
                                            burden related to the final regulations                   information collection instrument                     under the plan under some conditions;
                                            will be assessed in a separate                            displays a currently valid OMB control                modify the regulations for all IDR plans
                                            information collection process and that                   number. Notwithstanding any other                     to allow for periods under certain
                                            burden is expected to involve                             provision of law, no person is required               deferments and forbearances to count
                                            individuals more than institutions of                     to comply with, or is subject to penalty              toward forgiveness; modify the
                                            any size.                                                 for failure to comply with, a collection              regulations applicable to all IDR plans
                                                                                                      of information if the collection                      to allow borrowers an opportunity to
                                            9. Paperwork Reduction Act of 1995                        instrument does not display a currently               make catch-up payments for all other
                                               As part of its continuing effort to                    valid OMB control number.                             periods in deferment or forbearance;
                                            reduce paperwork and respondent                              Section 685.209—Income-driven                      modify the regulations for all IDR plans
                                            burden, the Department provides the                       repayment plans.                                      to clarify that a borrower’s progress
                                            general public and Federal agencies                          Requirements: The Department                       toward forgiveness does not fully reset
                                            with an opportunity to comment on                         amended § 685.209 to include                          when a borrower consolidates loans on
                                            proposed and continuing collections of                    regulations for all of the IDR plans,                 which a borrower had previously made
                                            information in accordance with the                        which are plans with monthly payments                 qualifying payments; modify the
                                            Paperwork Reduction Act of 1995 (PRA)                     based in whole or in part on income and               regulations for all IDR plans to provide
                                            (44 U.S.C. 3506(c)(2)(A)). This helps                     family size. These amendments include                 that any borrowers who are at least 75
                                            make certain that the public                              changes to the PAYE, REPAYE, IBR and                  days delinquent on their loan payments
                                            understands the Department’s collection                   ICR plans. Specifically, § 685.209 is                 will be automatically enrolled in the
                                            instructions, respondents can provide                     amended to: modify the terms of the                   IDR plan for which the borrower is
                                            the requested data in the desired format,                 REPAYE plan to reduce monthly                         eligible and that produces the lowest
                                            reporting burden (time and financial                      payment amounts to 5 percent of                       monthly payments for them; and limit
                                            resources) is minimized, collection                       discretionary income for the percent of               eligibility for the ICR plan to (1)
                                            instruments are clearly understood, and                   a borrower’s total original loan volume               borrowers who began repaying under
                                            the Department can properly assess the                    attributable to loans received for their              the ICR plan before the effective date of
                                            impact of collection requirements on                      undergraduate study; under the                        the regulations, and (2) borrowers
                                            respondents.                                              modified REPAYE plan, increase the                    whose loans include a Direct
                                               Section 685.209 of this final rule                     amount of discretionary income                        Consolidation Loan made on or after
                                            contains information collection                           exempted from the calculation of                      July 1, 2006, that repaid a parent PLUS
                                            requirements. Under the PRA, the                          payments to 225 percent; under the                    loan.
                                            Department has or will at the required                    modified REPAYE plan, do not charge                      Burden Calculation: These changes
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                                            time submit a copy of the section and                     unpaid accrued interest each month                    will require an update to the current
                                            an Information Collections Request to                     after applying a borrower’s payment;                  IDR plan request form used by
                                            OMB for its review. PRA approval will                     simplify the alternative repayment plan               borrowers to sign up for IDR, complete
                                            be sought via a separate information                      that a borrower is placed on if they fail             annual recertification, or have their
                                            collection process. The Department will                   to recertify their income and allow up                payment amount recalculated. The form
                                            publish these information collections in                  to 12 payments on this plan to count                  update will be completed and made
                                                                                                                                                                                                        ER10JY23.002</GPH>




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                                            available for comment through a full                      Driven Repayment Plan Request for the                 information collections, the information
                                            public clearance package before being                     William D. Ford Federal Direct Loans                  being collected and the collections that
                                            made available for use by the effective                   and Federal Family Education Loan                     the Department will submit to OMB for
                                            date of the regulations. The burden                       Programs.                                             approval and public comment under the
                                            changes will be assessed to OMB                             Consistent with the discussions                     PRA, and the estimated costs associated
                                            Control Number 1845–0102, Income                          above, Table 9.1 describes the sections               with the information collections.
                                                                                                      of the final regulations involving
                                                                                                   TABLE 9.1—PRA INFORMATION COLLECTION
                                                                                                                           OMB Control No. and estimated
                                             Regulatory section                    Information collection                                                            Estimated cost unless otherwise noted
                                                                                                                                     burden

                                            § 685.209 IDR Plans        The final regulations at § 685.209 will          1845–0102 Burden will be cleared at a        Costs will be cleared through separate
                                                                         be amended to include regulations                later date through a separate infor-         information collection for the form.
                                                                         for all of the IDR plans. These                  mation collection for the form.
                                                                         amendments include changes to the
                                                                         PAYE, IBR, and ICR plans, and pri-
                                                                         marily to the REPAYE plan.



                                               We will prepare an Information                         levels of government. The regulations                 and recordkeeping requirements,
                                            Collection Request for the information                    do not have Federalism implications.                  Student aid, Vocational education.
                                            collection requirements following the
                                                                                                      Regulatory Flexibility Act Certification              34 CFR Part 685
                                            finalization of this Final Rule. A notice
                                            will be published in the Federal                             Pursuant to 5 U.S.C. 601(2), the                     Administrative practice and
                                            Register at that time providing a draft                   Regulatory Flexibility Act applies only               procedure, Colleges and universities,
                                            version of the form for public review                     to rules for which an agency publishes                Education, Loan programs-education,
                                            and inviting public comment. The                          a general notice of proposed                          Reporting and recordkeeping
                                            collection associated with this IDR                       rulemaking.                                           requirements, Student aid, Vocational
                                            NPRM is 1845–0102.                                           Accessible Format: On request to the               education.
                                                                                                      program contact person listed under FOR
                                            10. Intergovernmental Review                                                                                    Miguel A. Cardona,
                                                                                                      FURTHER INFORMATION CONTACT,
                                               This program is subject to Executive                                                                         Secretary of Education.
                                                                                                      individuals with disabilities can obtain
                                            Order 12372 and the regulations in 34                     this document in an accessible format.                  For the reasons discussed in the
                                            CFR part 79. One of the objectives of the                 The Department will provide the                       preamble, the Secretary amends parts
                                            Executive Order is to foster an                           requestor with an accessible format that              682 and 685 of title 34 of the Code of
                                            intergovernmental partnership and a                       may include Rich Text Format (RTF) or                 Federal Regulations as follows:
                                            strengthened Federalism. The Executive                    text format (txt), a thumb drive, an MP3
                                            order relies on processes developed by                    file, braille, large print, audiotape, or             PART 682—FEDERAL FAMILY
                                            State and local governments for                           compact disc, or other accessible format.             EDUCATION LOAN (FFEL) PROGRAM
                                            coordination and review of proposed                          Electronic Access to This Document:
                                                                                                                                                            ■ 1. The authority citation for part 682
                                            Federal financial assistance.                             The official version of this document is
                                               This document provides early                                                                                 continues to read as follows:
                                                                                                      the document published in the Federal
                                            notification of our specific plans and                    Register. You may access the official                   Authority: 20 U.S.C. 1071–1087–4, unless
                                            actions for this program.                                 edition of the Federal Register and the               otherwise noted.
                                                                                                      Code of Federal Regulations at                        ■ 2. Section 682.215 is amended by
                                            11. Assessment of Education Impact
                                                                                                      www.govinfo.gov. At this site you can                 revising paragraph (a)(3) to read as
                                              In accordance with section 411 of the                   view this document, as well as all other              follows:
                                            General Education Provisions Act, 20                      documents of this Department
                                            U.S.C. 1221e–4, the Secretary                                                                                   § 682.215    Income-based repayment plan.
                                                                                                      published in the Federal Register, in
                                            particularly requests comments on                         text or Portable Document Format                        (a) * * *
                                            whether these final regulations would                     (PDF). To use PDF, you must have                        (3) Family size means the number of
                                            require transmission of information that                  Adobe Acrobat Reader, which is                        individuals that is determined by
                                            any other agency or authority of the                      available free at the site.                           adding together—
                                            United States gathers or makes                                                                                     (i) The borrower;
                                                                                                         You may also access documents of the
                                            available.                                                                                                         (ii) The borrower’s spouse, for a
                                                                                                      Department published in the Federal
                                                                                                                                                            married borrower filing a joint Federal
                                            12. Federalism                                            Register by using the article search
                                                                                                                                                            income tax return;
                                               Executive Order 13132 requires us to                   feature at www.federalregister.gov.                      (iii) The borrower’s children,
                                            provide meaningful and timely input by                    Specifically, through the advanced                    including unborn children who will be
                                            State and local elected officials in the                  search feature at this site, you can limit            born during the year the borrower
                                            development of regulatory policies that                   your search to documents published by                 certifies family size, if the children
                                            have Federalism implications.                             the Department.                                       receive more than half their support
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                                            ‘‘Federalism implications’’ means                         List of Subjects                                      from the borrower and are not included
                                            substantial direct effects on the States,                                                                       in the family size for any other borrower
                                            on the relationship between the                           34 CFR Part 682                                       except the borrower’s spouse who filed
                                            National Government and the States, or                      Administrative practice and                         jointly with the borrower; and
                                            on the distribution of power and                          procedure, Colleges and universities,                    (iv) Other individuals if, at the time
                                            responsibilities among the various                        Loan programs—education, Reporting                    the borrower certifies family size, the


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                                            other individuals live with the borrower                    (b) Definitions. The following                      of taxable income received by the
                                            and receive more than half their support                  definitions apply to this section:                    borrower and provided to the Secretary.
                                            from the borrower and will continue to                       Discretionary income means the                        Income-driven repayment plan means
                                            receive this support from the borrower                    greater of $0 or the difference between               a repayment plan in which the monthly
                                            for the year for which the borrower                       the borrower’s income as determined                   payment amount is primarily
                                            certifies family size.                                    under paragraph (e)(1) of this section                determined by the borrower’s income.
                                            *     *     *     *    *                                  and—                                                     Monthly payment or the equivalent
                                                                                                         (i) For the REPAYE plan, 225 percent               means—
                                            PART 685—WILLIAM D. FORD                                  of the applicable Federal poverty                        (i) A required monthly payment as
                                            FEDERAL DIRECT LOAN PROGRAM                               guideline;                                            determined in accordance with
                                                                                                         (ii) For the IBR and PAYE plans, 150               paragraphs (k)(4)(i) through (iii) of this
                                            ■ 3. The authority citation for part 685                  percent of the applicable Federal                     section;
                                            continues to read as follows:                             poverty guideline; and                                   (ii) A month in which a borrower
                                              Authority: 20 U.S.C. 1070g, 1087a, et seq.,
                                                                                                         (iii) For the ICR plan, 100 percent of             receives a deferment or forbearance of
                                            unless otherwise noted.                                   the applicable Federal poverty                        repayment under one of the deferment
                                                                                                      guideline.                                            or forbearance conditions listed in
                                            ■ 4. In § 685.102, in paragraph (b), the
                                                                                                         Eligible loan, for purposes of                     paragraphs (k)(4)(iv) of this section; or
                                            definition of ‘‘Satisfactory repayment                    determining partial financial hardship
                                            arrangement’’ is amended by revising                                                                               (iii) A month in which a borrower
                                                                                                      status and for adjusting the monthly                  makes a payment in accordance with
                                            paragraph (2)(ii) to read as follows:                     payment amount in accordance with                     procedures in paragraph (k)(6) of this
                                            § 685.102   Definitions.                                  paragraph (g) of this section means—                  section.
                                                                                                         (i) Any outstanding loan made to a                    New borrower means—
                                            *      *    *     *     *
                                              (b) * * *                                               borrower under the Direct Loan                           (i) For the purpose of the PAYE plan,
                                              Satisfactory repayment arrangement:                     Program, except for a Direct PLUS Loan                an individual who—
                                            * * *                                                     made to a parent borrower, or a Direct                   (A) Has no outstanding balance on a
                                              (2) * * *                                               Consolidation Loan that repaid a Direct               Direct Loan Program loan or a FFEL
                                              (ii) Agreeing to repay the Direct                       PLUS Loan or a Federal PLUS Loan                      Program loan as of October 1, 2007, or
                                            Consolidation Loan under one of the                       made to a parent borrower; and                        who has no outstanding balance on such
                                            income-driven repayment plans                                (ii) Any outstanding loan made to a                a loan on the date the borrower receives
                                            described in § 685.209.                                   borrower under the FFEL Program,                      a new loan after October 1, 2007; and
                                                                                                      except for a Federal PLUS Loan made to                   (B) Receives a disbursement of a
                                            *      *    *     *     *                                 a parent borrower, or a Federal                       Direct Subsidized Loan, a Direct
                                            ■ 5. Section 685.208 is amended by:                       Consolidation Loan that repaid a                      Unsubsidized Loan, a Direct PLUS Loan
                                            ■ a. Revising the section heading;                        Federal PLUS Loan or a Direct PLUS
                                            ■ b. Revising paragraphs (a) and (k); and
                                                                                                                                                            made to a graduate or professional
                                                                                                      Loan made to a parent borrower.                       student, or a Direct Consolidation Loan
                                            ■ c. Removing paragraphs (l) and (m).                        Family size means, for all IDR plans,
                                              The revisions read as follows:                                                                                on or after October 1, 2011, except that
                                                                                                      the number of individuals that is                     a borrower is not considered a new
                                            § 685.208   Fixed payment repayment plans.                determined by adding together—                        borrower if the Direct Consolidation
                                              (a) General. Under a fixed payment                         (i)(A) The borrower;                               Loan repaid a loan that would otherwise
                                                                                                         (B) The borrower’s spouse, for a
                                            repayment plan, the borrower’s required                                                                         make the borrower ineligible under
                                                                                                      married borrower filing a joint Federal
                                            monthly payment amount is determined                                                                            paragraph (1) of this definition.
                                                                                                      income tax return;                                       (ii) For the purposes of the IBR plan,
                                            based on the amount of the borrower’s                        (C) The borrower’s children,
                                            Direct Loans, the interest rates on the                                                                         an individual who has no outstanding
                                                                                                      including unborn children who will be
                                            loans, and the repayment plan’s                                                                                 balance on a Direct Loan or FFEL
                                                                                                      born during the year the borrower
                                            maximum repayment period.                                                                                       Program loan on July 1, 2014, or who
                                                                                                      certifies family size, if the children
                                            *     *     *    *     *                                                                                        has no outstanding balance on such a
                                                                                                      receive more than half their support
                                              (k) The repayment period for any of                     from the borrower and are not included                loan on the date the borrower obtains a
                                            the repayment plans described in this                     in the family size for any other borrower             loan after July 1, 2014.
                                            section does not include periods of                                                                                Partial financial hardship means—
                                                                                                      except the borrower’s spouse who filed
                                            authorized deferment or forbearance.                                                                               (i) For an unmarried borrower or for
                                                                                                      jointly with the borrower; and
                                                                                                                                                            a married borrower whose spouse’s
                                            ■ 6. Section 685.209 is revised to read                      (D) Other individuals if, at the time
                                                                                                      the borrower certifies family size, the               income and eligible loan debt are
                                            as follows:
                                                                                                      other individuals live with the borrower              excluded for purposes of determining a
                                            § 685.209   Income-driven repayment plans.                and receive more than half their support              payment amount under the IBR or PAYE
                                              (a) General. Income-driven repayment                    from the borrower and will continue to                plans in accordance with paragraph (e)
                                            (IDR) plans are repayment plans that                      receive this support from the borrower                of this section, a circumstance in which
                                            base the borrower’s monthly payment                       for the year for which the borrower                   the Secretary determines that the annual
                                            amount on the borrower’s income and                       certifies family size.                                amount the borrower would be required
                                            family size. The four IDR plans are—                         (ii) The Department may calculate                  to pay on the borrower’s eligible loans
                                               (1) The Revised Pay As You Earn                        family size based on Federal tax                      under the 10-year standard repayment
                                            (REPAYE) plan, which may also be                          information reported to the Internal                  plan is more than what the borrower
                                            referred to as the Saving on a Valuable                   Revenue Service.                                      would pay under the IBR or PAYE plan
                                            Education (SAVE) plan;                                       Income means either—                               as determined in accordance with
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                                               (2) The Income-Based Repayment                            (i) The borrower’s and, if applicable,             paragraph (f) of this section. The
                                            (IBR) plan;                                               the spouse’s, Adjusted Gross Income                   Secretary determines the annual amount
                                               (3) The Pay As You Earn (PAYE)                         (AGI) as reported to the Internal                     that would be due under the 10-year
                                            Repayment plan; and                                       Revenue Service; or                                   Standard Repayment plan based on the
                                               (4) The Income-Contingent                                 (ii) The amount calculated based on                greater of the balances of the borrower’s
                                            Repayment (ICR) plan;                                     alternative documentation of all forms                eligible loans that were outstanding at


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                                            the time the borrower entered                             repay under the ICR plan only if the                  reasonably access the spouse’s income,
                                            repayment on the loans or the balances                    borrower—                                             only the borrower’s income is used in
                                            on those loans that were outstanding at                      (A) Has loans eligible for repayment               the calculation.
                                            the time the borrower selected the IBR                    under the plan; and                                      (B) For a married borrower filing a
                                            or PAYE plan.                                                (B) Was repaying a loan under the ICR              joint Federal income tax return, except
                                               (ii) For a married borrower whose                      plan on July 1, 2024. A borrower who                  as provided in paragraph (e)(1)(i)(A) of
                                            spouse’s income and eligible loan debt                    was repaying under the ICR plan on or                 this section, the combined income of the
                                            are included for purposes of                              after July 1, 2024 and changes to a                   borrower and spouse is used in the
                                            determining a payment amount under                        different repayment plan in accordance                calculation.
                                            the IBR or PAYE plan in accordance                        with § 685.210(b) may not re-enroll in                   (ii) For purposes of calculating the
                                            with paragraph (e) of this section, the                   the ICR plan unless they meet the                     monthly payment amount under the ICR
                                            Secretary’s determination of partial                      criteria in paragraph (c)(4)(ii) of this              plan—
                                            financial hardship as described in                        section.                                                 (A) For an unmarried borrower, a
                                            paragraph (1) of this definition is based                    (ii) A borrower may choose the ICR                 married borrower filing a separate
                                            on the income and eligible loan debt of                   plan to repay a Direct Consolidation                  Federal income tax return, or a married
                                            the borrower and the borrower’s spouse.                   Loan disbursed on or after July 1, 2006               borrower filing a joint Federal tax return
                                               Poverty guideline refers to the income                 and that repaid a parent Direct PLUS                  who certifies that the borrower is
                                            categorized by State and family size in                   Loan or a parent Federal PLUS Loan.                   currently separated from the borrower’s
                                            the Federal poverty guidelines                               (iii) A borrower who has a Direct
                                                                                                                                                            spouse or is currently unable to
                                            published annually by the United States                   Consolidation Loan disbursed on or
                                                                                                                                                            reasonably access the spouse’s income,
                                            Department of Health and Human                            after July 1, 2025, which repaid a Direct
                                                                                                                                                            only the borrower’s income is used in
                                            Services pursuant to 42 U.S.C. 9902(2).                   parent PLUS loan, a FFEL parent PLUS
                                                                                                                                                            the calculation.
                                            If a borrower is not a resident of a State                loan, or a Direct Consolidation Loan that
                                                                                                                                                               (B) For married borrowers (regardless
                                            identified in the Federal poverty                         repaid a consolidation loan that
                                                                                                                                                            of tax filing status) who elect to repay
                                            guidelines, the Federal poverty                           included a Direct PLUS or FFEL PLUS
                                                                                                                                                            their Direct Loans jointly under the ICR
                                            guideline to be used for the borrower is                  loan may not choose any IDR plan
                                                                                                                                                            Plan or (except as provided in paragraph
                                            the Federal poverty guideline (for the                    except the ICR plan.
                                                                                                         (d) Loans eligible to be repaid under              (e)(1)(ii)(A) of this section) for a married
                                            relevant family size) used for the 48                                                                           borrower filing a joint Federal income
                                            contiguous States.                                        an IDR plan. (1) The following loans are
                                                                                                      eligible to be repaid under the REPAYE                tax return, the combined income of the
                                               Support includes money, gifts, loans,                                                                        borrower and spouse is used in the
                                            housing, food, clothes, car, medical and                  and PAYE plans: Direct Subsidized
                                                                                                      Loans, Direct Unsubsidized Loans,                     calculation.
                                            dental care, and payment of college                                                                                (2) Loan debt. (i) For the REPAYE,
                                            costs.                                                    Direct PLUS Loans made to graduate or
                                                                                                      professional students, and Direct                     IBR, and PAYE plans, the spouse’s
                                               (c) Borrower eligibility for IDR plans.                                                                      eligible loan debt is included for the
                                            (1) Except as provided in paragraph                       Consolidation Loans that did not repay
                                                                                                      a Direct parent PLUS Loan or a Federal                purposes of adjusting the borrower’s
                                            (d)(2) of this section, defaulted loans                                                                         monthly payment amount as described
                                            may not be repaid under an IDR plan.                      parent PLUS Loan;
                                                                                                         (2) The following loans, including                 in paragraph (g) of this section if the
                                               (2) Any Direct Loan borrower may                                                                             spouse’s income is included in the
                                            repay under the REPAYE plan if the                        defaulted loans, are eligible to be repaid
                                                                                                      under the IBR plan: Direct Subsidized                 calculation of the borrower’s monthly
                                            borrower has loans eligible for                                                                                 payment amount in accordance with
                                            repayment under the plan;                                 Loans, Direct Unsubsidized Loans,
                                                                                                      Direct PLUS Loans made to graduate or                 paragraph (e)(1) of this section.
                                               (3)(i) Except as provided in paragraph
                                                                                                      professional students, and Direct                        (ii) For the ICR plan, the spouse’s
                                            (c)(3)(ii) of this section, any Direct Loan
                                                                                                      Consolidation Loans that did not repay                loans that are eligible for repayment
                                            borrower may repay under the IBR plan
                                                                                                      a Direct parent PLUS Loan or a Federal                under the ICR plan in accordance with
                                            if the borrower has loans eligible for
                                                                                                      parent PLUS Loan.                                     paragraph (d)(3) of this section are
                                            repayment under the plan and has a
                                                                                                         (3) The following loans are eligible to            included in the calculation of the
                                            partial financial hardship when the
                                                                                                      be repaid under the ICR plan: Direct                  borrower’s monthly payment amount
                                            borrower initially enters the plan.
                                               (ii) A borrower who has made 60 or                     Subsidized Loans, Direct Unsubsidized                 only if the borrower and the borrower’s
                                            more qualifying repayments under the                      Loans, Direct PLUS Loans made to                      spouse elect to repay their eligible
                                            REPAYE plan on or after July 1, 2024,                     graduate or professional students, and                Direct Loans jointly under the ICR plan.
                                            may not enroll in the IBR plan.                           all Direct Consolidation Loans                           (f) Monthly payment amounts. (1) For
                                               (4) A borrower may repay under the                     (including Direct Consolidation Loans                 the REPAYE plan, the borrower’s
                                            PAYE plan only if the borrower—                           that repaid Direct parent PLUS Loans or               monthly payments are—
                                               (i) Has loans eligible for repayment                   Federal parent PLUS Loans), except for                   (i) $0 for the portion of the borrower’s
                                            under the plan;                                           Direct PLUS Consolidation Loans made                  income, as determined under paragraph
                                               (ii) Is a new borrower;                                before July 1, 2006.                                  (e)(1) of this section, that is less than or
                                               (iii) Has a partial financial hardship                    (e) Treatment of income and loan                   equal to 225 percent of the applicable
                                            when the borrower initially enters the                    debt. (1) Income. (i) For purposes of                 Federal poverty guideline; plus
                                            plan; and                                                 calculating the borrower’s monthly                       (ii) 5 percent of the portion of income
                                               (iv) Was repaying a loan under the                     payment amount under the REPAYE,                      as determined under paragraph (e)(1) of
                                            PAYE plan on July 1, 2024. A borrower                     IBR, and PAYE plans—                                  this section that is greater than 225
                                            who was repaying under the PAYE plan                         (A) For an unmarried borrower, a                   percent of the applicable poverty
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                                            on or after July 1, 2024 and changes to                   married borrower filing a separate                    guideline, prorated by the percentage
                                            a different repayment plan in                             Federal income tax return, or a married               that is the result of dividing the
                                            accordance with § 685.210(b) may not                      borrower filing a joint Federal tax return            borrower’s original total loan balance
                                            re-enroll in the PAYE plan.                               who certifies that the borrower is                    attributable to eligible loans received for
                                               (5)(i) Except as provided in paragraph                 currently separated from the borrower’s               the borrower’s undergraduate study by
                                            (c)(4)(ii) of this section, a borrower may                spouse or is currently unable to                      the original total loan balance


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                                            attributable to all eligible loans, divided               before any payment is credited toward                 charges the remaining accrued interest
                                            by 12; plus                                               principal.                                            to the borrower in accordance with
                                               (iii) For loans not subject to paragraph                  (g) Adjustments to monthly payment                 paragraphs (h)(1) through (3) of this
                                            (f)(1)(ii) of this section, 10 percent of the             amounts. (1) Monthly payment amounts                  section.
                                            portion of income as determined under                     calculated under paragraphs (f)(1)                       (1) Under the REPAYE plan, during
                                            paragraph (e)(1) of this section that is                  through (3) of this section will be                   all periods of repayment on all loans
                                            greater than 225 percent of the                           adjusted in the following circumstances:              being repaid under the REPAYE plan,
                                            applicable Federal poverty guidelines,                       (i) In cases where the spouse’s loan               the Secretary does not charge the
                                            prorated by the percentage that is the                    debt is included in accordance with                   borrower’s account any accrued interest
                                            result of dividing the borrower’s original                paragraph (e)(2)(i) of this section, the              that is not covered by the borrower’s
                                            total loan balance minus the original                     borrower’s payment is adjusted by—                    payment;
                                            total loan balance of loans subject to                       (A) Dividing the outstanding principal                (2)(i) Under the IBR and PAYE plans,
                                            paragraph (f)(1)(ii) of this section by the               and interest balance of the borrower’s                the Secretary does not charge the
                                            borrower’s original total loan balance                    eligible loans by the couple’s combined               borrower’s account with an amount
                                            attributable to all eligible loans, divided               outstanding principal and interest                    equal to the amount of accrued interest
                                            by 12.                                                    balance on eligible loans; and                        on the borrower’s Direct Subsidized
                                               (2) For new borrowers under the IBR                       (B) Multiplying the borrower’s                     Loans and Direct Subsidized
                                            plan and for all borrowers on the PAYE                    payment amount as calculated in                       Consolidation Loans that is not covered
                                            plan, the borrower’s monthly payments                     accordance with paragraphs (f)(1)                     by the borrower’s payment for the first
                                            are the lesser of—                                        through (3) of this section by the                    three consecutive years of repayment
                                               (i) 10 percent of the borrower’s                       percentage determined under paragraph                 under the plan, except as provided for
                                            discretionary income, divided by 12; or                   (g)(1)(i) of this section.                            the IBR and PAYE plans in paragraph
                                               (ii) What the borrower would have                         (C) If the borrower’s calculated                   (h)(2)(ii) of this section;
                                            paid on a 10-year standard repayment                      payment amount is—                                       (ii) Under the IBR and PAYE plans,
                                            plan based on the eligible loan balances                     (1) Less than $5, the monthly payment              the 3-year period described in paragraph
                                            and interest rates on the loans at the                    is $0; or                                             (h)(2)(i) of this section excludes any
                                            time the borrower began paying under                         (2) Equal to or greater than $5 but less           period during which the borrower
                                            the IBR or PAYE plans.                                    than $10, the monthly payment is $10.                 receives an economic hardship
                                               (3) For those who are not new                             (ii) In cases where the borrower has               deferment under § 685.204(g); and
                                            borrowers under the IBR plan, the                         outstanding eligible loans made under                    (3) Under the ICR plan, the Secretary
                                            borrower’s monthly payments are the                       the FFEL Program, the borrower’s                      charges all accrued interest to the
                                            lesser of—                                                calculated monthly payment amount, as                 borrower.
                                               (i) 15 percent of the borrower’s                       determined in accordance with                            (i) Changing repayment plans. A
                                            discretionary income, divided by 12; or                   paragraphs (f)(1) through (3) of this                 borrower who is repaying under an IDR
                                               (ii) What the borrower would have                      section or, if applicable, the borrower’s             plan may change at any time to any
                                            paid on a 10-year standard repayment                      adjusted payment as determined in                     other repayment plan for which the
                                            plan based on the eligible loan balances                  accordance with paragraph (g)(1) of this              borrower is eligible, except as otherwise
                                            and interest rates on the loans at the                    section is adjusted by—                               provided in § 685.210(b).
                                            time the borrower began paying under                         (A) Dividing the outstanding principal                (j) Interest capitalization. (1) Under
                                            the IBR plan.                                             and interest balance of the borrower’s                the REPAYE, PAYE, and ICR plans, the
                                               (4)(i) For the ICR plan, the borrower’s                eligible loans that are Direct Loans by               Secretary capitalizes unpaid accrued
                                            monthly payments are the lesser of—                       the borrower’s total outstanding                      interest in accordance with § 685.202(b).
                                               (A) What the borrower would have                       principal and interest balance on                        (2) Under the IBR plan, the Secretary
                                            paid under a repayment plan with fixed                    eligible loans; and                                   capitalizes unpaid accrued interest—
                                            monthly payments over a 12-year                              (B) Multiplying the borrower’s                        (i) In accordance with § 685.202(b);
                                            repayment period, based on the amount                     payment amount as calculated in                          (ii) When a borrower’s payment is the
                                            that the borrower owed when the                           accordance with paragraphs (f)(1)                     amount described in paragraphs (f)(2)(ii)
                                            borrower began repaying under the ICR                     through (3) of this section or the                    and (f)(3)(ii) of this section; and
                                            plan, multiplied by a percentage based                    borrower’s adjusted payment amount as                    (iii) When a borrower leaves the IBR
                                            on the borrower’s income as established                   determined in accordance with                         plan.
                                            by the Secretary in a Federal Register                    paragraph (g)(1) of this section by the                  (k) Forgiveness timeline. (1) In the
                                            notice published annually to account for                  percentage determined under paragraph                 case of a borrower repaying under the
                                            inflation; or                                             (g)(2)(i) of this section.                            REPAYE plan who is repaying at least
                                               (B) 20 percent of the borrower’s                          (C) If the borrower’s calculated                   one loan received for graduate or
                                            discretionary income, divided by 12.                      payment amount is—                                    professional study, or a Direct
                                               (ii)(A) Married borrowers may repay                       (1) Less than $5, the monthly payment              Consolidation Loan that repaid one or
                                            their loans jointly under the ICR plan.                   is $0; or                                             more loans received for graduate or
                                            The outstanding balances on the loans                        (2) Equal to or greater than $5 but less           professional study, a borrower repaying
                                            of each borrower are added together to                    than $10, the monthly payment is $10.                 under the IBR plan who is not a new
                                            determine the borrowers’ combined                            (2) Monthly payment amounts                        borrower, or a borrower repaying under
                                            monthly payment amount under                              calculated under paragraph (f)(4) of this             the ICR plan, the borrower receives
                                            paragraph (f)(4)(i) of this section;                      section will be adjusted to $5 in                     forgiveness of the remaining balance of
                                               (B) The amount of the payment                          circumstances where the borrower’s                    the borrower’s loan after the borrower
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                                            applied to each borrower’s debt is the                    calculated payment amount is greater                  has satisfied 300 monthly payments or
                                            proportion of the payments that equals                    than $0 but less than or equal to $5.                 the equivalent in accordance with
                                            the same proportion as that borrower’s                       (h) Interest. If a borrower’s calculated           paragraph (k)(4) of this section over a
                                            debt to the total outstanding balance,                    monthly payment under an IDR plan is                  period of at least 25 years;
                                            except that the payment is credited                       insufficient to pay the accrued interest                 (2) In the case of a borrower repaying
                                            toward outstanding interest on any loan                   on the borrower’s loans, the Secretary                under the REPAYE plan who is repaying


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                                            only loans received for undergraduate                        (I) A Department of Defense Student                or greater than their current IDR
                                            study, or a Direct Consolidation Loan                     Loan Repayment forbearance under                      payment, including a payment of $0, for
                                            that repaid only loans received for                       § 685.205(a)(9) on or after July 1, 2024;             a deferment or forbearance that ended
                                            undergraduate study, a borrower                              (J) An administrative forbearance                  within 3 years of the additional
                                            repaying under the IBR plan who is a                      under § 685.205(b)(8) or (9) on or after              repayment date and occurred after July
                                            new borrower, or a borrower repaying                      July 1, 2024; or                                      1, 2024.
                                            under the PAYE plan, the borrower                            (K) A bankruptcy forbearance under                    (ii) Upon request, the Secretary
                                            receives forgiveness of the remaining                     § 685.205(b)(6)(viii) on or after July 1,             informs the borrower of the months for
                                            balance of the borrower’s loans after the                 2024 if the borrower made the required                which the borrower can make payments
                                            borrower has satisfied 240 monthly                        payments on a confirmed bankruptcy                    under paragraph (k)(6)(i) of this section.
                                            payments or the equivalent in                             plan.                                                    (l) Application and annual
                                            accordance with paragraph (k)(4) of this                     (v) Making a qualifying payment as                 recertification procedures. (1) To
                                            section over a period of at least 20 years;               described under § 685.219(c)(2),                      initially enter or recertify their intent to
                                              (3) Notwithstanding paragraphs (k)(1)                      (vi) (A) Counting payments a                       repay under an IDR plan, a borrower
                                            and (k)(2) of this section, a borrower                    borrower of a Direct Consolidation Loan               provides approval for the disclosure of
                                            receives forgiveness if the borrower’s                    made on the Direct Loans or FFEL                      applicable tax information to the
                                            total original principal balance on all                   program loans repaid by the Direct                    Secretary either as part of the process of
                                            loans that are being paid under the                       Consolidation Loan if the payments met                completing a Direct Loan Master
                                            REPAYE plan was less than or equal to                     the criteria in paragraph (k)(4) of this              Promissory Note or a Direct
                                            $12,000, after the borrower has satisfied                 section, the criteria in § 682.209(a)(6)(vi)          Consolidation Loan Application and
                                            120 monthly payments or the                               that were based on a 10-year repayment                Promissory Note in accordance with
                                            equivalent, plus an additional 12                         period, or the criteria in § 682.215.                 sections 455(e)(8) and 493C(c)(2) of the
                                            monthly payments or the equivalent                           (B) For a borrower whose Direct                    Act or on application form approved by
                                            over a period of at least 1 year for every                Consolidation Loan repaid loans with                  the Secretary;
                                            $1,000 if the total original principal                    more than one period of qualifying                       (2) If a borrower does not provide
                                            balance is above $12,000.                                 payments, the borrower receives credit                approval for the disclosure of applicable
                                                                                                      for the number of months equal to the                 tax information under sections 455(e)(8)
                                              (4) For all IDR plans, a borrower
                                                                                                      weighted average of qualifying                        and 493C(c)(2) of the Act when
                                            receives a month of credit toward
                                                                                                      payments made rounded up to the                       completing the promissory note or on
                                            forgiveness by—
                                                                                                      nearest whole month.                                  the application form for an IDR plan, the
                                              (i) Making a payment under an IDR                          (C) For borrowers whose Joint Direct               borrower must provide documentation
                                            plan or having a monthly payment                          Consolidation Loan is separated into                  of the borrower’s income and family
                                            obligation of $0;                                         individual Direct Consolidation loans,                size to the Secretary;
                                              (ii) Making a payment under the 10-                     each borrower receives credit for the                    (3) If the Secretary has received
                                            year standard repayment plan under                        number of months equal to the number                  approval for disclosure of applicable tax
                                            § 685.208(b);                                             of months that was credited prior to the              information, but cannot obtain the
                                              (iii) Making a payment under a                          separation; or,                                       borrower’s AGI and family size from the
                                            repayment plan with payments that are                        (vii) Making payments under                        Internal Revenue Service, the borrower
                                            as least as much as they would have                       paragraph (k)(6) of this section.                     and, if applicable, the borrower’s
                                            been under the 10-year standard                              (5) For the IBR plan only, a monthly               spouse, must provide documentation of
                                            repayment plan under § 685.208(b),                        repayment obligation for the purposes of              income and family size to the Secretary;
                                            except that no more than 12 payments                      forgiveness includes—                                    (4) After the Secretary obtains
                                            made under paragraph (l)(9)(iii) of this                     (i) A payment made pursuant to                     sufficient information to calculate the
                                            section may count toward forgiveness                      paragraph (k)(4)(i) or (k)(4)(ii) of this             borrower’s monthly payment amount,
                                            under the REPAYE plan;                                    section on a loan in default;                         the Secretary calculates the borrower’s
                                              (iv) Deferring or forbearing monthly                       (ii) An amount collected through                   payment and establishes the 12-month
                                            payments under the following                              administrative wage garnishment or                    period during which the borrower will
                                            provisions:                                               Federal Offset that is equivalent to the              be obligated to make a payment in that
                                              (A) A cancer treatment deferment                        amount a borrower would owe under                     amount;
                                            under section 455(f)(3) of the Act;                       paragraph (k)(4)(i) of this section, except              (5) The Secretary then sends to the
                                              (B) A rehabilitation training program                   that the number of monthly payment                    borrower a repayment disclosure that—
                                            deferment under § 685.204(e);                             obligations satisfied by the borrower                    (i) Specifies the borrower’s calculated
                                                                                                      cannot exceed the number of months                    monthly payment amount;
                                              (C) An unemployment deferment
                                                                                                      from the Secretary’s receipt of the                      (ii) Explains how the payment was
                                            under § 685.204(f);
                                                                                                      collected amount until the borrower’s                 calculated;
                                              (D) An economic hardship deferment                      next annual repayment plan                               (iii) Informs the borrower of the terms
                                            under § 685.204(g), which includes                        recertification date under IBR; or                    and conditions of the borrower’s
                                            volunteer service in the Peace Corps as                      (iii) An amount collected through                  selected repayment plan; and
                                            an economic hardship condition;                           administrative wage garnishment or                       (iv) Informs the borrower of how to
                                              (E) A military service deferment                        Federal Offset that is equivalent to the              contact the Secretary if the calculated
                                            under § 685.204(h);                                       amount a borrower would owe on the                    payment amount is not reflective of the
                                              (F) A post active-duty student                          10-year standard plan.                                borrower’s current income or family
                                            deferment under § 685.204(i);                                (6)(i) A borrower may obtain credit                size;
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                                              (G) A national service forbearance                      toward forgiveness as defined in                         (6) If the borrower believes that the
                                            under § 685.205(a)(4) on or after July 1,                 paragraph (k) of this section for any                 payment amount is not reflective of the
                                            2024;                                                     months in which a borrower was in a                   borrower’s current income or family
                                              (H) A national guard duty forbearance                   deferment or forbearance not listed in                size, the borrower may request that the
                                            under § 685.205(a)(7) on or after July 1,                 paragraph (k)(4)(iv) of this section by               Secretary recalculate the payment
                                            2024;                                                     making an additional payment equal to                 amount. To support the request, the


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                                            borrower must also submit alternative                     for a change in the borrower’s                        described in § 685.208(b) or (c) for the
                                            documentation of income or family size                    circumstances, such as a loss of income               borrower, as applicable.
                                            not based on tax information to account                   or employment or divorce. In such                        (3) All Direct Loans obtained by one
                                            for circumstances such as a decrease in                   cases, the 12-month period specified                  borrower must be repaid together under
                                            income since the borrower last filed a                    under paragraph (l)(4) of this section is             the same repayment plan, except that—
                                            tax return, the borrower’s separation                     reset based on the borrower’s new                        (i) A borrower of a Direct PLUS Loan
                                            from a spouse with whom the borrower                      information.                                          or a Direct Consolidation Loan that is
                                            had previously filed a joint tax return,                     (11) The Secretary tracks a borrower’s             not eligible for repayment under an IDR
                                            the birth or impending birth of a child,                  progress toward eligibility for                       plan may repay the Direct PLUS Loan or
                                            or other comparable circumstances;                        forgiveness under paragraph (k) of this               Direct Consolidation Loan separately
                                               (7) If the borrower provides                           section and forgives loans that meet the              from other Direct Loans obtained by the
                                            alternative documentation under                           criteria under paragraph (k) of this                  borrower; and
                                            paragraph (l)(6) of this section or if the                section without the need for an                          (ii) A borrower of a Direct PLUS
                                            Secretary obtains documentation from                      application or documentation from the                 Consolidation Loan that entered
                                            the borrower or spouse under paragraph                    borrower.                                             repayment before July 1, 2006, may
                                            (l)(3) of this section, the Secretary grants                 (m) Automatic enrollment in an IDR                 repay the Direct PLUS Consolidation
                                            forbearance under § 685.205(b)(9) to                      plan. The Secretary places a borrower                 Loan separately from other Direct Loans
                                            provide time for the Secretary to                         on the IDR plan under this section that               obtained by that borrower.
                                            recalculate the borrower’s monthly                        results in the lowest monthly payment                    (b) Changing repayment plans. (1) A
                                            payment amount based on the                               based on the borrower’s income and                    borrower who has entered repayment
                                            documentation obtained from the                           family size if—                                       may change to any other repayment
                                            borrower or spouse;                                          (1) The borrower is otherwise eligible             plan for which the borrower is eligible
                                               (8) Once the borrower has 3 monthly                    for the plan;                                         at any time by notifying the Secretary.
                                            payments remaining under the 12-                             (2) The borrower has approved the                  However, a borrower who is repaying a
                                            month period specified in paragraph                       disclosure of tax information under                   defaulted loan under the IBR plan or
                                            (l)(4) of this section, the Secretary                     paragraph (l)(1) or (l)(2) of this section;           who is repaying a Direct Consolidation
                                            follows the procedures in paragraphs                         (3) The borrower has not made a                    Loan under an IDR plan in accordance
                                            (l)(3) through (l)(7) of this section.                    scheduled payment on the loan for at                  with § 685.220(d)(1)(i)(A)(3) may not
                                               (9) If the Secretary requires                          least 75 days or is in default on the loan            change to another repayment plan
                                            information from the borrower under                       and is not subject to a Federal offset,               unless—
                                            paragraph (l)(3) of this section to                       administrative wage garnishment under                    (i) The borrower was required to and
                                            recalculate the borrower’s monthly                        section 488A of the Act, or to a                      did make a payment under the IBR plan
                                            repayment amount under paragraph                          judgment secured through litigation;                  or other IDR plan in each of the prior
                                            (l)(8) of this section, and the borrower                  and                                                   three months; or
                                            does not provide the necessary                               (4) The Secretary determines that the                 (ii) The borrower was not required to
                                            documentation to the Secretary by the                     borrower’s payment under the IDR plan                 make payments but made three
                                            time the last payment is due under the                    would be lower than or equal to the                   reasonable and affordable payments in
                                            12-month period specified under                           payment on the plan in which the                      each of the prior 3 months; and
                                            paragraph (l)(4) of this section—                         borrower is enrolled.                                    (iii) The borrower makes, and the
                                               (i) For the IBR and PAYE plans, the                       (n) Removal from default. The                      Secretary approves, a request to change
                                            borrower’s monthly payment amount is                      Secretary will no longer consider a                   plans.
                                            the amount determined under paragraph                     borrower in default on a loan if—                        (2)(i) A borrower may not change to
                                            (f)(2)(ii) or (f)(3)(ii) of this section;                    (1) The borrower provides                          a repayment plan that would cause the
                                               (ii) For the ICR plan, the borrower’s                  information necessary to calculate a                  borrower to have a remaining repayment
                                            monthly payment amount is the amount                      payment under paragraph (f) of this                   period that is less than zero months,
                                            the borrower would have paid under a                      section;                                              except that an eligible borrower may
                                            10-year standard repayment plan based                        (2) The payment calculated pursuant                change to an IDR plan under § 685.209
                                            on the total balance of the loans being                   to paragraph (f) of this section is $0; and           at any time.
                                            repaid under the ICR Plan when the                           (3) The income information used to                    (ii) For the purposes of paragraph
                                            borrower initially entered the ICR Plan;                  calculate the payment under paragraph                 (b)(2)(i) of this section, the remaining
                                            and                                                       (f) of this section includes the point at             repayment period is—
                                               (iii) For the REPAYE plan, the                         which the loan defaulted.                                (A) For a fixed repayment plan under
                                            Secretary removes the borrower from                       ■ 7. Section 685.210 is revised to read               § 685.208 or an alternative repayment
                                            the REPAYE plan and places the                            as follows:                                           plan under § 685.221, the maximum
                                            borrower on an alternative repayment                                                                            repayment period for the repayment
                                            plan under which the borrower’s                           § 685.210    Choice of repayment plan.                plan the borrower is seeking to enter,
                                            required monthly payment is the                             (a) Initial selection of a repayment                less the period of time since the loan
                                            amount the borrower would have paid                       plan. (1) Before a Direct Loan enters into            has entered repayment, plus any periods
                                            on a 10-year standard repayment plan                      repayment, the Secretary provides a                   of deferment and forbearance; and
                                            based on the current loan balances and                    borrower with a description of the                       (B) For an IDR plan under § 685.209,
                                            interest rates on the loans at the time the               available repayment plans and requests                as determined under § 685.209(k).
                                            borrower is removed from the REPAYE                       that the borrower select one. A borrower                 (3) A borrower who made payments
                                            plan.                                                     may select a repayment plan before the                under the IBR plan and successfully
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                                               (10) At any point during the 12-month                  loan enters repayment by notifying the                completed rehabilitation of a defaulted
                                            period specified under paragraph (l)(4)                   Secretary of the borrower’s selection in              loan may chose the REPAYE plan when
                                            of this section, the borrower may                         writing.                                              the loan is returned to current
                                            request that the Secretary recalculate the                  (2) If a borrower does not select a                 repayment if the borrower is otherwise
                                            borrower’s payment earlier than would                     repayment plan, the Secretary                         eligible for the REPAYE plan and if the
                                            have otherwise been the case to account                   designates the standard repayment plan                monthly payment under the REPAYE


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                                            plan is equal to or less than their                          (f) * * *                                          ■ 11. Section 685.221 is revised to read
                                            payment on IBR.                                              (1) * * *                                          as follows:
                                              (4)(i) If a borrower no longer wishes                      (i) The Secretary initially considers
                                            to pay under the IBR plan, the borrower                   the borrower’s reasonable and affordable              § 685.221    Alternative repayment plan.
                                            must pay under the standard repayment                     payment amount to be an amount equal         (a) The Secretary may provide an
                                            plan and the Secretary recalculates the                   to the minimum payment required           alternative repayment plan to a
                                            borrower’s monthly payment based on—                      under the IBR plan, except that if this   borrower who demonstrates to the
                                              (A) For a Direct Subsidized Loan, a                     amount is less than $5, the borrower’s    Secretary’s satisfaction that the terms
                                            Direct Unsubsidized Loan, or a Direct                     monthly payment is $5.                    and conditions of the repayment plans
                                            PLUS Loan, the time remaining under                       *       *    *    *     *                 specified in §§ 685.208 and 685.209 are
                                            the maximum ten-year repayment                               (3) * * *                              not adequate to accommodate the
                                            period for the amount of the borrower’s                      (ii) Family size as defined in         borrower’s exceptional circumstances.
                                            loans that were outstanding at the time                   § 685.209; and                               (b) The Secretary may require a
                                            the borrower discontinued paying under                    *       *    *    *     *                 borrower to provide evidence of the
                                            the IBR plan; or                                             (13) A borrower who has a Direct       borrower’s exceptional circumstances
                                              (B) For a Direct Consolidation Loan,                    Loan that is rehabilitated and which has  before permitting the borrower to repay
                                            the time remaining under the applicable                   been returned to repayment status on or   a loan under an alternative repayment
                                            repayment period as initially                             after July 1, 2024, may be transferred to plan.
                                            determined under § 685.208(j) and the                     REPAYE by the Secretary if the
                                            amount of that loan that was                                                                           (c) If the Secretary agrees to permit a
                                                                                                      borrower’s minimum payment amount
                                            outstanding at the time the borrower                                                                borrower to repay a loan under an
                                                                                                      on REPAYE would be equal to or less
                                            discontinued paying under the IBR                                                                   alternative repayment plan, the
                                                                                                      than the minimum payment amount on
                                            plan.                                                                                               Secretary notifies the borrower in
                                                                                                      the Income-Based Repayment Plan.
                                              (ii) A borrower who no longer wishes                                                              writing of the terms of the plan. After
                                                                                                      *       *    *    *     *                 the borrower receives notification of the
                                            to repay under the IBR plan and who is
                                                                                                      ■ 9. Amend § 685.219 by:                  terms of the plan, the borrower may
                                            required to repay under the Direct Loan                   ■ a. Revising paragraph (i) of the
                                            standard repayment plan in accordance                                                               accept the plan or choose another
                                                                                                      definition of ‘‘Qualifying repayment      repayment plan.
                                            with paragraph (b)(4)(i) of this section                  plan’’ in paragraph (b).
                                            may request a change to a different                       ■ b. Revising paragraph (c)(2)(iii).
                                                                                                                                                   (d) A borrower must repay a loan
                                            repayment plan after making one                           ■ c. Revising paragraph (g)(6)(ii).       under an alternative repayment plan
                                            monthly payment under the Direct Loan                        The revisions read as follows:         within 30 years of the date the loan
                                            standard repayment plan. For this                                                                   entered repayment, not including
                                            purpose, a monthly payment may                            § 685.219 Public Service Loan Forgiveness periods of deferment and forbearance.
                                            include one payment made under a                          Program (PSLF).
                                                                                                                                                            ■ 12. Section 685.222 is amended by
                                            forbearance that provides for accepting                   *       *     *    *    *
                                                                                                         (b) * * *                                          revising paragraph (e)(2)(ii) to read as
                                            smaller payments than previously                                                                                follows:
                                            scheduled, in accordance with                                Qualifying repayment plan * * *
                                            § 685.205(a).                                                (i) An income-driven repayment plan                § 685.222 Borrower defenses and
                                                                                                      under § 685.209;                                      procedures for loans first disbursed on or
                                            ■ 8. Section 685.211 is amended by:
                                            ■ a. Revising paragraph (a)(1);                           *       *     *    *    *                             after July 1, 2017, and before July 1, 2020,
                                            ■ b. Revising paragraph (f)(1)(i);                           (c) * * *                                          and procedures for loans first disbursed
                                                                                                         (2) * * *                                          prior to July 1, 2017.
                                            ■ c. Revising paragraph (f)(3)(ii); and
                                            ■ d. Adding paragraph (f)(13).
                                                                                                         (iii) For a borrower on an income-                 *      *    *     *    *
                                              The revisions and addition read as                      driven repayment plan under § 685.209,                  (e) * * *
                                            follows:                                                  paying a lump sum or monthly payment
                                                                                                      amount that is equal to or greater than                 (2) * * *
                                            § 685.211 Miscellaneous repayment                         the full scheduled amount in advance of                 (ii) Provides the borrower with
                                            provisions.                                               the borrower’s scheduled payment due                  information about the availability of the
                                              (a) Payment application and                             date for a period of months not to                    income-driven repayment plans under
                                            prepayment. (1)(i) Except as provided                     exceed the period from the Secretary’s                § 685.209;
                                            for the Income-Based Repayment plan                       receipt of the payment until the                      *      *    *     *    *
                                            in paragraph (a)(1)(ii) of this section, the              borrower’s next annual repayment plan
                                                                                                                                                            ■ 13. Amend § 685.403 by revising
                                            Secretary applies any payment in the                      recertification date under the qualifying
                                                                                                                                                            paragraph(d)(1) to read as follows:
                                            following order:                                          repayment plan in which the borrower
                                              (A) Accrued charges and collection                      is enrolled;                                          § 685.403    Individual process for borrower
                                            costs.                                                    *       *     *    *    *                             defense.
                                              (B) Outstanding interest.                                  (g) * * *                                          *     *    *     *    *
                                              (C) Outstanding principal.                                 (6) * * *
                                              (ii) The Secretary applies any                                                                                  (d) * * *
                                                                                                         (ii) Otherwise qualified for a $0
                                            payment made under the Income-Based                       payment on an income-driven                             (1) Provides the borrower with
                                            Repayment plan in the following order:                    repayment plan under § 685.209.                       information about the availability of the
                                              (A) Accrued interest.                                                                                         income-driven repayment plans under
                                              (B) Collection costs.                                   § 685.220    [Amended]                                § 685.209;
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                                              (C) Late charges.                                       ■ 10. In § 685.220 amend paragraph (h)                *     *    *     *    *
                                              (D) Loan principal.                                     by adding ‘‘§ 685.209, and § 685.221,’’               [FR Doc. 2023–13112 Filed 7–3–23; 8:45 am]
                                            *      *    *    *      *                                 after ‘‘§ 685.208,’’.                                 BILLING CODE 4000–01–P




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